 1 ROBBINS LLP
   Brian J. Robbins (190624)
 2 Craig W. Smith (164886)
   Shane P. Sanders (237146)
 3 5060 Shoreham Place, Suite 300
   San Diego, CA 92122
 4 Telephone: (619) 525-3990
   Facsimile: (619) 525-3991
 5 E-mail: brobbins@robbinsllp.com
            csmith@robbinsllp.com
 6          ssanders@robbinsllp.com

 7 WEISS LAW LLP
   Joel E. Elkins (256020)
 8 9107 Wilshire Blvd., Suite 450
   Beverly Hills, CA 90210
 9 Telephone: (310) 208-2800
   Facsimile: (310) 209-2348
10 E-mail: jelkins@weisslawllp.com

11 David C. Katz (admitted pro hac vice)
   Mark D. Smilow (pro hac to be filed)
12 Joshua Rubin (pro hac to be filed)
   1500 Broadway, 16th Floor
13 New York, NY 10036
   E-mail: dkatz@weisslawllp.com
14         msmilow@weisslawllp.com
           jrubin@weisslawllp.com
15
   Co-Lead Counsel for Plaintiffs
16

17                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
18                                     OAKLAND DIVISION
19 IN RE APPLE INC. STOCKHOLDER                Lead Case No. 4:19-cv-05153-YGR
   DERIVATIVE LITIGATION
20                                             JOINT DECLARATION OF CRAIG W.
                                               SMITH AND DAVID C. KATZ IN
21                                             SUPPORT OF MOTION FOR FINAL
     This Document Relates to:                 APPROVAL OF SETTLEMENT AND
22                                             AWARD OF ATTORNEYS' FEES AND
                     ALL ACTIONS               EXPENSES
23

24                                             Date: July 16 2024
                                               Time: 2:00 p.m.
25                                             Courtroom: 1 - 4th Floor
                                               Judge: Hon. Yvonne Gonzalez Rogers
26

27

28
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
     MOTION FOR FINAL APPROVAL OF SETTLEMENT
     Case No. 4:19-cv-05153-YGR
 1          Craig W. Smith and David C. Katz declare as follows:

 2          1.     I, Craig W. Smith, am a partner at the law firm of Robbins LLP. I am duly licensed to

 3 practice law in the State of California and admitted to practice before this Court.

 4          2.     I, David C. Katz, am a principal at the law firm of Weiss Law LLP. I am duly licensed to

 5 practice law in the State of New York and am admitted to practice pro hac vice before this Court.

 6          3.     Robbins LLP and Weiss Law LLP serve as co-lead counsel for plaintiffs Terrence Zehrer,

 7 Andrew Fine, Tammy Federman SEP/IRA, The Rosenfeld Family Foundation, and John Votto in the

 8 above-captioned shareholder derivative action. We submit this declaration in support of the Plaintiffs'

 9 Motion for Final Approval of Settlement and Award of Attorneys' Fees and Expenses (the "Motion").
10 Apart from matters we include to retain context, we confine our statements to matters that may require

11 substantiation beyond the facts, allegations, contentions, and inferences that are evident in the public

12 record of the litigation and public disclosures by or concerning Apple. We have personal knowledge of

13 the matters stated herein and, should we be called upon, we could and would testify competently thereto.

14          4.     The purpose of this Declaration is to set forth the background and procedural history of
15 the Derivative Actions, the negotiations that led to the Settlement, and the results achieved. 1 This

16 Declaration also sets forth certain facts pertinent to the agreed Fee and Expense Amount.

17 I.       INTRODUCTION AND OVERVIEW

18          5.     The Actions arise from performance management problems that caused Apple iPhones

19 with aging batteries to shut down unexpectedly (hereinafter, the "PMP"). Plaintiffs claim that certain

20 officers and directors of Apple (the "Individual Defendants") breached fiduciary duties to the Company

21 by causing or permitting Apple to respond to complaints about unexpected iPhone shutdowns with iOS

22 operating system updates that slowed CPU and GPU clock rates on a range of iPhone functions, without

23 customers' knowledge or consent, in violation of domestic and international laws and regulations.

24 Apple faced regulatory actions, consumer and securities class actions, as a result, and the Apple and

25

26
     1
     Unless otherwise noted, all capitalized terms have the same definition as set forth in the Amended
27
   Stipulation and Agreement of Compromise, Settlement, and Release dated April 29, 2024 (the
28 "Stipulation" or "Stip.") filed with the Court on April 30, 2024 (ECF No. 82-1).
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
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 1 iPhone brands suffered serious and lasting damage, reducing sales and ceding market share to

 2 competing products.

 3          6.      The Settlement commits Apple's Board of Directors (the "Board") to adopt, implement,

 4 and maintain for a minimum of four years policy commitments and related corporate governance,

 5 internal controls, and oversight enhancements (the "Enhancements") designed to improve Apple's

 6 response to future product performance issues, and substantially reduce the probability that Apple and its

 7 shareholders will suffer the consequences of a similar brand crisis going forward. In addition to loss

 8 prevention, Professor Kevin Lane Keller, the E. B. Osborn Professor of Marketing at the Tuck School of

 9 Business at Dartmouth College, explains in his declaration (filed concurrently with Plaintiffs' Motion)
10 that the Enhancements provide the credible institutional response consumers demand following a brand

11 crisis of this nature. The Enhancements will contribute significantly to Apple's efforts to rebuild

12 consumer trust in the iPhone brand promise and Apple brand values, and will help to restore and maintain

13 the full power of the Apple brand in the marketplace ("brand equity"). Professor Keller confirms

14 Plaintiffs' assessment that, while the Enhancements' economic value cannot be estimated with

15 mathematical precision, the combined economic value of the Enhancements' prophylactic and brand

16 equity effects will range into the hundreds of millions of dollars.

17          7.      Based upon Plaintiffs' Counsel's research, investigation, and experience, and as confirmed
18 by Professor Keller, we conclude that the Settlement benefits' probable range of economic value far

19 outweighs the speculative prospect that further litigation might produce a one-time monetary award of

20 substantially greater value, particularly when discounted by the enormous costs, disruption, and delay

21 such litigation would entail, and the substantial risk that further litigation would sacrifice the Settlement

22 benefit and produce no recovery.

23          8.      The Settlement was reached in a fair process, warranting the presumption of fairness and
24 reasonableness courts afford compromises reached in non-collusive negotiations among sophisticated

25 parties represented by experienced and informed counsel. The Settlement is the product of months of

26 hard-fought negotiations conducted by lawyers with decades of shareholder litigation experience and a

27 firm grip on the facts. The Parties did not address the question of attorneys' fees until after they had

28 reached agreement upon the substantive Settlement consideration. The negotiations were facilitated by
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
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 1 Hon. Layn Phillips (Ret.), an exceedingly experienced and skilled mediator with an unusually deep

 2 knowledge of the relevant facts and law, based upon his successful mediation of the settlement reached

 3 in the consumer class actions. Judge Phillips confirms the negotiations were substantive, difficult, and

 4 conducted at arm's-length, without a hint of collusion.

 5          9.      The Parties reached agreement upon the award of $6 million in fees and expenses to be

 6 paid to Plaintiffs' Counsel, subject to court approval, in consideration for their efforts and risks assumed

 7 in securing the Settlement benefit through months of arm's-length negotiations facilitated by Judge

 8 Phillips. The negotiations were substantive, hard fought, and properly focused on the factors identified

 9 in applicable case law, including the value of the recovery and fee awards approved in comparable cases,
10 as Judge Phillips confirms in his declaration. For the reasons, discussed in our brief and confirmed by

11 Professor Keller, we believe the $6 million agreed amount represents a small fraction of the Settlement's

12 probable range of economic value. As discussed in greater detail below, (i) the $6 million agreed amount

13 is in line with awards approved in comparable derivative settlements; (ii) a lodestar cross-check confirms

14 the agreed amount will not confer a windfall relative to Plaintiffs' Counsels' efforts; and (iii) the nominal

15 $5,000 Service Awards proposed for each Plaintiff properly recognize their indispensable role in securing

16 the Settlement benefit for Apple and its shareholders, and will be drawn from any fees awarded to

17 Plaintiffs' Counsel, preserving the value of the recovery.

18          10.     In the sound exercise of its business judgment, Apple's Board, including each of its
19 independent, non-employee directors and the members of the Demand Evaluation Committee (the

20 "DEC") appointed to investigate the Demand, advised by outside counsel for the Company, unanimously

21 determined that the Enhancements confer substantial benefits, and that the Settlement, including the Fee

22 and Expense Amount, is fair, reasonable, and adequate, and serves the best interests of Apple and its

23 shareholders.

24          11.     Apple disseminated the Notice in the manner approved by the Court as meeting Rule
25 23.1 and due process standards. To date, no objections have been filed or received by counsel,

26 indicating strong support for the Settlement among Apple's tens of thousands of shareholders, including

27 dozens of the world's largest and most sophisticated financial institutions.

28
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
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 1 II.      SUMMARY OF ALLEGATIONS, PROCEDURAL HISTORY, AND SETTLEMENT
            NEGOTIATIONS
 2
            A.     Plaintiffs' Allegations
 3

 4          12.    Apple, a California corporation with its principal executive offices in Cupertino,

 5 California, designs, manufactures, and markets mobile communication and media devices and personal

 6 computers, and sells a variety of related software, services, accessories, and third-party digital content

 7 and applications. ¶¶21, 55. 2 The iPhone has served as Apple's flagship product since its release in 2007,

 8 accounting for nearly two-thirds of the Company's net sales in 2017. ¶57. Apple's "iOS" mobile operating

 9 system drives the iPhone. Id. Apple regularly improves the functionality, security, and performance of
10 the iPhone and the Company's other mobile devices through iOS updates, which play a critical role in

11 ensuring competitive performance and customer loyalty. ¶60.

12          13.    Plaintiffs allege that the Individual Defendants breached their fiduciary duties to Apple
13 and its shareholders by causing or permitting the Company to first deny and then to minimize widespread

14 iPhone shutdowns caused by aging batteries, while secretly distributing performance degrading power

15 management software through iOS updates, in violation of consumer protection laws and regulations in

16 the U.S. and abroad. ¶69.

17          14.    In 2016, older model iPhones began shutting down in response to the demands of iOS
18 enhancements due to the declining performance of aging batteries. ¶¶3, 61. Apple responded to early

19 reports of problems by denying that the problems were significant or widespread. In January 2017, after

20 internal assessments confirmed that a significant number of iPhones were impacted by declining battery

21 performance, Apple secretly introduced software in iOS updates designed to "throttle" CPU and GPU

22 clock rates, dramatically slowing the performance of older iPhone models, without owners' knowledge

23 or consent. ¶¶3, 62. Because Apple did not tell iPhone owners that a $79 battery replacement would

24 restore their phones' performance, many iPhone users replaced their older models, purchasing newer,

25

26   2
     Unless otherwise noted, all references to "¶__" or "¶¶__" are to the Verified Stockholder Derivative
27 Complaint for Breach of Fiduciary Duty, Waste of Corporate Assets, Unjust Enrichment, and
   Indemnification and Contribution filed by plaintiff Terrence Zehrer in the Federal Action on August 19,
28 2019. ECF No. 1.
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 1 more expensive next-generation iPhones in the mistaken belief that their older phones lacked sufficient

 2 processing power to keep pace with the demands of the new functions and applications. ¶¶3, 63.

 3          15.    Despite the "fix" provided in the iOS update, declining battery performance continued to

 4 cause problems, and increasing numbers of users reported that their iPhones were operating more slowly.

 5 ¶¶60-63. In late 2017, independent investigators reported that the Apple iOS updates issued earlier in the

 6 year strongly correlated with the dramatically declining performance of older iPhone models. On

 7 December 20, 2017, Apple admitted that neither the shutdowns nor the slowing performance was due to

 8 product obsolescence, but were due to aging batteries and to iOS updates that contained performance

 9 management routines designed to slow the execution of certain operations in older model iPhones. ¶¶4-
10 5, 64-67. Apple's credibility and the iPhone brand were damaged, leaving Apple little choice but to over-

11 correct to try to regain customer trust. On December 28, 2017, Apple announced a program that would

12 permit customers to purchase replacement batteries for $29, a $50 discount. ¶¶5, 68.

13          16.    Plaintiffs further allege that between August 2017 and January 2019, Defendants caused
14 or permitted Apple to make a series of misleading statements touting strong iPhone demand, while

15 concealing that this demand was driven in material part by Apple's undisclosed performance throttling of

16 older model iPhones, which had induced customers to replace older iPhones with newer generation

17 iPhones sooner. ¶¶11, 77-103. Once the truth about the actual cause of older iPhone shutdowns and

18 slower performance was revealed, material numbers of customers who might have opted to upgrade to

19 the new generation iPhones opted instead to keep their old iPhones and to purchase the discounted

20 replacement battery, while others opted to switch to competing products, negatively impacting sales and

21 revenue. Id.

22          17.    On January 2, 2019, Apple issued a press release disclosing declining iPhone sales. ¶105.
23 The Company reduced iPhone revenue guidance to $84 billion from the range of between $89 billion and

24 $93 billion the Company had forecasted to investors just eight weeks before, marking the first time in

25 fifteen years that Apple would fail to meet its revenue guidance. Id. Apple representatives attributed this

26 decline to macroeconomic downtrends (primarily in China) and lower than expected rates of iPhone

27 upgrades to newer models, admitting that the lower iPhone upgrade rates were due in part to customers'

28
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
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 1 decisions to take advantage of Apple's belated discount Battery Replacement Program. ¶¶105-06.

 2 Estimates of lost revenues ranged into the billions of dollars. 3

 3          18.     In addition to lost revenues, the cost of the discounted battery program, and serious

 4 damage to Apple's credibility and iPhone brand, Plaintiffs contend the Individual Defendants' alleged

 5 misconduct exposed the Company to: (i) domestic consumer class actions (e.g., In re Apple Inc. Device

 6 Performance Litigation, No. 5:18-md-02827-EJD (N.D. Cal.) and In re Apple OS Cases, JCCP No. 4976

 7 (Cal. Super. Ct., S.F. Cnty.) (the "Consumer Actions")); (ii) securities class action (e.g., consolidated in

 8 In re Apple Inc. Securities Litigation, No. 4:19-cv-02033-YGR (N.D. Cal.) ("Federal Securities

 9 Action")); (iii) class actions and regulatory actions in a variety of foreign jurisdictions, including Canada,
10 France, Italy, and the UK; 4 and (iv) domestic regulatory actions. ¶¶112-16. In November 2020, Apple

11 entered into a Consent Judgment with the Attorneys General of 34 U.S. states, including the District of

12 Columbia, pursuant to which Apple agreed to pay $113 million and to adopt certain commitments to

13 inform consumers about iPhone battery performance for a limited period. On March 17, 2021, U.S.

14 District Judge Edward J. Davila granted final approval of the settlement of the Consumer Actions,

15 providing a non-reversionary minimum of $310 million and a maximum of $500 million to the settlement

16 class. In re Apple Inc. Device Performance Litigation, No. 5:18-md-02827-EJD (N.D. Cal.), ECF No.

17 608.

18

19

20

21
     3
22    See, e.g., Matt Swider, Apple's iPhone sales shortfall could cost it $9 billion in revenue, techradar, Jan.
     2, 2019, https://www.techradar.com/news/apple-iphone-revenue-shortfall-2019.
23   4
     See T. Tomm, Apple to pay $113 million to settle state investigation into iPhone "battergate", The
24 Washington Post, Nov. 18, 2020, https://www.washingtonpost.com/technology/2020/11/18/apple-fine-
   battery/; P. Foran, Apple to pay Canadians $14.4M in proposed class-action settlement. Here's how much
25 you could get, CTV News, Jan. 12, 2024, https://toronto.ctvnews.ca/apple-to-pay-canadians-14-4m-in-
   proposed-class-action-settlement-here-s-how-much-you-could-get1.6722319#:~:text=Following%20a
26
   %20scandal%20involving%20its,a%20proposed%20class%2Daction%20settlement; D. Deahi, Apple
27 and Samsung fined in Italy for slowing down their phones, The Verge, Oct. 24, 2018; P. Cohen, UK
   tribunal gives $2B iPhone battery lawsuit the go-ahead, ai, Nov. 1, 2023,
28 https://appleinsider.com/articles/23/11/01/uk-tribunal-gives-2b-iphone-battery-lawsuit-the-go-ahead.
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 1          B.     Procedural Background

 2                 1.      The Federal Action

 3          19.    On August 19, 2019, plaintiff Terrence Zehrer filed a stockholder derivative complaint on

 4 behalf of Apple asserting claims for breach of fiduciary duty, waste of corporate assets, unjust

 5 enrichment, and indemnification and contribution ("Zehrer Action").           ECF No. 1.     Three related

 6 shareholder derivative complaints were later filed asserting substantially similar claims arising out of the

 7 same facts and circumstances as the Zehrer Action: (i) Fine, et al. v. Cook, et al., Case No. 4:19-cv-

 8 05863-YGR ("Fine Action") (filed September 20, 2019); (ii) Bankhalter v. Cook, et al., Case No. 4:19-

 9 cv-05881-YGR ("Bankhalter Action") (filed September 20, 2019); and (iii) Votto v. Cook, et al., Case
10 No. 4:19-cv-08246-YGR ("Votto Action") (filed December 18, 2019).

11          20.    On March 6, 2020, the Federal Plaintiffs and Defendants filed a stipulation to consolidate
12 the Zehrer Action, Fine Action, Bankhalter Action, and Votto Action and to set a schedule for motions

13 for the appointment of lead counsel. ECF No. 19. On March 11, 2020, the Court entered an order

14 consolidating the Zehrer Action, Fine Action, Bankhalter Action, and Votto Action (thus forming the

15 Federal Action). ECF No. 20.

16          21.    On April 14, 2020, plaintiffs Zehrer, Fine, Federman, and the Rosenfeld Family
17 Foundation filed a motion to appoint Robbins LLP and Weiss Law LLP as co-lead counsel for all

18 derivative plaintiffs in the Federal Action. ECF No. 23. That same day, plaintiff Bankhalter filed a

19 motion to appoint Pritzker Levine LLP and Gainey McKenna & Egleston as interim co-lead counsel.

20 ECF No. 21. On June 29, 2020, following briefing on the competing lead counsel motions, the Court

21 appointed Robbins LLP and Weiss Law LLP as Plaintiffs' Co-Lead Counsel. ECF No. 39. Plaintiff

22 Bankhalter filed a motion for voluntary dismissal of the Bankhalter Action, which the Court granted.

23 ECF Nos. 40-41.

24          22.    On August 11, 2020, the Federal Plaintiffs and Defendants filed a stipulation and proposed
25 order to stay the Federal Action pending resolution of the motion to dismiss the Federal Securities Action.

26 ECF No. 42. On August 18, 2020, the Court granted this stipulation. ECF No. 43.

27          23.    On January 21, 2021, following the partial denial of the motion to dismiss the Federal
28 Securities Action, the parties to the Federal Action filed a stipulation and proposed order to continue the
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 1 stay of the Federal Action until thirty days after the close of fact discovery in the Federal Securities

 2 Action. ECF No. 46. On January 25, 2021, the Court granted this stipulation. ECF No. 47. The parties

 3 to the Federal Action sought subsequent extensions of the stay, all of which were granted. ECF Nos. 48-

 4 53.

 5          24.     On March 20, 2023, after meeting and conferring on a proposed schedule for further

 6 proceedings, the parties to the Federal Action filed a stipulation and proposed order to set a schedule for

 7 the Federal Plaintiffs to file a consolidated complaint or designate one of the existing complaints in the

 8 action as the operative consolidated complaint before any briefing took place on motions raising

 9 substantive issues concerning the Federal Plaintiffs' claims pursuant to Federal Rule of Civil Procedure
10 23.1. ECF No. 56. On March 27, 2023, the Court granted this stipulation. ECF No. 57.

11          25.     On May 19, 2023, the parties to the Federal Action filed a stipulation extending the Federal
12 Plaintiffs' time to file their consolidated complaint due to their ongoing investigation of related matters,

13 which the Court granted. ECF Nos. 58-59.

14          26.     On October 5, 2023, the parties to the Federal Action filed a stipulation to advise the Court
15 that the parties had executed a memorandum of understanding to settle the litigation and were in the

16 process of negotiating and finalizing a settlement agreement. ECF No. 63.

17          27.     On January 19, 2024, the Court set a compliance deadline for March 8, 2024, requiring
18 the parties to file by March 1, 2024 either: (i) a motion for preliminary approval of the settlement; or (ii)

19 a joint statement explaining the parties' noncompliance. ECF No. 69.

20                  2.     The California Action
21          28.     On September 17, 2019, Tim Himstreet ("Himstreet") filed a derivative action in Superior
22 Court of the State of California, County of Santa Clara (the "California Court") captioned Himstreet v.

23 Cook, et al., Case No. 19CV355213 ("Himstreet Action"), alleging, inter alia, breaches of fiduciary duty

24 by Defendants arising out of the same facts and circumstances as the Federal Action. Stip. at 6.

25          29.     On September 30, 2019, the parties to the Himstreet Action filed a stipulation and
26 proposed order to stay the action on terms similar to those in the Federal Action, which the California

27 Court granted on October 1, 2019. Id. This stay was subsequently extended on similar terms as those in

28 the Federal Action. Id.
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
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 1          30.     On August 17, 2020, plaintiff Steven Hill (together with Himstreet, the "California

 2 Plaintiffs") filed a derivative action in California Court captioned Hill v. Cook, et al., Case No.

 3 20CV369387 ("Hill Action") alleging, inter alia, breaches of fiduciary duty by Defendants arising out of

 4 the same facts and circumstances as the Federal Action. Id.

 5          31.     On November 16, 2020, the California Court entered an order consolidating the Himstreet

 6 Action and Hill Action (hereinafter, the "California Action") and continuing the case management

 7 conferences in the respective actions. The California Action was stayed until February 1, 2023. Stip. at

 8 6-7.

 9          32.     On March 24, 2023, the parties to the California Action filed a stipulation setting a
10 schedule for the filing of a consolidated complaint and briefing on Apple's anticipated demurrer, which

11 the court granted. Stip. at 7. On May 19, 2023, the parties to the California Action filed a 28-day

12 extension of these deadlines, which the court granted.

13                  3.     The Litigation Demand
14          33.     On November 13, 2018, Apple shareholders Augustin Sacks and Gerard Bernales made
15 the Demand on Apple's Board, demanding that the Board investigate claims arising from the same facts

16 and circumstances. Stip. at 7. On December 9, 2018, the Board formed an advisory DEC to review and

17 investigate the allegations, with the advice of independent counsel, and to report to the Board concerning

18 its conclusions and recommendations. Id.

19          C.      Settlement Negotiations
20          34.     The Settlement is the product of extensive negotiations, including multiple mediation
21 sessions before the Hon. Layn Phillips (Ret.) of Phillips ADR (the "Mediator"), a nationally renowned

22 mediator with extensive experience mediating complex shareholder disputes, who was also uniquely

23 familiar with the facts, having successfully mediated the resolution of the Consumer Actions. Stip. at 7-

24 8.

25          35.     On January 28, 2022, Plaintiffs submitted a mediation statement, made a settlement
26 demand on Defendants, and requested certain documents. Id. The parties dedicated significant time and

27 resources to the mediation and to subsequent settlement discussions. Id. In addition to its outside counsel,

28
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
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 1 Apple sent several in-house lawyers with relevant knowledge to engage directly in the mediation process.

 2 Id.

 3          36.    On January 31, 2022, the Parties held their first mediation session. Stip. at 7. The Parties

 4 were unable to reach an agreement resolving the litigation during this session, but agreed to continue their

 5 discussions under the aegis of the Mediator. Stip. at 8.

 6          37.    On April 6, 2023, the Parties engaged in their second formal mediation session. Id. The

 7 Parties discussed at length and in detail the complex facts and circumstances and their implications for

 8 the claims and defenses, both indirectly through the Mediator and directly in joint sessions attended by

 9 counsel for the Parties, percipient witnesses, and the relevant insurers. Id. During the joint sessions, the
10 Company provided detailed confidential information regarding the technical and practical considerations

11 that drove its decision-making with respect to the iOS performance updates. Id. The Parties debated

12 their competing views of the essential facts, legal claims and defenses, and the broad range of possible

13 litigation outcomes. Id. The Parties also discussed a range of remedial options, and were able to agree

14 on a set of principles and target areas for corporate governance enhancements to flesh out through further

15 negotiations. Id.

16          38.    The Parties were unable to reach an agreement during the April 2023 in-person mediation,
17 but continued negotiating. Id. Over the course of many months, the Parties exchanged written proposals

18 and counter proposals, guided by the Mediator. Id. Ultimately, the Parties reached an agreement in

19 principle on the material substantive consideration for the Settlement. Id.

20          39.    On August 9, 2023, the Parties executed a written memorandum of understanding
21 outlining the essential terms and conditions for the release of all claims asserted in the Actions in

22 consideration for Apple's agreement to adopt, implement, and maintain the Enhancements set forth in

23 Exhibit A to the Stipulation of Settlement. Id.

24          40.    After the Parties reached an agreement in principle on the material substantive terms of
25 the Settlement, the Parties commenced negotiations facilitated by the Mediator regarding a reasonable

26 award of attorneys' fees and expenses to Plaintiffs' Counsel in consideration for the substantial benefits

27 conferred upon Apple and its shareholders by the Settlement. Stip. at 8-9. The Parties agree that, subject

28 to the Court's approval, Apple shall pay or cause to be paid attorneys' fees and expenses to Plaintiffs'
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
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 1 Counsel in the agreed amount of $6,000,000, from which Plaintiffs will each receive $5,000 Service

 2 Awards, subject to the Court's approval. Id.; ¶¶17, 23.

 3          41.       Thereafter, the settling Parties negotiated and finalized the formal operative terms of the

 4 Settlement set forth in the Stipulation.

 5          D.        Preliminary Approval and Notice to Apple Shareholders

 6          42.       On April 23, 2024, the Court granted preliminary approval of the Settlement and approved

 7 the proposed notice program, finding that it satisfied Rule 23.1 and due process standards. ECF No. 81.

 8 On April 30, 2024, the Court entered an order granting the Parties' Stipulation Regarding Amended

 9 Stipulation of Settlement and Exhibits Thereto. ECF No. 83. Apple timely disseminated the Notice in
10 accordance with the Court's Preliminary Approval Order. ECF No. 84. To date, no objections have been

11 received from Current Apple Shareholders.

12 III.     SETTLEMENT CONSIDERATION
13          43.       The Settlement commits the Board to the adoption, implementation, and/or maintenance
14 of the Enhancements for at least four (4) years. Stip., Ex. A. The Enhancements are designed to prevent

15 alleged lapses in Board and management oversight of risks related to the Company's products, and to

16 ensure the Apple lives up to its brand commitments and communicates clear and accurate information to

17 customers and shareholders.

18          44.       In sum, Apple shall:
19                •   Amend the Charter for its Risk Oversight Committee to specifically require the review
                      and discussion of material regulatory compliance issues relating to the Company's
20                    products, including the risks in relation to product performance and manufacturing defect
                      and safety, and management's monitoring efforts, analysis, and response to potential
21                    product regulatory compliance risks.
22
                  •   Add the Chief Compliance Officer ("CCO") as a member of the Risk Oversight Committee
23                    and require the CCO to report to the Audit and Finance Committee concerning emerging
                      and ongoing risks discussed or presented at Risk Oversight Committee meetings.
24
                  •   Ensure that all data (including in-store and third-party repair data, social media and other
25                    sources) bearing upon Performance Management will be actively and regularly monitored,
                      compiled, and made available to leaders on the business teams responsible for product
26                    lines, who will evaluate, and, as appropriate, address or escalate for further review and
                      oversight, real-time trends and issues.
27
                  •Implement a formal protocol to be facilitated and supervised by the CCO for the report,
28                 evaluation, recommendation, and escalation of potential product regulatory compliance
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
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 1                    risks, and procedures ensuring that important information is communicated to the relevant
                      persons at the Company prior to remedial action and related disclosures, and enhanced
 2                    reporting and oversight of responses to material compliance risks to ensure timely,
                      effective and transparent remedial action. 5
 3
                  •   Require the CCO (i) to review related iPhone release notes in advance of the release of an
 4                    iOS update involving changes to Performance Management in order to ensure accurate,
 5                    timely, and transparent disclosures of such changes; and (ii) to work with the appropriate
                      business team leaders to ensure that Apple's website appropriately identifies and describes
 6                    the key components of such release notes relating to Performance Management.

 7                •   Maintain easily accessible and prominent webpages that contain clear and conspicuous
                      information about lithium-ion batteries, unexpected shutdowns, and Performance
 8                    Management; notify consumers of any material change to Performance Management due
                      to an iOS update, provide information about battery health in the iPhone user interface;
 9                    and inform consumers of the option to service the iPhone battery once performance has
                      become significantly degraded.
10

11                •   Require training and education of consumer-facing staff in these matters to provide a
                      "front-line" resource for consumers and maximize transparency and responsiveness when
12                    product-related issues arise.

13                •   Require the General Counsel to report to the Audit and Finance Committee on any material
                      compliance issues.
14
                  •   Require that Apple adopt and implement a written policy requiring the co-Chairs of the
15                    Disclosure Committee to review transcripts of each earnings call and make appropriate
                      recommendations with respect to correction, clarification, further disclosure and
16                    explanation, or other actions.
17          45.       To avoid unnecessary repetition, we respectfully refer the Court to paragraphs 116-149 of
18 Professor Keller's declaration for a detailed explanation of the how the provisions of each of the

19 Enhancement's four areas will operate in concert to address and remedy the alleged lapses that led Apple

20 to mishandle its response to the iPhone performance management problems.

21

22

23   5
     These provisions include, (i) the evaluation by the leaders on the business teams of any reports to
24 consider whether further evaluation, escalation, and decision-making is required; (ii) the preparation of
   written reports reflecting these evaluations and dissemination to the CCO and Chief Operations Officer
25 ("COO"); (iii) coordination between the COO and the relevant business teams to develop and implement
   and action plan to address or mitigate the relevant risks; (iv) preparation of escalation reports setting out
26
   the proposed remedial responses by the business teams in conjunction with the CCO and timely
27 presentation of the reports to the Risk Oversight Committee, and, as appropriate, senior executives; and
   (v) a review and evaluation of the proposed remedial response by the Risk Oversight Committee and
28 further recommendation on improvements to the response.
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 1 IV.      THE SETTLEMENT IS FAIR, REASONABLE, AND ADEQUATE

 2          A.     The Settlement Is the Product of Extensive Arm's-Length Negotiations, Overseen by
                   an Experienced Mediator
 3

 4          46.    The Settlement is the result of many months of hard-fought, arm's-length negotiations

 5 among experienced, well-informed counsel following their substantial investigation of the claims,

 6 defenses and remedial measures, with the assistance of a highly regarded neutral. Plaintiffs' Counsel

 7 include nationally recognized leaders in shareholder litigation. See Declaration of Craig W. Smith on

 8 Behalf of Robbins LLP in Support of Motion for Final Approval of Settlement and Award of Attorneys'

 9 Fees And Expenses ("Smith Declaration" or "Smith Decl."), Ex. 1 (Robbins LLP firm resume);
10 Declaration of David C. Katz on Behalf of Weiss Law in Support of Motion for Final Approval of

11 Settlement and Award of Attorneys' Fees And Expenses ("Katz Declaration" or "Katz Decl."), Ex. 1

12 (WeissLaw LLP firm resume); Declaration of Daniella Quitt on Behalf of Glancy Prongay & Murray

13 LLP in Support of Motion for Final Approval of Settlement and Award of Attorneys' Fees And Expenses

14 ("Quitt Declaration" or "Quitt Decl."), Ex. 1 (Glancy Prongay & Murray LLP firm resume); Declaration

15 of John C. Herman on Behalf of Herman Jones LLP in Support of Motion for Final Approval of

16 Settlement and Award of Attorneys' Fees And Expenses ("Herman Declaration" or "Herman Decl."), Ex.

17 1 (Herman Jones LLP firm resume) (filed concurrently herewith). Their recommendation in favor of the

18 Settlement is well-informed both by facts gathered and evaluated in their investigation, and the crucible

19 of an extended and rigorous mediation process, which tested the relative strength of the claims, theories

20 of liability, estimates of damages, and the available defenses. Apple, the Individual Defendants, and the

21 DEC were represented by preeminent corporate defense counsel.

22          47.    Judge Phillips confirms the arm's-length nature of the settlement negotiations, and his
23 participation eliminates any concerns about collusion. Accordingly, the Settlement merits a strong

24 presumption of fairness and reasonableness.

25          B.     Plaintiffs' Counsel's Settlement Recommendation Is Well-Informed
26          48.    Plaintiffs' Counsel were well-informed going into the Settlement negotiations, and they
27 learned more during the months of substantive settlement exchanges with Apple's representatives and

28 defense counsel regarding the facts; the relative strength of the claims and defenses; the quantum of
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 1 provable damages; the state of Apple's corporate governance and internal controls; and myriad other

 2 matters bearing on the prospects for further litigation and the range of available remedies.

 3          49.     Plaintiffs' Counsel in two jurisdictions completed substantial pre- and post-filing

 4 investigations, including the review of a trove of domestic and international media, analyst and regulatory

 5 reports, Apple's public filings, the deluge of reporting and analysis published by independent experts

 6 regarding the PMP, and the voluminous pleadings in the consumer class actions and the Federal Securities

 7 Action, which were supplemented by substantive information exchanges during mediation sessions and

 8 in the months of negotiations that followed. Stip. at 8; ECF No. 71, ¶4.

 9          50.     In particular, Plaintiffs' Counsel's research and investigation into the Defendants' alleged
10 misconduct and the corresponding alleged damages to Apple, included, inter alia: (i) research and

11 analysis in support of inspection demands pursuant to Cal. Corp. Code § 1601; (ii) review and analysis

12 of non-public corporate books and records produced by Apple during the litigation, as well as Apple's

13 public filings with the U.S. Securities and Exchange Commission ("SEC"), press releases,

14 announcements, transcripts of investor conference calls, and news articles; (iii) review and analysis of

15 the results of the investigations conducted by regulators, states attorneys general, consumer litigants,

16 securities litigants, and business, securities, and information technology analysts, available in court

17 filings, regulatory filings, press releases, website postings, and blogs; (iv) thorough research and analysis

18 of the applicable law governing the claims and potential defenses in connection with the preparation of

19 the initial complaints, drafts of the amended consolidated complaints, mediation statements, and

20 subsequent written and verbal mediation exchanges; (v) research and analysis regarding remedial

21 commitments negotiated in the related regulatory and private actions, Apple's corporate governance and

22 oversight policies and practices, the corporate governance and brand management best practices of peer

23 corporations, and relevant internal policies provided by Apple during the course of settlement

24 negotiations; (vi) additional legal and factual research conducted in connection with preparing responses

25 to Defendants' mediation statement and anticipated arguments in the lead up to the two in-person

26 mediation sessions, and over the course of the subsequent mediation exchanges; (vii) research, analysis,

27 and calculation of the broad range of out-of-pocket damages and development of sources and models for

28 estimating lost sales and revenues; (viii) review and analysis of materials provided by Apple during the
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 1 course of the mediation; and (ix) extensive pre- and post-mediation settlement discussions with the

 2 Mediator and counsel for Defendants.

 3          51.    Judge Philips confirms that Plaintiffs' Counsel's extensive investigation and analytic work

 4 were evident in their mediation briefs and settlement demand, in their performance throughout the

 5 months-long mediation process, and in the results. See Declaration of Layn R. Phillips in Support of

 6 Motion for Final Approval of Settlement and Award of Attorneys' Fees and Expenses ("Phillips Decl."),

 7 ¶¶18-20 (filed concurrently herewith).

 8          52.    As a result, when the agreement in principle was reached on the material substantive terms

 9 of the Settlement, Plaintiffs' Counsel had a clear understanding of the potential risks and rewards of
10 pursuing further litigation; how Apple's and its shareholders' interests would be impacted across the broad

11 range of possible litigation scenarios and outcomes; and the remedial measures that would be necessary

12 to: (i) ensure the Company will not suffer the consequences of similar mishandling of future product

13 performance issues; and (ii) restore Apple's credibility with its customers, whose loyalty keys the

14 Company's performance and ability to maximize long-term shareholder value. ECF No. 70 at 11, 16-17.

15 In sum, Plaintiffs' Counsel's determination that the economic value of the benefits guaranteed by the

16 Settlement far outweigh the value of any probable risk-adjusted monetary recovery that might be secured

17 through further litigation is well-informed.

18          C.     The Settlement Confers Substantial Benefits on Apple and Its Shareholders
19          53.    The Settlement guarantees Apple and its shareholders the benefits of a comprehensive set
20 of policy, governance, internal controls, and oversight enhancements designed to address the specific

21 policy, decision-making, and oversight lapses they allege allowed Apple to respond to the iPhone

22 shutdown problem in ways that jeopardized customer loyalty and resulted in significant legal-regulatory

23 exposure in domestic and international markets. The Enhancements will substantially reduce the

24 likelihood that the Company will suffer the potentially catastrophic losses that would attend similar

25 mishandling of future product performance issue and related brand challenges, and lay the foundation

26 necessary for restoring customer trust and strengthening Apple's brand equity. Stip., Ex. A; ECF No. 70

27 at 19-21. The Enhancements confer real and substantial economic value upon Apple and its shareholders

28
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 1 that almost certainly exceeds the probable range of recovery at trial, particularly when discounted for the

 2 enormous risk, costs, delays, and disruption further litigation in pursuit of such a recovery would entail.

 3          54.    For the reasons set forth in detail in his declaration, Professor Keller confirms Plaintiffs'

 4 conclusion that the Enhancements will deliver real, lasting, and substantial economic value far greater

 5 than any likely monetary award that might be obtained through further litigation. In sum:

 6          55.    First, "the Enhancements' strong brand governance polices, decision-making and

 7 oversight regime will substantially reduce the probability that Apple will suffer the consequences of

 8 another mishandled brand crisis" with even more serious immediate costs and long-term damage to

 9 Apple's brand equity. 6 See Keller Decl. ¶115. The Enhancements' transparency and risk oversight
10 policies and procedures go to the heart of Apple's alleged mishandling of the iPhone shutdown problem

11 that led to the brand crisis—namely, Apple's alleged lack of speed, lack of transparency, and perceived

12 abuse of its customers' trust that routine iOS updates would only be used to enhance, not degrade,

13 iPhone performance. Id., ¶¶82-87, 116-20. How the essential elements of the Enhancements' four

14 major components will operate to achieve this result is detailed and explained in Plaintiffs' motion in

15 support of preliminary approval (ECF 70 at 19-21), and explicated in further detail by Professor Keller.

16 Keller Decl., ¶¶123-49.

17          56.    While the value of preventing future missteps cannot be determined with precision, even
18 aggressively discounting the likelihood of recurrence absent the Enhancements and the Enhancements'

19 effectiveness in preventing recurrence, the magnitude of the harm Apple suffered in the wake of the PMP,

20 which Professor Keller concurs includes nearly half a billion dollars in immediate legal-regulatory costs

21 and billions in lost sales and long-term brand equity-related losses (id., ¶¶82-106); the inevitability of

22
     6
       "The concept of 'brand equity' is used to summarize the power of brands … [and] 'consists of the
23
     marketing effects uniquely attributable to a brand.… [B]rand equity explains why different outcomes
24   result from the marketing of a branded product or service than if it were not branded.'" Declaration of
     Kevin Lane Keller in Support of Motion for Final Approval of Settlement and Award of Attorneys' Fees
25   and Expenses ("Keller Decl."), ¶36 (filed concurrently herewith). "Brands can motivate customers or
     potential customers to purchase a product or service and to pay a price premium for it…. As a result of
26   these dynamics, strong brands can confer significant competitive advantages over existing competitors
     and potential market entrants." Id., ¶35. "Marketing academics and practitioners understand that brands
27
     can be extremely valuable, and, once established, may comprise a substantial share of a firm's overall
28   value." Id., ¶36.
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 1 future product performance issues that will require effective brand management responses (id., ¶116);

 2 and the probability that Apple would suffer far greater immediate and long-term loss in the event of a

 3 future brand crisis (id., ¶104), the prophylactic value of the Enhancements, standing alone, likely ranges

 4 into the hundreds of millions of dollars. Id., ¶¶82-149.

 5          57.     Second, the Enhancements' rigorous customer-oriented brand management policies,

 6 combined with strengthened monitoring, reporting, escalation, and oversight procedures and governance

 7 will significantly improve corporate decision-making, not just in responding to brand challenges, but

 8 across the broad range of brand management decisions that are necessary to preserve and increase the

 9 brand equity that is central to Apple's enterprise value. ¶¶69-81.
10          58.     As Professor Keller observes, "there is broad recognition among management academics

11 and business leaders that effective brand management requires strong brand management policies,

12 internal controls, decision-making procedures, and oversight, as much as well-funded and properly

13 focused external brand activities, like advertising, marketing and promotions. Id., ¶107. This principle

14 is so broadly accepted, in fact, that it is now part of the core curriculum taught in business schools." Id.

15 In short, strong brand governance produces better brand management and a more valuable and resilient

16 brand. Apple's strengthened customer-centric policies requiring timely and transparent responses to

17 complaints or field performance issues and clear explanations of iOS contents, combined with enhanced

18 monitoring, reporting, information flows, decision-making processes, and rigorous oversight, will ensure

19 transparency and produce better brand management decisions, preserving and strengthening Apple brand

20 equity. Id., ¶124 ("the Settlement's enhanced risk oversight regime is exemplary in this regard").

21          59.     Third, the Enhancements will be recognized as a credible and effective corporate remedial

22 response to the PMP, and contribute significantly to Apple's efforts to re-build trust in the brand promise

23 and in Apple's commitment to brand values, strengthening brand equity. The Enhancements confer

24 substantial additional economic value by providing the credible institutional response necessary to restore

25 and to maintain customer trust. As Professor Keller observes:

26          Adopting a strong set of principles and implementing them through a strong governance
            framework provides structural assurances that the company will properly and
27          transparently manage future branding discrepancies in a way that will effectively bring
            diverging products back into alignment with the brand promise. Such measures have
28          powerful signaling effects that help to re-build the credibility of the brand promise and the
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 1          firm's commitment to brand values—essential elements in increasing brand equity and
            making it more resilient to the expected and unexpected challenges that will arise over the
 2          life of the brand. Conversely, failure to implement credible institutional remedies in the
            wake of a brand crisis not only leaves residual doubts unaddressed, but can itself become
 3          reason to doubt the credibility of the firm's commitment to the brand promise and brand
            values.
 4
     Id., ¶113.
 5

 6          60.     The Enhancements credibly demonstrate Apple's commitment "to change internally to

 7 ensure that its response to future problems is consistent with the brand promise and brand values" (id.,

 8 ¶151) "through a combination of concrete policy commitments; monitoring, escalation, and decision-

 9 making protocols and controls; and correlative management- and Board-level oversight regimes … a
10 substantive, thoughtful, and credible institutional response to the missteps of the Batterygate episode."

11 Id., ¶152. Professor Keller concludes that "in the context of Apple's business, the combined economic

12 value of substantially reduced risks of future loss and brand equity damage, the institutional reforms'

13 contributions to re-building and maintaining brand credibility, and the market effects of lower perceived

14 brand-related risks of investing in Apple will almost certainly range into the hundreds of millions of

15 dollars." Id., ¶154.

16          D.      The Substantial Risks, Expense, Complexity, and Likely Duration of Further
                    Litigation Support the Settlement
17

18          61.     Our research, analysis, experience, exchanges with defense counsel, as well as with
19 Apple's representatives and Judge Phillips, and consultations with experts in the relevant fields lead us to

20 conclude that the probability that Plaintiffs might secure a monetary recovery of decisively greater value

21 than the Enhancements is vanishingly low, particularly when discounted by the substantial costs,

22 disruption, and delay involved, and the enormous risk that further litigation would result in no recovery.

23          62.     It is exceedingly difficult for shareholder plaintiffs to succeed in prosecuting shareholder
24 derivative actions. The challenges begin at the pleading stage. The demand futility requirement is

25 satisfied only under extraordinary conditions. The challenges confronting Plaintiffs in the present matter

26 are especially daunting. This case does not involve allegations of direct conflicts of interest or self-

27 dealing. Plaintiffs allege a so-called Caremark claim predicated on allegations that a majority of Apple's

28 directors consciously disregarded their duty of oversight—a claim widely recognized as "possibly the
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 1 most difficult theory in corporation law upon which a plaintiff might hope to win a judgment." In re

 2 Caremark Int'l. Inc. Derivative Litig., 698 A.2d 959, 967 (Del. Ch. 1996); see Kanter v. Reed, 92 Cal.

 3 App. 5th 191, 206-09 (2023) (adopting Caremark standard for director oversight liability). 7 Plaintiffs

 4 would have to demonstrate the futility of making a demand on Apple's super-majority independent Board

 5 through particularized facts demonstrating that most face a substantial likelihood of liability for utterly

 6 failing to exercise oversight. See Fed. R. Civ. P. 23.1; Cal. Corp. Code § 800(b)(2). Notwithstanding

 7 Plaintiffs' confidence in their claims, the complexity of the technological and business considerations at

 8 issue would allow Defendants to assert a number of plausible business reasons for their decisions other

 9 than conscious disregard of duty. The Demand faces even greater challenges.
10          63.    Even were Plaintiffs to prevail at the pleading stage, the Board could appoint an
11 independent committee composed of disinterested board members ("special litigation committee") tasked

12 with investigating and determining whether to permit plaintiffs to pursue the claims or to move to

13 terminate the litigation. In addition to compounding delay, expense, and complexity, the decision of such

14 a committee to terminate litigation is protected by the business judgment presumption, and the odds of

15 defeating a motion to terminate are low.

16          64.    Defeating a special litigation committee motion to dismiss would permit Plaintiffs to move

17 on to the merits phase, but would not improve their chances of success. Plaintiffs would have to build a

18 circumstantial case for liability based upon a mountain of complex business and financial records, and

19 secure evidence sufficient to overcome motions for summary judgment predicated on the business

20 judgment presumption that directors act on an informed basis and in good faith. Plaintiffs would confront

21 the exculpatory provision of Article V of Apple's Restated Articles of Incorporation adopted pursuant to

22 Section 204(a)(10) of the California Corporations Code, which forecloses monetary damages absent

23 proof of disloyalty, bad faith, intentional misconduct, receipt of an improper personal benefit, or a

24 knowing violation of law. Pursuing the necessary discovery would be an enormously complex, costly

25 and years-long undertaking. After documents are gathered and analyzed, dozens of percipient witnesses

26

27   7
    Here, as throughout, all emphasis is added and citations and footnotes are omitted unless otherwise
28 noted.
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 1 would have to be deposed concerning exceedingly complex facts. Expert reports would have to be

 2 prepared and expert depositions taken.

 3          65.     When and if the case reached trial, Plaintiffs would have to present their case primarily

 4 through the testimony of hostile percipient witnesses, some of whom may be unavailable or unable to

 5 recall critical information. Plaintiffs would have to prove damages in a battle of experts. The trier of fact

 6 could react to the evidence in unpredictable and unfavorable ways.

 7          66.     Even victory at trial would afford no guarantee of a meaningful recovery. Plaintiffs would

 8 have to defend any favorable judgment through post-trial motions and appeals, where numerous verdicts

 9 in shareholder actions have been vacated or modified over the years, and then seek to enforce it.
10          67.     Weighed against these and other risks, including the very real risk of no recovery after
11 years of litigation, the Settlement's guaranteed benefits far outweigh the speculative potential for a one-

12 time monetary recovery of decisively greater value.

13          E.      The Board's Decision to Approve the Settlement Warrants Deference
14          68.     The Board, including each of its independent, non-employee directors, as well as the
15 members of the DEC, advised by experienced in-house and outside counsel, unanimously approved the

16 Settlement as serving the best interests of Apple and its shareholders. Stip. at 10, 16. The Board's

17 reasonable exercise of business judgment merits deference.

18          F.      The Absence of Shareholder Objections Confirms the Settlement Is Sound
19          69.     To date, no objection has been filed and counsel are unaware of any objections to the
20 Settlement.    This strongly favors approval, particularly given the dozens of institutions that hold
21 substantial positions in Apple stock.

22 V.       THE AGREED FEE AND EXPENSE AMOUNT IS FAIR AND REASONABLE
23          A.      The Parties' Agreement Is the Product of Arm's-Length Negotiations
24          70.     Given the Parties' negotiated agreement on the Fee and Expense Amount, the Court need
25 only determine whether the agreed amount falls within the range of reasonableness. Where, as here, the

26 fee negotiations were conducted at arm's-length and there is no evidence of collusion or that the agreed

27 Fee and Expense Amount would confer an unreasonable windfall, we respectfully submit that the Parties'

28 agreement should be afforded substantial deference.
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 1          71.    The Parties agree that "the Enhancements confer substantial benefits upon Apple and its

 2 shareholders" and warrant the $6 million Fee and Expense Amount to Plaintiffs' Counsel. Stip., ¶¶2, 17.

 3 This agreement was reached following extensive arm's-length negotiations between sophisticated parties

 4 represented by experienced and well-informed counsel. See ¶¶34-41, supra; Phillips Decl., ¶¶15-20. The

 5 negotiations were facilitated by the Judge Phillips, an experienced and reputable mediator. The fee

 6 negotiations began only after the Parties had reached agreement on the substantive Settlement

 7 consideration, eliminating any possibility of collusion. See also Phillips Decl., ¶15. The negotiations

 8 were substantive and focused on the relevant factors identified in applicable case law, including the award

 9 amount in relation to the value of the Settlement benefit and fee awards approved in comparable cases.
10 See also id., ¶¶15-20.

11          72.    Based on his vast experience mediating hundreds of derivative settlements, Judge Phillips
12 confirms the Parties' agreement that the amount he proposed to bridge the gap in the Parties' respective

13 positions and ultimately accepted by the Parties "is consistent with fee and expense awards approved in

14 reasonably comparable derivative settlements … and … is fair and reasonable in relation to the substantial

15 value of the Settlement benefit, the quality of Plaintiffs' Counsel's advocacy, and the substantial

16 contingency risks they assumed in investing the considerable time and effort required to secure the

17 Settlement." Id., ¶20.

18          73.    We respectfully submit that, in the absence of red flags suggesting collusion, an extreme
19 imbalance in negotiating power, or indications that the agreed amount would confer an unreasonable

20 windfall, the Parties' agreement merits substantial deference.

21          B.     The Agreed Fee and Expense Amount Is Reasonable in Relation to the Value of the
                   Settlement Benefit
22

23          74.    While it may not be possible to estimate the Enhancements' precise economic value, this
24 does not mean that estimates as to their probable range of economic value are speculative. Based on his

25 deep knowledge of the academic literature and decades of consulting for some of the world's most

26 valuable brands, Professor Keller confirms "with confidence" our conclusion that by "ensuring that the

27 Apple brand is properly monitored and managed to avoid such financially disastrous brand crises, the

28 Enhancements are likely to confer economic value ranging into the hundreds of millions of dollars, if not
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 1 more, and orders of magnitude greater than the $6 million Fee and Expense Amount Apple has agreed

 2 Plaintiffs' Counsel should receive in consideration for their efforts in securing the Enhancements through

 3 the Settlement." Keller Decl., ¶7; see id., ¶154 ("[I]n the context of Apple's business, the combined

 4 economic value of substantially reduced risks of future loss and brand equity damage, the institutional

 5 reforms' contributions to re-building and maintaining brand credibility, and the market effects of lower

 6 perceived brand-related risks of investing in Apple will almost certainly range into the hundreds of

 7 millions of dollars."). Accordingly, the agreed Fee and Expense Amount is fair and reasonable in relation

 8 to the value of the Settlement benefit.

 9          75.    The Fee and Expense Amount agreed upon by the Parties here is in line with awards
10 approved in corporate governance-based derivative settlements of comparable magnitude and

11 complexity, and similar recoveries. See, e.g., In re Alphabet Inc. Shareholder Deriv. Litig., Lead Case

12 No. 19CV341522, slip op. (Cal. Super. Ct., Santa Clara Cnty. Nov. 30, 2020), and Irving Firemen’s Relief

13 and Ret. Fund v. Page, C.A. No. 2019-0355-SG, Transcript (Del. Ch. Dec, 23, 2020) (combined $40.3

14 million in attorneys' fees) (Exs. 2-4); In re Altria Group, Inc. Derivative Litig., No. 3:20-cv-00772-DJN,

15 slip op. (E.D. Va. Feb. 20, 2023) ($15 million in attorneys' fees) (Ex. 18); In re Google Inc. S'holder

16 Derivative Litig., No. 4:11cv-04248-PJH, slip op. (N.D. Cal. Jan. 21, 2015) ($9.9 million in attorneys'

17 fees) (Exs. 5-6); In re Motorola, Inc., Derivative Litig., No. 07CH23297, slip op. (Ill. Cir. Ct.-Cook Cty.

18 Nov. 29, 2012) ($9.5 million in attorneys' fees) (Ex. 7); Unite Nat'l, 2005 WL 2877899, at *5 ($9.2

19 million in attorneys' fees); Lambrecht v. Taurel, 2010 U.S. Dist. LEXIS 75633 (S.D. Ind. June 8, 2010)

20 ($8.75 million in attorneys' fees); Wolfson v. Spiegel, Case No. BC720152, slip op. (Cal. Super. Ct.–Los

21 Angeles Cnty. Jan. 12, 2021) ($7.5 million in attorneys' fees) (Exs. 8-9); In re: Lifelock, Inc. Derivative

22 Litig., No. CV2015-054087, slip op. (Ariz. Super. Ct.-Maricopa Cnty. Sept. 8, 2016) ($6 million in

23 attorneys' fees) (Exs. 10-11); In re Alphatec Holdings, Inc. Derivative S'holder Litig., No. 37-2010-

24 58586-CU-BT-NC, slip op. (Cal. Super. Ct.-San Diego Cnty. Aug. 18, 2014) ($5.25 million in attorneys'

25 fees) (Exs. 12-13); In re F5 Networks, Inc. Derivative Litig., 2011 WL 13195985, at *1 (W.D. Wash. Jan.

26 6, 2011) ($5 million fee in attorneys' fees).

27          76.    Robbins LLP, Weiss Law LLP, or both, played leading roles in a number of these cases,
28 including Altria Group, Google, Motorola, Wolfson, Lifelock, Alphatec, and F5 Networks.
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 1          77.     The Board's approval of the Fee and Expense Amount merits special consideration.

 2 Unlike in class actions, where the diverging interests of class counsel and absent class members at the fee

 3 stage warrant close judicial scrutiny, as in most derivative actions, Apple, the Settlement beneficiary, and

 4 its D&O insurers, participated in the fee negotiations, were represented by experienced counsel free of

 5 any conflict, and had every incentive to negotiate the lowest reasonable fee and expense amount.

 6          78.     Based on these considerations, we respectfully submit that the Fee and Expense Amount

 7 negotiated by Apple with the assistance of counsel and approved by the Board plainly falls within a

 8 reasonable range, and there is no basis to second-guess the Board's reasonable exercise of business

 9 judgment.
10          C.      Plaintiffs' Counsel Devoted Significant Time and Expense to the Derivative Matters
11          79.     As set forth in the chart below and Plaintiffs' Counsel's respective declarations (Smith
12 Decl., Katz Decl., Quitt Decl., Herman Decl.), collectively, Plaintiffs' Counsel devoted a total of 3,675.70

13 hours to the Derivative Actions, for total lodestar of $3,019,990.25. This time was spent on tasks that led

14 directly to the recovery and, as we explain below, constitutes a conservative tally of billable hours devoted

15 to the matter.

16
                      PLAINTIFFS' COUNSEL - TOTAL HOURS & LODESTAR
17                 Federal Action         Hours     Lodestar    Multiplier Expenses
18      Robbins LLP                      1,826.50 $1,303,066.25             $48,208.04
        Weiss Law                         924.90    $916,272                $34,557.54
19                California Action
        Glancy Prongay & Murray LLP       578.30    $498,675                $42,406.92
20      Herman Jones LLP                    346     $301,977                $34,932.09
21      TOTAL                            3,675.70 $3,019,990.25            $160,104.59

22          80.     Attached hereto as Exhibit 1 is a task chart showing the total hours, rates, and lodestar for

23 each firm organized by task category (e.g., complaint drafting, factual research, contested leadership

24 motion work, settlement demands, mediations, settlement negotiations). This information was compiled

25 from information supplied in the individual firm task charts attached as Exhibit 1 to the Smith

26 Declaration, the Katz Declaration, the Quitt Declaration, and the Herman Declaration.

27          81.     Plaintiffs' Counsel also collectively incurred total expenses of $160,104.59. See Smith

28 Decl., Katz Decl., Quitt Decl., Herman Decl.
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
     MOTION FOR FINAL APPROVAL OF SETTLEMENT
     Case No. 4:19-cv-05153-YGR                                                                           23
 1         82.     A lodestar cross-check on the agreed Fee and Expense Amount is unnecessary here

 2 because, as shown above, the agreed Fee and Expense Amount plainly would not confer a windfall.

 3 Regardless, after total expenses ($160,104.59) are deducted, the net Fee and Expense Amount

 4 ($5,839,895.41) constitutes a multiple of 1.93 on Plaintiffs' Counsel's conservatively calculated total

 5 lodestar of $3,019,990.25, which is well within the range deemed reasonable by courts in this and other

 6 Circuits, confirming the agreed Fee and Expense Amount would not confer an unreasonable windfall.

 7         D.      The Proposed Service Awards to Each Plaintiff Are Reasonable

 8         83.     In recognition of Plaintiffs' essential role in securing the Settlement's substantial benefits

 9 for Apple and its shareholders, we respectfully request that the Court approve a nominal service award
10 of $5,000 for each, to be paid from the Fee and Expense Amount. Stip., ¶23. Defendants do not oppose

11 this request. The proposed awards are well within the range generally approved by courts, and, because

12 they will be paid from the Fee and Expense Amount, they will not reduce the value or increase the costs

13 of the benefits secured for the Company.

14         84.     Attached hereto are true and correct copies of the following exhibits:
15         Exhibit 1:     Plaintiffs' Counsel's Combined Lodestar Task Chart;
16         Exhibit 2:     Order After Hearing on November 30, 2020 and Judgment, In re Alphabet Inc.
                          Shareholder Deriv. Litig., Lead Case No. 19CV341522 (Cal. Super. Ct., Santa
17                        Clara Cnty. Nov. 30, 2020);
18
           Exhibit 3:     Order Concerning Motion for Award of Attorneys' Fees and Expenses, In re
19                        Alphabet Inc. Shareholder Deriv. Litig., Lead Case No. 19CV341522 (Cal. Super.
                          Ct., Santa Clara Cnty. Feb 5, 2021);
20
           Exhibit 4:     Telephonic Hearing and Rulings of the Court on Plaintiff's Motion for Approval
21                        of Fees and Expenses, Irving Firemen's Relief and Retirement Fund v. Page, C.A.
                          No. 2019-0355-SG (Del. Ch. Dec. 23, 2020);
22
           Exhibit 5:     Stipulation of Settlement, In re Google Inc. S'holder Derivative Litig., No. 4:11cv-
23
                          04248-PJH (N.D. Cal. Aug. 7, 2014);
24
           Exhibit 6:     Order Approving Derivative Settlement and Order of Dismissal with Prejudice, In
25                        re Google Inc. S'holder Derivative Litig., No. 4:11cv-04248-PJH (N.D. Cal. Jan.
                          21, 2015);
26
           Exhibit 7:     Order and Final Judgment, In re Motorola, Inc., Derivative Litig., No. 07CH23297
27                        (Ill. Cir. Ct.-Cook Cty. Nov. 29, 2012);
28
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
     MOTION FOR FINAL APPROVAL OF SETTLEMENT
     Case No. 4:19-cv-05153-YGR                                                                           24
 1          Exhibit 8:      Stipulation and Agreement of Settlement, Wolfson v. Spiegel, Case No. BC720152
                            (Cal. Super. Ct.–Los Angeles Cnty. Aug. 12, 2020);
 2
            Exhibit 9:      Final Order and Judgment, Wolfson v. Spiegel, Case No. BC720152 (Cal. Super.
 3                          Ct.–Los Angeles Cnty. Jan. 12, 2021);
 4
            Exhibit 10:     Stipulation of Settlement, In re: Lifelock, Inc. Derivative Litig., No. CV2015-
 5                          054087 (Ariz. Super. Ct.-Maricopa Cnty. June 30, 2016);

 6          Exhibit 11:     Order Approving Shareholder Derivative Settlement, In re: Lifelock, Inc.
                            Derivative Litig., No. CV2015-054087 (Ariz. Super. Ct.-Maricopa Cnty. Sept. 8,
 7                          2016);
 8          Exhibit 12:     Stipulation of Settlement, In re Alphatec Holdings, Inc. Derivative S'holder Litig.,
                            No. 37-2010-00058586-CU-BT-NC (Cal. Super. Ct.-San Diego Cnty. Apr. 15,
 9
                            2014);
10
            Exhibit 13:     Order and Final Judgment, In re Alphatec Holdings, Inc. Derivative S'holder Litig.,
11                          No. 37-2010-00058586-CU-BT-NC. (Cal. Super. Ct.-San Diego Cnty. Aug. 18,
                            2014);
12
            Exhibit 14:     McKinsey & Company Investor Opinion Survey, McKinsey & Company (June
13                          2000);
14
            Exhibit 15:     Reporter's Transcript of Proceedings, In re Google Inc. S'holder Derivative Litig.,
15                          Case No. 4:11-cv-04248-PJH (N.D. Cal. Jan. 21, 2015);

16          Exhibit 16:     Transcript of Final Approval Hearing, In re comScore S'holder Derivative Litig.,
                            CA No. 1:16-cv-09855-JGK (S.D.N.Y. June 7, 2018); and
17
            Exhibit 17:     Order and Final Judgment, In re Altria Group, Inc. Derivative Litig., No. 3:20-cv-
18                          00772-DJN (E.D. Va. Feb. 20, 2023).
19          I declare under penalty of perjury under the laws of the United States of America that the
20 foregoing is true and correct.

21                                                                     /s/ Craig W. Smith
     Dated: June 25, 2024
22                                                                    CRAIG W. SMITH
23          I declare under penalty of perjury under the laws of the United States of America that the
24 foregoing is true and correct.

25                                                                      /s/ David C. Katz
     Dated: June 25, 2024
26                                                                     DAVID C. KATZ
27

28
     JOINT DECLARATION OF CRAIG W. SMITH AND DAVID C. KATZ IN SUPPORT OF
     MOTION FOR FINAL APPROVAL OF SETTLEMENT
     Case No. 4:19-cv-05153-YGR                                                                          25
EXHIBIT 1
In re Apple Inc. Stockholder Derivative Litigation , Lead Case No. 4:19-cv-05153-YGR

Firm Name:                                      ALL FIRMS CONSOLIDATED
Reporting Period:                                5/17/2019    through                     4/30/2024

Categories:
(1) Pre-suit fact investigation & legal analysis, client consultations re potential derivative action                (10)   Research & analysis re oversight breakdown and remedial measures; Prepare and submit
                                                                                                                            settlement demand
(2) Draft, revise and file initial complaints                                                                        (11)   Update legal & factual analysis, evaluate insurance; prepare and submit mediation
                                                                                                                            statement
(3) Negotiations re consolidation and leadership; Research & analysis, draft briefs and declarations in support of   (12)   Evaluate defendants' mediation statement, research & analysis iso responses to core
    contested lead plaintiff motion                                                                                         legal and factual arguments, prepare graphics and outlines for mediation
(4) Case management and coordination; consultations with Federal and State Plaintiffs' Counsel                       (13)   Attend mediation (including travel)

(5) Track & analyze developments in ongoing related litigation and regulatory matters                                (14)   Post-mediation settlement negotiations, information exchanges, evaluate proposals and
                                                                                                                            draft counters
(6) Research & analysis, draft books and records demand and other document requests                                  (15)   Negotiate and draft settlement documentation

(7) Research & analysis, draft consolidated amended complaint                                                        (16)   Prepare preliminary settlement approval brief and declarations
(8) Search, vet, and consult with industry and corporate governance experts                                          (17)   Prepare for, travel to, and attend hearing on Motion for Preliminary Approval; Negotiate,
                                                                                                                            draft, and submit Amended Stipulation of Settlement for Preliminary Approval

(9) Research & analysis re damages and disgorgement estimates, prepare and evaluate preliminary models and           (18)   Client communications
    associated graphics

TOTAL LODESTAR
                                                                                                                                                                                        Total
FIRMS                                      1     2     3     4     5     6     7     8     9    10    11                        12    13     14    15    16    17                 18    Hours      Lodestar
Robbins LLP                            98.75 158.3 355.8 165 146.5 44.5 80.75       70 68.75 104.3 70.75                      37.5 43.5 107.75     94 130.8 35.25               14.5     1826.5 $ 1,303,066.25
Weiss Law                               52.9 94.1 69.7 68.3 60.4 33.2 10.6 22.8 12.3            43 95.8                       16.4 39.5    73.5 130.9 51.2     28               22.3      924.9 $ 916,272.00
Glancy Prongay & Murray LLP              6.9 39.8    5.3 88.5 20.7 14.3 14.5 54.4          2 38.4 35.3                          19 50.5    78.5 42.6 59.2     3.2                5.2      578.3 $ 498,675.00
Herman Jones LLP                           7 30.3 19.5 120.1 34.6 24.3       6.7     0     0   0.5 36.6                          1 18.2       0 39.1    3.3     0                4.8        346 $ 301,977.00
TOTALS                                 165.6 322.5 450.3 441.9 262.2 116.3 112.6 147.2 83.05 186.2 238.5                      73.9 151.7 259.75 306.6 244.5 66.45               46.8     3675.7 $ 3,019,990.25
EXHIBIT 2
       Case 3:20-cv-00772-DJN Document 149-8 Filed 12/16/22 Page 2 of 13 PageID# 1963



                                                                                           Electronically Filed
                                                                                           by Superior Court of CA,
                                                                                           County of Santa Clara,
                                                                                           on 11/30/2020 4:03 PM
                                                                                           Reviewed By: R. Walker
                                                                                           Case #19CV341522
                                                                                           Envelope: 5379455




                                              SUPERIOR COURT OF CALIFORNIA
                                                    COUNTY OF SANTA CLARA


                                                                            Lead Case No.: 19CV341 522
       IN RE ALPHABET INC. SHAREHOLDER
       DERIVATIVE LITIGATION                                                ORDER AFTER HEARING 0N
                                                                            NOVEMBER 30, 2020 AND
                                                                            JUDGMENT
                                                                            (1) Motion for Final Approval of
 15                                                                              Derivative Settlement
                                                                            (2) Motion for  Award of Attorneys’
.16                                                                              Fees and Expenses

 I7




                 The above—entitled matter came on regularly for hearing 0n Monday, November 30,

 20    2020 at 1:30 p.m.} in Department 1 (Complex Civil Litigation), the Honorable Brian C. Walsh

 21    presiding.     A tentative ruling was issued prior to the hearing, which no party challenged. The
 22    appearances are as stated in the record. Having reviewed and considered the written

 23    submissions of a1]. parties and beihg fully advised, the Court adopts the tentative ruling and

 24-   enters judgment as follows:


 25


 26              These consolidated shareholder derivative actions arise from allegations that ofﬁcers

 27    and directors 0f Alphabet, Inc., the parent company of Google LLC, breached their ﬁduciary

 28    duties and committed other misconduct in connection with muIti-million—dollar severance




       [n re Alphabet Inc. Shareholder- Der/Tvative Litigation,
       Superior Court ofCalifornia, County ofScmta Clara, Lead Case No. 19CV341522
       Order After Hearing on November 30, 2020 and Judgment
       [Motionfor Final Approval ofDerivatz've Settlement; Motionfor Award qf/Ittomeys’ Fees and Expenses]
     Case 3:20-cv-00772-DJN Document 149-8 Filed 12/16/22 Page 3 of 13 PageID# 1964




     awards t0 male executives accused 0f assaulting female employees, amid a broader culture 0f

     discrimination against women at the company.             The plaintiffs also allege claims arising from a

     data breach impacting the G00g16+ service.

              The parties reached a settlement, which the Court preliminarily approved in an order

     ﬁled 0n October 22, 2020. The factual and procedural background 0f the action and the

     Court’s initial analysis 0f the settlement are set forth in that order and are not repeated here.

              Before the Court are plaintiffs’ motions for ﬁnal approval 0f the settlement and for

     approval 0f their attorney fees and costs. Plaintiffs” motions are unopposed, but two Google

     shareholders ﬁled written Objections t0 the settlement.

10


1|
     I.   Legal Standard for Approving a Derivative Settlement

12            “A court reviewing a settlement agreement considers Whether the proposed settlement

13   is fair and   reasonable in light 0f all relevant factors. [Citations]           A court reviews the
     settlement 0f a derivative suit as a means Ofprotectiug the interests Ofthose who are not

     directly reprcsented in the settlement negotiations.”          (Robbins v. Alibrcmdi (2005) 127

16   Cal.App.4th 438, 445.) “The duty 0f a court reviewing a settlement 0f a class action provides a

I7   useful analogy because the court in such cases seeks t0 protect the members 0f the class who,

18   like the corporation and 11011-named shareholders in a derivative suit, may have 110 independent


     representation and little control over the action.” (Id. at p. 449, fn. 2.) Thus, in evaluating the

20   fairness 0f this derivative settlement, the Court’s analysis is guided by relevant legal authorities

2]   regarding the approval 0f class action settlements.

              Generally, “questions whether a settlement was fair and reasonable, whether notice t0

23   the Class was adequate,         and whether the attorney fee award was proper are matters

24   addressed t0 thc trial court’s broad discretion.” (Wershba v. Apple Computer, Inc. (2001) 91

2S   Cal.App.4th 224, 234-235, citing Dunk v. Ford Motor C0. (1 996) 48 Ca1.App.4th 1794,

26   disapproved ofon another ground in Hernandez v, Resloration Hardware, Inc. (201 8) 4

27   Cal.5th 260.)

28            In determining   whether a class settlement is fair, adequate and reasonable, the
              trial court should consider relevant factors, such as the strength 0f plaintiffs’ case,



     [n re A lphabct Inc, Shareholder Derivative Lifiga/ion.
     Superior Com? qua/Jomia, County ofb‘mzta Clara, Lead Case N0. 1’9CV34 I522
     Order After Hearing 0n November 30, 2020 and Judgment
                                                                                  ‘


     [Morimlfor Firm! Approval QfDerz'van've Settlement; Molionfor Award QfAnomeys Fees and Expenses]
     Case 3:20-cv-00772-DJN Document 149-8 Filed 12/16/22 Page 4 of 13 PageID# 1965




               the risk, expense, complexity and likely duration 0f further litigation,                             the
               amount offered in settlement, the extent 0f discovery completed and the stage 0f
               the   proceedings,          the   experience      and views 0f counsel, the prasence 0f a
               governmental participant, and the reaction 0f the class members t0 the proposed
               settlement.


     (Wershba v. Apple Computer, Ina, supra, 91 Cal.App.4th at pp. 244-245, internal citations and

     quotations omitted.)

               The list 0f factors is not exclusive and the 001.111 is free t0 engage in a balancing and

     weighing 0f factors depending 0n the circumstances 0f each case. (Wershba v. Apple

     Computer, Ina, supra, 91 Cal.App.4th at p. 245.) The court must examine the “proposed

     settlement agreement t0 the extent necessary t0 reach a reasoned judgment that the agreement

     is not the product 0f fraud 01‘ ovel‘reaching by, 01‘ collusion between,               the negotiating parties,


     and that the settlement, taken as a whole, is fair, reasonable and adequate t0 all concerned.”

     (Ibid, quoting Dunk v. Ford Motor C0,, svmra, 48 Ca1.App.4th at p. 1801 , internal quotation

     marks omitted.)

               The burden is 011 the proponent 0f the settlement t0 show that it is fair and
               reasonable.However “a presumption of fairness exists wherc: (1) the settlement
               is   reached through arm’S-length bargaining; (2) investigation and discovery are
               sufﬁcient t0 allow counsel and the court t0 act intelligently;                       (3)   counsel    is

               sxperienced in similar litigation; and (4) the percentage ofobjectors is small.”


     (Wershba v. Apple Con/zpuler, Ina, supra, 91 Cal.App.4t11 at p. 245, citing Dunk v. Ford Motor

     C0., supra, 48 Cal.App.4th at p. 1802.)
20
               The presumption does not permit the Court t0 “give rubber—stamp approval” t0 a
2|
     settlement; in all casss, it must “independently and obj ectively analyze the evidence and
22
     Circumstances before it in order t0 determine whether the settlement is in the best interests 0f
23
     those whose claims will be extinguished,” based 011 a sufﬁciently developed factual record.
24
     (Kullar v. F00! Locker Retail, Inc. (2008) 168 Cal.App.4t11 116, 130.)



26
     II.   Terms 0f the Settlement and Notice t0 Shareholders
27
               The settlement provides for the adoptiom within 12 months 0f its effective date, 0f
28
     certain “Agreed-To Measures” summarized in the Court’s October 22'“ order granting



     1n re Alphabet Inc.   Shareholder Derivative Litigarffwz,
     Superior Court ofCa/Jomia, Com'zty ofSanra Clam, Lead Case N0. 19CV341522
     Order Aﬂer Hearing 0n November 30, 2020 cmd Judgment
     [Motionfbr Final Approval Q/‘Derz‘vmive Seft/cmem‘; zidofionjbr Award ofAtrorneys' Fees and Expenses]
      Case 3:20-cv-00772-DJN Document 149-8 Filed 12/16/22 Page 5 of 13 PageID# 1966




      prelinﬁnary approval, Which shall remain in place for at least ﬁve years.                          Key measures include
 k)
      Alphabet’s agreements t0 extend its waiver 0f mandatory arbitration t0 harassment,

      discrimination, and retaliation disputes involving Other Bets (Alphabet’s subsidiaries other

      than Google); t0 formalize and augment the duties Ofthe Leadership Development and

      Compensation Committee (“LDCC”) related t0 claims 0f sexual harassment, discrimination,

      and retaliation, as well as compensation decisions for “Senior Executives” found t0 have

      engaged in serious misconduct involving sexual harassment, sexual misconduct, 01' retaliation;

      t0 formalize and augment the duties 0f the Audit and Compliance Committee (“AC


      Committee”) and Google employees that will report t0 the AC regarding compliance, including

      the creation 0f a “rapid response” team responsible for certain cases involving “Senior

      Executives” and/or the most serious allegations; t0 create an Employee Disciplinary

      Committee t0 review the relevant investigative team’s disciplinary recommendations for

      certain cases and a Corrective Action Committee t0 make ﬁnal disciplinary determinations in


      certain cases; t0 commit t0 continuing its current practice Ofnot providing severance t0 any


      employee, including a “Senior Executive,” terminated for sexual harassment, sexual

16    misconduct, 0r retaliation while formalizing and revising related protocols; t0 commit t0

17    continue disallowing any employee, including a “Senior Executive,” investigated 0r sued for

18    such misconduct t0 modify their lObS-l plan While Google’s investigation is ongoing 0r results

l9    in a recommendation 0f termination; and t0 formally include Google values as performance

20    expectations and provide compensation—based incentives for positive behavior, while also

21    connnunicating that misconduct is considered in pay, promotions, and severance decisions.

                The Stipulation further provides that Alphabet shall estabiish and maintain a Diversity,

      Equity, and Inclusion Advisory Council (the “DEI Advisory Council”) for at least ﬁve years

      from the effective date 0f the settlement. The DEI Advisory Council will be responsible for

      overseeing the creation, illlplementation, and ongoing operation 0f the Agrced—TO Measures.                           It



      will have three internal members, in addition t0 Alphabet’s                   CEO Sundar Pichai for the ﬁrst
      year, as well as a minimum 0f three external members with expertise in diversity, inclusion,


      equity and/or sexual harassment.              The external members will be Judge Nancy Gemler (Rem,



      [n re AZp/zabet Inc. Shareholder Derivative Litigation,
      Superior Court OfC'ah’fbmz‘a, County ofSanm Cfm'cr. Lead Case N0. 19CV341522
      Order Aﬂer Heaa'ing on November 30, 2020 (md Judgment
                                                                                            ’


      [A/{otionfor Final Approval Q/‘Derivative Se!!!ement,‘ A/fotionjbz'Award ofArlomeys       Fees and Expenses]
     Case 3:20-cv-00772-DJN Document 149-8 Filed 12/16/22 Page 6 of 13 PageID# 1967




     Grace Speights, and Fred Alvarez, who were jointly selected by Alphabet and plaintiffs’ co-

     ]ead counsel.     The DEI Advisory Council will meet at least once per quarter and external

     members are free t0 meet without other members. Representatives 0f the council will

     participate in at least one annual meeting with the LDCC, and the council will provide written


     quamerly reports t0 the CEO and LDCC for three years, which may thereafter be made annual.

              Finally, Alphabet shall cause t0 be spent a total 0f $3 10 million over the course 0f up t0


     10 years 0n the following workplace initiative and programs (the “Workplace Initiative”):


     (1) Expanding the p001 0f technologists, especially those who are diverse, historically


     underrepresented, and/or disadvantaged, including by increasing educational and career

     opportunities through investments in computcr science programs t0 build computer science

     talent; {2) Hiring, progression, and retention 0f historically underrepresented talent at Alphabet


     and in particular at Google; (3) Fostering respectful, equitable, and inclusive workplace

     cultures; and (4) Helping historically underrepresented groups and individuals succeed With


     their businesses and in the digital economy and tech industly, including by supporting


     conferences and events and increasing access t0 digital tools and Opportunities. The Chief

     Diversity Ofﬁcer will be responsible for tracking the Spending 0f this funding, and will report

     annually t0 the LDCC and the DEI Advisory Council.

              In exchange for the measures described above, the individual defendants, Alphabet, and


     their Related Persons will obtain a release 0f all claims

20            that Alphabet, the Settling Stockholders derivatively  0n behalf 0f Alphabet, 01‘
              any Alphabet stockholder derivatively 011 behalf 0f Alphabet (i) asserted in any 0f
21
              the complaints ﬁled in the Litigations 01‘ in the Demands in the Settled Matters, 01‘

22            (ii)   could have asserted in any court, tribunal, forum, 01' proceeding, arising out 0f,
              relating      t0,   0r     based     upon       the   facts,   allegations,   events,   disclosures,
23            nondisclosures,          occurrences, represantations, statements, matters, transactions,
              conduct, actions, failures t0 act, omissions, 0r circumstances that were alleged 01‘
              referred t0 in any 0f the complaints ﬁled in the Litigations 01‘ in the Demands in
              the Settled Matters; provided, however, that the Released Stockholder Claims
              shall not include (i) any claims asserted in the pending stockholder and  consumer
26
              class actions captioned In re Alphabet, Inc. Securi/‘ies Litigation, Lead Case N0.
              4:18—CV—6245HJSW (ND, (3211.), and [n re Google Plus Proﬁle Ling, Case NO.
27
              5:18-CV-6164-EJD (ND. Cal), (ii) any claims relating t0 the enforcement 0f the
28            Settleant 01’ this Stipulation, 0r (iii) any claims that arise out 0f 01‘ are based
              upon any conduct 0f the Released Defendant Persons after the Effective Date.


     In re Alphabet Inc. Shareholder Derivative Litigation,
     Superior Cour! ofCalz‘fbmia, Cotmzy omeztcr Clara Lead Case Na      190841522
     Order After Hearing on November 30, 2020 and Judgment
     [Moiimzfm' Find Approval! ofDerz’van’ve Settlement; zbiotionjbr Award af/Momqys” Fees and Expenses]
     Case 3:20-cv-00772-DJN Document 149-8 Filed 12/16/22 Page 7 of 13 PageID# 1968




              Defendants have agreed not t0 oppose an award 0f fees and expenses 0f up t0 $29

     million. Notice 0f the settlement has 110w been provided t0 shareholders in the manner


     directed at preliminary approval.            The notice and stipulation 0f settlement were posted online

     and will remain available through ﬁnal approval. The notice was ﬁled by Alphabet in a Form

     8-K with the SEC 011 October 23, 2020. The summary notice was published in the weekly

     national edition 0f Investor ’s Business Daily 011 October 26, 2020.                     The notices provided that

     Alphabet shareholders would have until November 16, 2020 t0 submit a written objection t0

     the settlement 01‘ proposed fee and expense award t0 plaintiffs’ counsel.                     Only two shareholders

     have ﬁled objections, which are addressed below.



     III.   Fairness Ofthe Settlement

               At preliminary approval, the Court found that the proposed settlement is fair and

     reasonable t0 Alphabet Shareholders considering the beneﬁts it provides in relation t0 the risks

     0f continued litigation. After discussing the merits of plaintiffs’ claims and their associated

     risks, the Court concluded:


                  [T]he settlement 0f this California Action is fair and reasonable for purposes 0f
               preliminary approval.     While some 0f the allegations underlying plaintiffs’
               complaints are scandalous, their path t0 wresting control 0f this action from the
              Board and, in particular, the [Special Litigation Committee (“SLC”)]$ is difﬁcult
              and uncertain. The merits are hotly disputed, and continuing t0 battle them out in
              public may well d0 the company more harm than good given the nature 0f the
               claims and the uncertain recovery              at issue.       The settlement provides signiﬁcant
               value t0 Alphabet in the form 0f meaningful governance reforms and ﬁnancial
21             commitments addressed t0 the issues giving rise t0 these actions. Ultimately, the
               Court believes that preventing funher incidents like those described by plaintiffs
22
               will be more valuable t0 the company and its shareholders than any likely
               ﬁnancial recovery in this action, and it appears that the reforms negotiated by the
23
               parties are well-designed t0 accomplish this.
24

               The Court’s preliminary conclusions are fuﬁher supported by declarations from two
25

     individuals with relevant expertise: Professor Suzanne B. Goldberg 0f Columbia Law School
26

     and Professor Daniel J. Morrissey 0f Gonzaga University School 0f Law. Professor Goldberg
27
     has deep experience in law and policy related t0 workplace sexual harassment and other forms
28

     0f employment discrimination and was retained by plaintiffs’ co—lead counsel in this matter 0n


     In re Alphabet Inc, Shareholder Derivative Liifgan'on,
     Superior Court ofCaflfamz‘a, Couriry ofS’mzm C/am, Lead Case N0.     I   90/341522
     Order Aﬂer Hearr’ﬁg 0n November 30, 2020 andJudgmem
                                                                                          '




     [ﬁrlott‘onfor Fina! Approval ofDe/‘ivan've Settlement; Motionfor Award of/Itrorrreys Fees and Expenses]
     Case 3:20-cv-00772-DJN Document 149-8 Filed 12/16/22 Page 8 of 13 PageID# 1969




     January 6, 2020, as settlement efforts began. She declares that she has consulted with

     plaintiffs’ co-lead counsel 0n all aspects 0f the development 0f the settlement agreement since


     she was retained, and explains her belief that the various aspects 0f the settlement will “reform

     systems that permitted sexual harassment, discrimination and retaliation and enabled rewards

     for those who were credibly accused 0f sexual misconduct in the past,” discussing how key


     aspects 0f the settlement will further this goal.                She describes the qualiﬁcations 0f the three

     independent members 0f the DEI Advisory Council, which are considerable, and explains how

     the structure and duties of the Council and the access it will have will allow it t0 ensure that

     Alphabet does not regress 111 its efforts regarding workplace equity and continues t0 adopt

     state-Of—thewart policies and plans t0 prevent and respond t0 harassment, discrimination, and


     retaliation throughout its workforce.


                Professor Morrissey has expertise in securities litigation, including derivative suits like

     this one, and concludes that the corporate governance refmms achieved by the settlement are


     extremely valuable t0 Alphabet and its shareholders, likely in excess 0f $100 million.                        He

     explains how the various reforms provided by the settlement will reduce the risk that sexual

     misconduct by a senior ofﬁcer will g0 unaddressed in the future, which is particularly

     important given the importance 0f Google’s employees t0 the company’s long-term value and

     the prior negative impact 0n stockholder value arising from credible allegations 0f sexual

19   misconduct at Alphabet that was allowed 1'0 faster. While acknowledging that it is impossible

20   t0 state precisely the dollar value 0f the beneﬁts conferred 0n Alphabet by the settlement, he

2|   “conﬁdently” and persuasively concludes that they will be very substantial over the long term.

                Thc ﬁrst objection t0 the settlement is by a John Doe Shareholder, who is represented

     by attorney Chris Baker in unrelated litigation against Alphabet] Doe raises various criticisms




         Plaintiffs object t0 the Court’s consideration 0f Doe’s objection and contend that it is not supported by admissible
     i




     evidence.    Because the objection ultimately does not impact the Court’s ruling, it need not rule 0n plaintiffs’
     Objections t0     (See, e.g., Code Civ. PI‘OC., § 437C, subd. (q) [in summary judgment context, “the court need rule
                     il'.




     only 011 those objections t0 evidence that it deems material 10 its disposition ofﬂw motion. Objections 1'0 evidence
     that are not ruled 0n for purposes offhe motion shall be preserved for appellate review.”].) Plaintiffs” request for
     judicial notice 0fthe fact that Mr. Baker represents plaintiffs in several Private Attorneys General AcI actions
     against Alphabet and/Ol' Google (Bx.       1   to plainliffs’ November 19f", 2020 request) is   GRANTED. (Evid. Code,
     § 4S2, subds. (c)
                       and (l1).)

     1n rc Aliphabcf Inc. Shareho/dcr Derivative Lz'lz’gmion,
     Superior Cour! QfCC/lifor‘nia, County ofSanm Clam, Lead Case N0, 19CV341522
     Order Aﬂei' Hearing 0n November 30, 2020 and Judgment
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     [ﬂrfora'onfor Fina! Approval ofDerivmive Sertlemcnt; Mofiorzﬁar Award qf/Jrromeys        Fees and Expenses]
     Case 3:20-cv-00772-DJN Document 149-8 Filed 12/16/22 Page 9 of 13 PageID# 1970




     Ofthe settlement, including that it does not require the individual defendants t0 return their

     challenged severance payments 01‘ stock sales and that it does not provide adequate value t0

     Alphabet. However, a settlement is by deﬁnition a compromise and need not achieve the

     maximum recovery that might be possible t0 constitute a fair result. It has long been held that
     “the realization of substantial, if nonpecuniary, beneﬁts by the corporation” supports a


     nomnonetary settlement ofa derivative action. (Fletcher v. A. J. Indusfries, Inc. (1 968) 266

     Cal.App.2d 313, 324—325; see also sz'mki v. Thunder Cats, Inc (2003) 111 Cal.App.4th 552,

     558.) Such beneﬁts are provided by the settlement here.                    While Doe points t0 two settlements

     0f derivative actions related t0 sexual harassment that did achieve substantial monetary

     recoveries, different circumstances were present in those cases?                       Doe argues that many 0f the

     commitments and reforms encompassed by the settlement already were 0r would have been

     adopted by Alphabet even without this lawsuit. However, the Court ﬁnds that the key

     governance reforms summarized above, including the creation of the DE] Advisory Council,

     are attributable t0 the settlement.           While Doe criticizes two 0f the external DEI Advisory

     Council members for having represented Google in the past 01‘ for being a member 0f a law

     ﬁrm that currently represents Google, he does not establish that either Ofthese well—qualiﬁed

     individuals has a conﬂict of interest?              Doe contends that Google already Spends millions 0n

     diversity efforts, but its formal commitment t0 the Workplace Initiative at a time Of great


     economic uncertainty is meaningful.                Finally, Doe raises criticisms 0f Alphabet’s

20   conﬁdentiality policies and employment nondisclosure agreements, but those policies and

21


22


23


24
     3
         For example, the plaintiffs in [n re Wynn Resorts, Ltd Derivative Litigation had successfully opposed a motion t0
25   dismiss based on demand futility, and regulators had imposed substantial ﬁnes clue t0 the conduct at issue. City of
     Monroe Employees’ Retirement System v. Murdoch et a]. settled before derivative litigation was even ﬁled, after a
26   lawsuit by a high-proﬁle television host prompted many other suits alleging sexual misconduct, racial
     discrimination, and retaliation and led t0 the public disclosure 0f many prior settlements.


     3
         As explained by Professor Goldberg, the DEI Advisory Council is designed t0 be an extension Ofthe LDCC, and
     the LDCC’S engagement with the Council is crucial.   Consequently,    is important that the Council’s members were
                                                                               il'




     jointly agreed   1'0
                            by a]! parties t0 promote collegiality and collaboration with the LDCC‘



     1/1re Alphabet Inc. Shareholder Derivative Litigation,
     Superior Com? ofCa/(fbrm‘a, County ofScmla C'Icn'a, Lead Case No, 19CV34I522
     Order After Hearing 0n November 30, 2020 and Judgment
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     agreements are not at issue in these derivative actions, and claims arising from them are not

     released by the settlement.4

                On November 23, 2020, a second objection t0 the settlement was ﬁled by DeWayne

     Cassel, who is also represented by Mr. Baker in unrelated litigation against Alphabet.                         The

     Court has read and considered this objection, which raises many 0f the same arguments as

     Doe’s objection. Cassel’s objection does not change the Court’s conclusion that the settlement

     achieves valuable beneﬁts for Alphabet and its shareholders and warrants approval.

                Having considered the brieﬁng and evidence submitted at preliminary and ﬁnal

     approval, including Doe’s and Cassel’s objections, and in light 0f its own experience With this

     action and other derivative litigation, the Court ﬁnds the settlement is fair and reasonable for

     purposes 0f ﬁnal approval.




     IV. Attorney Faes and Costs

                Plaintiffs seek a combined fee and cost award Of$29 million, which is a substantial


     sum, but which represents less than a third 0f the at least $100 million in long-term value that

     Professor Morrissey estimates the settlement will provide t0 Alphabet.                        Under the

     circumstances,

                the court considers whether the litigation has conferred a substantial beneﬁt 011 the
                corporation,    i.e.,   a beneﬁt that         is   actual   and concrete and not conceptual           01'

                doctrinal.   [Citati0ns.]     The beneﬁt need not be pecuniary [citation], but it must be
                “
                  ‘something more than technical in its consequence and                       one that accomplishes
                a result which corrects        01‘   prevents an abuse which would be prejudicial t0 the



     4
         Doe also contends that notice ofﬂle settlement was inadequate because it states [hat Alphabet stockholders who
23   held stock as 0f2014 may object, but Alphabet was not formed until 201 5, and [he notice requires that shareholders
     who submit a written obj action satisfy “onerous and intrusive requirements that serve n0 legitimate purpose
24   (including the disclosure ofobjector addresses and phone numbers)?” While the notice might have been improved in
     these respects, it also clearly stated that “[a]ny current Alphabet stockholder may also appear and Object at the
25   Settlement Hearing       with 01‘ without having submitted a written objection.” The Court has considered Doe’s
     Objection although he has not even disciosed his name, and Alphabet has not objected: indeed, Alphabet assured the
26   objector that “should any current Alphabet shareholders who did not continuously hold stock during the period
     covered by the litigation, ﬁle an objection, Alphabet will not object t0 consideration 0ftheir objection by the Court.”
27   The notice ordered al‘ preliminary approval was adequate, and there is no indication that any Alphabet shareholder
     who desired t0 be heard with regard t0 the settlement has not been heard.       Plaintiffs’ request for judicial notice 0f

28   similar notices issued in connection with other derivative settlements (Exs. 2#8 t0 plaintiffs’ November 19m, 2020
     request) is GRANTED, although the mere issuance Ofthese notices does not provide authority for the proposition
     that any particular aspect 0f the notices was adequate.


     In re Alphabel Inc. Shareholder Derivative Litigation,
     Superior Court quah'fbmia, Comm) ofSanla Ciara, Lead Case N0. 190/341522
     Order/lﬂer Hearing 0n November 30, 2020 mm’ Judgment
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     Case 3:20-cv-00772-DJN Document 149-8 Filed 12/16/22 Page 11 of 13 PageID# 1972




              rights and interests 0f the corporation 01‘ affect[s] the enjoyment                   01‘   protection 0f
                                                                      ”
              an essential right t0 the stockholder’s interest.’         (Mills v.                   Electric     Auro—
                        396 U.S. 375, 396, 90 S.Ct. 616, 24 L.Ed.2d 593, quoting Bosch v.
              Lile (1970)
              Meeker Cooperarive Light and Power Ass’n (1960) 257 Minn. 362, 101 N.W.2d
              423, 427.)


              For the reasons already discussed, the Court ﬁnds that the settlement before it provides

     substantial beneﬁts t0 Alphabet shareholders, justifying an award 0f fees and costs to

     plaintiffs’ counsel.


              “[A] court awarding fees under the “substantial beneﬁt doctrine’ begins by establishing

     a ‘lodestar’ amount.” (Robbins v. Alibrandi, supra, 127 Cal.App.4th at p. 453.)                         The lodestar

     ﬁgure is “based 0n the careful compilation 0f the time spent and reasonable hourly

     compensation 0f each attorney involved in the presentation 0f the case.”                       (Id. at p.   448.) “The

     court then has the power and the duty t0 enhance, 01‘ t0 reduce, the lodestar through the use 0f

     multipliers, by taking into consideration factors such as the novelty and complexity 0f the


     issues, the skill and expertise 0f counsel, the extent that the litigation precluded other


     employment and the contingent nature (0r risk) 0f nonrecovery.”                   (1292761.)



              Although     [a]   negotiated fee need not be perfectly consistent With the fees the
              court would award under the “substantial beneﬁt doctrine,” it must be in the same
              range.   A negotiated fee 1'hat clearly is out 0f that range is not a fair and reasonable
              settlement 0f the attorneys” claim for fees.


     (Robbins v. Alibrcmdi, supra, 127 Cal.App.4t11 at p. 451 .)

              Here, plaintiffs” counsel’s collective reported lodestar, as 0f October 24, 2020, was

     $8,906,457, representing 12,698.61 hours spent 0n the matter billed at each ﬁrm’s regular

     hourly rates. The declarations supporting this lodestar amount summarize the time billed by

     counsel at a very high level, broken down only by timekeeper and not by task or even category

     0f task. Given the nature Ofthe matter before the Court and the number 0f attorneys Whose

     time is included in the lodestar, this is inadequate. (See In re Vitamin Cases (2003) 110

     Cal.App.4tl1 1041 [discussing concerns with duplication 0f efforts in parallel class actions
26

     litigated by many different law ﬁrms].)
27

              Plaintiffs’ counsel bears “the burden 0f proving the reasonable number Oil’hours they
28

     devoted t0 the litigation, whether through declarations 0r redacted 0r unredacted timesheets 01'

     1'11 2'8 Alphabet I'HC. Shareholder Derivative Lirigc/rion,



     Superior Court ofCa/x'form’a, County ofSrmm Clara, Lead Case NO. 19CV341522
     Order After Hearing on November 30, 2020 (deudgmem
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Case 3:20-cv-00772-DJN Document 149-8 Filed 12/16/22 Page 12 of 13 PageID# 1973




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billing records,” and the Court may not                      rubberstamp [their] request for attorney fees, but
                                                                               ”
must determine the number of hours reasonably expended.”                           (Concepcion v. Amscan

Holdings, Inc. (2014) 223 Cal.App.4th 1309, 1325, quoting Donahue v. Donahue (2010) 182

Cal.App.4th 259, 271, italics original.)              A trial court is well within its discretion t0 request
additional information where, as here, declarations supporting a fee request report the total

number 0f hours spent by each lawyer 0n the case, but fail t0 “indicate[] how much time a

speciﬁc lawyer spent 0n the tasks in a category, let alone 011 discrete projects.”                   (Id. at p.   1325;

see also Robbins v. Alibrandf, supra, 127 Cal.App.4th at p. 453 [noting “questionable” billing

including an entry by lead counsel “for 884.74 hours 0f ‘factual investigation’ at a rate 0f $565

per hour”] .)5

           The Court will continue the hearing 011 plaintiffs” motion for approval of their fees and

costs so that their counsel can ﬁle supplemental declarations providing the necessary detail t0

enable a lodestar evaluation. Speciﬁcally, plaintiffs’ counsel shall provide their raw billing

records, along with summaries breaking down the time billed not only by timekeeper, but also


(for each timekeeper) by project 01‘ by task category, providing enough detail for the Court t0


independently evaluate whether time was duplicated) excessive, 01‘ otherwise inappropriate.




V. Order and Jud gment

           In accordance with the above, IT IS                HEREBY ORDERED, ADJUDGED, AND
DECREED THAT:
           Plaintiffs” motion for ﬁnal approval 0f the parties” settlement is              GRANTED.
           Judgment shall be entered through the ﬁling 0f this order and judgment. (Code Civ.

P100, § 668.5.) Plaintiffs shall take from their complaint only the relief set forth in the

settlement agreement and this order and judgment. Without affecting the ﬁnality 0f this

judgment in any way, this Court retains continuing and exclusive jurisdiction over: (a) the




5
    While Hon. Layn Phillips (Rat), who mediated the parties” Fee dispute: submits a declaration stating that he
believes the requested fee award is “fair and reasonable in light 0F the substantial beneﬁts conferred upon Alphabet
and its Shareholders, and is consistent with fee provisions in similar complex, large shareholder derivative actions,”
he does not indicate that he reviewed counsel’s billing records as part ofhis evaluation.

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In re Alphabei Inc, Shareholder Der‘ivmive Litigarr‘on,
                                                                                                                          I




Superior Court ofCa/Iform’a, Counry ofSam‘a Clam, Lead Case N0. [90/341522
Order/{ﬁer Hearing 0n November 30, 2020 anszrdgmem
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     settling parties and all current Alphabet stockholders for purposes 0f the administration,


     interpretation, implementation, and enforcement 0f the settlement; (b) plaintiffs’ motion for an


     award 0f attorney fees and expenses and any application for service awards for co-Iead

     plaintiffs herein; and (c) all other matters relating t0 this California Action.

U:
               Plaintiffs” motion for an award 0f attorney fees and expenses is             CONTINUED t0
     February 4, 2021 at 1:30 p.111. in Department 1. By Janumzy 121 2021, plaintiffs’ counsel

     shall ﬁle the supplemental materials described above in support 0f their requested fee award.


     A separate order shall be entered regarding this motion. Such order shall in no way affect 0r
     delay the ﬁnality 0f this judgment and shall not affect 01' delay the effective date 0f the

     settlement.

               IT IS SO ORDERED.



     Dated:
                  Mbw‘         ?@i a‘ﬂya
                                                                       Honorable Brian C. Walsh
                                                                       Judge Ofthe Superior Court




     In re Alphabet Inc, Slzaa‘ehofder Derivative Litigation,
     Superior Court ofC'a/aform'a, Comfy Q/‘szla Clara, Lead Case Na   /9CV341522
     Order Aﬂer Hearing 0H November 30, 2020 and Judgment
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     [Motionﬁw Final Approval ofDel'a‘vatfve Setttement; Motionfbr Award ofxlrtomeys Fees and Expenses]
EXHIBIT 3
                                                   Case 3:20-cv-00772-DJN Document 149-9 Filed 12/16/22 Page 2 of 6 PageID# 1976



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                                                                                                                        Case #19CV341522
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                                                                               SUPERIOR COURT OF CALIFORNIA
                                                                                    COUNTY OF SANTA CLARA

                                                   IN RE ALPHABET INC. SHAREHOLDER                           Lead Case NO-r 19CV341522
                                                   DERIVATIVE LITIGATION
                                                                                                             ORDER CONCERNING MOTION
                                                                                                             FOR AWARD OF ATTORNEYS’
                                                                                                             FEES AND EXPENSES




                                                          These consolidated shareholder derivative actions arise from allegations that ofﬁcers and

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                                                   directors 0f Alphabet, Inc., the parent company 0f Google LLC, breached their ﬁduciary duties
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                                                   and committed other misconduct in connection with multi-million-dollar severance awards t0

                                                   male executives accused 0f assaulting female employees, amid a broader culture 0f

                                                   discrimination against women at the company.     The plaintiffs also allege claims arising from a

                                                   data breach impacting the Google+ service.

                                                          The parties reached a settlement (“Settlement”) that the Court (Judge Walsh)

                                                   preliminarily approved 0n October 22, 2020. Judge Walsh then granted ﬁnal approval t0 the

                                                   Settlement 0n November 30. The factual and procedural background 0f the action and the

                                                   Court’s analysis 0f the Settlement are set forth in those orders and are not repeated here.

                                                          The Court continued the hearing 0n Plaintiffs’ motion for approval 0f their fees and costs,

                                                   directing their counsel t0 ﬁle supplemental declarations providing the necessary detail t0 enable


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                                                   Case 3:20-cv-00772-DJN Document 149-9 Filed 12/16/22 Page 3 of 6 PageID# 1977




                                                   a lodestar evaluation. That supplemental information has now been provided, and the motion for

                                                   attorney fees and costs has again come 0n for hearing.             The Court (Judge Kulkarni) issued a

                                                   tentative ruling 0n February 3, 2021, and n0 party contested the ruling.                 The Court now issues its

                                                   ﬁnal order and GRANTS Plaintiffs’ motion.

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                                                   I.     LEGAL STANDARD
                                                           The Settlement previously approved by the Court is non-monetary, although there is

                                                   signiﬁcant evidence in the record that the Settlement will provide at least $100 million in long-

                                                   term value t0 Alphabet. (See 11/3 0/21 Final Approval Order, at p. 7.). Under the circumstances,

                                                          the court considers whether the litigation has conferred a substantial beneﬁt 0n the

                                                           corporation,    i.e.,   a beneﬁt that   is   actual    and concrete and not conceptual 0r

                                                           doctrinal.   [Citations.]   The beneﬁt need not be pecuniary [citation], but it must be
                                                           “
                                                               ‘something more than technical in its consequence and                  one that accomplishes

                                                           a result which corrects 0r prevents an abuse which would be prejudicial t0 the

                                                          rights and interests 0f the corporation 0r affect[s] the enjoyment 0r protection 0f

                                                                                                                              ”
                                                           an essential right t0 the stockholder’s               interest.’       (Mills   v.   Electric   Auto—

                                                          Lite (1970)     396 U.S. 375, 396, 90 S.Ct. 616, 24 L.Ed.2d 593, quoting Bosch v.

                                                          Meeker Cooperative Light and Power Ass’n (1960) 257 Minn. 362, 101 N.W.2d

                                                          423,427)

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                                                   (Robbins v. Alibrandi (2005) 127 Cal.App.4th 438, 448 (R0bbins).) The Court previously found
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                                                   that the Settlement provides substantial beneﬁts t0 Alphabet shareholders, justifying an award 0f


                                                   fees and costs t0 plaintiffs’ counsel.

                                                           “[A] court awarding fees under the ‘substantial beneﬁt doctrine’ begins by establishing a

                                                   ‘lodestar’ amount.” (Robbins, supra,       127 Cal.App.4th at p. 453.) The lodestar ﬁgure is “based

                                                   0n the careful compilation 0f the time spent and reasonable hourly compensation 0f each

                                                   attorney involved in the presentation 0f the case.”           (Id. at p. 448.)   “The court then has the power

                                                   and the duty t0 enhance, 0r t0 reduce, the lodestar through the use 0f multipliers, by taking into

                                                   consideration factors such as the novelty and complexity 0f the issues, the skill and expertise 0f

                                                   counsel, the extent that the litigation precluded other employment and the contingent nature (0r
                                                   Case 3:20-cv-00772-DJN Document 149-9 Filed 12/16/22 Page 4 of 6 PageID# 1978




                                                   risk) 0f nonrecovery.” (Ibid) “[I]n cases in which the value 0f the class recovery can be


                                                   monetized with a reasonable degree 0f certainty and it is not otherwise inappropriate, a trial court

                                                   has discretion t0 [apply] a positive 0r negative multiplier      t0 ensure that the fee awarded is


                                                   within the range 0f fees freely negotiated in the legal marketplace in comparable litigation,”

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                                                   which may involve evaluating the lodestar as a percentage 0f the beneﬁt. (Lealao v. Beneﬁcial

                                                   California, Inc. (2000) 82 Cal.App.4th 19, 49—52 (Lealao).)1

                                                             As Robbins states, “[a]lthough [a] negotiated fee need not be perfectly consistent with the

                                                   fees the court would award under the “substantial beneﬁt doctrine,” it must be in the same range.

                                                   A negotiated fee that clearly is out 0f that range is not a fair and reasonable settlement 0f the
                                                   attorneys’ claim for fees.” (Robbins, supra, 127 Cal.App.4th at p. 45 1 .)

                                                   II.       ANALYSIS
                                                             Plaintiffs’ counsel in this matter consist 0f 20 law ﬁrms representing the plaintiffs in this


                                                   California Action and the related Federal Actions discussed in the Court’s prior orders, as well as

                                                   counsel for other shareholders who made litigation demands associated with the conduct at issue

                                                   here? Counsel submit that their combined lodestar is $9,784,626.25, reﬂecting 13,907.01 hours




                                                   1
                                                       Plaintiffs suggest that the Court could evaluate the fees requested here purely as a percentage 0f
                                                   a “constructive” common fund, but this approach is unsupported. (See Lealao, supra, 82
                                                   Cal.App.4th 19, 37—39 [agreeing with respondent “that pure percentage fees have been rej ected
                                                   by the California Supreme Court     in cases such as this in which there is not a conventional
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                                                   common fund”]; see also Laﬁtte v. Robert Halflnternat. Inc. (2016) 1 Cal.5th 480, 503 [“We d0
                                                   not address here whether 0r how the use 0f a percentage method may be applied when there is n0
                                                   conventional common fund          but only a “’constructive common fund’” created by the
                                                   defendant’s agreement t0 pay claims made by class members ..., 0r when a settlement agreement
                                                   establishes a fund but provides that portions not distributed in claims revert t0 the defendant ...,
                                                   making the fund’s value t0 the class depend 0n how many claims are made and allowed.”].)

                                                   2
                                                     Co-Lead Counsel for the plaintiffs in this action are Bottini & Bottini, Inc. and Cohen Milstein
                                                   Sellers & T011 LLC. Barman Tabacco, Renne Public Law Group, and WeissLaw LLP serve with
                                                   those ﬁrms 0n the Executive Committee. Kessler Topaz Meltzer & Check, LLP and Prickett,
                                                   Jones & Elliott, PA. are counsel for Plaintiff Sjunde AP-Fonden, which has maintained its own
                                                   complaint 0n a demand refusal theory. Knox Ricksen LLP and Cotchett, Pitre & McCarthy, LLP
                                                   are counsel for the plaintiffs in O ’Neil v. Page et al. (Super. Ct. Santa Clara County, Case N0.
                                                   20CV365249) and Morgus v. Page, et al., (Super. Ct. Santa Clara County, Case N0.
                                                   20CV363643), which were consolidated into the lead action herein after the Court appointed lead
                                                   counsel. The Brown Law Firm, Gainey McKenna & Egleston, P.C., Robbins LLP, and The


                                                                                                       3
                                                   Case 3:20-cv-00772-DJN Document 149-9 Filed 12/16/22 Page 5 of 6 PageID# 1979




                                                   billed at each ﬁrm’s regular hourly rates, which range between $375—795 for associates and

                                                   $720—1,135 for partners. Their $29,000,000 combined fee and cost request results in a multiplier

                                                   0f 2.9, considering the $28,641,686.01 in fees remaining after deducting counsel’s expenses

                                                   (addressed below).

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                                                          Having reviewed the detailed billing records and summaries provided by counsel, the

                                                   Court ﬁnds that their lodestar is reasonable. Due t0 the importance 0f the issues raised by this

                                                   case, a number 0f shareholders became involved.     While they and their counsel ultimately

                                                   worked together 0n a global settlement, they each spent signiﬁcant time investigating and

                                                   preparing their claims in the early stages 0f the litigation. This was warranted under the

                                                   circumstances and contributed t0 the very substantial beneﬁts achieved by the Settlement. The

                                                   rates billed by their counsel are in line with the market considering their experience, practice


                                                   area, and expertise.


                                                          The multiplier requested by counsel, while signiﬁcant, is likewise reasonable given the

                                                   contingent nature 0f the action and the substantial risk 0f non-recovery; the novelty and

                                                   complexity 0f the issues; and the excellent result achieved for shareholders. Notably, counsel

                                                   and the Court are aware 0f only one derivative action in the United States where allegations

                                                   regarding sexual misconduct and board complicity in concealing that misconduct overcame a

                                                   challenge t0 demand futility. The risk counsel took 0n in devoting the substantial time and

NNNNNNNNNHHHHHHHHHH                                resources necessary t0 pursue this action was high.   And the long-term value t0 shareholders
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                                                   achieved by the Settlement, as discussed in the Court’s prior orders and the expert declarations

                                                   and other materials submitted by the parties, is substantial and likely exceeds any monetary

                                                   recovery that might have ultimately been achieved here.




                                                   Rosen Law Firm, PA. are counsel for the plaintiffs in the Federal Actions. Bernstein Litowitz
                                                   Berger & Grossmann LLP, Bragar Eagel & Squire, P.C., Grabar Law Ofﬁce, Johnson Fistel,
                                                   LLP, McKay Law, LLC, Rigrodsky & Long, P.A., and The Weiser Law Firm, P.C. represent
                                                   shareholders who made books and records and/or litigation demands 0n Alphabet’s board and
                                                   participated in settlement discussions, but never ﬁled derivative actions.
                                                   Case 3:20-cv-00772-DJN Document 149-9 Filed 12/16/22 Page 6 of 6 PageID# 1980




                                                           Overall, while the Court might make some deductions t0 counsel’s lodestar if it were

                                                   directly awarding fees under the substantial beneﬁt doctrine, the negotiated fee is in the same

                                                   range as the Court would award. Finally, counsel’s combined fee and cost request includes

                                                   $358,3 1 3.99 in expenses, which appear reasonable based 0n the summaries provided in

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                                                   November 2020.

                                                   III.    CONCLUSION
                                                           For the foregoing reasons, the Court GRANTS Plaintiffs’ motion for attorney fees and

                                                   expenses.

                                                           IT IS SO ORDERED.
                                                               February 5, 2021




                                                   Date:                          February 5, 2021
                                                                                                     The Honorable Sunil R. Kulkarni
                                                                                                     Judge 0f the Superior Court




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EXHIBIT 4
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          IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

       IRVING FIREMEN'S RELIEF AND RETIREMENT  :
       FUND, Derivatively on Behalf of         :
       ALPHABET, INC.,                         :
                                               :
                       Plaintiff,              :
                                               :
              v                                : C. A. No.
                                               : 2019-0355-SG
       LAWRENCE E. PAGE, SERGEY BRIN, ERIC E. :
       SCHMIDT, SUNDAR PICHAI, DIANE B.        :
       GREENE, L. JOHN DOERR, K. RAM SHRIRAM, :
       ANN MATHER, ALAN R. MULALLY, ROGER W.   :
       FERGUSON, JR., JOHN L. HENNESSY,        :
       SHIRLEY M. TILGHMAN, DAVID C.           :
       DRUMMOND, RUTH M. PORAT, ANDREW E.      :
       RUBIN, AMIT SINGHAL, and LASZLO BOCK,   :
                                               :
                       Defendants,             :
                                               :
              and                              :
                                               :
       ALPHABET, INC., a Delaware corporation, :
                                               :
                       Nominal Defendant.      :

                                     - - -
                               Chancery Court Chambers
                               Court of Chancery Courthouse
                               34 The Circle
                               Georgetown, Delaware
                               Wednesday, December 23, 2020
                               10:04 a.m.
                                     - - -

       BEFORE: HON. SAM GLASSCOCK III, Vice Chancellor

                                       - - -

           TELEPHONIC HEARING AND RULINGS OF THE COURT ON
        PLAINTIFF'S MOTION FOR APPROVAL OF FEES AND EXPENSES
       ------------------------------------------------------
                       CHANCERY COURT REPORTERS
                     New Castle County Courthouse
                 500 North King Street - Suite 11400
                      Wilmington, Delaware 19801
                            (302) 255-0524
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  1    APPEARANCES:

  2          BLAKE A. BENNETT, ESQ.
             Cooch and Taylor, P.A.
  3                 -and-
             DEBORAH CLARK-WEINTRAUB, ESQ.
  4          GEOFFREY JOHNSON, ESQ.
             JING-LI YU, ESQ.
  5          of the New York Bar
             Scott+Scott LLP
  6            for Plaintiff

  7

  8          LORI A. WILL, ESQ.
             JESSICA A. HARTWELL, ESQ.
  9          NORA CRAWFORD, ESQ.
             Wilson Sonsini Goodrich & Rosati, P.C.
 10                 -and-
             BORIS FELDMAN, ESQ.
 11          of the California Bar
               for Defendants Lawrence E. Page, Sergey Brin,
 12            Eric E. Schmidt, Sundar Pichai, Diane B.
               Greene, L. John Doerr, K. Ram Shriram, Ann
 13            Mather, Alan R. Mulally, Roger W. Ferguson
               Jr., John L. Hennessy, Shirley M. Tilghman,
 14            David C. Drummond, Ruth M. Porat, Laszlo
               Bock, and Nominal Defendant Alphabet, Inc.
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  1                         THE COURT:      Good morning, Counsel.

  2    This is Sam Glasscock.          Who do I have on the line,

  3    please?

  4                         MR. BENNETT:       Good morning,

  5    Your Honor.      This is Blake Bennett from Cooch & Taylor

  6    on behalf of the plaintiff, Irving Firemen's Relief

  7    and Retirement Fund.         With me on the line are my

  8    co-counsel from the law firm of Scott+Scott, Deborah

  9    Clark-Weintraub, Geoffrey Johnson, and Jing-Li Yu.

 10    Ms. Clark-Weintraub is admitted pro hac vice, and with

 11    Your Honor's permission will speak on behalf of the

 12    plaintiffs today.        Thank you, Your Honor.

 13                         THE COURT:      Okay.     I'll be happy to

 14    hear from Ms. Clark-Weintraub.

 15                         MS. WILL:      Good morning, Your Honor.

 16    It's Lori Will from Wilson Sonsini Goodrich & Rosati

 17    on behalf of the Alphabet defendants.               I have with me

 18    today my colleagues, Jessica Hartwell and

 19    Nora Crawford, and also my former colleague

 20    Boris Feldman, who is now at the Freshfields law firm.

 21                         THE COURT:      Welcome.      And who will be

 22    presenting, to the limited extent you need to present,

 23    Ms. Will?

 24                         MS. WILL:      I will be, Your Honor.

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  1    Thank you.

  2                         THE COURT:      Good.     And who else?       No

  3    one.    Is that everyone?        I'm sorry.

  4                         Counsel, thank you for making time for

  5    me.    Mr. Bennett, have you received any stockholder

  6    objections to the fee petition that you've presented?

  7                         MR. BENNETT:       Your Honor, we have not

  8    received any objections.

  9                         THE COURT:      All right.      Because of

 10    certain limitations on our staff here today, I am

 11    going to go call the matter in the well of the

 12    courthouse and ensure that no one is lurking about who

 13    wishes to speak.        And if you will bear with me for 30

 14    seconds, I'll be back and then I'll make a record.

 15                       (Briefly off the record.)

 16                         THE COURT:      Counsel, are you still

 17    with me?

 18                         MS. WILL:      Yes, Your Honor.

 19                         MR. BENNETT:       Yes, Your Honor.

 20                         THE COURT:      I've called the matter in

 21    the courtroom and in the well of the courthouse.                   No

 22    one has appeared to object.

 23                         Ms. Clark-Weintraub, I'm happy to hear

 24    your presentation.

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  1                         MS. CLARK-WEINTRAUB:          Thank you,

  2    Your Honor.      Good morning.

  3                         THE COURT:      Good morning.

  4                         MS. CLARK-WEINTRAUB:          As detailed in

  5    our papers, plaintiff's counsel in this action played

  6    a significant role in fashioning and negotiating what

  7    we believe is truly an historic settlement of these

  8    claims.     As Your Honor is aware, that settlement was

  9    approved by Judge Walsh on November 30th.

 10                         And in his opinion approving the

 11    settlement, Judge Walsh found that the settlement

 12    provides significant value to Alphabet and its

 13    stockholders in the form of meaningful corporate

 14    governance reforms and financial commitments that are

 15    addressed to the issue that gave rise to the various

 16    actions and that he also found that the reforms were

 17    well-designed to prevent further incidents like the

 18    incidents that underlie all of these actions in the

 19    future.

 20                         The settlement was supported by a

 21    declaration from Professor Suzanne Goldberg, who is an

 22    expert in law and policy related to workplace sexual

 23    harassment issues, who had been retained by the

 24    settling stockholders to advise them in connection

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  1    with the settlement.         And Professor Goldberg

  2    characterized these reforms as a best-in-class

  3    approach that far exceeds other settlements of its

  4    kind.

  5                         And as we've summarized in our papers,

  6    Your Honor, the settlement requires Alphabet to make

  7    an historic $310 million funding commitment over up to

  8    ten years to the company's diversity inclusion --

  9    diversity and inclusion initiatives and efforts.                   And

 10    this funding is designated and earmarked to support a

 11    set of workplace initiatives that are focused on --

 12    that will be focused on hiring, progression, and

 13    retention of historically underrepresented talent at

 14    Alphabet, and in particular at Google, and also aimed

 15    toward fostering a respectful, equitable, and

 16    inclusive workplace culture, expanding the pool of

 17    technologists -- particularly from underrepresented

 18    groups, historically -- and also helping historically

 19    underrepresented groups and individuals succeed with

 20    their businesses in the digital economy and tech

 21    industry by supporting conferences and events and

 22    increasing access to digital tools and opportunities.

 23                         So that aspect of the settlement,

 24    Your Honor, we respectfully submit, is quite unique

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  1    and is a major accomplishment in the litigation.

  2                         In addition, the settlement requires

  3    Alphabet to implement substantial corporate governance

  4    reforms and workplace enhancements intended to prevent

  5    and address sexual harassment, sexual misconduct and

  6    retaliation, and promote a workplace culture that's

  7    free of this kind of misconduct.             And in this regard,

  8    Alphabet has agreed to do many things, including

  9    several things at the board level.

 10                         And just to give a couple of examples,

 11    Alphabet has agreed to limit Google's use of

 12    confidentiality restrictions when settling sexual

 13    harassment and retaliation claims, which we think was

 14    a very important concession.            Alphabet has agreed to

 15    end the use of mandatory arbitration for harassment,

 16    discrimination, and retaliation disputes for all --

 17    for its other subsidiaries.

 18                         Alphabet has also agreed to enhance

 19    the sexual harassment and retaliation training

 20    programs of both Google and its other subsidiaries and

 21    importantly, given the allegations in this case, it's

 22    agreed to revise the company's severance guidelines to

 23    provide that Google will not provide severance to any

 24    employee, including a senior executive, who is subject

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  1    to a pending investigation for sexual harassment,

  2    sexual misconduct, or retaliation.

  3                         And, again, at the board level, the

  4    settlement provides that -- or mandates that there

  5    will be sexual harassment and fiduciary duty training

  6    for the board every other year.             And it also promotes

  7    the board's oversight of Google employee sexual

  8    harassment training.

  9                         Alphabet has agreed to amend the

 10    charter of its leadership development and compensation

 11    committee to make explicit the committee's mandate to

 12    oversee management's efforts to promote a workplace

 13    culture that's free of discrimination, harassment, and

 14    retaliation.

 15                         It's also agreed that the LDCC

 16    committee will report annually to the board with

 17    respect to these kinds of issues, as well as any

 18    compensation decisions that have been made with

 19    respect to senior executives found to have engaged in

 20    this kind of misconduct.

 21                         And also, in order to address the

 22    additional allegations with respect to data privacy

 23    that were set forth in the complaint of this case,

 24    Alphabet has agreed to rename its audit committee the

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   1   audit and compliance committee and amend its charter

   2   to explicitly reflect that the committee has oversight

   3   responsibilities for legal and regulatory compliance,

   4   including data privacy.

   5                         And, finally, Your Honor, the

   6   settlement requires Alphabet to create and maintain a

   7   new diversity, equity, and inclusion advisory council,

   8   composed of both internal and external

   9   representatives, for at least five years that will be

 10    responsible for overseeing the creation and

 11    implementation of the corporate governance reforms and

 12    workplace enhancements I've just described.

 13                          So in sum, Your Honor, as

 14    Professor Goldberg stated in her declaration in

 15    support of the settlement, this settlement creates the

 16    framework for Alphabet to reform its systems and

 17    become a workplace free from systemic sexual

 18    harassment, sexual misconduct, and other forms of

 19    discrimination and retaliation, a goal that is of

 20    paramount importance, we believe, to the company and

 21    its stockholders, as has been repeatedly demonstrated

 22    by events of the last several years.               Addressing these

 23    issues removes a significant threat to the company's

 24    ability to hire and retain top talent, which Alphabet

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   1   has acknowledged is critical to its continued growth

   2   and long-term profitability.

   3                         We really believe, Your Honor, as

   4   we've stated in our papers, that this settlement is a

   5   game-changer with respect to these issues, and we are

   6   proud of our participation in helping to achieve these

   7   very important reforms.

   8                         What's before Your Honor, of course,

   9   this morning is plaintiff's counsel's request for a

 10    fee and expense award in connection with their work in

 11    this case.      And in light of the substantial benefits

 12    conferred by the settlement, plaintiff's counsel here

 13    is seeking a fee and expense award of $11.33 million.

 14                          As set forth in the stipulation,

 15    defendants agree that the settlement confers

 16    substantial benefits on Alphabet and its stockholders

 17    and that plaintiff's counsel is entitled to a

 18    reasonable award of attorneys' fees and expenses for

 19    their role in creating these benefits.                And after an

 20    arm's-length mediation under the auspices of former

 21    U.S. District Court Judge Layn Phillips, a very

 22    respected mediator, Alphabet has agreed not to oppose

 23    an award of fees to plaintiff's counsel here of up to

 24    this amount.

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   1                         As Mr. Bennett noted, there have been

   2   no objections to the fee request here.                And

   3   notwithstanding that there's an agreed fee, obviously

   4   Your Honor has to make the quest to make its own

   5   determination with respect to the reasonableness of

   6   the fee request.        And we believe that the request is

   7   merited under all of the circumstances here.

   8                         The primary consideration in

   9   determining the reasonableness of a fee request is, of

 10    course, the benefit achieved through the litigation.

 11    And, as I've just described, the settlement obtained

 12    here confers substantial, longstanding, and

 13    unprecedented benefits for Alphabet and its

 14    stockholders.

 15                          As we've stated in the papers,

 16    Your Honor, we respectfully submit that a conservative

 17    estimate of the value of these benefits is

 18    $310 million, which is the guaranty funding portion of

 19    the settlement for the workplace initiatives.                  Using

 20    this --

 21                          THE COURT:      I'm sorry, I didn't mean

 22    to interrupt you, Ms. Clark-Weintraub.

 23                          MS. CLARK-WEINTRAUB:         That's okay.

 24                          THE COURT:      But I don't understand how

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   1   you calculate the 310 million as the benefit.                  That's

   2   not money that is being paid into the company.                   That

   3   is money being paid by the company.               It's an internal

   4   devotion of company funds to certain uses, which

   5   obviously prevents them from being used for other

   6   uses.

   7                         Isn't the 310 million amount wholly

   8   irrelevant?       It's got to be the net benefit; right?

   9   I'm not belittling the result you've achieved.                   I just

 10    don't see how the 310 million being spent by the

 11    company is the equivalent of an award of $310 million

 12    to the company, which is typically how we use an

 13    amount like that to set a fee under the Sugarland

 14    factors.

 15                          MS. CLARK-WEINTRAUB:         We agree,

 16    Your Honor, that this is a corporate benefit

 17    settlement.       But unlike the usual corporate benefit

 18    settlement, the value that's been conferred here by

 19    the settlement, we believe, is more readily

 20    quantifiable for a couple of reasons.               One is the

 21    amount of money that's being set aside for the

 22    workplace initiatives, which is a dedicated amount of

 23    money that has been earmarked in order to put those

 24    initiatives in place.          And --

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   1                         THE COURT:      Right.    That's a cost,

   2   though.     That's a cost to the company of $310 million.

   3   They're taking $310 million in resources and devoting

   4   it to implementing this settlement.               And it may very

   5   well be a huge net benefit to the corporation to do

   6   that.     But, once again, I don't see how that helps me

   7   in any way.

   8                         MS. CLARK-WEINTRAUB:         Well,

   9   Your Honor, that was just one guidepost that we -- or

 10    guide to the value or way of quantifying the value of

 11    the settlement that we pointed to in our papers.

 12    We've also cited a study by professors at Stanford

 13    Business School who studied announcements made between

 14    2014 and 2018 of improved workforce diversity at

 15    technology companies and found that these

 16    announcements were correlated to a positive impact on

 17    the companies' stock price.

 18                          And specifically what the study found

 19    was that a 1 percent increase in workforce diversity

 20    at the tech company studied was accompanied by a

 21    .01 percent increase in the market cap of those

 22    companies.      So if you use the results of that study as

 23    a benchmark and apply it to Alphabet in this case, the

 24    market cap of Alphabet is approximately

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   1   $1.19 trillion.

   2                         And if the workplace initiatives and

   3   corporate governance reforms achieved here in the

   4   settlement lead to a modest increase in workforce

   5   diversity at Google, say between 5 percent or

   6   10 percent, the potential -- the study indicates a

   7   potential for an increase of between 590 million and

   8   1.19 billion in Alphabet's market cap.

   9                         So using those valuations, Your Honor,

 10    which we think are a way, a very persuasive way or

 11    reasonable way to look at the result here, the

 12    requested fee is just 1 to 2 percent of the value

 13    conferred by the settlement.            So you don't even have

 14    to use the $310 million figure.             You can use the

 15    study, the Stanford study, to weigh the value of the

 16    corporate reforms and workplace initiatives in this

 17    case.

 18                          THE COURT:      What is the lodestar

 19    amount?     I know it's in your brief, but remind me, if

 20    you would.

 21                          MS. CLARK-WEINTRAUB:         Yes, the

 22    lodestar amount is just over $2.8 million.                 And the

 23    implied hourly rate, based upon the requested fee, is

 24    just over $4,000 an hour.           The multiplier is 3.9.           All

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   1   of those are well within the Court's precedents and we

   2   believe are appropriate here, given the significant

   3   role played by counsel in obtaining the settlement in

   4   this case.      We've described in some detail in the

   5   papers all of the activities, both litigation

   6   activities -- there was litigation activity in this

   7   Court before Your Honor, as well as our participation

   8   in fashioning and negotiating settlement in the case.

   9                         THE COURT:      All right.      What has

 10    Judge Walsh done with the fee request in the

 11    California action?

 12                          MS. CLARK-WEINTRAUB:         Judge Walsh

 13    adjourned the hearing on the fee request to a date in

 14    February.      He requested -- there are multiple counsel

 15    involved in that case.          I think it's between 15 and 17

 16    different firms.        And he requested that they submit

 17    more information with respect to the activities that

 18    were engaged in by the various counsel to support

 19    their lodestar figures.

 20                          We've included in our papers not only

 21    our hours and hourly rates and lodestar information,

 22    basic lodestar information, but also we've categorized

 23    our time based upon various types of our own work done

 24    in the case, between litigation work, settlement work,

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   1   et cetera.

   2                         THE COURT:      All right.      Anything else

   3   you want to tell me, Ms. Clark-Weintraub?

   4                         MS. CLARK-WEINTRAUB:         I think I've

   5   covered everything, Your Honor.

   6                         THE COURT:      All right.      Ms. Will,

   7   anything you want to tell me?

   8                         MS. WILL:     Your Honor, we've agreed

   9   not to oppose a fee and expense award for counsel in

 10    this action of up to 11.33 million.               And I have

 11    nothing further to add unless Your Honor has any

 12    questions for me.

 13                          THE COURT:      No, I don't.       Thank you.

 14                          Counsel, I had determined, before we

 15    began this, that I would wait on Judge Walsh's

 16    decision.      But from what you've told me,

 17    Ms. Clark-Weintraub, what Judge Walsh is doing is

 18    trying to understand the actions of counsel, which

 19    were spread among a number of attorneys, and use their

 20    lodestars in order to craft an appropriate fee award.

 21    Is that your understanding, Ms. Clark-Weintraub?                   Did

 22    I characterize that correctly, as you understand it?

 23                          MS. CLARK-WEINTRAUB:         My understanding

 24    is that the judge wanted additional support for the

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   1   lodestar information that had been submitted in order

   2   to weigh whether or not there had been things like

   3   duplication of effort, et cetera.

   4                         THE COURT:      Yes, thank you.        That was

   5   my understanding from what you've said.                That's

   6   obviously not a consideration here.               So I have all the

   7   information I'm ever going to have, and I think I

   8   might as well address this.

   9                         Let me start off by saying, I find

 10    this a difficult matter to assess a fee for.                  For the

 11    reasons I've stated, I don't think the $310 million

 12    set-aside of company funds to promote both the

 13    laudable diversity ends achieved in this settlement is

 14    at all a measure of the benefit.              It's a cost to the

 15    company.      It may very well be a wonderful investment,

 16    and I suspect it will be, but it doesn't represent a

 17    tangible benefit flowing to the company.                 It's a cost

 18    from the company.

 19                          I appreciate the study that you have

 20    cited, but it seems to me awfully speculative and the

 21    kind of thing that will have differing results; that

 22    is, the added benefit, the marginal benefit of

 23    increasing diversity, I think is something difficult

 24    to calculate based on a set of data from a particular

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   1   time and place and apply it to another.

   2                         So really what I've got is simply a

   3   therapeutic benefit case.           It is clear to me that

   4   there are a number of societal implications, positive

   5   societal implications, of this settlement.                 Those are

   6   really externalities that are typically not taken into

   7   account in setting attorneys' fees.

   8                         The fact that Google or Alphabet will

   9   now be an example and a beacon to others will

 10    encourage success of diversity, entrepreneurs outside

 11    the company, those kinds of things.               This may all be a

 12    wonderful thing, and I'm sure that they are, but

 13    they're really externalities to the benefit to the

 14    company.      So how am I to determine what is an

 15    appropriate fee for this settlement?               Several things

 16    are very important to me here.

 17                          First of all, under the Sugarland

 18    factors, there has been a benefit.              It's clear to me

 19    that this will benefit the company; that the way the

 20    company was being run before will be very

 21    significantly improved.           That is a corporate benefit

 22    that warrants a fee and a fee large enough to be a

 23    wholesome incentive to such litigation in the future.

 24                          And I'm not going to go through all

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   1   the Sugarland factors, but looking at the other

   2   applicable Sugarland factors, I turn to the lodestar

   3   amount.     The fee award in connection with the

   4   settlement requested is between three and four times

   5   the lodestar amount.          That is not usually considered

   6   to be an unwholesome amount, particularly in light of

   7   the quality of the litigants on both sides, the

   8   novelty of what was being litigated, and the fact --

   9   which is perhaps the most salient here -- that this

 10    was on a purely contingent fee basis.               So looking at

 11    that, the $11.33 million requested is within the range

 12    of what this Court has found to be reasonable based on

 13    the lodestar amount.

 14                          There are two other very significant

 15    things here that help me in this decision.                    One is

 16    that this was a settlement that was independent of the

 17    fee award negotiations.           And those fee award

 18    negotiations and settlement were aided by

 19    Judge Phillips in what I'm sure was a hard-fought

 20    mediation.

 21                          Second is that this is a significant

 22    fee award.      Notice of it has been given.             No

 23    stockholder has come forward to object to it.

 24                          So given all of those things, I think

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   1   there is this arbitrariness to any fee award that I

   2   would approve.        But given that fiduciaries for the

   3   company, with the assistance of an able mediator, have

   4   reached an amount independent of the settlement for a

   5   fee of $11.33 million, and given the stockholders have

   6   had an opportunity to come forward and have not

   7   objected, and given that this is a contingent

   8   litigation and the lodestar indicates that the amount

   9   requested is not out of line with previous decisions,

 10    does not create unwholesome incentives, for all of

 11    those reasons, I am going to approve the requested

 12    $11.33 million fee.

 13                          Was that clear enough,

 14    Ms. Clark-Weintraub?

 15                          MS. CLARK-WEINTRAUB:         Yes, Your Honor.

 16    Thank you.

 17                          THE COURT:      Ms. Will, was that clear

 18    enough?

 19                          Is there anything else we can do here

 20    this morning before I wish you a happy holiday and a

 21    Merry Christmas and sign the order?               Mr. Bennett --

 22                          MS. CLARK-WEINTRAUB:         Nothing from

 23    plaintiffs.

 24                          THE COURT:      All right.      Ms. Will,

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   1   anything?

   2                         MS. WILL:     Nothing from defendants.

   3   Thank you, Your Honor.

   4                         THE COURT:      Mr. Bennett, anything from

   5   your point of view?

   6                         MR. BENNETT:      No, Your Honor.        I

   7   believe we submitted an order on -- with our

   8   December 1st filing.          It's formatted as a stipulation

   9   and proposed order.

 10                          THE COURT:      I have it.      It leaves a

 11    blank for the fee request, and I will fill it in as

 12    11.33 million.

 13                          MR. BENNETT:      Great.     Thank you,

 14    Your Honor.

 15                          THE COURT:      Thank you.      And I

 16    appreciate your help, Ms. Clark-Weintraub.                 It was

 17    very helpful to speak to you because, as I said, I had

 18    come in here expecting to reserve because, as I say,

 19    it is always difficult with a therapeutic benefit, and

 20    while this is a very significant therapeutic benefit,

 21    it is not one of the type that I am used to dealing

 22    with that involve shareholder rights or the like.

 23                          And like all judges, when I see

 24    something new, I tend to shrink away in horror.                    So I

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                                                                             22



   1   really appreciate your help.             And I congratulate the

   2   plaintiffs on their participation in a litigation that

   3   I think, whatever the direct benefits to the

   4   corporation, ought to be a model.              And I do appreciate

   5   very much your help here today in doing my small part

   6   of that.

   7                         Thank you, all.

   8                         MS. CLARK-WEINTRAUB:         Thank you,

   9   Your Honor.       Thank you, Your Honor.

 10                          THE COURT:      Appreciate your time.

 11                          MS. WILL:     Thank you, Your Honor.

 12    Happy holidays.

 13                          MS. CLARK-WEINTRAUB:         Thank you,

 14    Your Honor.       Merry Christmas.        Thank you.      Bye.

 15                (Proceedings concluded at 10:32 a.m.)

 16                                     - - -

 17

 18

 19

 20

 21

 22

 23

 24

                           CHANCERY COURT REPORTERS
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                                                                             23



   1                                CERTIFICATE

   2

   3                         I, DOUGLAS J. ZWEIZIG, Official Court

   4   Reporter for the Court of Chancery of the State of

   5   Delaware, Registered Diplomate Reporter, Certified

   6   Realtime Reporter, do hereby certify the foregoing

   7   pages numbered 3 through 22, contain a true and

   8   correct transcription of the proceedings as

   9   stenographically reported by me at the hearing before

 10    the Vice Chancellor of the State of Delaware, on the

 11    date therein indicated.

 12                          IN WITNESS WHEREOF, I have hereunto

 13    set my hand at Wilmington this 5th day of January,

 14    2021.

 15

 16

 17

 18                           /s/ Douglas J. Zweizig
                            ----------------------------
 19                              Douglas J. Zweizig
                             Official Court Reporter
 20                        Registered Diplomate Reporter
                            Certified Realtime Reporter
 21

 22

 23

 24

                           CHANCERY COURT REPORTERS
EXHIBIT 5
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    ROBBINS GELLER RUDMAN
 2 & DOWD LLP
    SHAWN A. WILLIAMS (213113)                         ABRAHAM, FRUCHTER
 3 Post Montgomery Center                               & TWERSKY, LLP
    One Montgomery Street, Suite 1800                  JEFFREY S. ABRAHAM
 4 San Francisco, CA 94104                             MITCHELL M.Z. TWERSKY
    Telephone: 415/288-4545                            One Penn Plaza, Suite 2805
 5 415/288-4534 (fax)                                  New York, NY 10119
    shawnw@rgrdlaw.com                                 Telephone: 212/279-5050
 6 — and —                                             212/279-3655 (fax)
    BENNY C. GOODMAN III (211302)                             —and—
 7 ERIK W. LUEDEKE (249211)                            IAN D. BERG
    655 West Broadway, Suite 1900                      TAKEO A. KELLAR
 8 San Diego, CA 92101-3301                            12526 High Bluff Drive, Suite 300
    Telephone: 619/231-1058                            San Diego, CA 92130
 9 619/231-7423 (fax)                                  Telephone: 858/792-3448
    bennyg@rgrdlaw.com                                 858/792-3449 (fax)
10 eluedeke@rgrdlaw. com
                                                       Counsel for Plaintiff City of Orlando Police
11 Counsel for Plaintiffs Patricia H. McKenna,         Pension Fund
    Avrohom Gallis and James Clem
12
    [Additional counsel appear on signature page.]
13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                        OAKLAND DIVISION
16
    In re GOGGLE INC. SHAREHOLDER                  ) Master File No. CV-1 1-04248-PJH
17  DERIVATIVE     LITIGATION                      )

18 This Document Relates To:
                                                   )
19        ALL ACTIONS.

20   CITY OF ORLANDO POLICE PENSION )                  Case No. CV-13-02038-PJH
     FUND by Its Trustees, derivatively on behalf )
21   of GOOGLE INC.,                               )   STIPULATION OF SETTLEMENT

22                                Plaintiffs,
               vs.
23
     LAWRENCE E. PAGE, et al.,                     )
24
                                  Defendants.      )
25
         and
26   GOOGLE INC., a Delaware corporation,
                                                   )
27                        Nominal Defendant.       )
28


     9457878
                 Case4:11-cv-04248-PJH Document134 Filed08/07/14 Page2 of 30




           1          This Stipulation of Settlement, dated August 7, 2014 ("Stipulation" or "Settlement"), is made

           2 and entered into by and among the following parties, and by and through their respective counsel:

           3 (i) Plaintiffs Patricia H. McKenna, Avrohom Gallis, and James Clem, in the action captioned In re

           4   Google Inc. Shareholder Derivative Litigation, No. CV-11-04248-PJH (the "Demand Futility
           5 Action") and the City of Orlando Police Pension Fund, in the action captioned City of Orlando

           6 Police Pension Fund v. Page, et al., Case No. CV-13-02038-PJH (the "Demand Refused Action")
           7 (together, the "Actions") (on behalf of themselves and derivatively on behalf of Google Inc.)
           8 ("Google" or the "Company"); (ii) Defendants Larry Page, Sergey Brin, Eric E. Schmidt, L. John
           9 Doerr, John L. Hennessy, Ann Mather, Paul S. Otellini, K. Ram Shriram, and Shirley M. Tilghman
       10 (together, "Settling Defendants"); and (iii) Nominal Party Google (together, the "Settling Parties").

       11 The Stipulation is intended by the Settling Parties to fully, finally and forever resolve, discharge and

       12 settle the Released Claims (as defined below in ¶1.15) upon Court approval and subject to the terms

       13 and conditions hereof.

       14 I.          INTRODUCTION

       15            A.      Overview of the Actions and Procedural History
       16             The Actions allege that Google allowed foreign online pharmacies to place advertisements

       17 that violated federal laws on Google's advertising platform. The Actions further assert that Google's

       18 alleged violation of federal law regarding the foreign online pharmacy ads caused the Company to

       19 enter into a Non-Prosecution Agreement (NPA) with the U.S. Department of Justice whereby
       20 Google allegedly admitted to wrongful conduct related to the placement by foreign online
       21 pharmacies of advertisements on Google's advertising platform. As a result of these alleged

       22 advertising practices at Google, Plaintiffs in the Demand Futility Action and the Demand Refused
       23 Action allege that the Settling Defendants breached their fiduciary duty of loyalty and/or duty of care
       24 owed to Google and its stockholders. The Settling Defendants have denied and continue to deny
       25 each and every one of the claims and contentions alleged by the Plaintiffs in the Actions.
       26
       27
       28

945787_8       STIPULATION OF SETTLEMENT - CV-1 1-04248-PJH AND CV-13-02038-PJH                                 -1
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           1                  1.     Commencement and Consolidation of the Demand Futility
                                     Action
           2
                      The first derivative action addressing the foreign pharmacy ads generated on Google's
           3
           4 advertising platform was filed on August 29, 2011, in the United States District Court for the

           5 Northern District of California (the "Court"). Thereafter, two additional actions were filed in the

           6 Court containing similar allegations. All three actions alleged, among other things, that a pre-suit

           7 demand upon the Google Board of Directors (the "Google Board") was futile and excused as a

           8 matter of law. On September 19, 2011, the Court issued an order consolidating these derivative

                actions.
           9
                              2.     The Motion to Dismiss the Consolidated Complaint
       10
                   On October 24, 2011, plaintiffs Patricia H. McKenna, Avrohom Gallis and James Clem
       11
       12 (together, "Demand Futility Plaintiffs") filed a Consolidated Shareholder Derivative Complaint
       13 ("Consolidated Complaint"). In the Consolidated Complaint, the Demand Futility Plaintiffs asserted

       14 claims on behalf of Google against defendants Larry Page, Sergey Brin, Eric E. Schmidt, L. John
       15 Doerr, John L. Hennessy, Paul S. Otellini, K. Ram Shriram, Shirley M. Tilghman, Nikesh Arora, and
       16 Patrick Pichette (together, the "Individual Defendants") for breach of fiduciary duty, abuse of

       17 control, corporate waste, and unjust enrichment.
                  On December 14, 2011, the Individual Defendants and Nominal Party Google filed a Motion
       18
       19 to Dismiss the Consolidated Complaint. In the Motion to Dismiss, the Individual Defendants and

       20 Google argued, among other things, that the Consolidated Complaint failed to adequately plead that
       21 a pre-suit demand upon the Google Board was futile. They further argued that the Consolidated

       22 Complaint failed to state any actionable claim for relief under the applicable laws.
                  On February 14, 2012, the Demand Futility Plaintiffs filed an Opposition to the Motion to
       23
       24 Dismiss the Consolidated Complaint. In their opposition, the Demand Futility Plaintiffs argued,
       25 among other things, that the Consolidated Complaint pleaded, with particularity, facts sufficient to
       26 excuse a pre-suit demand upon the Google Board. The Demand Futility Plaintiffs further argued that
       27 the facts alleged in the Consolidated Complaint stated actionable claims for relief against the

       28 Individual Defendants.


945787_8       I) STIPULATION OF SETTLEMENT - CV-11-04248-PJH AND CV-13-02038-PJH                              -2
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          1          On May 8, 2012, after hearing oral argument, the Court issued an order granting the Motion

          2 Ito Dismiss the Consolidated Complaint. The Court also granted the Demand Futility Plaintiffs leave

          3 Ito file an amended complaint.

          4                  3.      The Motion to Dismiss the Amended Consolidated Complaint

          5          On June 8, 2012, the Demand Futility Plaintiffs filed an Amended Consolidated Shareholder
          6 Derivative Complaint (the "Amended Consolidated Complaint"). The Amended Consolidated

          7 Complaint included, among other things, additional facts alleging why a pre-suit demand upon the

          8   Google Board was futile and, therefore, excused. The Amended Consolidated Complaint did not
          9 name Nikesh Arora or Patrick Pichette as defendants, but asserted claims on behalf of Google

      10 against defendants Larry Page, Sergey Brin, Eric E. Schmidt, L. John Doerr, John L. Hennessy, Paul
      11      S. Otellini, K. Ram Shriram, and Shirley M. Tilghman (together, the "Demand Futility Defendants")
      12 for breach of fiduciary duty and other claims.

      13             On July 6, 2012, the Demand Futility Defendants and Google filed a Motion to Dismiss the
      14 Amended Consolidated Complaint. In their dismissal motion, the Demand Futility Defendants and

      15      Google argued that, despite the additional facts, the Amended Consolidated Complaint failed to
      16 adequately allege that a pre-suit demand upon the Google Board was excused. The Demand Futility
      17 Defendants and Google further argued that, even if a pre-suit demand was futile, the Amended

      18      Consolidated Complaint still must be dismissed for failure to state any actionable claim for relief.
      19             On August 10, 2012, the Demand Futility Plaintiffs filed an Opposition to the Motion to
      20 Dismiss the Amended Consolidated Complaint. In their opposition, the Demand Futility Plaintiffs

      21      argued, among other things, that the Motion to Dismiss the Amended Consolidated Complaint
      22 should be denied because the Amended Consolidated Complaint set forth facts sufficient to excuse a

      23 pre-suit demand upon the Google Board. The Demand Futility Plaintiffs also articulated why the
      24 Amended Consolidated Complaint stated actionable claims for breach of fiduciary duty and other
      25 relief.
      26             On July 3, 2013, the Court heard oral argument on the Motion to Dismiss the Amended
      27 Consolidated Complaint. On September 26, 2013, the Court issued an order granting the Motion to
      28 Dismiss the Amended Consolidated Complaint with leave to amend.

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           1                 4.     The Motion to Dismiss the Second Amended Complaint

           2         On November 1, 2013, the Demand Futility Plaintiffs filed a Second Amended Consolidated
           3 I Shareholder Derivative Complaint ("Second Amended Complaint"). The Second Amended

           4 Complaint included additional facts concerning the reasons why a pre-suit demand upon the Google
           5 I Board was futile. The Second Amended Complaint also asserted claims for relief against the

           6 Demand Futility Defendants for, among other things, breach of fiduciary duty.
           7         On December 6, 2013, the Demand Futility Defendants and Google filed a Motion to
           8 I Dismiss the Second Amended Complaint. In their Motion to Dismiss the Second Amended

           9 Complaint, the Demand Futility Defendants and Google once again argued that the Demand Futility

       10 Action must be dismissed because the Demand Futility Plaintiffs had not made a pre-suit demand

       11 upon the Google Board. The Demand Futility Defendants and Google further argued that the

       12 Second Amended Complaint was defective because it failed to allege facts that stated any actionable

       13 claim for relief.
       14            On January 16, 2014, the Demand Futility Plaintiffs filed an Opposition to the Motion to

       15 Dismiss the Second Amended Complaint. In their opposition, the Demand Futility Plaintiffs argued

       16 that the particularized facts contained in the Second Amended Complaint excused a pre-suit demand
       17 upon the Google Board, and stated actionable claims for relief for breach of fiduciary duty, unjust

       18 enrichment, and corporate waste.
       19            On March 5, 2014, the Court heard oral argument on the Motion to Dismiss the Second
       20 Amended Complaint. At the conclusion of the hearing, the Court took the Motion to Dismiss the

       21 Second Amended Complaint under submission.
       22            Following the March 5, 2014 hearing, the parties agreed to stay the proceedings to permit the
       23 parties to participate in private mediation. The parties submitted stipulations staying the proceedings
       24 on March 11, 2014, April 25, 2014, July 21, 2014, and July 30, 2014. Pursuant to the Court's Orders

       25 of March 12, 2014, April 29, 2014, July 23, 2014, and July 31, 2014, the proceedings are currently

       26 stayed until August 8, 2014.
       27
       28

945787_8       STIPULATION OF SETTLEMENT - CV-11-04248-PJH AND CV-13-02038-PJH                                   -4.
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            1                  5.      The City of Orlando Police Pension Fund Makes a Demand on
                                       Google's Board
            2
                       On January 13, 2012, the City of Orlando Police Pension Fund ("Demand Refused Plaintiff'
            3
                or "Orlando Pension Fund") by its attorneys Abraham, Fruchter & Twersky, LLP ("AF&T" or
            4
                "Demand Refused Counsel"), served a written demand for action ("Demand") upon the Google
            5
                Board. In the Demand, the Demand Refused Plaintiff demanded, among other things, that the
            6
                Google Board investigate and bring legal action against defendants Larry Page, Sergey Brin, Eric E.
            7
                Schmidt and the other executives, accountable for permitting foreign online pharmacies to place
            8
                advertisements that violated federal laws on Google's advertising platform, which allegedly resulted
            9
                in, inter alia, the Company entering into the NPA.
           10
                               6.      Formation of the Independent Special Committee and
       11                              Rejection of the Demand
       12
                       On April 11, 2012, in response to the Demand, the Google Board established an independent
       13
                Special Committee to conduct an investigation and consider the facts and circumstances of the
       14
                allegations contained in the Demand. The Google Board determined that Directors Diane B. Greene
       15
                and Ann Mather were capable of competently and impartially considering the Demand and
       16
                designated them as the members of the Special Committee.
       17
                       Between approximately May 2012 and December 2012, the Special Committee and its
       18
                retained counsel conducted an investigation into the matters set forth in the Demand. On January 28,
       19
                2013, after considering the findings and conclusions of the investigation, counsel for the Special
       20
                Committee notified Orlando Pension Fund of the Google Board's decision to refuse the Demand,
       21
                and not to pursue any of the claims alleged in the Demand.
       22
                               7.      The Motion to Dismiss the Demand Refused Complaint
       23
                       On May 2, 2013, the Orlando Pension Fund commenced an action in the United States
       24
                District Court for the Northern District of California with the filing of a shareholder derivative
       25
                complaint alleging, among other things, that Google's Board has improperly and unreasonably
       26
                refused the Demand (the "Demand Refused Complaint"). In the Demand Refused Complaint, the
       27
                Orlando Pension Fund asserted claims on behalf of Google against Larry Page, Sergey Brin, Eric E.
       28

945787_8        STIPULATION OF SETTLEMENT - CV-11-04248-PJH AND CV-13-02038-PJH                                   -5
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          1    Schmidt, L. John Doerr, John L. Hennessy, Ann Mather, Paul S. Otellini, K. Ram Shriram and

          2    Shirley M. Tilghman (together, the "Demand Refused Defendants") for breach of fiduciary duty in

          3   connection with Google's acceptance of advertisements by foreign online pharmacies that did not

          4 I comply with certain federal laws.

          5           On May 22, 2013, Google and the Demand Refused Defendants filed a Motion to Dismiss

          6 the Demand Refused Complaint. On June 21, 2013, the Demand Refused Plaintiff filed an

          7 I Opposition to the Motion to Dismiss the Demand Refused Complaint. A hearing on the motion was

          8   conducted on July 24, 2013.

          9           On September 26, 2013, the Court issued an Order denying the Demand Refused Defendants'

      10      Motion to Dismiss the Demand Refused Complaint.

      11                     8.      The Motion for Summary Judgment

      12              On November 1, 2013, Google and the Demand Refused Defendants filed a Motion for
      13 I Summary Judgment.
      14              On December 18, 2013, the Demand Refused Plaintiff filed an Opposition to the Motion for
      15      Summary Judgment and, in the alternative, sought a continuance of the Court's ruling on the Motion
      16 for Summary Judgment until the Demand Refused Plaintiff had the opportunity to take sufficient
      17 discovery needed for opposing the summary judgment motion by filing of an affidavit pursuant to

      18      Federal Rule of Civil Procedure 56(d).
      19              The Court heard oral argument on the Motion for Summary Judgment and on the Demand
      20 I Refused Plaintiff's request for a continuance under Federal Rule of Civil Procedure 56(d) on January

      21      29, 2014. Following the hearing, the parties agreed to stay the proceedings to permit the parties to
      22 participate in private mediation. The parties submitted stipulations staying the proceedings on

      23      March 11, 2014, April 25, 2014, July 21, 2014, and July 30, 2014. Pursuant to the Court's Orders of
      24 March 12, 2014, April 29, 2014, July 23, 2014, and July 31, 2014, the proceedings are currently

      25      stayed until August 8, 2014.
      26              B.     Settlement Negotiations
      27              After the Motion to Dismiss the Second Amended Complaint and the Motion for Summary

              I Judgment in the Demand Refused Action were taken under submission by the Court, beginning in
9457878       STIPULATION OF SETTLEMENT - CV-11-04248-PJH AND CV-13-02038-PJH                                    -6
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          1 March 2014, representatives of the Settling Parties commenced negotiations regarding possible

          2 I resolution of the Actions. Ultimately, the Settling Parties engaged in a formal mediation process

          3 I before the Honorable Layn R. Phillips, United States District Court Judge (Ret.), which culminated
          4 in an all-day, in-person mediation session on May 21, 2014 in New York, New York. As a result of

          5 I these arm's-length settlement negotiations, the Settling Parties reached an agreement-in-principle for
          6 I the resolution of the Actions.

          7           C.     Approval of the Settlement by the Committee of Independent Google
                             Directors
          8
                  On August 4, 2014, a Committee of independent Google directors, in exercising their
       9
      10 business judgment, unanimously approved the Settlement and each of its terms, as set forth in the

      11 Stipulation, as in the best interest of Google and its stockholders.

               II. CLAIMS OF PLAINTIFFS AND BENEFITS OF SETTLEMENT
      12
                Plaintiffs and Plaintiffs' Counsel believe that the claims asserted in the Actions have merit.
      13
      14 However, Plaintiffs and Plaintiffs' Counsel recognize and acknowledge the expense and length of

      15 continued proceedings necessary to prosecute the Actions against the Settling Defendants through
      16 trial and potential appeals. Plaintiffs and Plaintiffs' Counsel also have taken into account the

      17 uncertain outcome and the risk of any litigation, especially in complex actions such as the Actions,

      18 as well as the difficulties and delays inherent in such litigation. Plaintiffs and Plaintiffs' Counsel

      19 also are mindful of the inherent problems of proof of, and possible defenses to, the claims asserted in
      20 the Actions. Based on their evaluation, Plaintiffs and Plaintiffs' Counsel have determined that the
      21 Settlement set forth in this Stipulation is in the best interests of Google and its stockholders.

               III. THE SETTLING DEFENDANTS' DENIALS OF WRONGDOING AND
      22              LIABILITY
      23              The Settling Defendants have denied and continue to deny each and every one of the claims

      24 and contentions alleged by the Plaintiffs in the Actions. The Settling Defendants expressly have
      25 denied and continue to deny all allegations of wrongdoing or liability against them or any of them
      26 arising out of, based upon or related to any of the conduct, statements, acts or omissions alleged, or
      27 that could have been alleged, in the Actions. Without limiting the foregoing, the Settling Defendants
      28 I have denied and continue to deny, among other things, that they breached their fiduciary duties or

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               any other duty owed to Google or its stockholders, or that Plaintiffs, Google, or its stockholders

               suffered any damage or were harmed as a result of any conduct alleged in the Actions or otherwise.

               The Settling Defendants have further asserted and continue to assert that at all relevant times, they

               acted in good faith and in a manner they reasonably believed to be in the best interests of Google and

               its stockholders.

           6          Nonetheless, the Settling Defendants also have taken into account the expense, uncertainty

           7 and risks inherent in any litigation, especially in complex cases like the Actions. Therefore, the

           8   Settling Defendants have determined that it is desirable and beneficial that the Actions, and all of the

           9   Settling Parties' disputes related thereto, be fully and finally settled in the manner and upon the

          10   terms and conditions set forth in this Stipulation. Pursuant to the terms set forth below, this

          11   Stipulation (including all of the Exhibits hereto) shall in no event be construed as or deemed to be
          12 evidence of an admission or concession by the Settling Defendants with respect to any claim of fault,

      13       liability, wrongdoing, or damage whatsoever.
      14 IV. TERMS OF STIPULATION AND AGREEMENT OF SETTLEMENT

      15              NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among the

      16 Plaintiffs (for themselves and derivatively on behalf of Google), by and through their respective

      17 attorneys of record, the Settling Defendants and Google, by and through their respective attorneys of

      18       record, that in exchange for the consideration set forth below, the Actions and Released Claims shall
      19       be fully, finally and forever compromised, settled, discharged, relinquished and released, and the
               Actions shall be dismissed with prejudice as to the Settling Defendants, upon and subject to the
      21       terms and conditions of this Stipulation, as follows:
      22               1.      Definitions
      23              As used in this Stipulation the following terms have the meanings specified below:
      24               1.1     "Actions" means, collectively, the Demand Futility Action and the Demand Refused
      25 I Action.
      26               1.2    "Court" means the United States District Court for the Northern District of California.
      27
      28

9457878        STIPULATION OF SETTLEMENT - CV-11-04248-PJH AND CV-13-02038-PJH                                       -8
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       1            1.3    "Demand Futility Action" means the consolidated proceeding entitled In re Google

       2 I Inc. Shareholder Derivative Litigation, No. CV- 11 -04248-PJH, pending in the United States District

       3 I Court for the Northern District of California.
                    1.4    "Demand Refused Action" means the action entitled City of Orlando Police Pension

       5 ~ Fund v. Page, et al., Case No. CV-13-02038-PJH, pending in the United States District Court for the

       6 I Northern District of California.

       7            1.5    "Demand Refused Counsel" means the law firm of Abraham, Fruchter & Twersky,

       8 I LLP.

       9            1.6    "District Court Approval Order" means the Order Approving Derivative Settlement

      10 I and Order of Dismissal with Prejudice, substantially in the form attached as Exhibit B hereto.
      11            1.7    "Effective Date" means the first date by which all of the events and conditions
      12 I specified in X6.1 of this Stipulation have been met and have occurred.
      13            1.8    "Final" means the time when the Judgment has not been reversed, vacated, or
      141 I modified in any way and is no longer subject to appellate review, either because of disposition on

      15 I ~ appeal and conclusion of the appellate process or because of passage, without action, of time for

      16 seeking appellate review. More specifically, it is that situation when: (1) either no appeal has been
      17 filed and the time has passed for any notice of appeal to be timely filed in the Actions; or (2) an
      18 appeal has been filed and the court(s) of appeal has/have either affirmed the Judgment or dismissed
      19 that appeal and the time for any reconsideration or further appellate review has passed and the
     20 appellate court mandate(s) has/have issued; or (3) a higher court has granted further appellate review
     21     and that court has either affirmed the underlying Judgment or affirmed the court of appeal's decision
     22 I affirming the Judgment or dismissing the appeal.

     23 1           1.9    "Google" means Google Inc., including, but not limited to, its predecessors,
     24 ~ successors, partners, joint ventures, subsidiaries, affiliates, divisions, and assigns.
     25             1.10 "Judgment" means the judgment to be rendered by the Court in the Actions upon its
     26 final approval of the Settlement, substantially in the form attached as Exhibit C hereto.
     27             1.11    "Person" means an individual, corporation, limited liability company, professional
     28 corporation, limited liability partnership, partnership, limited partnership, association, joint venture,

9457878 II STIPULATION OF SETTLEMENT - CV-11-04248-PJH AND CV-13-02038-PJH                                     -9_
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           1    joint stock company, estate, legal representative, trust, unincorporated association, government or

           2 any political subdivision or agency thereof, and any business or legal entity, and each of their

           3    spouses, heirs, predecessors, successors, representatives, or assignees.

           4            1.12 "Plaintiffs" means collectively Patricia H. McKenna, Avrohom Gallis, James Clem,

           5   I and the City of Orlando Police Pension Fund.
           6            1.13 "Plaintiffs' Counsel" means any counsel that has appeared of record or rendered legal

           7    services to any of the Plaintiffs in connection with any of the Actions.

           8            1.14 "Related Parties" means (i) as to Google, Google's past or present directors, officers,

           9 managers, employees, partners, agents, attorneys, accountants, auditors, banks, insurers, co-insurers,

       10 re-insurers, consultants, experts, successors, subsidiaries, divisions, jointventures, assigns, general
       11 or limited partners or partnerships, limited liability companies, any entity in which Google has a
       12 controlling interest, and all officers, directors and employees of Google's current and former
       13 subsidiaries, and (ii) as to the Settling Defendants, (1) each spouse, immediate family member, heir,
       14 executor, estate, administrator, agent, attorney, accountant, auditor, bank, insurer, co-insurer, re-
       15 insurer, advisor, consultant, expert, or affiliate of any of them, (2) any trust in respect of which any
       I        Settling Defendant, or any spouse or family member thereof serves as a settlor, beneficiary or

       17 trustee, and (3) any entity in which a Settling Defendant, or any spouse or immediate family member
       18 thereof, holds a controlling interest or for which a Settling Defendant has served as an employee,
       19 director, officer, managing director, advisor, general partner, limited partner, or member and any
       20 collective investment vehicle which is advised or managed by any of them.
       21               1.15 "Released Claims" means all claims, demands, rights, liabilities and claims for relief

       22 of every nature and description whatsoever, known or unknown (as set forth in ¶1.23), that have
       23 been, or could have been, asserted in the Actions by Plaintiffs, Google, or any Google stockholder
       24 derivatively on behalf of Google against the Settling Defendants, based on the Settling Defendants'
       25 acts and/or omissions in connection with, arising out of, or relating to, the facts, transactions, events,
       26 matters, occurrences, acts, disclosures, statements, omissions or failures to act related to Google's
       27 hosting of ads placed by foreign online pharmacies that violated certain federal laws through and
       28 ~ including the date of execution of this Stipulation.

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           1           1.16 "Released Persons" means the Settling Defendants, Google and their respective

           2 I Related Parties.

           3           1.17 "Settlement" means the terms and conditions contained in this Agreement.

           4           1.18 "Settling Defendants" means Larry Page, Sergey Brin, Eric E. Schmidt, L. John

           5 Doerr, John L. Hennessy, Ann Mather, Paul S. Otellini, K. Ram Shriram and Shirley M. Tilghman.

           6           1.19 "Settling Parties" means, collectively, each of the Plaintiffs, the Settling Defendants

           7 I and Google.

           8           1.20 "Special Committee" means the independent Special Committee established by

           9 I Google consisting of Google Directors Diane B. Greene (who was not named as a defendant in the
       10 Actions) and Ann Mather (who was only named as a defendant in the Demand Refused Action after

       11 Google refused the Demand).
       12              1.21 "State Actions" refers to the following purported derivative matters filed in the

       13 California .and Delaware state courts alleging claims similar or identical to those made in the

       14 Actions: DeKalb County Pension Fund v. Google Inc., 7694-VCP (Del. Ch. July 12, 2012);

       15 I Szmerkes v. Page, etal., 6981-VCP (Del. Ch. Oct. 26, 2011); Louisiana Municipal Police Employees
       16 Ret. Sys. v. Page, et al., 7041-VCP (Del. Ch. Nov. 14,2011); Pompano Beach Police & Firefighters'

       17 I Ret. Sys. v. Page, et al., 7064-VCP (Del. Ch. Nov. 23, 2011); Miron v. Brin et al., 1 1-CV-208338
       18 (Santa Clara Super. Ct. Aug. 31, 2011); Clark v. Page, etal., 11-CV-209070 (Santa Clara Super. Ct.
       19 Sept. 13, 2011); and Liss v. Page, et al., 11 -CV-211139 (Santa Clara Super. Ct. Oct. 14, 2011).

       20              1.22 "Stipulation" means this Agreement.

       21              1.23 "Unknown Claims" means any Released Claims which Plaintiffs, Google or a Google

       22 stockholder does not know or suspect to exist in his, her or its favor at the time of the release of the
       23 Released Persons, including claims which, if known by him, her or it, might have affected his, her or
       24 its settlement with, and release of the Released Persons, or might have affected his, her or its
       25 decision not to object to this Settlement. With respect to any and all Released Claims, the Settling
       26 Parties stipulate and agree that, upon the Effective Date, Plaintiffs, Google, and its stockholders shall
       27 be deemed to have, and by operation of the Judgment shall have, expressly waived, the provisions,
       28 1 rights and benefits of California Civil Code § 1542, which provides:

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           1                A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH
                       THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR
           2           HER FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
                       KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS
           3           OR HER SETTLEMENT WITH THE DEBTOR.
           4 Further, with respect to any and all claims released pursuant to ¶¶4.1-4.3 below, the Settling Parties

           5 stipulate and agree that, upon the Effective Date, each of the Released Persons also shall expressly
           6 waive, and by operation of the Judgment shall have expressly waived any and all provisions, rights

           7 and benefits conferred by any law of any jurisdiction or any state or territory of the United States, or

           8 principle of common law, which is similar, comparable or equivalent to California Civil Code

           a § 1542. Plaintiffs, Google and each Google stockholder may hereafter discover facts in addition or
       10 different from those which he, she or it now knows or believes to be true with respect to the subject

       11 matter of the Released Claims, known or unknown, suspected or unsuspected, contingent or non-
       12 contingent, whether or not concealed or hidden, which now exist, or heretofore have existed upon

       13 any theory of law or equity now existing or coming into existence in the future, including, but not

       14 limited to, conduct which is negligent, intentional, with or without malice, or a breach of any duty,
       15 law or rule, without regard to the subsequent discovery or existence of such different or additional
       16 facts. The Settling Parties acknowledge, and the Google stockholders shall be deemed by operation

       17 of the Judgment to have acknowledged, that the foregoing waiver was separately bargained for and
       18 is a key element of the Settlement of which this release is a part.
       19              2.     Consideration

       20              2.1    In connection with the Settlement of the Actions, the Google Board, following review

       21      I and recommendation by its Special Committee, shall adopt and maintain the corporate governance
       22 measures and funding requirements specified herein within one hundred twenty (120) days after
       23
            judicial approval of the proposed Settlement by the Court. The corporate governance reforms and
       24
       25 funding commitments shall remain in effect for not fewer than five (5) years from that date and shall

       26 not be altered without a Court order. Google acknowledges and agrees that the corporate

       27 I governance reforms and funding commitments set forth in ¶¶2.2-2.6 below confer substantial

       28 benefits upon Google and its shareholders. Google also acknowledges that the commencement,

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          1 prosecution, and settlement of the Actions was a material and substantial factor in the Company's

          2 decision to adopt, implement, and maintain the corporate governance reforms and funding

          3 commitments set forth in ¶¶2.2-2.5 below.
          4
                      2.2     User Safety Initiative
          5
                              (a)    As a material part of the Settlement, Google shall create the User Safety
          6
          7 Initiative. This program will focus on frustrating and disrupting the operations of rogue pharmacies

              online.
          8
                                (b)      The mission statement and charter for the User Safety Initiative shall be as
          9
              follows:
      10
                        The User Safety Initiative ("USI") aims to disrupt the operations of rogue pharmacies
      11
                        online. By proactively leveraging Google's expertise in policy enforcement, and
      12
                        working closely with industry, non-profits, NGOs, regulators, and law enforcement,
      13
                        USI's objective is to increasingly and more holistically make it difficult for rogue
      14
                        online pharmacies who abuse Google's systems to operate.
      15
                        Initial Steps:
      16
                        To promote USI's mission, Google will focus on the following areas over the next
      17
                        year:
      18
                        •       Building relationships with entities globally who can take meaningful steps to
      19
                                frustrate business operations of rogue online pharmacy networks and expand
      20
      21                        the reach of drug abuse prevention messaging organizations.

      22                •       Continuing to make proactive referrals to trusted partners and law
      23                        enforcement entities best positioned to take meaningful action aimed at
      24
                                frustrating the operations of largest rogue online pharmacy networks.
      25
                        •       Improving visibility of relevant and reliable educational content regarding
      26
                                prescription drug abuse prevention and intervention, and assist trusted
      27
      28

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            1                organizations operating in these areas (e.g., Drugfree.org ) with marketing

           2                 efforts.
            3
                       •     Educating partners on best practices for collaborating with industry and law
           4
                             enforcement so as to more holistically frustrate the business operations of
            5
                             rogue online pharmacy networks.
            6

           7           •     Regularly testing policy enforcement systems to identify and remedy

            8                potential ways rogue online pharmacies might seek to evade those systems.

            9         Reporting :
           10         Per the "Corporate Governance Provisions" Agreement, the USI's progress in these
       11             areas will be reported on to the Audit Committee in July 2015.
           12

       13             Individuals from the Legal Department, the Product Quality Operations Team, and
       14             the Risk Team.
       15             Preliminary Action Items :
       16             •      Fund and help disseminate drug abuse prevention messaging campaigns
       17
                             online.
       18
                      •      Develop better working relationship with payment processors in order to
       19
                             collectively take action against the most egregious rogue pharmacy networks.
       20
       21             •      Work closely with law enforcement and/or regulatory agencies on legal

       22                    action against most egregious rogue pharmacy networks.

       23             •      Work with legitimate pharmacies on optimization practices to counter against
       24
                             the marketing efforts of rogue pharmacy networks online.
       25
                      •      Hire expert in enforcement actions against unlicensed pharmacies as
       26
                             consultant.
       27
       28

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           1                   (c)     At least once annually after adoption of the User Safety Initiative, Google's

           2 General Counsel shall report to the Audit Committee of the Google Board on the USI's activities,

           3 successes, and challenges, and further recommend to the Google Board (or an appropriate
           4 Committee of the Google Board) any changes in the USI. To the extent such changes are

           5 substantial, Google shall seek Court approval pursuant to ¶2.1 above after meeting and conferring

           6 with Plaintiffs' Counsel.

           7                   (d)     Should the Board (or an appropriate Committee of the Board) modify the User

           8 I Safety Initiative, it will ensure that the amount of funding dedicated to the User Safety Initiative will
           9 continue to be dedicated to frustrating the operations of actors engaging in illegal and dangerous

       10 activities online — including, but not limited to, actors who place ads in violation of U.S. law and/or

       11      I Google's content policies and prohibitions regarding dangerous and illegal activity.
       12              2.3     On-Line Advertising and Compliance

       13                      (a)     The Audit Committee shall cause Google to continue to implement and

       14 maintain, and enforce, to the extent feasible, written policies and procedures designed to ensure
       15 compliance with federal and state laws and regulations. These policies and procedures shall include,
       16 I but need not be limited to, those set forth below.
       17                      (b)     Google shall retain LegitScript to complement Google's sweeps and searches

       18 of advertisements running through AdWords as required under Google's "Unapproved

       19 Pharmaceuticals and Supplements" policy. Google may replace LegitScript with another provider or

       20 mechanism of at least equal quality with the prior approval of the Audit Committee.
       21                      (c)     Google shall use the Verified Internet Pharmacy Practices Sites ("VIPPS")

       22 program to screen out internet pharmacy ads that do not comply with federal and/or state law or with
       23 Google's relevant advertising policies. Google may replace VIPPS with another provider or

       24 mechanism of at least equal quality with the prior approval of the Audit Committee.
       25                      (d)     Google shall use, and as appropriate improve upon, automated systems,
       26 including those that review the web pages that consumers visit when clicking on a link in an

       27      advertisement, and shall timely disable those ads that violate Google's advertising policies.
       28

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          1                   (e)     Google shall disable URLs (including URLs not active on AdWords) from

          2 I being linked to ads in AdWords or similar Google advertising programs when notified that they are
          3 subject to action by governmental agencies, including without limitation, the FDA and Drug

          4 I Enforcement Agency and/or violate Google's advertising policies.

          5                   (f)     Google shall refer to appropriate regulators or law enforcement agencies those

          6 persons or entities that engage in significant and systematic attempts to evade Google's advertising

          7 policies or electronic screening mechanisms against rogue online pharmacies.

          8                   (g)     Google shall maintain its position as a board member of the Center for Safe

          9 I Internet Pharmacies ("CSIP"), so long as CSIP's primary focus continues to be effective ways in
      10 which industry can combat abuses of their systems with respect to online pharmacies.

      11                      (h)     The Audit Committee shall (i) require management to conduct internal audits

      12 on Google's on-line advertising compliance with regulatory and/or legal requirements; or (ii)
      13 commission external review by counsel or other professionals of Google's policies for on-line

      14 advertising-related compliance with relevant regulations and/or laws at least once every 24 months.

      15 Either shall be provided to the Audit Committee in writing.

      16                              (i)     Google's General Counsel or senior compliance official shall report to

      17 I the Audit Committee semi-annually on the Company's compliance with, and enforcement of, its
      18 advertising policies and initiatives.

      19                              (ii)    Google's General Counsel or senior compliance official shall report to

      20 I the Audit Committee semi-annually discussing any material updates to the advertising compliance
      21 program that were or will be adopted to prevent evasion of Google's advertising policy by online

      22 pharmacy advertisers.

      23              2.4     Criminal Activity Reporting

      24              Google's General Counsel shall be responsible for reviewing every situation in which a
      25
              I Google employee is convicted of a felony under U.S. federal or state criminal statutes in connection
      26 with his employment by Google and for reporting to the Board (or an appropriate committee of the
      27 Board) with respect to that violation. Presumptively, any employee convicted of a felony under a
      28 U.S. federal or state criminal statute in connection with his employment by Google shall be

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                 terminated for cause and receive no severance payments in connection with the termination. If the
                 General Counsel determines that such termination is not warranted, he shall so recommend to the

                 Board (or an appropriate committee of the Board), which will act upon his recommendation in its

                 discretion.

            5            2.5    Funding Commitment

            6            In order to provide appropriate funding for Google's On-Line Advertising Product, Quality

            7 Operations and Ethics Compliance, Google hereby commits to budget and spend at least $50 million

            8 per year on its Product Quality Operations, Policy Enforcement, and User Safety Initiative

            9 collectively, during each of the five years in which this Agreement shall be in effect, for a total of at

           10 least $250 million. This funding will be deployed through the direction of existing resources, as well

           11 as through the allocation or acquisition of additional resources or assets, towards fulfilling the
       12 objectives and obligations set forth herein and will be specifically targeted at frustrating the efforts

       13 of parties engaging in illegal and dangerous activities online that pose a threat to users of Google
       14 services, including ads that violate U.S. law or Google's content policies and prohibitions regarding

       15 dangerous and illegal activities.

       16               2.6     Application of Google's Policies to Acquired Companies

       17               Within twelve months following the acquisition of digital advertising companies, Google will
       18 review their advertising-related compliance and regulatory policies to ensure consistency with

       19 Google's existing policies and the corporate governance measures set out in ¶¶2.2-2.5 above.
       20               3.      Settlement Procedures
       21               3.1     After execution of this Stipulation, Plaintiffs shall submit the Stipulation together
       22 with its Exhibits to the Court and shall move for entry of an order substantially in the form of
       23 Exhibit A hereto (the "Preliminary Approval Order"), requesting, among other things, the
       24 preliminary approval of the Settlement set forth in the Stipulation, and approval for the filing and
       25 publication of the Settlement Notice, substantially in the forms attached hereto as Exhibits A-1
       26 ("Long-Form Notice") and A-2 ("Short-Form Notice"; the Long-Form Notice and Short-Form
       27 Notice collectively, the "Settlement Notice"), which shall include the general terms of the Settlement

       28 set forth in the Stipulation and the date of the Settlement Hearing as described below.

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          1           3.2    Within ten (10) business days following the Court's entry of the Preliminary

          2 Approval Order, Google shall cause the Stipulation and Long-Form Notice to be filed with the SEC

          3 along with an SEC Form 8-K or other appropriate filing, and publish the Short-Form Notice one

          4 time in Investor's Business Daily. The SEC filing will be accessible via a link on the "Investor
          5 Relations" page of http://www.google.com , the address of which shall be contained in the Settlement

          6 Notice.

          7           3.3    Plaintiffs will also request that sixty (60) days after the Settlement Notice is given, the

          8 Court hold a joint hearing in the Actions (the "Settlement Hearing") to consider and determine

          9 whether the District Court Approval Order and the Judgment, substantially in the forms of Exhibits

      10 B and C hereto, should be entered: (a) approving the terms of the Settlement as fair, reasonable and

      11 adequate; and (b) dismissing with prejudice the Actions against the Settling Defendants.

      12              3.4    Pending the Effective Date, all proceedings and discovery in the Actions shall be

      13 I stayed except as otherwise provided herein, and the Settling Parties shall not file or prosecute any
      14 other actions or proceedings relating to the Settlement. To the extent necessary, the Settling Parties

      15 will take all reasonable steps to maintain the stay of proceedings in the State Actions as well.

      16              4.     Releases
      17              4.1    Upon the Effective Date, as defined in ¶1.7, Google, current Google stockholders and

      18 the Plaintiffs (acting on their own behalf and derivatively on behalf of Google) shall be deemed to
      19 have, and by operation of the Judgment shall have, fully, finally, and forever released, relinquished
      20 and discharged and dismissed with prejudice the Released Claims against the Released Persons and

      21 any and all causes of action or claims (including Unknown Claims) that have or could have been
      22 asserted in the Actions by Plaintiffs, Google or any Google stockholder derivatively on behalf of

      23 Google, or Google against the Settling Defendants or the Released Persons, based on the Settling

      24 Defendants' acts and/or omissions in connection with, arising out of, or relating to, the facts,
      25 transactions, events, matters, occurrences, acts, disclosures, statements, omissions or failures to act
      26 related to Google's acceptance of advertisements by foreign online pharmacies that violated certain
      27 federal laws through and including the date of execution of this Stipulation. Nothing herein shall in
      28 I any way impair or restrict the rights of any Settling Party to enforce the terms of the Stipulation.

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                        4.2     Upon the Effective Date, as defined in ¶1.7, Plaintiffs (acting on their own behalf and

                derivatively on behalf of Google and its stockholders), Google and any Person acting on behalf of

                Google, shall be forever barred and enjoined from commencing, instituting or prosecuting any of the

                Released Claims against any of the Released Persons or any action or other proceeding against any

                of the Released Persons arising out of, relating to, or in connection with the Released Claims, the

                Actions, or the filing, prosecution, defense, settlement, or resolution of the Actions. Nothing herein
                shall in any way impair or restrict the rights of any Settling Party to enforce the terms of the

            8   Stipulation.

            9           4.3     Upon the Effective Date, as defined in ¶1.7, each of the Released Persons and the

           10 Related Parties shall be deemed to have, and by operation of the Judgment shall have, fully, finally,
       11 and forever released, relinquished and discharged each and all of the Plaintiffs and Plaintiffs'
       12 Counsel and all current Google stockholders (solely in their capacity as Google stockholders) from
       13 all claims (including Unknown Claims) arising out of, relating to, or in connection with the
       14 institution, prosecution, assertion, settlement or resolution of the Actions or the Released Claims.
       15 Nothing herein shall in any way impair or restrict the rights of any Settling Party to enforce the terms
       16 of the Stipulation.
       17               5.      Plaintiffs ' Counsel ' s Separately Negotiated Attorneys ' Fees and
                                Expenses
       18
                        5.1     After negotiating the principal terms of the Settlement, Plaintiffs' Counsel and
       19
                Google, acting by and through its counsel, with the assistance of the Honorable Layn R. Phillips,
       20
                United States District Judge (Ret.), separately negotiated the attorneys' fees and expenses the
       21
                Company would pay to Plaintiffs' Counsel. In light of the substantial benefits conferred by
       22
                Plaintiffs' Counsel's efforts, Google, acting by and through its Committee of independent directors,
       23
                has agreed to pay $9,900,000, subject to Court approval (the "Fee and Expense Amount").
       24
                        5.2     Within twenty (20) calendar days following the Court's issuance of the District Court
       25
                ~ Approval Order, notwithstanding the existence of any timely filed objections to the Settlement, or
       26
                potential for appeal therefrom, Google shall make one payment of the Fee and Expense Amount to
       27
                an account jointly controlled by Robbins Geller Rudman & Dowd LLP and Abraham, Fruchter &
       28

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            1' Twersky, LLP, as receiving agents for Plaintiffs' Counsel. If, as a result of any further order of the

            2 Court or as a result of any appeal, remand, or successful collateral attack, the Effective Date does not

            3 occur or if the Fee and Expense Amount is not approved or is modified or overturned, in whole or in

            4 part, then Plaintiffs' Counsel shall be responsible for repayment to Google of the amount received by

            5 them. Neither Google nor any other Released Persons shall have any obligations with respect to

            6 Plaintiffs' Counsel's fees and/or expenses beyond the Fee and Expense Amount.

            7               6.    Conditions of Settlement; Effect of Disapproval, Cancellation or
                                  Termination
            8
                            6.1   The Effective Date shall be conditioned on the occurrence of all of the following
            9
                I events:
           10
                                  (a)    the Committee of independent Google directors has approved the Settlement
           11
                 and each of its terms, including the separately negotiated Fee and Expense Amount;
           12
                                  (b)    the Court has entered the District Court Approval Order and Judgment,
           13
                 substantially in the forms of Exhibits B and C attached hereto; and
       14
                                  (c)    the Judgment has become Final.
       15
                            6.2   If any of the conditions specified in ¶6.1 are not met, then the Stipulation of
       16
                 Settlement shall be canceled and terminated subject to the provisions of this ¶6.2, unless counsel for
       17
                the Settling Parties mutually agree in writing to proceed with an alternative or modified Stipulation
       18
                and submit it for Court approval. If for any reason the Effective Date does not occur, or if this
       19
                 Stipulation is terminated, or is cancelled, or otherwise fails to become effective for any reason:
       20
                                  (a)    The Settling Parties, Released Persons and Related Parties shall be restored to
       21
                their respective positions that existed immediately prior to the date of execution of this Stipulation;
       22
                                  (b)    All negotiations, proceedings, documents prepared and statements made in
       23
                connection with this Stipulation shall be without prejudice to the Settling Parties, shall not be
       24
                deemed or construed to be an admission by a Settling Party of any act, matter, or proposition and
       25
                shall not be used in any manner for any purpose (other than to enforce the terms remaining in effect)
       26
                in any subsequent proceeding in the Actions or in any other action or proceeding; and
       27
       28

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           1                    (c)     The terms and provisions of the Stipulation, with the exception of the

           2    provisions of ¶5.2 and ¶6.2 shall have no further force and effect with respect to the Settling Parties

           3    and shall not be used in the Actions or in any other proceeding for any purpose, and any judgment or

           4 orders entered by the Court in accordance with the terms of the Stipulation shall be treated as
           5 1 vacated, nunc pro tunc.
           6            6.3     No order of the Court or modification or reversal on appeal of any order of the Court

           7 I concerning the amount of attorneys' fees, costs, expenses and interest awarded by the Court to

           8    Plaintiffs' Counsel shall constitute grounds for cancellation or termination of the Stipulation, affect

           9    the enforceability of the Stipulation, or delay or preclude the Judgment from becoming Final.

          10            7.      Miscellaneous Provisions
          11            7.1     The Settling Parties (a) acknowledge that it is their intent to consummate the terms
          12 ~ and conditions of this Stipulation; and (b) agree to cooperate to the extent reasonably necessary to
          13 effectuate and implement all terms and conditions of the Stipulation and to exercise their best efforts
          14 to accomplish the foregoing terms and conditions of the Stipulation.
          15            7.2     The Settling Parties intend this Settlement to be a final and complete resolution of all
          16 disputes between Plaintiffs and Google and its stockholders, on the one hand, and the Released
      17 Persons, on the other hand, arising out of, based upon or related to the Released Claims. The
      18 Settlement compromises claims that are contested and shall not be deemed an admission by any
      19 Settling Party or Released Person as to the merits of any claim, allegation or defense. The District
      20 Court Approval Order shall contain a finding that during the course of the litigation, the parties and
      21 their respective counsel at all times complied with the requirements of Rule 11 of the Federal Rules
      22 of Civil Procedure and all other similar laws, including California Code of Civil Procedure § 128.7.
      23 The Settling Parties further agree that the Released Claims are being settled voluntarily after
      24 consultation with competent legal counsel and an experienced mediator.
      25               7.3     Pending the Effective Date, the Settling Parties agree not to initiate any proceedings
      26 concerning the Released Claims other than those incident to the settlement itself, provided, however,
      27 that Google and the Settling Defendants may seek to prevent or stay any other action or claims
      28 brought seeking to assert any Released Claims.

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           1           7.4    Neither the Stipulation nor the Settlement, including any Exhibits attached hereto, nor

           2 any act performed or document executed pursuant to or in furtherance of the Stipulation or the

           3 I Settlement: (a) is or may be deemed to be or may be offered, attempted to be offered or used in any
           4 way as a concession, admission or evidence of the validity of any Released Claims, or of any fault,

           5 wrongdoing or liability of the Released Persons or Google; or (b) is or may be deemed to be or may

           6 be used as a presumption, admission or evidence of, any liability, fault or omission of any of the

           7 Released Persons or Google in any civil, criminal, administrative, or other proceeding in any court,

           8 administrative agency, tribunal or other forum. Neither this Stipulation nor the Settlement shall be

           9 admissible in any proceeding for any purpose, except to enforce the terms of the Settlement, and
          10 except that the Released Persons may file or use the Stipulation, the District Court Approval Order

      11 and/or the Judgment in any action that may be brought against them in order to support a defense or

      12 counterclaim based on principles of res judicata, collateral estoppel, full faith and credit, release,

      13 good faith settlement, standing, judgment bar or reduction or any other theory of claim preclusion or

      14 issue preclusion or similar defense or counterclaim.

      15               7.5    All agreements made and orders entered during the course of the Actions relating to

      16 the confidentiality of information or sealing of documents shall survive this Stipulation and the
      17 I Judgment.

      18               7.6    All Exhibits to this Stipulation are material and integral parts hereof and are fully
      19 I incorporated herein by this reference.

      20               7.7    This Stipulation may be amended or modified only by a written instrument signed by
      21 or on behalf of all Settling Parties or their respective successors-in-interest.
      22               7.8    This Stipulation and the Exhibits attached hereto constitute the entire agreement
      23 among the Settling Parties and no representations, warranties or inducements have been made to any
      24 Settling Party concerning the Stipulation and/or any of its Exhibits, other than the representations,
      25 warranties and covenants contained and memorialized in such documents. The Stipulation

      26 supersedes and replaces any prior or contemporaneous writing, statement or understanding
      27 pertaining to the Actions and no parole or other evidence may be offered to explain, construe,

      AM contradict or clarify its terms, the intent of the Settling Parties or their counsel, or the circumstances

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               I STIPULATION OF SETTLEMENT - CV-11-04248-PJH AND CV-13-02038-PJH                                 - 22
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              1     under which the Stipulation was made or executed. It is understood by the Settling Parties that,

              2     except for matters expressly represented herein, the facts or law with respect to which this

              3     Stipulation is entered into may turn out to be other than or different from the facts now known to

              4     each party or believed by such party to be true; each party therefore expressly assumes the risk of

              5     facts or law turning out to be different, and agrees that this Stipulation shall be in all respects

              6     effective and not subject to termination by reason of any such different facts or law.

              7             7.9    Except as otherwise expressly provided herein, all parties, including all Settling

              El Defendants, their counsel, Google and its counsel, and Plaintiffs and Plaintiffs' Counsel, shall bear

              a their own fees, costs, and expenses.

             10 1           7.10 Counsel for the Settling Parties are expressly authorized by their respective clients to
             11 take all appropriate actions required or permitted to be taken pursuant to the Stipulation to effectuate
             12 I its terms and conditions.
             13             7.11 Plaintiffs represent and warrant they have not assigned or transferred, or attempted to
         14 I assign or transfer, to any Person any Released Claim or any portion thereof or interest therein.
         15                 7.12 Each counsel or other Person executing this Stipulation or any of its Exhibits on
         16 ~ behalf of any party hereto hereby warrants that such Person has the full authority to do so.
         17                 7.13 Any failure by any party to this Stipulation to insist upon the strict performance by
         18 any other party of any of the provisions of the Stipulation shall not be deemed a waiver of any of the
         19 provisions, and such party, notwithstanding such failure, shall have the right thereafter to insist upon
         20 the strict performance of any and all of the provisions of the Stipulation to be performed by such
         21         other party.
         22                 7.14 The Stipulation and Exhibits may be executed in one or more counterparts. A faxed
         23 or pdf signature shall be deemed an original signature for purposes of this Stipulation. All executed
         24 counterparts including facsimile and/or pdf counterparts shall be deemed to be one and the same
         25 instrument. A complete set of counterparts, either originally executed or copies thereof, shall be
         26 filed with the Federal Court.
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945787 _ 8          STIPULATION OF SETTLEMENT - CV-1 1-04248-PJH AND CV-13-02038-PJH                                 - 23
                  Case4:11-cv-04248-PJH Document134 Filed08/07/14 Page25 of 30




                       7.15 This Stipulation shall be binding upon, and inure to the benefit of, the Settling Parties

                and the Released Persons and their respective successors, assigns, heirs, spouses, marital
                communities, executors, administrators, trustees in bankruptcy and legal representatives.

                       7.16 Without affecting the finality of the Judgment entered in accordance with this
                Stipulation, the Court shall retain jurisdiction with respect to implementation and enforcement of the

                terms of the Stipulation, the District Court Approval Order, and the Judgment, and the Settling

                Parties hereto submit to the jurisdiction of the Court for purposes of implementing and enforcing the

                Settlement embodied in the Stipulation, the District Court Approval Order, and the Judgment and for

            am matters arising out of, concerning or relating thereto.
           10          7.17 This Stipulation and the Exhibits hereto shall be considered to have been negotiated,

           11 executed and delivered, and to be wholly performed, in the State of California, and the rights and

           12 obligations of the Settling Parties to the Stipulation shall be construed and enforced in accordance

           13 with, and governed by, the internal substantive laws of the State of California without giving effect
           14 to California's choice-of-law principles.
           15          IN WITNESS WHEREOF, the Settling Parties have caused the Stipulation to be executed, by
           16 I themselves and/or by their duly authorized attorneys, dated August 7, 2014.

           17                                                    ROBBINS GELLER RUDMAN
                                                                  & DOWD LLP
           18                                                    BENNY C. GOODMAN III
                                                                 ERIK W. LUEDEKE
           19

       20
       21                                                                    BENNY C. GOODMAN III

       22                                                        655 West Broadway, Suite 1900
                                                                 San Diego, CA 92101-3301
       23                                                        Telephone: 619/231-1058
                                                                 619/231-7423 (fax)
       24
                                                                 ROBBINS GELLER RUDMAN
       25                                                          & DOWD LLP
                                                                 SHAWN A. WILLIAMS
       26                                                        Post Montgomery Center
                                                                 One Montgomery Street, Suite 1800
       27                                                        San Francisco, CA 94104
                                                                 Telephone: 415/288-4545
       28                                                        415/288-4534 (fax)

945787_8        STIPULATION OF SETTLEMENT - CV-1 1-04248-PJH AND CV-13-02038-PJH                                   - 24
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          1
                                                          POMERANTZ LLP
          2                                               MARC I. GROSS
                                                          JEREMY A. LIEBERMAN
          3                                               600 Third Avenue
                                                          New York, NY 10016
          4                                               Telephone: 212/661-1100
                                                          212/661-8665 (fax)
          5
                                                           ROBBINS ARROYO LLP
          6                                                BRIAN J. ROBBINS
                                                           FELIPE J. ARROYO
          7                                                SHANE P. SANDERS
                                                           GINA STASSI
          8                                                600 B Street, Suite 1900
                                                           San Diego, CA 92101
          9                                                Telephone: 619/525-3990
                                                           619/525-3991 (fax)
      10
                                                           LAW OFFICE OF ALFRED G.
      11                                                     YATES, JR., P.C.
                                                           GERALD L. RUTLEDGE
      12                                                   519 Allegheny Building
                                                           429 Forbes Avenue
      13                                                   Pittsburgh, PA 15219
                                                           Telephone: 412/391-5164
      14                                                   412/471-1033 (fax)

      15                                                   Counsel for Plaintiffs Patricia H. McKenna,
                                                           Avrohom Gallis and James Clem
      16

      17                                                   ABRAHAM, FRUCHTER,
                                                            & TWERSKY, LLP
      18                                                   JEFFREY S. ABRAHAM
                                                           MITCHELL M.Z. TWERSKY
      19                                                   PHILIP T. TAYLOR
      20

      21

      22                                                               JEFFREY S. ABRAHAM

      23                                                   Z/Pe/a za, Suite 2805
                                                                YNY 10119
      24                                                   Telephone: 212/279-5050
                                                           212/279-3655 (fax)
      25

      26

      27

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9457878       11 STIPULATION OF SETTLEMENT - CV-11-04248-PJH AND CV-13-02038-PJH                         -25
               Case4:11-cv-04248-PJH Document134 Filed08/07/14 Page27 of 30




           1
                                                             ABRAHAM, FRUCHTER,
           2                                                  & TWERSKY, LLP
                                                             IAN D. BERG
           3                                                 TAKEO A. KELLAR
                                                             12526 High Bluff Drive, Suite 300
           4
                                                             San Diego, California 92130
           5                                                 Tel: (858) 792-3448
                                                             Fax: (858) 792-3449
           6                                                 Iberg@aftlaw.com
                                                             tkellar@aftlaw.com
           7
                                                             Counsel for Plaintiff City of Orlando Police
           8                                                 Pension Fund
           9
                                                             WILSON SONSINI GOODRICH &
       10                                                     ROSATI, P.C.
                                                             BORIS FELDMAN
       11                                                    ELIZABETH C. PETERSON
       12
       13                                                                                    ECG"
                                                                            BORIS F L MAN
       14
                                                             650 Page Mill Road
       15                                                    Palo Alto, CA 94304
       16                                                    Telephone: 650/493-9300
                                                             650/493-6811 (fax)
       17
                                                              Attorneys for Defendants Larry Page, Sergey
       18                                                     Brin, Eric E. Schmidt, L. John Doerr, John L.
                                                              Hennessy, Paul S. Otellini, K. Ram Shriram,
       19                                                     Shirley M. Tilghman, Ann Mather, and Nominal
       20                                                     Defendant Google Inc.

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          1                                     CERTIFICATE OF SERVICE

          2          I hereby certify that on August 7, 2014, I authorized the electronic filing of the foregoing

          3 with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

          4 the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

          5 caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

          6 CM/ECF participants indicated on the attached Manual Notice List.

          7          I certify under penalty of perjury under the laws of the United States of America that the

          8 foregoing is true and correct. Executed on August 7, 2014.

          9                                                      s/ Benny C. Goodman III
                                                                 BENNY C. GOODMAN III
      10
                                                                 ROBBINS GELLER RUDMAN
      11                                                                & DOWD LLP
                                                                 655 West Broadway, Suite 1900
      12                                                         San Diego, CA 92101-8498
                                                                 Telephone: 619/231-1058
      13                                                         619/231-7423 (fax)
      14                                                         E-mail : B ennyG@rgrdlaw. com

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CAND-ECF-                                                                                                                  Page 1 of 2




Mailing Information for a Case 4:11-cv-04248 -PJH In re Google Inc. Shareholder
Derivative Litigation
Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

    • Felipe Javier Arroyo
      (arroyo@robbinsarroyo. com ,notice@robbinsarroyo. coin

    • Patrick V. Dahlstrom
      pdahlstrom@pomlaw.com

    • Marshall Pierce Dees
      mdees@holzerlaw.com

    • Travis E. Downs , III
      travisd@rgrdlaw. com ,e_file_sd@rgrdlaw. com ,e_file_sf@rgrdlaw.com

    • Boris Feldman
      bbahns@wsgr.com

    • Michael 1. Fistel ,Jr
      michaelf@johnsonandweaver.com

    • Benny Copeline Goodman , III
      bennyg@rgrdl aw. com,e_fi l e_sd@rgrdlaw. com

    • Marc Ian Gross
      migross@pomlaw.com

    • Kathleen Ann Ilerkenhoff
      kah@weiserlawfinn.com ,jmf@weiserlawfirm.com ,hl@weiserlawfirm. com

    • Darren T. Kaplan
      dkaplan@chitwoodlaw.com

    • Peter John Koenig
      peter@whk-law.com ,serena@whk-law.com ,beau@whk-law.com

    • Nicole Catherine Lavallee
       nlavallee@bermandevaleriocom,ysoboleva@beimandevalerio.com

    • Jeremy A Lieberman
      j aieberman@pomlaw.com ,lpvega@pomlaw.com

    • Erik William Luedeke
      eluedeke@rgrdlaw.com

    • Elizabeth Catherine Peterson
      epeterson@wsgr. com ,vshreve@wsgr. com ,sstrain@wsgr.com ,cfoung@wsgr. com ,bbahns@wsgr.com ,dgavril@wsgr. com ,dwalters@wsgr.com

    • Anthony David Phillips
      aphillips@bermandevalerio.com ,ysoboleva@bermandevalerio.com

    • Brian J. Robbins
      notice@robbinsarroyo.com

    • Darren Jay Robbins
      e_file_sd@rgrdl aw. com

    • Shane Palmesano Sanders
      ssanders@robbinsarroyo.com ,notice@robbinsarroyo.com

    • Bryson Scott Santaguida
      bsantaguida@wsgr.com




https://ecf.cand.uscourts.gov/cgi-bin/MaiIList.pl?980275357542828-L_1_0-1                                                     8/7/2014
                Case4:11-cv-04248-PJH Document134 Filed08/07/14 Page30 of 30
CAND-ECF-                                                                                                                                  Page 2 of 2




     • Gideon A. Schur
       gs chor@wsgr. com ,ageritano @wsgr. com

     • Gina Stassi
       gstassi@robbinsarroyo. com ,notice@robbinsarroyo. com

     • Joseph J. Tabacco , Jr
       jtabacco@bermandevalerio.com ,ysoboleva@bermandevalerio.com

     • Diane Marie Walters
       dwalters@wsgr. com ,vshreve@wsgr. com

     • Tamar A Weinrib
       taweinrib@pomlaw.com

     • Shawn A. Williams
       shawnw@rgrdlaw.com ,e_file_sd@rgrdlaw.com ,e file_sf@rgrdlaw.com

Manual Notice List
The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may
wish to use your mouse to select and copy this list into your word processing program in order to create notices or labels for these recipients.

Marc                         L Gross
Pomerantz Haudek Block Grossman & Gross LLP
100 Park Avenue
26th Floor
New York, NY 10017

R.                           James Hogdson
Pomerantz Haudek Block Grossman & Gross LLP
100 Park Avenue
16th Floor
New York, NY 10017

Fei -Lu                      Qian
Pomerantz Haudek Grossman & Gross LLP
100 Park Avenue
16th Floor
New York, NY 10017




https://eef.cand.uscourts.gov/cgi-bin/MailList.pl?980275357542828-L_1_0-1                                                                      8/7/2014
EXHIBIT 6
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 7
                                UNITED STATES DISTRICT COURT
 8
                             NORTHERN DISTRICT OF CALIFORNIA
 9
                                       OAKLAND DIVISION
10

11 In re GOOGLE INC. SHAREHOLDER                  )   Master File No. CV-11-04248-PJH
   DERIVATIVE LITIGATION                          )
12                                                )
                                                  )
13   This Document Relates To:                    )
                                                  )
14         ALL ACTIONS.                           )
                                                  )
15   CITY OF ORLANDO POLICE PENSION               )   Case No. CV-13-02038-PJH
     FUND by Its Trustees, derivatively on behalf )
16   of GOOGLE INC.,                              )
                                                  )
17                        Plaintiffs,             )   [PROPOSED] ORDER APPROVING
           vs.                                    )   DERIVATIVE SETTLEMENT AND ORDER
18                                                )   OF DISMISSAL WITH PREJUDICE
     LAWRENCE E. PAGE, et al.,                    )
19                                                )
                          Defendants.             )
20                                                )
           and                                    )
21                                                )
      GOOGLE INC., a Delaware corporation,        )
22                                                )
                          Nominal Defendant.      )
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     998141_1
                Case 4:11-cv-04248-PJH Document 161 Filed 01/21/15 Page 2 of 7




           1          This matter came before the Court for hearing pursuant to the Order of this Court, dated

           2 November 6, 2014 (“Order”), on Plaintiffs’ motion for approval of the settlement (“Settlement”) set

           3 forth in the Stipulation of Settlement, dated August 7, 2014 (the “Stipulation”). Due and adequate

           4 notice having been given of the Settlement as required in said Order, and the Court having

           5 considered all papers filed and proceedings had herein, and otherwise being fully informed in the

           6 premises and good cause appearing therefor, IT IS HEREBY ORDERED, ADJUDGED AND

           7 DECREED that:

           8          1.     This District Court Approval Order incorporates by reference the definitions in the

           9 Stipulation, and all capitalized terms used herein shall have the same meanings as set forth in the

       10 Stipulation (in addition to those capitalized terms defined herein).

       11             2.     This Court has jurisdiction over the subject matter of the Actions, including all

       12 matters necessary to effectuate the Settlement, and over all parties to the Actions, including, but not

       13 limited to, the Plaintiffs, Google Inc. (“Google”), the current Google stockholders, and the Settling

       14 Defendants.

       15             3.     The Court finds that the notice provided to Google stockholders was the best notice

       16 practicable under the circumstances of these proceedings and of the matters set forth therein,

       17 including the Settlement set forth in the Stipulation, to all Persons entitled to such notice. The notice

       18 fully satisfied the requirements of Federal Rule of Civil Procedure 23.1 and the requirements of due

       19 process.

       20             4.     The Actions and all claims contained therein, as well as all of the Released Claims,

       21 are dismissed with prejudice. As among Plaintiffs, the Settling Defendants and Google, the parties

       22 are to bear their own costs, except as otherwise provided in the Stipulation.

       23             5.     The Court finds that the terms of the Stipulation and Settlement are fair, reasonable

       24 and adequate as to each of the Settling Parties, and hereby finally approves the Stipulation and

       25 Settlement in all respects, and orders the Settling Parties to perform its terms to the extent the

       26 Settling Parties have not already done so.

       27

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998141_1       [PROPOSED] ORDER APPROVING DERIVATIVE SETTLEMENT AND ORDER OF DISMISSAL
               WITH PREJUDICE - CV-11-04248-PJH AND CV-13-02038-PJH                                             -1-
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           1          6.      Upon the Effective Date, Google, current Google stockholders and the Plaintiffs

           2 (acting on their own behalf and derivatively on behalf of Google) shall be deemed to have, and by

           3 operation of this District Court Approval Order and the Judgment shall have, fully, finally, and

           4 forever released, relinquished and discharged and dismissed with prejudice the Released Claims

           5 against the Released Persons and any and all causes of action or claims (including Unknown Claims)

           6 that have or could have been asserted in the Actions by Plaintiffs, Google or any Google stockholder

           7 derivatively on behalf of Google, or Google against the Settling Defendants or the Released Persons,

           8 based on the Settling Defendants’ acts and/or omissions in connection with, arising out of, or relating

           9 to, the facts, transactions, events, matters, occurrences, acts, disclosures, statements, omissions or

       10 failures to act related to Google’s acceptance of advertisements by foreign online pharmacies that

       11 violated certain federal laws through and including the date of execution of the Stipulation. Nothing

       12 herein shall in any way impair or restrict the rights of any Settling Party to enforce the terms of the

       13 Stipulation.

       14             7.      Upon the Effective Date, Plaintiffs (acting on their own behalf and derivatively on

       15 behalf of Google and its stockholders), Google and any Person acting on behalf of Google, shall be

       16 forever barred and enjoined from commencing, instituting or prosecuting any of the Released Claims

       17 against any of the Released Persons or any action or other proceeding against any of the Released

       18 Persons arising out of, relating to, or in connection with the Released Claims, the Actions, or the

       19 filing, prosecution, defense, settlement, or resolution of the Actions. Nothing herein shall in any

       20 way impair or restrict the rights of any Settling Party to enforce the terms of the Stipulation.

       21             8.      Upon the Effective Date, each of the Released Persons and the Related Parties shall

       22 be deemed to have, and by operation of this District Court Approval Order and the Judgment shall

       23 have, fully, finally, and forever released, relinquished and discharged each and all of the Plaintiffs

       24 and Plaintiffs’ Counsel and all current Google stockholders (solely in their capacity as Google

       25 stockholders) from all claims (including Unknown Claims) arising out of, relating to, or in

       26 connection with the institution, prosecution, assertion, settlement or resolution of the Actions or the

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998141_1       [PROPOSED] ORDER APPROVING DERIVATIVE SETTLEMENT AND ORDER OF DISMISSAL
               WITH PREJUDICE - CV-11-04248-PJH AND CV-13-02038-PJH                                              -2-
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           1 Released Claims. Nothing herein shall in any way impair or restrict the rights of any Settling Party

           2 to enforce the terms of the Stipulation.

           3          9.     The Court hereby approves the Fee and Expense Amount in accordance with the

           4 Stipulation and finds that such fee is fair and reasonable.

           5          10.    Neither the Stipulation nor the Settlement, including the Exhibits attached thereto, nor

           6 any act performed or document executed pursuant to or in furtherance of the Stipulation or the

           7 Settlement: (a) is or may be deemed to be or may be offered, attempt to be offered or used in any

           8 way as a concession, admission, or evidence of the validity of any Released Claims or any fault,

           9 wrongdoing or liability of the Released Persons or Google; or (b) is or may be deemed to be or may

       10 be used as a presumption, admission, or evidence of any liability, fault or omission of any of the

       11 Released Persons or Google in any civil, criminal or administrative or other proceeding in any court,

       12 administrative agency, tribunal or other forum. Neither the Stipulation nor the Settlement, nor any

       13 act performed or document executed pursuant to or in furtherance of the Stipulation or the

       14 Settlement, shall be admissible in any proceeding for any purpose, except to enforce the terms of the

       15 Settlement and Stipulation, and except that the Released Persons may file or use the Stipulation, the

       16 District Court Approval Order and/or the Judgment in any action that may be brought against them

       17 in order to support a defense or counterclaim based on principles of res judicata, collateral estoppel,

       18 full faith and credit, release, standing, judgment bar or reduction or any other theory of claim

       19 preclusion or issue preclusion or similar defense or counterclaim.

       20             11.    During the course of the Actions, the parties and their respective counsel at all times

       21 complied with the requirements of Federal Rule of Civil Procedure 11, any applicable California law

       22 and all other similar laws.

       23             12.    Without affecting the finality of this District Court Approval Order and the Judgment

       24 in any way, this Court hereby retains continuing jurisdiction over the Actions and the parties to the

       25 Stipulation to enter any further orders as may be necessary to effectuate, implement and enforce the

       26 Stipulation and the Settlement provided for therein and the provisions of this District Court Approval

       27 Order.

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998141_1       [PROPOSED] ORDER APPROVING DERIVATIVE SETTLEMENT AND ORDER OF DISMISSAL
               WITH PREJUDICE - CV-11-04248-PJH AND CV-13-02038-PJH                                               -3-
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           1          13.    This District Court Approval Order and the Judgment is a final and appealable

           2 resolution in the Actions as to all claims and the Court directs immediate entry of the Judgment

           3 forthwith by the Clerk in accordance with Rule 58, Federal Rules of Civil Procedure, dismissing the

           4 Actions with prejudice.

           5          IT IS SO ORDERED.
                                                                                     S DISTRICT
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                       1/21/15




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               DATED: _________________                    _______________________________________




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                                                           UNITED STATES DISTRICT  Hamilto
                                                                                          n JUDGE
           8                                                                               hyllis J.




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           9 Submitted by:                                                      ER




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       10
          ROBBINS GELLER RUDMAN
       11  & DOWD LLP
          BENNY C. GOODMAN III
       12 ERIK W. LUEDEKE

       13

       14
                      BENNY C. GOODMAN III
       15
          655 West Broadway, Suite 1900
       16 San Diego, CA 92101-3301
          Telephone: 619/231-1058
       17 619/231-7423 (fax)

       18 ROBBINS GELLER RUDMAN
            & DOWD LLP
       19 SHAWN    A. WILLIAMS
          Post Montgomery Center
       20 One Montgomery Street, Suite 1800
          San Francisco, CA 94104
       21 Telephone: 415/288-4545
          415/288-4534 (fax)
       22
          POMERANTZ LLP
       23 MARC I. GROSS
          JEREMY A. LIEBERMAN
       24 600 Third Avenue
          New York, NY 10016
       25 Telephone: 212/661-1100
          212/661-8665 (fax)
       26

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998141_1       [PROPOSED] ORDER APPROVING DERIVATIVE SETTLEMENT AND ORDER OF DISMISSAL
               WITH PREJUDICE - CV-11-04248-PJH AND CV-13-02038-PJH                                                      -4-
               Case 4:11-cv-04248-PJH Document 161 Filed 01/21/15 Page 6 of 7




           1
          ROBBINS ARROYO LLP
        2 BRIAN J. ROBBINS
          FELIPE J. ARROYO
        3 SHANE P. SANDERS
          GINA STASSI
        4 600 B Street, Suite 1900
          San Diego, CA 92101
        5 Telephone: 619/525-3990
          619/525-3991 (fax)
        6
          LAW OFFICE OF ALFRED G.
        7   YATES, JR., P.C.
          GERALD L. RUTLEDGE
        8 519 Allegheny Building
          429 Forbes Avenue
        9 Pittsburgh, PA 15219
          Telephone: 412/391-5164
       10 412/471-1033 (fax)
       11       Counsel for Plaintiffs Patricia H. McKenna,
                Avrohom Gallis and James Clem
       12
          ABRAHAM FRUCHTER,
       13  & TWERSKY, LLP
          JEFFREY S. ABRAHAM
       14 MITCHELL M.Z. TWERSKY
          ATARA HIRSCH
       15 PHILIP T. TAYLOR

       16
       17
       18
          One 9.'Ann Vlaza, Suite 2805
       19 New Yor1 NY 10119
          Telephone: 212/279-5050
       20 212/279-3655 (fax)
       21 IAN D. BERG
          TAKEO A. KELLAR
       22 12526 High Bluff Drive, Suite 300
          San Diego, California 92130
       23
          Tel: (858) 792-3448
       24 Fax: (858) 792-3449
       25       Counsel for Plaintiff City of Orlando Police
                Pension Fund
       26
       27
       28
945S88_3        [PROPOSED] ORDER APPROVING DERIVATIVE SETTLEMENT AND ORDER OF DISMISSAL
                WITH PREJUDICE - CV-11-04248-PJH AND CV- I 3-02038-PJH                    -5
               Case 4:11-cv-04248-PJH Document 161 Filed 01/21/15 Page 7 of 7




           1 WILSON SONSINI GOODRICH &
              ROSATI, P.C.
           2 BORIS FELDMAN
             ELIZABETH C. PETERSON
           3
           4
           5
           6 650 Page Mill Road
           7 Palo Alto, CA 94304
             Telephone: 650/493-9300
           8 650/493-6811 (fax)
        9 Attorneys for Defendants Larry Page,
          Sergey Brin, Eric E. Schmidt, L. John
          Doerr, John L. Hennessy, Paul S. Otellini,
          K. Ram Shriram, Shirley M. Tilghman, Ann
          Mather,
       11 Inc.    and Nominal Defendant Google

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945888_3        [PROPOSED] ORDER APPROVING DERIVATIVE SETTLEMENT AND ORDER OF DISMISSAL
                WITH PREJUDICE - CV-11-04248-PJH AND CV-13-02038-PJH                      -6
EXHIBIT 7
EXHIBIT 8
 1   JOEL E. ELKINS, State Bar No. 256020
     Email: jelkins@weisslawllp.com
 2   WEISSLAW LLP
     9107 Wilshire Blvd., Suite 450
 3
     Beverly Hills, CA 90210
 4   Telephone: (310) 208-2800
     Facsimile: (310) 209-2348
 5
     Counsel for Plaintiff Barbara Wolfson
 6
     [Additional Counsel on signature page.]
 7

 8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                                   COUNTY OF LOS ANGELES
10     BARBARA WOLFSON, Derivatively on Behalf of           Case No. BC720152
11     SNAP INC.,
                  Plaintiff,
12          v.
                                                            STIPULATION AND AGREEMENT
13     EVAN SPIEGEL, ROBERT MURPHY, MICHAEL                 OF SETTLEMENT
       LYNTON, JOANNA COLES, A.G. LAFLEY,
       MITCHELL LASKY, STANLEY MERESMAN,                    Judge:           Honorable Elihu M. Berle
14                                                          Department:      6
       SCOTT D. MILLER, CHRISTOPHER YOUNG,
15     ANDREW VOLLERO, and IMRAN KHAN,
16                  Defendants,
       and
17     SNAP INC., a Delaware Corporation,
18                   Nominal Defendant.
19     JUSTIN POKORNEY, Derivatively for the Benefit
                                                        Case No. 18STCV09365
20     of and on Behalf of Nominal Defendant SNAP INC.,
                     Plaintiff,
21            v.
       EVAN SPIEGEL, ROBERT MURPHY, MICHAEL Judge:                    Honorable Elihu M. Berle
22                                                      Department: 6
       LYNTON, JOANNA COLES, A.G. LAFLEY,
23     STANLEY MERESMAN, SCOTT D. MILLER,
       CHRISTOPHER YOUNG, ANDREW VOLLERO,
24     and IMRAN KHAN,

25                   Defendants,
       and
26     SNAP INC., a Delaware Corporation,
27                   Nominal Defendant
28   [Caption continued on following page.]


                                STIPULATION AND AGREEMENT OF SETTLEMENT
                              CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1
     DAVID SHABBOUEI and ZALMON UVAYDOV,
                                                        Case No. 19STCV08413
 2   Derivatively on Behalf of SNAP INC.,

 3               Plaintiffs,
                                                        Judge:           Honorable Elihu M. Berle
 4         v.                                           Department:      6
     EVAN SPIEGEL, ROBERT MURPHY, MICHAEL
 5   LYNTON, STANLEY MERESMAN, A. G.
     LAFLEY, SCOTT D. MILLER, CHRISTOPHER
 6
     YOUNG, JOANNA COLES, ANDREW
 7   VOLLERO, IMRAN KHAN, MITCHELL LASKY,
     and DOES 1-25, Inclusive,
 8
                  Defendants,
 9   and
     SNAP INC., a Delaware Corporation,
10
                  Nominal Defendant.
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                                              -2-
                         STIPULATION AND AGREEMENT OF SETTLEMENT
                          CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1          This Stipulation of Settlement (the “Stipulation” or the “Settlement”) is made and entered

 2   into by and among Plaintiffs Barbara Wolfson, Justin Pokorney, Amelie Tseng, David Shabbouei,

 3   and Zalmon Uvaydov and stockholder Charles Blackburn (together, “Plaintiffs”), on behalf of

 4   themselves and derivatively on behalf of Snap Inc. (“Snap” or the “Company”); Plaintiffs’ counsel

 5   WeissLaw LLP, Robbins LLP, Gainey Mckenna & Egleston, Wolf Haldenstein Adler Freeman &

 6   Herz LLP, and Promisloff Law, P.C.; individual defendants Evan Spiegel, Robert Murphy,

 7   Michael Lynton, Joanna Coles, A.G. Lafley, Mitchell Lasky, Stanley Meresman, Scott D. Miller,

 8   Christopher Young, Poppy Thorpe, Andrew Vollero, and Imran Khan (the “Individual

 9   Defendants”); nominal defendant Snap Inc. (together with the Individual Defendants, the

10   “Defendants,” and together with Plaintiffs, the “Settling Parties”); and counsel for the Defendants,

11   Wilson Sonsini Goodrich & Rosati PC. The Stipulation is intended by the Settling Parties to fully,

12   finally, and forever resolve, discharge, and settle the Released Claims (as defined below in Section

13   IV, ¶1.13) upon Court approval and subject to the terms and conditions hereof.

14   I.     BACKGROUND
15          Snap is a Delaware corporation that offers a mobile-phone camera application called

16   Snapchat. Among other capabilities, it allows users to interact with friends by sending pictures,

17   videos, and messages called “Snaps,” as well as by composing narratives of their Snaps via a

18   feature called “Stories.” The Company was founded in 2011 by Evan Spiegel and Robert Murphy,

19   who serve as Snap’s Chief Executive Officer and Chief Technology Officer, respectively, and as

20   members of the Board of Directors (the “Board”). The Company went public in an initial public

21   offering (“IPO”) on March 2, 2017.

22          A.      The Derivative Actions
23          On September 5, 2018, Plaintiff Wolfson filed the first in a series of several substantively

24   similar stockholder derivative actions. The action, captioned Wolfson v. Spiegel, No. BC720152

25   (“Wolfson”), was filed in the Superior Court of California for Los Angeles County (“Superior

26   Court”) against certain Snap officers and members of Snap’s Board of Directors (the “Board”),

27   including Evan Spiegel, Robert Murphy, Michael Lynton, Joanna Coles, A.G. Lafley, Mitchell

28   Lasky, Stanley Meresman, Scott D. Miller, Christopher Young, Andrew Vollero, Imran Khan,

                                                     -3-
                              STIPULATION AND AGREEMENT OF SETTLEMENT
                               CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1   and the Company as the nominal defendant. The Wolfson complaint alleges that the named

 2   individual defendants breached their fiduciary duties to Snap by approving or permitting alleged

 3   misconduct, or failing to exercise oversight and prevent alleged misconduct, with respect to the

 4   definition, calculation, and description of certain key performance indicators (“KPIs”) published

 5   in Snap’s IPO Registration Statement and public disclosures in the months following the IPO.

 6   Among other allegations, Wolfson contends that Snap’s fiduciaries: (a) failed to disclose a

 7   whistleblower lawsuit brought against Snap by former employee Anthony Pompliano

 8   (“Pompliano”), which alleged that the Company disseminated misleading KPI data and lacked the

 9   internal controls necessary to ensure their accuracy; (b) omitted that Snap’s deficient internal

10   controls and corporate governance practices led Snap to publish inconsistently defined and

11   calculated KPIs and to disseminate inaccurate and incomplete information regarding the

12   Company’s financial condition and business prospects; (c) omitted material information regarding

13   the competitive threat that the August 2016 release of Instagram Stories, a feature similar to Snap’s

14   Stories feature, posed and its anticipated impact on Snap’s KPIs; (d) falsely represented that Snap

15   did not use “growth hacking” techniques designed to increase reported user engagement with its

16   platform, leading to a series of federal and state securities class actions (the “Securities Class

17   Actions”) that the Company was forced to defend and to subsequently resolve at significant

18   expense; and (e) omitted from the Registration Statement filed in connection with Snap’s IPO and

19   public disclosures in the months following the IPO material facts regarding the stock-based

20   compensation paid to the Company’s executives.

21          On October 3, 2018, Promisloff Law, P.C., on behalf of Snap stockholder Charles

22   Blackburn, made a litigation demand on Snap’s Board based on substantially similar facts

23   (“Blackburn Demand”). The demand requested that the Board investigate and, if warranted,

24   pursue claims in litigation for breach of fiduciary duty against certain Snap officers and directors,

25   including Michael Lynton, Evan Spiegel, Imran Khan, Robert Murphy, Andrew Vollero, Joanna

26   Coles, A.G. Lafley, Mitchell Lasky, Stanley Meresman, Scott D. Miller, and Christopher Young.

27          On November 1, 2018, Plaintiffs Justin Pokorney and Amelie Tseng filed a stockholder

28   derivative action captioned, Pokorney and Tseng v. Spiegel, No. 2018-0778-SG (“Tseng”), in the

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                              STIPULATION AND AGREEMENT OF SETTLEMENT
                               CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1   Court of Chancery of the State of Delaware (“Court of Chancery”) against Evan Spiegel, Robert

 2   Murphy, Michael Lynton, Joanna Coles, A.G. Lafley, Mitchell Lasky, Stanley Meresman, Scott

 3   D. Miller, Christopher Young, Poppy Thorpe, and Snap as the nominal defendant, arising from

 4   the same nexus of facts alleged in Wolfson. On December 21, 2018, Pokorney voluntarily

 5   dismissed his claims, but Tseng remained a plaintiff. On January 18, 2019, the parties in the Tseng

 6   action submitted a stipulation and proposed order staying the action pending resolution of the

 7   related consolidated federal securities class action captioned, In re Snap Inc. Securities Litigation,

 8   No. 2:17-cv-03679-SVW-AGR (the “Federal Securities Class Action”) and the stockholder

 9   derivative actions then pending in the California Superior Court. The parties in the Tseng action

10   have provided the Court of Chancery with periodic updates.

11          On the same day he dismissed his Delaware case, Pokorney filed a substantially similar

12   stockholder derivative suit in California Superior Court, captioned Pokorney v. Spiegel, No.

13   18STCV09365, against Evan Spiegel, Robert Murphy, Michael Lynton, Joanna Coles, A.G.

14   Lafley, Stanley Meresman, Scott D. Miller, Christopher Young, Andrew Vollero, Imran Khan,

15   and Snap as the nominal defendant (“Pokorney”). The same counsel that represented Pokorney

16   in the Court of Chancery represents him in this suit.

17          Another stockholder derivative action based on substantially similar facts, Shabbouei v.

18   Spiegel, No. 19STCV08413, was filed on March 12, 2019 in California Superior Court against

19   Evan Spiegel, Robert Murphy, Michael Lynton, Joanna Coles, A.G. Lafley, Mitchell Lasky,

20   Stanley Meresman, Scott D. Miller, Christopher Young, Andrew Vollero, Imran Khan, several

21   Does, and Snap as the nominal defendant (“Shabbouei”).

22          Each of the Settling Defendants described above denies each and every one of the claims

23   and contentions alleged as to him or her by Plaintiffs in the above-described stockholder derivative

24   actions and litigation demand.

25          B.      Plaintiffs’ Pre- and Post-Filing Investigations
26          Pursuant to 8 Del. C. § 220, Pokorney and Tseng made a demand to inspect Snap’s books

27   and records on September 26, 2017. Snap produced certain corporate records in response to their

28   demand on August 22, 2018.

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                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1          On December 6, 2018, David Shabbouei and Zalmon Uvaydov made a demand to inspect

 2   relevant Snap books and records pursuant to 8 Del. C. § 220. Snap subsequently agreed to produce

 3   the records made available to Pokorney and Tseng, and additional records totaling more than 2,000

 4   pages, including materials reflecting the information provided to, and the deliberations of, the

 5   Board, the Audit Committee, and the Pricing Committee, regarding user growth, “growth

 6   hacking,” and the whistleblower action filed by Pompliano, as well as documents bearing on the

 7   independence of Snap’s directors. Information gleaned from these documents was incorporated

 8   into the complaint in Shabbouei.

 9          In late December 2018, the parties in Wolfson agreed that, under the protection of the

10   settlement privilege provided by California Evidence Code Section 1152 and other analogous

11   provisions, Snap would provide Plaintiff Wolfson’s counsel with documents produced in the

12   related Federal Securities Class Action. The parties in Pokorney and Shabbouei subsequently

13   entered into similar agreements. Pursuant to these agreements, Snap produced 313,135 documents

14   consisting of about 1.5 million pages.

15          In March 2019, Plaintiff Wolfson’s counsel interviewed several Snap employees and

16   executives, including Snap’s Director of Data, Senior Director of Growth, Associate General

17   Counsel, and Deputy General Counsel and Chief Compliance Officer, and evaluated the

18   documents and interviews with the assistance of an expert consultant familiar with marketing

19   analytics and data analysis. These interviews concerned Snap’s methodology for calculating Daily

20   Active Users (“DAUs”), an important KPI, the effect of Instagram Stories on Snapchat’s growth,

21   Snap’s disclosure policies and procedures, executive compensation practices, internal litigation

22   review and disclosure process, and how those processes and procedures might be strengthened.

23          In addition, after the complaint in Shabbouei was filed, counsel for the Shabbouei Plaintiffs

24   conducted significant additional research and analysis into the underlying facts and remediation.

25   Counsel assessed Snap’s user metrics and disclosure controls using the discovery materials

26   generated in the related Federal Securities Class Action, and reviewed the substantial business and

27   academic literature concerning the special problems posed by non-financial metrics and social

28   media user engagement metrics, including, inter alia: (i) the governance and disclosure practices

                                                     -6-
                              STIPULATION AND AGREEMENT OF SETTLEMENT
                               CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1   of several leading social media companies, as well as criticisms of those practices; (ii) technical

 2   publications and manuals detailing user engagement metrics definitions, calculation methods,

 3   challenges in interpreting social media user data and developing analytics, and analytics validation

 4   issues; (iii) sources of best practices in the development, validation, and disclosure and explanation

 5   of user metrics, and various business and marketing journals that address mobile application

 6   metrics; and (iv) materials published by organizations that evaluate non-financial metrics.

 7          C.        Settlement Negotiations
 8          As the Settling Parties have informed the Court at the status conference held on May 9,

 9   2019, and in joint stipulations submitted to the Court (the most recent of which was submitted

10   January 24, 2020), the Settling Parties have been actively engaged in continued productive

11   discussions aimed at potential resolution of the derivative actions. These discussions culminated

12   in a series of mediation sessions overseen by the Honorable Howard B. Wiener, former Associate

13   Justice of the California Court of Appeal for the Fourth Appellate District, and former Judge of

14   the Superior Court for San Bernardino County.

15          The first mediation session with Justice Wiener was held on April 1, 2019. In advance of

16   that mediation, Plaintiff Wolfson sent a settlement demand. The proposed relief included a

17   comprehensive set of corporate governance and internal controls reforms developed with the

18   assistance of a consultant broadly recognized as a leading expert in the field of social media

19   technology, strategy, and marketing analytics.         The parties submitted extensive mediation

20   statements in advance of the April 1, 2019, mediation session. Negotiations continued following

21   the mediation.

22          On August 7, 2019, plaintiffs in Shabbouei sent Defendants a detailed settlement demand,

23   including comprehensive and detailed corporate governance, internal controls, and oversight

24   proposals. Over the following seven weeks, counsel exchanged multiple drafts and information

25   regarding the demand, and participated in a number of telephonic conferences, during which

26   counsel reviewed in detail the facts regarding Snap’s metrics development, validation, calculation,

27   and internal controls systems; Pompliano’s whistleblower claims; and Snap’s DAU figures.

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                                                      -7-
                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1          On September 26, 2019, the parties to all of the pending Derivative Actions participated in

 2   another in-person mediation session with Justice Wiener, at which the parties reached agreement

 3   in principle on the substantive terms of a settlement, including the corporate governance reforms

 4   enumerated in Exhibit A to this Stipulation (the “Corporate Governance Reforms”).

 5          Following their agreement on the substantive consideration for the settlement, the parties

 6   engaged in a process led by Justice Weiner to arrive at an agreement for a fair and reasonable fee

 7   and expense amount to be paid to Plaintiffs’ Counsel commensurate with the benefits secured

 8   through the proposed settlement (the “Fee and Expense Amount”). Justice Wiener determined the

 9   Fee and Expense Amount, subject to this Court’s approval.

10          Subsequently, the proposed settlement was presented to a committee of the Snap Board of

11   Directors to which Snap’s Board delegated authority to consider the Settlement (the “Committee”).

12   Assisted by independent counsel with substantial experience in Delaware corporate law, the

13   Committee determined that the Corporate Governance Reforms confer a substantial benefit on the

14   Company, and approved the Settlement as fair, reasonable, and adequate, and in Snap and its

15   stockholders’ best interests.

16          Subject to approval of the Court, the Settling Parties agree that the Derivative Actions and

17   the Released Claims shall be resolved as set forth herein.

18   II.    PLAINTIFFS’ CLAIMS AND THE BENEFITS OF SETTLEMENT
19          Plaintiffs and Plaintiffs’ Counsel believe that the claims asserted in their actions have merit,

20   and Plaintiffs’ entry into this Stipulation and Settlement is not intended to be, and shall not be

21   construed as, an admission or concession concerning the relative strength or merit of the claims

22   alleged. Plaintiffs and Plaintiffs’ Counsel recognize and acknowledge the expense and length of

23   continued proceedings necessary to prosecute the Derivative Actions against the Settling

24   Defendants through motion practice, trial, and potential appeals. Plaintiffs and Plaintiffs’ Counsel

25   also have taken into account the uncertain outcome and the risk of any litigation, especially in

26   complex actions such as the Derivative Actions, as well as the difficulties and delays inherent in

27   such litigation. Plaintiffs and Plaintiffs’ Counsel are also mindful of the inherent problems of

28   proof of, and possible defenses to, the claims asserted in the Derivative Actions.

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                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1          Plaintiffs’ Counsel have conducted extensive investigation and analysis during the

 2   development, prosecution, mediation, and settlement of the Derivative Actions which included,

 3   among other things: (i) the review and analysis of over 300,000 documents, consisting of

 4   approximately 1.5 million pages, of internal documents regarding the facts and circumstances at

 5   issue in the Derivative Actions; (ii) thousands of pages of Board- and Board-committee-level

 6   documents secured through inspection demands made pursuant to Section 220 of the Delaware

 7   General Corporation law; (iii) the review and analysis of relevant publicly available information

 8   regarding the facts and circumstances at issue in the Derivative Actions, including, but not limited

 9   to, Snap’s filings with the Securities Exchange Commission (the “SEC”), its policies, conduct

10   codes, corporate governance practices and procedures, and charters of the committees of its Board,

11   as well as media reports, conferences with financial analysts and information regarding the

12   definition, calculation, and reporting of KPIs by social media companies such as Snap; (iv)

13   retained and consulted with Christopher S. Penn (“Penn”), a noted expert in the field of digital

14   marketing and marketing technology, regarding the KPI issues in the Derivative Actions; (v) in-

15   person interviews of key Snap executives regarding the matters at issue in this litigation, and

16   remediation efforts; (vi) meetings with Defendants’ counsel, including outside counsel

17   representing the Company in the Pompliano civil whistleblower action; (vii) marshalling the facts

18   gathered through a targeted investigation, together with their expert, to identify the key issues that

19   Plaintiffs believe require remediation and the best means to achieve the remediation of those

20   issues; and (viii) numerous discussions among the Settling Parties regarding the strengths and

21   weaknesses of the claims and defenses in the Derivative Actions during the course of multiple

22   mediation sessions.

23          Based on Plaintiffs’ Counsel’s thorough review and analysis of the relevant facts,

24   allegations, defenses, and controlling legal principles, Plaintiffs’ Counsel believe that the

25   Settlement set forth in this Stipulation is fair, reasonable, and adequate, and confers substantial

26   benefits upon Snap. Based upon Plaintiffs’ Counsel’s evaluation, Plaintiffs have determined that

27   the Settlement is in the best interests of Snap and has agreed to settle the Derivative Actions upon

28   the terms and subject to the conditions set forth herein.

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                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1   III.   DEFENDANTS’ DENIALS OF WRONGDOING AND LIABILITY
 2          Each of the Settling Defendants denies each and every one of the claims and contentions

 3   alleged by Plaintiffs as to him or her. The Settling Defendants expressly deny all allegations of

 4   wrongdoing or liability against them, arising out of, based upon, or related to any of the conduct,

 5   statements, acts, or omissions alleged, or that could have been alleged, in the Derivative Actions.

 6   Without limiting the foregoing, each of the Settling Defendants denies, among other things, that

 7   they or any other current or former Snap directors or officers breached their fiduciary duties or any

 8   other duty owed to Snap, or that Plaintiffs, Snap, or Snap’s stockholders suffered any damage or

 9   were harmed as a result of any conduct by him or her alleged in the Derivative Actions or

10   otherwise. Each of the Settling Defendants has further asserted and continues to assert that at all

11   relevant times, he or she acted in good faith and in a manner he or she reasonably believed to be

12   in the best interests of Snap and its stockholders.

13          Nonetheless, taking into account the expense and uncertainty in continued litigation, the

14   benefits to Snap resulting from the Settlement, the Mediator’s recommendation, and risks inherent

15   in any litigation, especially in complex cases like the Derivative Actions, the Settling Defendants

16   have determined that it is desirable and in the best interests of Snap that the Derivative Actions,

17   and all of the Settling Parties’ disputes related thereto, be fully and finally settled in the manner

18   and upon the terms and conditions set forth in this Stipulation.

19          Pursuant to the terms set forth below, this Stipulation, including all of the commitments

20   and undertakings agreed to by the Settling Defendants, and all attached Exhibits hereto, shall in

21   no event be construed as, or deemed to be evidence of, an admission or concession by the Settling

22   Defendants with respect to any claim of fault, liability, wrongdoing, or damage whatsoever.

23   IV.    TERMS OF STIPULATION AND AGREEMENT OF SETTLEMENT
24          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among

25   Plaintiffs (for themselves and derivatively on behalf of Snap), by and through Plaintiffs’ Counsel,

26   and the Settling Defendants and Snap, by and through their attorneys of record, that in exchange

27   for the consideration set forth below, the Derivative Actions and Released Claims shall be fully,

28   finally, and forever compromised, settled, discharged, relinquished, and released, and the

                                                     -10-
                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1   Derivative Actions shall be dismissed with prejudice as to the Settling Defendants, upon and

 2   subject to the terms and conditions of this Stipulation, as follows:

 3          1.      Definitions
 4          As used in this Stipulation, the following terms have the meanings specified below:

 5                  1.1     “Actions” or “Derivative Actions” means the stockholder derivative actions

 6   filed by: Plaintiff Barbara Wolfson on September 8, 2018, and captioned Wolfson v. Spiegel, No.

 7   BC720152, pending before the Superior Court; Plaintiff Justin Pokorney on December 21, 2018,

 8   and captioned Pokorney v. Spiegel, No. 18STCV09365, pending before the Superior Court;

 9   Plaintiffs David Shabbouei and Zalmon Uvaydov on March 12, 2019, and captioned Shabbouei v.

10   Spiegel, No. 19STCV08413, pending before the Superior Court; Plaintiffs Justin Pokorney and

11   Amelie Tseng on November 1, 2018, and captioned Pokorney and Tseng v. Snap Inc., No. 2018-

12   0778-SG, pending before the Court of Chancery. “Actions” or “Derivative Actions” also includes

13   the Demand made by Charles Blackburn on October 3, 2018.

14                  1.2     “Court” or “Superior Court” means the Superior Court of the State of

15   California in and for the County of Los Angeles.

16                  1.3     “Court Approval Order” means the Final Judgment and Order Approving

17   Derivative Settlement, substantially in the form attached as Exhibit E hereto.

18                  1.4     “Current Snap Stockholder” means any person or entity that has held Snap

19   common stock as of the date of the execution of this Stipulation and continues to hold their Snap

20   common stock through the date of the Final Hearing.

21                  1.5     “Effective Date” means the first date by which all of the events and

22   conditions specified in Section IV, ¶6.1 of this Stipulation have been met and have occurred.

23                  1.6     “Final” means the time when the Judgment has not been reversed, vacated,

24   or modified in any way and is no longer subject to appellate review, either because of disposition

25   on appeal and conclusion of the appellate process or because of passage, without action, of time

26   for seeking appellate review. More specifically, it is that situation when: (1) either no appeal has

27   been filed and the time has passed for any notice of appeal to be timely filed in the Actions; or

28   (2) an appeal has been filed and the court(s) of appeal has/have either affirmed the Judgment or

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                              STIPULATION AND AGREEMENT OF SETTLEMENT
                               CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1   dismissed that appeal and the time for any reconsideration or further appellate review has passed

 2   and the appellate court mandate(s) has/have issued; or (3) a higher court has granted further

 3   appellate review and that court has either affirmed the underlying Judgment or affirmed the court

 4   of appeal’s decision affirming the Judgment or dismissing the appeal.

 5                   1.7     “Judgment” means the judgment to be rendered by the Court in those

 6   Actions pending before the Court upon its final approval of the Settlement, substantially in the

 7   form attached as Exhibit E hereto.

 8                   1.8     “Plaintiffs” means plaintiffs Barbara Wolfson, Justin Pokorney, Amelie

 9   Tseng, David Shabbouei, Zalmon Uvaydov, and Charles Blackburn.

10                   1.9     “Plaintiffs’ Counsel” means any counsel that has appeared of record or

11   rendered legal services to any of the Plaintiffs in connection with any of the Actions.

12                   1.10    “Snap” or the “Company” means Snap Inc., including, but not limited to,

13   its predecessors, successors, partners, joint ventures, subsidiaries, affiliates, divisions, and assigns.

14                   1.11    “Person” means an individual, corporation, limited liability company,

15   professional corporation, limited liability partnership, partnership, limited partnership, association,

16   joint venture, joint stock company, estate, legal representative, trust, unincorporated association,

17   government or any political subdivision or agency thereof, and any business or legal entity, and

18   each of their spouses, heirs, predecessors, successors, representatives, or assignees.

19                   1.12    “Related Parties” means (i) as to Snap, Snap’s past or present directors,

20   officers, employees, partners, agents, attorneys, accountants, auditors, consultants, successors,

21   subsidiaries, divisions, joint ventures, assigns, any entity in which Snap has a controlling interest,

22   and all officers, directors, and employees of Snap’s current and former subsidiaries; except that

23   “Related Parties” shall not include Snap’s insurance carriers, and (ii) as to the Settling Defendants,

24   (1) each spouse, immediate family member, heir, executor, estate, administrator, agent, attorney,

25   accountant, auditor, advisor, consultant, or affiliate of any of them, (2) any trust in respect of which

26   any Settling Defendant, or any spouse or family member thereof serves as a settlor, beneficiary, or

27   trustee, and (3) any entity in which a Settling Defendant, or any spouse or immediate family

28   member thereof, holds a controlling interest or for which a Settling Defendant has served as an

                                                       -12-
                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1   employee, director, officer, managing director, advisor, general partner, limited partner, or

 2   member and any collective investment vehicle that is advised or managed by any of them.

 3                  1.13    “Released Claims” means all claims, demands, rights, liabilities, and claims

 4   for relief of every nature and description whatsoever, whether known claims or Unknown Claims

 5   (as set forth in Section IV, ¶1.18), that have been, or could have been, asserted in the Derivative

 6   Actions by Plaintiffs, Snap, or any Current Snap Stockholder derivatively on behalf of Snap

 7   against the Settling Defendants and Released Persons, based on the Settling Defendants’ and/or

 8   the Released Persons’ acts and/or omissions in connection with, arising out of, or relating to, any

 9   of the facts, transactions, events, matters, occurrences, acts, disclosures, statements, omissions, or

10   failures to act that were alleged in the Derivative Actions. “Released Claims” shall not include

11   (a) any claims by or on behalf of Snap against any of the carriers for its directors and officers

12   insurance policies, (b) the right to enforce this Stipulation or the Settlement, including the award

13   of fees and expenses referenced herein in Section IV, ¶5, and (c) any of the claims asserted in the

14   Securities Class Actions: the federal class action, captioned In re Snap Inc. Securities Litigation,

15   No. 2:17-cv-03679-SVW-AGR (the “Federal Securities Class Action”), and the two state class

16   actions, Hsieh v. Snap Inc., No. BC669394, and Iuso v. Snap Inc., No. 17CIV03710 (the “State

17   Class Actions”).

18                  1.14    “Released Persons” means the Settling Defendants, Snap, and their

19   respective Related Parties.

20                  1.15    “Settlement” means the terms and conditions contained in this Stipulation,

21   including the Fee and Expense Amount.

22                  1.16    “Settling Defendants” means the Individual Defendants Evan Spiegel,

23   Robert Murphy, Michael Lynton, Joanna Coles, A.G. Lafley, Mitchell Lasky, Stanley Meresman,

24   Scott D. Miller, Christopher Young, Poppy Thorpe, Andrew Vollero, and Imran Khan.

25                  1.17    “Settling Parties” means, collectively, Plaintiffs, the Settling Defendants,

26   and Snap.

27                  1.18    “Stipulation” means this Stipulation of Settlement.

28

                                                     -13-
                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1                  1.19    “Unknown Claims” means claims that Plaintiffs, Snap, or a Current Snap

 2   Stockholder does not know or suspect to exist at the time of the release of the Released Persons,

 3   that have been, or could have been, asserted in the Derivative Actions by Snap, Plaintiffs, or any

 4   Current Snap Stockholder derivatively on behalf of Snap against the Settling Defendants and

 5   Released Persons, including claims that, if known by him, her, or it, might have affected his, her,

 6   or its settlement with, and release of, the Released Persons, or might have affected his, her, or its

 7   decision not to object to this Settlement. With respect to any and all Released Claims, including

 8   with respect to any and all claims released pursuant to Section IV, ¶¶ 4.1-4.3, below, the Settling

 9   Parties stipulate and agree that, upon the Effective Date, Plaintiffs, Snap, and all Current Snap

10   Stockholders shall be deemed to have, and by operation of the Judgment shall have, expressly

11   waived any objection to the release of such claims. Plaintiffs, Snap, and each Current Snap

12   Stockholder may hereafter discover facts in addition to or different from those that he, she, or it

13   now knows or believes to be true with respect to the subject matter of the Released Claims, but

14   they stipulate and agree that, upon the Effective Date of the Settlement, Plaintiffs, Snap, and each

15   Current Snap Stockholder shall expressly waive and by operation of the Judgment, shall have,

16   fully, finally, and forever settled and released, any and all of the Released Claims, known or

17   unknown, suspected or unsuspected, contingent or non-contingent, whether or not concealed or

18   hidden, that now exist, or heretofore have existed upon any theory of law or equity now existing

19   or coming into existence in the future, including, but not limited to, conduct that is negligent,

20   intentional, with or without malice, or a breach of any duty, law, or rule, without regard to the

21   subsequent discovery or existence of such different or additional facts, that have been, or could

22   have been, asserted in the Derivative Actions by Snap, Plaintiffs, or any Current Snap Stockholder

23   derivatively on behalf of Snap against the Settling Defendants and Released Persons. The Settling
24   Parties acknowledge, and the Current Snap Stockholders shall be deemed by operation of
25   the Judgment to have acknowledged, that the foregoing waiver was separately bargained for
26   and is a key element of the Settlement of which this release is a part.
27          2.      Terms of the Settlement
28

                                                     -14-
                              STIPULATION AND AGREEMENT OF SETTLEMENT
                               CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1          Plaintiffs and Snap have agreed that the Company shall implement within ninety (90) days

 2   of final settlement approval, and maintain for a minimum period of three (3) years thereafter, the

 3   Corporate Governance Reforms detailed in Exhibit A. To the extent any of the Corporate

 4   Governance Reforms conflicts with any applicable law or rule of any relevant governmental body,

 5   self-regulatory organization, or national securities exchange, the Company will comply with such

 6   law or rule notwithstanding the provisions of the Stipulation of Settlement or any orders

 7   implementing the Settlement. In the event the Board makes such a determination, the Board shall

 8   (a) state the basis for its determination in a formal resolution; and (b) adopt modified or substitute

 9   measures designed to accomplish the same or similar purpose(s). Copies of any pertinent Board

10   resolutions shall be provided to Plaintiffs’ Counsel upon request.

11          Exhibit A is part of and subject to all provisions in the Stipulation of Settlement, including

12   the Company’s statement therein that it believes that it had in place at all relevant times reasonable

13   controls regarding user metrics and other matters relevant to the Derivative Actions.

14          3.      Procedure for Implementing the Settlement
15                  3.1     After execution of this Stipulation, Plaintiffs shall submit the Stipulation

16   together with its Exhibits to the Court and shall move for entry of an order substantially in the

17   form of Exhibit D hereto (the “Preliminary Approval Order”), requesting, among other things, the

18   preliminary approval of the Settlement set forth in the Stipulation, and approval for the filing and

19   publication of the Settlement Notice, substantially in the forms attached hereto as Exhibits B

20   (“Long-Form Notice”) and C (“Postcard Notice”; the Long-Form Notice and Postcard Notice

21   collectively, the “Settlement Notice”), which shall include the general terms of the Settlement set

22   forth in the Stipulation, the procedure for objecting to any terms of the Settlement, and the date of

23   the Settlement Hearing as described below.

24                  3.2     In accordance with the terms of the Preliminary Approval Order to be

25   entered by the Court, within ten (10) business days following the Court’s entry of the Preliminary

26   Approval Order, Snap shall cause to be mailed, and/or emailed, the Postcard Notice to those

27   Current Snap Stockholders as may be identified through reasonable effort. Within ten (10)

28   business days of the entry of the Preliminary Approval Order, Snap shall also cause the Long-

                                                     -15-
                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1   Form Notice and Stipulation of Settlement to be posted on a dedicated website,

 2   www.SnapDerivativeSettlement.com. Within fourteen (14) days and again within twenty-one (21)

 3   days following the Court’s entry of the Preliminary Approval Order, Plaintiffs’ Counsel will

 4   publish the contents of the Postcard Notice in two separate electronic wire press releases. Within

 5   fourteen (14) days of the entry of the Preliminary Approval Order, Plaintiffs’ Counsel will also

 6   post the Long-Form Notice, together with the Stipulation, on each of their respective firm

 7   websites.

 8                  3.3       At least thirty (30) days prior to the Final Hearing, Snap’s Counsel will file

 9   a declaration with the Court attesting to the timely posting of the Long-Form Notice in accordance

10   with the terms of the Preliminary Approval Order. Also at least thirty (30) days prior to the Final

11   Hearing, Plaintiffs’ Counsel will file a declaration with the Court attesting to the timely posting of

12   Long-Form Notice in accordance with the terms of the Preliminary Approval Order.

13                  3.4       The Defendants will use JND Legal Administration (the “Notice

14   Administrator”) to disseminate the Postcard Notice.            On December 2, 2020, the Notice

15   Administrator will file a report with the Court attesting to the timely mailing of the Postcard Notice

16   in accordance with the terms of the Preliminary Approval Order as well as other relevant details

17   regarding the mailing.

18                  3.5       Other than Plaintiffs’ publication of the contents of the Postcard Notice in

19   two separate electronic wire press releases and the posting of the Long-Form Notice on Plaintiffs’

20   Counsel’s respective firm websites, Defendants shall bear all costs of providing Notice in the

21   manner ordered by the Court.

22                  3.6       Within fourteen (14) days following the Court’s entry of the Preliminary

23   Approval Order, Plaintiff Amelie Tseng and her counsel shall cause the Tseng Action, pending in

24   the Delaware Court of Chancery, to be dismissed with prejudice.

25                  3.7       Plaintiffs will also request that forty-five (45) days after the Settlement

26   Notice is given—or at such other time as is convenient to the Court—the Court hold a joint hearing

27   in the Actions (the “Settlement Hearing”) to consider and determine whether the Final Order and

28   Judgment, substantially in the form of Exhibit E hereto, should be entered: (a) approving the terms

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                                STIPULATION AND AGREEMENT OF SETTLEMENT
                                 CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1   of the Settlement as fair, reasonable, and adequate; and (b) dismissing with prejudice the Actions

 2   against the Settling Defendants.

 3                  3.8     Pending the Effective Date, all proceedings in the Actions shall be stayed

 4   except as otherwise provided herein, and the Settling Parties shall not file or prosecute any other

 5   actions or proceedings relating to the Settlement.

 6          4.      Releases
 7                  4.1     Upon the Effective Date, as defined in Section IV, ¶1.5, Snap, Current Snap

 8   Stockholders, or any Person acting on behalf of Snap, and Plaintiffs (acting on their own behalves

 9   or derivatively on behalf of Snap) shall be deemed to have, and by operation of the Judgment shall

10   have, fully, finally, and forever released, relinquished, and discharged and dismissed with

11   prejudice the Released Claims against the Released Persons and any and all causes of action or

12   claims (including Unknown Claims) that have or could have been asserted in the Actions by

13   Plaintiffs, Snap, or any Current Snap Stockholder derivatively on behalf of Snap, against the

14   Settling Defendants or the Released Persons, based on the Settling Defendants’ or Released

15   Persons’ acts and/or omissions in connection with, arising out of, or relating to, the facts,

16   transactions, events, matters, occurrences, acts, disclosures, statements, omissions, or failures to

17   act that were alleged in the Derivative Actions, through and including the date of execution of this

18   Stipulation. Nothing herein shall in any way impair or restrict the rights of any Settling Party or

19   any other Released Person to enforce the terms of the Stipulation.

20                  4.2     Upon the Effective Date, as defined in Section IV, ¶1.5, Snap, Current Snap

21   Stockholders, or any Person acting on behalf of Snap, and Plaintiffs (acting on their own behalves

22   and derivatively on behalf of Snap and its stockholders) shall be forever barred, estopped, and

23   enjoined from commencing, instituting, or prosecuting any of the Released Claims against any of

24   the Released Persons or any action or other proceeding against any of the Released Persons arising

25   out of, relating to, or in connection with the Released Claims, the Actions, or the filing,

26   prosecution, defense, settlement, or resolution of the Actions. Nothing herein shall in any way

27   impair or restrict the rights of any Settling Party to enforce the terms of the Stipulation.

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                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1                  4.3     Upon the Effective Date, as defined in Section IV, ¶1.5, each of the

 2   Released Persons and the Related Parties shall be deemed to have, and by operation of the

 3   Judgment shall have, fully, finally, and forever released, relinquished, and discharged Plaintiffs

 4   and Plaintiffs’ Counsel from all claims (including Unknown Claims) arising out of, relating to, or

 5   in connection with the institution, prosecution, assertion, settlement, or resolution of the Actions

 6   or the Released Claims. Nothing herein shall in any way impair or restrict the rights of any Settling

 7   Party to enforce the terms of the Stipulation.

 8          5.      Attorneys’ Fees and Reimbursement of Expenses
 9                  5.1     After negotiating and agreeing upon the principal terms of the Settlement,

10   Plaintiffs’ Counsel and Snap, acting by and through its counsel, with the assistance of the mediator,

11   Justice Wiener, separately negotiated the attorneys’ fees and expenses the Company would pay or

12   cause to be paid to Plaintiffs’ Counsel. In light of the substantial benefits conferred by Plaintiffs’

13   Counsel’s efforts, Snap, acting by and through its Board of Directors, has agreed to pay or cause

14   to be paid $7.5 million, subject to Court approval.

15                  5.2     Within thirty (30) calendar days following the Court’s issuance of the Court

16   Approval Order giving final approval to the Settlement or the order awarding the attorneys’ fees

17   and expenses, whichever is later, notwithstanding the existence of any timely filed objections to

18   the Settlement, or potential for appeal therefrom, Snap shall pay or cause its insurers directly to

19   pay the Fee and Expense Amount awarded by the Court to an account controlled by Plaintiffs’

20   Counsel, which Plaintiffs and Plaintiffs’ Counsel agree shall be allocated among Plaintiffs’

21   Counsel in accordance with Justice Wiener’s determination. If, as a result of any further order of

22   the Court or as a result of any appeal, remand, or successful collateral attack, the Effective Date

23   does not occur or if the Fee and Expense Amount is not approved or is modified or overturned, in

24   whole or in part, then Plaintiffs’ Counsel shall be responsible for repayment to Snap and/or to

25   Snap’s insurers of the Fee and Expense Amount. Neither Snap nor any other Released Persons

26   shall have any obligations with respect to Plaintiffs’ Counsel’s fees and/or expenses beyond the

27   Fee and Expense Amount.

28

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                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1                   5.3    Upon receipt of the Fee and Expense Amount, each of Plaintiffs’ Counsel

 2   shall pay or cause to be paid a Service Award in an amount not to exceed $2,500 to each of the

 3   Plaintiffs that they have represented in the Derivative Actions. The Service Award shall be subject

 4   to Court review and approval and paid from (not in addition to) the Fee and Expense Amount, in

 5   consideration of the respective Plaintiffs’ service in the Derivative Actions. Neither Snap nor any

 6   other Released Persons shall have any obligations with respect to any Service Awards.

 7          6.       Conditions of Settlement, Effect of Disapproval, Cancellation, or Termination
 8                   6.1    The Effective Date shall be conditioned on the occurrence of all of the

 9   following events:

10                          a.       the Snap Board of Directors has approved the Settlement and each

11   of its terms, including the separately negotiated Fee and Expense Amount;

12                          b.       Tseng has been dismissed with prejudice and the dismissal has

13   become Final;

14                          c.       the Court has entered the Court Approval Order and Judgment,

15   substantially in the form of Exhibit E attached hereto; and

16                          d.       the Judgment has become Final.

17                   6.2    If any of the conditions specified in Section IV, ¶6.1 are not met, then the

18   Stipulation of Settlement shall be canceled and terminated subject to the provisions of this Section

19   IV, ¶6.2, unless counsel for the Settling Parties mutually agree in writing to proceed with an

20   alternative or modified Stipulation and submit it for Court approval. If for any reason the Effective

21   Date does not occur, or if this Stipulation is terminated, canceled, or otherwise fails to become

22   effective for any reason:

23                          a.       the Settling Parties, Released Persons, and Related Parties shall be

24   restored to their respective positions that existed immediately prior to the date of execution of this

25   Stipulation;

26                          b.       all negotiations, proceedings, documents prepared, and statements

27   made in connection with this Stipulation shall be without prejudice to the Settling Parties, shall

28   not be deemed or construed to be an admission by a Settling Party of any act, matter, or proposition,

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                                 STIPULATION AND AGREEMENT OF SETTLEMENT
                                 CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1   and shall not be used in any manner for any purpose (other than to enforce the terms remaining in

 2   effect) in any subsequent proceeding in the Actions or in any other action or proceeding; and

 3                          c.       the terms and provisions of the Stipulation — with the exception of

 4   the provisions of Section IV, ¶5.2 and Section IV, ¶6.2 — shall have no further force and effect

 5   with respect to the Settling Parties and shall not be used in the Actions or in any other proceeding

 6   for any purpose, and any judgment or orders entered by the Court in accordance with the terms of

 7   the Stipulation shall be treated as vacated, nunc pro tunc.

 8                  6.3     No order of the Court or modification or reversal on appeal of any order of

 9   the Court concerning the amount of attorneys’ fees, costs, expenses, and interest awarded by the

10   Court to Plaintiffs’ Counsel shall constitute grounds for cancellation or termination of the

11   Stipulation, affect the enforceability of the Stipulation, or delay or preclude the Judgment from

12   becoming Final.

13          7.      Miscellaneous Provisions
14                  7.1     The Settling Parties (a) acknowledge that it is their intent to consummate

15   the terms and conditions of the Stipulation; and (b) agree to cooperate to the extent reasonably

16   necessary to effectuate and implement all terms and conditions of the Stipulation and to exercise

17   their best efforts to accomplish the foregoing terms and conditions of the Stipulation.

18                  7.2     The Settling Parties intend this Settlement to be a final and complete

19   resolution of all disputes between Plaintiffs and Snap and all Current Snap Stockholders, on the

20   one hand, and the Released Persons, on the other hand, arising out of, based upon, or related to the

21   Released Claims. The Settlement compromises claims that are contested and shall not be deemed

22   an admission by any Settling Party or Released Person as to the merits of any claim, allegation, or

23   defense. The Settling Parties further agree that the Released Claims are being settled voluntarily

24   after consultation with competent legal counsel and an experienced mediator.

25                  7.3     Pending the Effective Date, the Settling Parties agree not to initiate any

26   proceedings concerning the Released Claims other than those incident to the Settlement itself;

27   provided, however, that Snap and the Settling Defendants may seek to prevent or stay any other

28   action or claims brought seeking to assert any Released Claims.

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                                 STIPULATION AND AGREEMENT OF SETTLEMENT
                                 CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1                  7.4     Neither the Stipulation nor the Settlement, including any Exhibits attached

 2   hereto, nor any act performed or document executed pursuant to or in furtherance of the Stipulation

 3   or the Settlement: (a) is or may be deemed to be or may be offered, attempted to be offered or

 4   used in any way as a concession, admission, or evidence of the validity of any Released Claims,

 5   or of any fault, wrongdoing, or liability of the Released Persons or Snap; or (b) is or may be

 6   deemed to be or may be used as a presumption, admission, or evidence of, any liability, fault, or

 7   omission of any of the Released Persons or Snap in any civil, criminal, administrative, or other

 8   proceeding in any court, administrative agency, tribunal, or other forum. Neither this Stipulation

 9   nor the Settlement shall be admissible in any proceeding for any purpose, except to enforce the

10   terms of the Settlement, and except that the Released Persons may file or use the Stipulation, the

11   Court Approval Order, and/or the Judgment in any action that may be brought against them in

12   order to support a defense or counterclaim based on principles of res judicata, collateral estoppel,

13   full faith and credit, release, good faith settlement, standing, judgment bar, or reduction or any

14   other theory of claim preclusion or issue preclusion or similar defense or counterclaim.

15                  7.5     All agreements made and orders entered during the course of the Actions

16   relating to the confidentiality of information or sealing of documents shall survive this Stipulation

17   and the Judgment.

18                  7.6     All Exhibits to this Stipulation are material and integral parts hereof and are

19   fully incorporated herein by this reference.

20                  7.7     This Stipulation may be amended or modified only by a written instrument

21   signed by or on behalf of all Settling Parties or their respective successors-in-interest.

22                  7.8     This Stipulation and the Exhibits attached hereto constitute the entire

23   agreement among the Settling Parties, and no representations, warranties, or inducements have

24   been made to any Settling Party concerning the Stipulation and/or any of its Exhibits, other than

25   the representations, warranties, and covenants contained and memorialized in such documents.

26   The Stipulation supersedes and replaces any prior or contemporaneous writing, statement, or

27   understanding pertaining to the Actions and no parole or other evidence may be offered to explain,

28   construe, contradict, or clarify its terms, the intent of the Settling Parties or their counsel, or the

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                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1   circumstances under which the Stipulation was made or executed. It is understood by the Settling

 2   Parties that, except for matters expressly represented herein, the facts or law with respect to which

 3   this Stipulation is entered into may turn out to be other than or different from the facts now known

 4   to each party or believed by such party to be true; each party therefore expressly assumes the risk

 5   of facts or law turning out to be different, and agrees that this Stipulation shall be in all respects

 6   effective and not subject to termination by reason of any such different facts or law.

 7                  7.9     Except as otherwise expressly provided herein, all parties, including all

 8   Settling Defendants, their counsel, Snap and its counsel, and Plaintiffs, and Plaintiffs’ Counsel

 9   shall bear their own fees, costs, and expenses.

10                  7.10    Counsel for the Settling Parties are expressly authorized by their respective

11   clients to take all appropriate actions required or permitted to be taken pursuant to the Stipulation

12   to effectuate its terms and conditions.

13                  7.11    Plaintiffs represent and warrant they have not assigned or transferred, or

14   attempted to assign or transfer, to any Person any Released Claim or any portion thereof or interest

15   therein.

16                  7.12    Each counsel or other Person executing this Stipulation or any of its

17   Exhibits on behalf of any party hereto hereby warrants that such Person has the full authority to

18   do so.

19                  7.13    Any failure by any party to this Stipulation to insist upon the strict

20   performance by any other party of any of the provisions of the Stipulation shall not be deemed a

21   waiver of any of the provisions, and such party, notwithstanding such failure, shall have the right

22   thereafter to insist upon the strict performance of any and all of the provisions of the Stipulation

23   to be performed by such other party.

24                  7.14    The Stipulation and Exhibits may be executed in one or more counterparts.

25   A faxed or pdf signature shall be deemed an original signature for purposes of this Stipulation. All

26   executed counterparts including facsimile and/or pdf counterparts shall be deemed to be one and

27   the same instrument. A complete set of counterparts, either originally executed or copies thereof,

28   shall be filed with the Court.

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                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
 1                  7.15    This Stipulation shall be binding upon, and inure to the benefit of, the

 2   Settling Parties and the Released Persons and their respective successors, assigns, heirs, spouses,

 3   marital communities, executors, administrators, trustees in bankruptcy, and legal representatives.

 4                  7.16    Without affecting the finality of the Judgment entered in accordance with

 5   this Stipulation, the Court shall retain jurisdiction with respect to implementation and enforcement

 6   of the terms of the Stipulation, the Court Approval Order, and the Judgment, and the Settling

 7   Parties hereto submit to the jurisdiction of the Court for purposes of implementing and enforcing

 8   the Settlement embodied in the Stipulation, the Court Approval Order, and the Judgment and for

 9   matters arising out of, concerning, or relating thereto. In the event that a dispute arises between or

10   among any of the Settling Parties, Released Persons, and/or Plaintiffs or Plaintiffs’ Counsel

11   concerning the subject matter or any term of this Stipulation, the Settling Parties agree that such

12   dispute shall be mediated in good faith before the mediator, Justice Wiener or, if Justice Wiener is

13   not available, another competent mediator to be agreed upon by the Parties. Only after the Settling

14   Parties and the mediator determine that mediation of such dispute has failed shall relief be sought

15   through a proceeding before the Court.

16                  7.17    This Stipulation and the Exhibits hereto shall be considered to have been

17   negotiated, executed, and delivered, and to be wholly performed, in the State of California, and

18   the rights and obligations of the Settling Parties to the Stipulation shall be construed and enforced

19   in accordance with, and governed by, the internal substantive laws of the State of California

20   without giving effect to California’s choice-of-law principles.

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                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
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             1       DATED: October 1, 2020                        ROBBINS LLP

             2
                                                                   _____________________________________
             3                                                     Shane P. Sanders
             4                                                     BRIAN J. ROBBINS
                                                                   CRAIG W. SMITH
             5                                                     SHANE P. SANDERS
                                                                   5040 Shoreham Place
             6                                                     San Diego, CA 92122
                                                                   Telephone: (619) 525-3990
             7                                                     Facsimile: (619) 525-3991
             8                                                     E-mail: brobbins@robbinsllp.com
                                                                           csmith@robbinsllp.com
             9                                                             ssanders@robbinsllp.com

           10                                                      Attorneys for Plaintiffs David Shabbouei and
                                                                   Zalmon Uvaydov
           11                      10/9/2020

           12        DATED: October __, 2020
                                                                   _____________________________________
           13                                                      DAVID SHABBOUEI

           14        DATED: October __, 2020
                                                                   _____________________________________
           15
                                                                   ZALMON UVAYDOV
           16
                     DATED: October __, 2020                       PROMISLOFF LAW, P.C.
           17

           18                                                      _____________________________________
                                                                   David M. Promisloff
           19
                                                                   DAVID M. PROMISLOFF
           20                                                      5 Great Valley Parkway, Suite 210
                                                                   Malvern, PA 19355
           21                                                      Telephone: (215) 259-5156
                                                                   Facsimile: (215) 600-2642
           22                                                      E-mail: david@prolawpa.com
           23
                                                                   Attorneys for Charles Blackburn
           24
                     DATED: October __, 2020
           25                                                      _____________________________________
                                                                   CHARLES BLACKBURN
           26

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                                                STIPULATION AND AGREEMENT OF SETTLEMENT
                                                 CASE NOS. BC720152, 18STCV09365, 19STCV08413
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            1       DATED: October 1, 2020                        ROBBINS LLP

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                                                                  _____________________________________
            3                                                     Shane P. Sanders
            4                                                     BRIAN J. ROBBINS
                                                                  CRAIG W. SMITH
            5                                                     SHANE P. SANDERS
                                                                  5040 Shoreham Place
            6                                                     San Diego, CA 92122
                                                                  Telephone: (619) 525-3990
            7                                                     Facsimile: (619) 525-3991
            8                                                     E-mail: brobbins@robbinsllp.com
                                                                          csmith@robbinsllp.com
            9                                                             ssanders@robbinsllp.com

           10                                                     Attorneys for Plaintiffs David Shabbouei and
                                                                  Zalmon Uvaydov
           11

           12       DATED: October __, 2020
                                                                  _____________________________________
           13                                                     DAVID SHABBOUEI
                                     10/1/2020
           14       DATED: October __, 2020
                                                                  _____________________________________
           15
                                                                  ZALMON UVAYDOV
           16
                    DATED: October __, 2020                       PROMISLOFF LAW, P.C.
           17

           18                                                     _____________________________________
                                                                  David M. Promisloff
           19
                                                                  DAVID M. PROMISLOFF
           20                                                     5 Great Valley Parkway, Suite 210
                                                                  Malvern, PA 19355
           21                                                     Telephone: (215) 259-5156
                                                                  Facsimile: (215) 600-2642
           22                                                     E-mail: david@prolawpa.com
           23
                                                                  Attorneys for Charles Blackburn
           24
                    DATED: October __, 2020
           25                                                     _____________________________________
                                                                  CHARLES BLACKBURN
           26

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                                               STIPULATION AND AGREEMENT OF SETTLEMENT
                                                CASE NOS. BC720152, 18STCV09365, 19STCV08413
Exhibit A to Stipulation of Settlement
                               Exhibit A to Stipulation of Settlement

       Plaintiffs and Snap Inc. (the “Company”) have agreed that the Company shall implement

within ninety days of final settlement approval, and maintain for a minimum period of three years

thereafter, the corporate governance measures detailed below (“Corporate Governance Measures”).

The Company acknowledges that the efforts of the plaintiffs in each of Wolfson v. Spiegel et al. and

Shabbouei v. Spiegel et al. were material factors in the Company’s decision to implement and

maintain these measures, and that the measures confer substantial benefits on the Company and its

stockholders. To the extent any of the Corporate Governance Measures conflicts with any applicable

law or rule of any relevant governmental body, self-regulatory organization or national securities

exchange, the Company will comply with such law or rule notwithstanding the provisions of the

Stipulation of Settlement or any orders implementing the Settlement. In the event the Board makes

such as determination, the Board shall (a) state the basis for its determination in a formal resolution;

and (b) adopt modified or substitute measures designed to accomplish the same or similar purpose(s).

Copies of any pertinent Board resolutions shall be provided to Plaintiffs’ Counsel upon request.

       This Exhibit A is part of and subject to all provisions in the Stipulation of Settlement,

including the Company’s statement therein that it believes that it had in place at all relevant times

reasonable controls regarding user metrics and other matters relevant to Plaintiffs’ complaint.

I. USER METRICS OVERSIGHT AND CONTROLS

       A.      Annual Review

       1.      The Company, at the request of the Audit Committee of the Company’s Board of

Directors (the “Board”), shall retain an arms-length, third-party auditor with relevant expertise and

experience in non-financial performance indicators (the “Metrics Advisor”) to perform annual

reviews of policies and procedures used to calculate the Company’s Top-Level Metrics to ensure

analytical validity, adherence to evolving industry best practices, and appropriate presentation,
explanation, and qualification of such metrics, and to confirm the adequacy of the Company’s

internal controls (the “Annual Review”). Before relying on the advice of the Metrics Advisor, the

Audit Committee shall oversee an appropriate search and vetting process to confirm the Metrics

Advisor’s lack of bias, qualifications and experience to ensure that the Metrics Advisor’s analyses

and recommendations may be reasonably relied upon by the Company’s management and the

Board. “Top Level Metrics” shall mean Daily Active Users (“DAU”) and at least two other

Snapchat user metrics that the Company regularly reports to investors and characterizes as key

signals of business health. The first Annual Review shall be completed in advance of the

Company’s Form 10-K filing for the first full fiscal year that commences after the Effective Date,

provided that, if after searching in good faith the Audit Committee cannot identify a Metrics

Advisor with the requisite expertise, experience and lack of bias to review certain of the Top-Level

Metrics, the Audit Committee may delay completion of the Annual Review with respect to those

Top-Level Metrics for up to one year, but must timely complete the Annual Review with respect to

the remaining Top-Level Metrics for which it has identified a Metrics Advisor with the requisite

expertise, experience, and lack of bias.

       2.      During the Annual Review, the Metrics Advisor shall, in conjunction with the

Company’s internal auditor, assess the Top-Level Metrics and ensure that the Company has reliable

estimates of (i) error rates and ranges of variance; and (ii) to the extent applicable, the impact of

duplicate/false accounts, spam, and malicious automation.

       3.      The Metrics Advisor shall provide the results of the Annual Review, along with

recommendations for improvements in data collection, methodology, and disclosures, if any, to

the Company’s Disclosure Committee and internal auditor. The Disclosure Committee shall

report its decisions with respect to these recommendations to the Audit Committee.



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        4.      The results of the Annual Review also shall be provided by the Metrics Advisor

directly to the Audit Committee. The Audit Committee shall discuss with the Metrics Advisor

(including in executive session if the Audit Committee so chooses) the nature of the Annual Review

and the Metrics Advisor’s findings and recommendations.

        B.      Internal Audit Validation of Disclosed Metrics

        1.      The Company shall document a control mandating that Snap’s internal auditor will

continue, at least annually, to review the Company’s calculations of Top-Level Metrics, and will

report any material issues to the Audit Committee.

        2.      Any material errors in previously publicly-reported Top-Level Metrics in the

Company’s U.S. Securities and Exchange Commission (“SEC”)-filed documents found in the

course of the reviews described in I.A. and I.B.1 above shall be disclosed by the Company in its

next Form 10-Q or Form 10-K filed with the SEC or on a Form 8-K, as appropriate, along with an

explanation, if available, of (i) the errors; (ii) their materiality; and (iii) any remedial steps

undertaken by the Company in response.

        3.      The Company shall document a control mandating that its internal auditor will

continue to review, on an annual basis, the error rate and variance, if any, in the Company’s Top-

Level Metrics, and report its results to the Company’s Disclosure Committee and Audit Committee.

The Disclosure Committee shall consider whether this error rate and variance are material and

should be disclosed in the Company’s external reporting, and shall report its conclusions to the

Audit Committee.

        4.      The Company shall document a control mandating that its internal auditor will

continue to review, on an annual basis, the impacts, if any, of duplicate accounts and spam on the

Company’s Top-Level Metrics, and report its results to the Company’s Disclosure Committee and

Audit Committee. The Disclosure Committee shall consider whether these impacts are material and

                                                    -3-
should be disclosed in the Company’s external reporting, and shall report its conclusions to the

Audit Committee.

       5.      Drawing upon input received from the Metrics Advisor as part of its Annual Review,

the Disclosure Committee shall, at least annually, identify and evaluate significant trends or

developments in the Company’s user metrics that may have a material impact on the Company’s

future operational or financial performance. The Disclosure Committee shall prepare a report and

present any recommendations with respect to the Company’s external reporting obligations to the

Audit Committee.

       C.      Audit Committee Response to Metrics Reports

       1.      In the event the Metrics Advisor disagrees in the Annual Review with management’s

policies and procedures for calculating Top-Level Metrics, or the adequacy of the accompanying

explanations or qualifications, the Disclosure Committee, in conjunction with the Audit Committee,

shall evaluate the Metrics Advisor’s report and determine (i) the Company’s disclosure obligations,

if any, and (ii) appropriate remedial actions, if any.

       D.      Other Metrics-Related Measures

       1.      The Company shall extend the standards of the Information Technology Governance

and Controls (“ITGC”) framework, as applicable, to elements of user metric data, and shall provide

the Audit Committee, at least biennially, an update on the extent of the ITGC implementation.

        2.     Appropriate management designees and the Disclosure Committee shall review at

least annually whether additional or alternative measures of user activity should be tracked and

disclosed in order to fairly present, qualify, or contextualize the Company’s business and

operations. Management shall present the Board or a committee of the Board with

recommendations based on this review.



                                                   -4-
       3.      The Company shall discuss at the Disclosure Committee, and annually before the

Board or a committee of the Board, the types, and short-term and long-term results, of user growth

initiatives that Snap undertakes. The Disclosure Committee shall evaluate the need for additional

disclosures to fairly describe and contextualize the impact of such initiatives on reported Top Level

Metrics.

       4.      If the Company decides to report a previously unreported user metric in a Form 10-K

or Form 10-Q filed with the SEC (or any document incorporated by reference therein), management

shall discuss with the Audit Committee at the next available opportunity the metric, its definition,

controls in place around it, and the purpose of its proposed disclosure. Management also shall

consult with the Metrics Advisor during the next Annual Review on the metric, the purpose of its

disclosure, and whether it is sufficiently important to the Company that the Company should

consider elevating it to a Top-Level Metric. The initial publication of any new user metric in a

Form 10-K or Form 10-Q filed with the SEC shall include a complete definition and a description of

its potential utility to investors, along with any appropriate qualifications or warnings.

       5.      With respect to the Company’s existing internal validation of its Top-Level Metrics:

The Company shall document processes mandating that it continues to engage in the following

types of internal validation and control: (a) secondary indicator event checks; (b) event

instrumentation protections; (c) reasonable QA processes, including QA signoff prior to relevant

releases; (d) manual and automated QA testing; (e) session invariant checks; and (f) data loss and

trend alarms. The Company’s Data Team shall report to the Audit Committee on the extent of that

documentation within six months of the Effective Date. If the documentation is not complete at that

time, the Audit Committee shall require management to develop and implement an appropriate

remedial and follow-up plan.



                                                   -5-
       6.      The Company shall endeavor to participate in relevant self-regulatory bodies or

industrywide meetings that deal with industry user metrics, and will strive to be an industry leader

regarding the accurate reporting of user metrics.

II.    ENHANCED AUDIT AND DISCLOSURE COMMITTEE RESPONSIBILITIES

       A.      Audit Committee

       1.      The Disclosure Committee Charter shall continue to provide that the Disclosure

Committee will provide periodic reports to the Audit Committee. A representative of the

Disclosure Committee shall participate in meetings with the Audit Committee, and the Audit

Committee shall evaluate the representative’s reports regarding matters of significance to the

Company’s public reporting.

       2.      The Audit Committee shall meet with the Metrics Advisor and review its Annual

Review and other findings, including any findings of disagreement between the Metrics Advisor

and management about the materiality of issues regarding user metrics or controls.

       3.      In the event the Metrics Advisor identifies significant areas of concern with respect

to the Company’s policies and procedures for calculating user metrics, their validity and accuracy,

or the adequacy of the accompanying explanations or qualifications published with respect thereto,

the Audit Committee shall, in conjunction with the Disclosure Committee, evaluate appropriate

remedial measures and disclosure obligations with respect to those concerns.

       4.      The Audit Committee shall receive and review regular progress reports from

appropriate members of Company management as often as the Audit Committee deems warranted

under the circumstances that detail the Company’s progress in addressing the Metrics Advisor’s

recommendations. The Audit Committee shall have access to and be able to discuss (including in

executive session if the Audit Committee so chooses) with the Metrics Advisor the nature of the

review, its findings, and its recommendations.

                                                    -6-
        5.       The Audit Committee Charter and other Company policies will be amended as

necessary to ensure that the Audit Committee has access to Company personnel and records to

effectively oversee and monitor the Company’s efforts to fulfill its disclosure obligations regarding

the calculations and public disclosures of the Company’s user metrics, other non-financial metrics,

and other issues that may have a significant impact on the Company’s performance. The Company’s

policies will provide mechanisms for periodic and ad hoc reporting to the Audit Committee and the

Disclosure Committee by the operational units in which such matters may arise.

        6.       The Audit Committee shall continue to receive and review the internal auditor’s

written reports regarding user metrics, as described above, and any material weaknesses identified

in its review.

        7.       Relevant Company documents shall be amended as necessary to reflect that all

Company employees must cooperate with Audit Committee investigations, and that any failure to

cooperate shall be grounds for discipline, including, but not limited to, termination, in the sole

discretion of the Board.

        B.       Disclosure Committee

        1.       The Disclosure Committee charter shall ensure that at least the following individuals

continue to be represented on the Disclosure Committee: corporate controller, the chief legal officer

or general counsel (the “CLO”) or other legal counsel with responsibility for disclosure matters, the

principal risk management officer, the investor relations director, and any other employees who are

knowledgeable about the Company’s business units and deemed necessary or appropriate by the

Company’s management.

        2.       The Audit Committee may recommend additional members to the Disclosure

Committee as it deems appropriate.



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       3.       The Disclosure Committee may invite other Company personnel, outside auditors,

outside counsel, or other outside advisors to attend its meetings, as it deems necessary and

appropriate to perform its duties and responsibilities.

       4.       The Disclosure Committee charter shall ensure that the following responsibilities

continue to be assigned to the Committee:

                (a)    Public Disclosure Review

                       (i)     Evaluating the materiality of information and events relating to or

affecting the Company, and determining the timing and appropriate method of disclosure of

information deemed material, particularly as it relates to the Company’s public disclosures and

underlying calculations concerning user metrics and related data provided to the Company’s

stockholders;

                       (ii)    Reviewing in advance the Company’s quarterly earnings press release

and related materials (such as analyst conference call scripts) to determine the adequacy and

accuracy of the disclosures included therein; and

                       (iii)   Reviewing in advance, in conjunction with the Audit Committee, each

Form 10-K and Form 10-Q to be filed by the Company with the SEC, to determine the adequacy

and accuracy of the disclosures included therein.

                (b)    Evaluation of Metrics Disclosures

                       (i)     Evaluating the Company’s public disclosures in each Form 10-Q and

Form 10-K and disclosure-related internal controls specifically with respect to user metrics and

other non-financial performance metrics, as well as any other potentially material issues with

respect to the Company’s public disclosures and disclosure-related internal controls;

                       (ii)    Ensuring that a representative participates in Audit Committee

meetings, along with the Metrics Advisor, as appropriate, to discuss (a) the Company’s continued

                                                    -8-
development of reliable estimates of error rates and ranges of variance in the Company’s Top-Level

Metrics, including, for example, the impact of duplicate accounts and spam; (b) the identification

and timely and appropriate disclosure of significant trends or important developments in the

Company’s user metrics that may have a significant or material impact on the Company’s future

operational or financial performance, and evaluation of whether such user metrics merit public

disclosure and explanation, as required by applicable law; and (c) any other potentially material

issues relating to the Company’s user metrics.

       5.      The Company shall ensure that, before the Company files a Form 10-K or a Form

10-Q with the SEC, the Company’s Disclosure Committee members continue to have the

opportunity to review and discuss the material disclosures in such reports.

       6.      The Company shall ensure that the Disclosure Committee charter continues to

require that before each Form 10-K and Form 10-Q filing, a representative of the Disclosure

Committee communicates to the Audit Committee the results of the Disclosure Committee

discussion regarding material disclosures.

       7.      The Company shall ensure that the members of the Disclosure Committee (i) are

trained at least biennially on the Company’s whistleblower hotline and other means of reporting

alleged financial or public reporting misconduct and (ii) are encouraged as part of that training to

report any Form 10-K or Form 10-Q disclosures that they believe to be inaccurate.

III.   WHISTLEBLOWERS

       1.      Company management shall ensure that the Company continues to have a Board-

adopted formal written policy protecting whistleblowers (the “Whistleblower Policy”).

       2.      The Company’s Whistleblower Policy shall be amended as necessary to ensure that

it:



                                                  -9-
               (a)     Encourages interested parties to bring forward ethical and legal violations,

and/or a reasonable belief that ethical and legal violations have occurred, to the Audit Committee,

the Integrity & Compliance Department, the Company’s chief compliance officer (“CCO”), the

CLO, or the Company’s third-party operated whistleblower hotline, so that action may be taken to

investigate and resolve the problem. These complaints shall be reviewed by the Integrity &

Compliance Department, the Legal Department, the Audit Committee, and/or the full Board, as

warranted.

               (b)     Communicates that Snap is serious about its policies and that whistleblowing

is an important tool in achieving its goal of creating multiple ways for its employees to raise

concerns.

       3.      The Whistleblower Policy must notify employees and directors of the following:

               (a)     Employees are subject to criminal penalties, including imprisonment, for

retaliation against whistleblowers;

               (b)     Whistleblower complaints may be directed to the Integrity & Compliance

Department, Legal Department, Audit Committee, CCO, CLO, or the whistleblower hotline, and the

complaints will be handled in confidence to the greatest degree possible;

               (c)     If a whistleblower brings his or her complaint to an outside regulator or other

governmental entity having jurisdiction over the Company, he or she will be protected by the terms

of the Whistleblower Policy just as if he or she directed the complaint to the Integrity &

Compliance Department, Legal Department, Audit Committee, CCO, CLO, or the whistleblower

hotline;

               (d)     If an employee is subject to an adverse employment decision as a result of a

good faith whistleblower notification, the employee may file a complaint with the United States



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Department of Labor within 90 days of the alleged violation (a failure to report such claims within

the 90-day window does not foreclose any other available legal remedy); and

               (e)     It is both illegal and against Snap’s policy to discharge, demote, suspend,

threaten, intimidate, harass, or in any manner discriminate against whistleblowers.

          4.   The Company shall ensure that its whistleblower online reporting hotline continues

to be available internationally, and shall expand phone access to the whistleblower hotline so it is

also available internationally.

          5.   The Audit Committee shall receive a quarterly report on whistleblower hotline usage

trends.

          6.   The Audit Committee shall receive a quarterly report on statistics regarding the

results of whistleblower complaints (i.e., the percentage that led to investigation, the percentage

referred to Human Resources, etc.).

          7.   The CCO or other appropriate person shall make timely, pre-investigation reports to

either the chair of the Audit Committee or the chair of the Board, as appropriate, of any

whistleblower allegations involving alleged Material Risks. “Material Risks,” shall mean actions or

omissions that, if proven, likely would result in a material loss to the Company arising from a

restatement of earnings, regulatory inquiry, or criminal investigation.

          8.   The Company shall ensure on an ongoing basis that the relevant teams have

effective, updated processes and procedures to triage and assess whistleblower calls.

          9.   The Company shall formalize its current process of publicizing internally the various

means by which employees can file complaints and reports, through the whistleblower hotline and

otherwise. The Company shall post information regarding its whistleblower hotline on its website

and make clear that it is available to assist on matters pertaining to corruption, fraud, or similar



                                                  -11-
unlawful activities at Snap, and the Company shall provide alternative reporting mechanisms

including email addresses.

        10.    The chair of the Board shall receive on a timely basis reports on all correspondence

addressed to the Board of Directors or the Corporate Secretary from stockholders in their capacity as

such.

        11.    The Company shall remind employees of whistleblower options and protections in

employee communications provided at least twice a year and via the Company’s intranet.

        12.    The Whistleblower Policy shall be available on the Company’s intranet.

IV.     INVESTIGATIONS & COMPLIANCE

        A.     Investigations

        1.     The Company shall ensure on an ongoing basis that the Company has an effective,

updated standard procedure for investigations undertaken by the Company’s Audit Committee,

CLO, or CCO.

        2.     The Audit Committee shall undertake periodic reviews of the results of internal

investigations involving Material Risks and consider ways in which the Company can improve its

processes for handling such investigations.

        B.     Compliance Executives

        1.     The Company’s CCO shall provide the Audit Committee a quarterly report

summarizing material compliance issues identified by the CCO, the status of any remedial measures

associated with such compliance issues, and relevant training statistics. As used here, “compliance

issues” shall mean risks, gaps, or lapses relating to rules set forth in any companywide policies

governing user metrics, financial reporting, bribery, corruption, conflicts of interest, and trade

controls (collectively, “Company Compliance Policies”).



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         2.    The Company shall review and, if necessary, update its policies to ensure that at least

annually the CCO reviews the Company Compliance Policies and makes recommendations to the

Board or a committee of the Board regarding whether any changes should be made to those policies.

         3.    The CCO and CLO shall coordinate at least biennially a Board of Directors

education seminar regarding (i) relevant compliance standards, procedures, and enforcement

activities, including related controls; and (ii) material updates or changes to key laws and

regulations under which the Company operates.

         4.    The chair of the Board shall be notified promptly if the CCO or CLO is resigning or

being terminated from his or her position.

V.       OTHER GOVERNANCE PROVISIONS

         A.    Share Issuance

         1.    The Company shall amend its bylaws so as to require any issuance of voting

securities to be authorized by the full Board of Directors, rather than just by a committee of the

Board.

         B.    Annual Meeting

         1.    The Company shall issue a press release (or file as part of a Form 8-K with the SEC,

or both) informing stockholders how they can submit questions for the annual stockholder meeting.

         2.    The Company shall stream the audio of the annual stockholder meeting so that

stockholders and interested stakeholders may listen to the meeting.

         C.    Board Committees – Compensation & Other Consultants

         1.    The Company shall ensure that the charter of the Compensation Committee of the

Board continues to specify that the committee has authority to retain its own compensation

consultants. Before relying on the recommendations of such consultants, the Compensation



                                                 -13-
Committee shall evaluate and determine whether the consultants are unbiased and have appropriate

qualifications and experience sufficient to warrant reliance on their recommendations.

        2.      The Company shall ensure that the charter of the Audit Committee continues to

specify that the committee has the authority to retain its own consultants and counsel.

        D.      Information Security & Privacy

        1.      Management of the Company shall transmit an internal certification to the Board

annually certifying that, to the best of their knowledge, the Company is in material compliance with

its privacy policies.

        2.      The Company shall ensure on an ongoing basis that the Company continues to have

an effective, updated process for compliance with the requirements of the EU General Data

Protection Regulation (“GDPR”), including a Data Protection Officer.

        3.      The Company shall establish a protocol for promptly escalating to the Board or a

committee of the Board (a) potential material breaches of Snap’s FTC consent decree and (b)

material regulatory investigations into Snap’s privacy practices.

        4.      The Company shall develop standards for the mandatory reporting of material data

breaches directly to the Board or a committee of the Board.

        5.      At least annually, the Company will organize penetration tests of Snap’s network and

systems to test that security measures are effective and to evaluate whether anyone, including

insiders, could tamper with Snap data.




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EXHIBIT 9
                                                                                               ORIGINAL
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                                          SUPE RIOR COU RT OF THE STATE OF CALIFORN IA
                 8
                                                         COUNTY OF LOS ANGELES
                 9
                        BARBARA WOLFSON, Derivatively on Behalf of             Case No. BC720 I52
                IO      SNAP fNC. ,
                                    Plaintiff,
                11              V.
                                                                               Judge:          Honorable Elihu M. Berle
                12      EVAN SP IEGEL. ROBERT MURPHY , MICHAEL                 Depa1t111ent:   6
                        LYNTON , JOANNA COLES, A.G . LAFLEY,
                13      MITCHELL LASKY, STANLEY MERESMAN ,
                14      SCOTT D. MILLE R, CHR ISTOPHER YOUNG ,
                        AND REW VOLLERO, and IMRAN KHAN ,
                J5                      Defendants,
                        and
                16
                        SNAP lNC. , a Delavvare Corporat ion,
.,              17
                                        Nomina l Defend ant.
                J8
                        JUSTIN POKORNEY, Derivatively fo r the Benefit       Case No. ISSTCV09365
                19      of and on Be half of Nom in al Defendant SNAP INC. ,
                                       Plaintiff,
                20              V.

                        EVAN SP IEGEL, ROBERT MURPHY , MICHAEL                 Judge:          Honorable Elihu M. Berle
                21                                                             Depa1t111ent:   6
                        LYNTON , JOANNA COLES, A.G . LAFLEY,
                22      STANLEY MERESMAN , SCOTT D. MILLER,
     =,;i               CHR ISTOPHER YOUNG , ANDREW VOLLERO,
     -•·        23      and IMRAN KHAN ,
     ,,..       24
     ....,.)
                                        Defendants,
     :::::,             and
     ....,~;·   25
     -•·
                        SNAP INC.. a Delaware Corporation ,
                26
                                        Nomina l Defendant
                27    [Caption co ntinued on fo ll owin g page.]
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                                                   [PROPOSE D] F IN AL ORDER AND JUDGM EN T
            2
                DA YID SHABBOUEI and ZALMON UVA YDOY,
                                                                       Case No. I9STCY084 l 3
            3   Derivatively on Behalf of SNAP INC .,

            4                Plaintiffs,
                                                                       Judge:          Honorable Elihu M. Berle
            5         V.
                                                                       Depa1t111ent:   6
                EVAN SPI EGEL, ROBERT MURPHY, MICHAEL
            6   LYNTON , STANLEY MERESMAN , A.G.
                LAFLEY , SCOTT D. MJLLER , CHRISTOPHER
            7
                YOUNG , JOANNA COLES, ANDREW
            8   YOLLERO, IMRAN KHAN , MITCHELL LASKY,
                and DOES 1-25, Inclusive,
            9
                             Defendants ,
           IO   and
                SNAP INC. , a Delaware Corporation,
           II
                             Nominal Defendant.
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                                           [PR OPOS ED] FINAL ORD ER AN D J UDGMENT
                         This matter came before the Court fo r hearin g on Dece mber 16, 202 0 pursuant to thi

          2     Court 's Preliminary Approval Order, entered October 2, 2020, on th e applicati on of th e Parti es fo 1
          ,.,
          _)    fin al approval of th e Settlement set forth in the Stipu lati on and Ag reement of Settlement dated

          4     August 12, 2020 (the "Stipulati on"). Due and adequate notice hav in g been giv en to Current Sna

          5     Stoc kh old ers as required in said Preliminary Approval Order, and the Co urt havin g considered all

          6     papers filed and proceedings had herein and otherwi se being full y in fo rm ed of th e premi ses and

          7     good cause appearin g th erefor, IT JS HEREB Y ORDERED, AD.JUDGED, AN D DEC RE ED a

          8     fo ll ows :

          9               I.    Thi s Final Ord er and Jud gment (".Jud gment") incorporates by reference th

         10     defi niti ons in the Stipulation , and except where oth erwi se specified herein . all capita lized term

         11     used herein shall have th e same meanin gs as set forth in the Stipulati on.

         12              2.     This Court has jurisdiction over the Derivativ e Acti ons. th e Settl ement, and th

         13     Parties to th e Stipulation .

         14              3.     This Court find s that the Sett lement set forth in th e Stipu lati on is fair, reasonab le,

         15     and adequate as to each of the Parties, and hereby fin all y approves the Settl ement in all respect

         16     and orders th e Parties to perform its term s to the extent th e Parti es have not already done so.

         17              4.     The Derivative Actions, all claims contained therein , and any ot her Released Claim

         18     are hereb y ord ered as fully, fin all y, and forever compromi sed. settled . released . di scharged , and

         19     di smi ssed on the merits and with prejudice by virtue of the proceed in gs herein and thi s .Judgment.

         20     The Pa11i es are to bear their own costs, except as oth erwi se provid ed in th e Stipul ati on.

         21                      1.1     Upon the Effective Date, as defi ned in Secti on IV. il 1.5. Snap. Current Snap

         22     Stoc kh old ers, or any Perso n acting on behalf of Snap, and Plaintiffs (ac ting on their own behalves
3)
         23     or derivati ve ly on beh alf of Snap) shall be deemed to have. and by operati on of the.Jud gment shall
., ..    24     have, full y. finally, and forever released, relinqui shed, and discharged and di smi ssed with
.....)
==::·
~-,..t   25     prejudice th e Released Claim s against the Released Persons and any and all causes of acti on or
--~-
         26     claim s (including Unknown Claim s) that have or could have been asse rted in th e Derivative

         27     Actions by Plaintiffs, Snap, or any Current Snap Stockhold er derivatively on behalf of Snap,

         28     aga in st the Settling Defendants or the Released Perso ns. based on th e Settling Defendants' or

                                                                    ,,
                                                                   - _)-
                                                [PR OPOSED] FINA L ORDER AND JUDGM l~NT
                 Released Persons' acts and/or omi ss ions in conn ecti on vvith , aris ing out of, or relatin g to, the fac ts,

           2     transactions, events, matters, occurrences, acts, disclosures, statements, omi ssio ns, or failures to
           ,.,
           .)    ac t that we re all eged in the Derivative Ac ti ons, th ro ugh and in cludin g th e date of executi on of thi s

           4     Stipulati on. Nothing herein shall in any way impair or restrict the ri ghts of any Settlin g Party or

           5     any oth er Released Perso n to enforce the term s of th e Stipul ati on.

           6             5.       Upon the Effective Date, as defi ned in Secti on IV , ~ 1.5 , Snap, Current Sna

           7     Stockhold ers, or any Perso n acting on behalf of Snap, and Pl ainti ffs (actin g on th eir own behalve

           8     and derivatively on behalf of Snap and its stockholders) shall be foreve r barred , estopped, and

           9     enj oined from comm encin g, institutin g, or prosec uting any of the Relea sed Claim s aga in st any o

          10     the Released Persons or any action or oth er proceedin g aga in st any of th e Released Persons ari sin

          11     out of, re lating to, or in connection with the Released Claim s, th e Derivative Act ions, or the tiling,

          12     prosecution, defense, settlement, or reso luti on of the Deri vative Acti ons. Nothin g here in shall in

          13     any way impair or restrict th e ri ghts of any Settl in g Part y to enfo rc e the term s of the Stipul ati on.

          14             6.       Upo n the Effecti ve Date, as defined in Sect ion IV, ~ I .5 . each of the Released Person

          15     and the Related Parti es shall be deemed to have, and by operati on of th e Jud gment shall have, full y,

          16     final ly, and forever released, relinquished, and discharged Plaintiffs and Plaintiffs· Coun se l from all

          17     claim s (including Unknown Claims) ari sin g out of, relating to, or in co nn ecti on with the in stituti on,

          18     prosecution , assertion , settl ement, or reso luti on of the Derivative Act ions or th e Released Claim s.

          19     Nothing herein shall in any way impair or restri ct the rights of any Settlin g Party to enforce th

          20     term s of the Stipul ati on.

          21             7.       The Co urt finds th at th e not ice of the Settl ement to Current Snap Stock holders wa

          22     made in accordance with the Preli111in ary App rova l Ord er and prov id ed th e best noti ce prac ti cab l
:2)
          23     und er the circu111stances to all Persons entitl ed to such not ice. and said notice fu ll y sat isfied th
f.; :1,
~ ..      24     require111 ents of due process.
.... ,
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_,.,,.
          25             8.       The Co urt find s th at durin g the co urse of th e Derivative Ac ti ons. th e Parti es and

          26     their counse l at all times co mpli ed with Ca li fo rni a Code of Civil Proced ure§ 128.7.

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                                                [P ROPO SED] FINAL ORD l~R /\ ND .J UDGMENT
                            9.      Th e Co urt find s th at th e separately negoti ated and agreed-to Fee and Ex pens

                2   Amount is fa ir and reasonabl e, in acco rd ance with th e Stipul ati on. and fin all y appro ves th e Fee and

                3   Ex pense Amount.

                4           10.     The Court find s that th e Se rvice Awards to Pl ainti ffs are fa ir and reasonabl e, in

                5   accord ance with th e Stipul ati on, and fin all y ap proves the Se rvice Awa rd s, to be paid from th e Fe

                6   and Ex pense Amount.

                7           11.     Thi s Jud gment, the fac ts and term s of th e Stipul ati on. in cludin g any exhibit

                8   attached th ereto, all proceedin gs in co nn ecti on with th e Settl ement, and any act perfo rm ed 01

                9   docum ent executed pursuant to or in furth erance of th e Stipul ati on or the Settl ement:

               10           a)      shall not be offered, rece ived, or used in any way aga in st th e Parti es as ev id ence of,

               11           or be deemed to be ev idence of, a presumpti on, co ncess ion. or admi ss ion by any of th

               12           Parti es with respect to th e truth of any fac t all eged by Pl ainti ff or the va lidity, or lac k

               13           thereof, of any claim th at has been or co uld have bee n asse rted in th e Derivative Acti on 01

               14           in any li tigation , or th e defi ciency, infir111ity, or va lidity o f any defe nse that has been 01

               15           co uld have been asserted in th e Derivative Ac ti on or in any liti gati on, or of any fa ult,

               16           wrongdoing, neg ligence, or li ability of any of th e Released Persons;

               17           b)      shall not be offered , rece ived , or used in any way aga in st any of the Released

               18           Persons as ev id ence of, or be dee 111 ed to be ev id ence of. a presumpti on, concess ion , 01

               19           ad mi ss ion of any fa ult, mi sreprese ntati on. or 0111i ssion with respect to any statement 01

               20           written doc u111 ent app roved, issued, or made by any Released Perso n;
               21           c)      shall not be offered, rece ived. or used in any wa y aga in st any of th e Released

               22           Perso ns as ev id ence of, or be dee111 ed to be ev id ence of. a presu111pt ion, concess ion, 01
~)"
               23           ad 111i ss ion of any li abi lity, fa ult, neg li gence. omi ss ion. or wro ngdoin g, or in any wa
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'...",.:,·"'   24           referred to fo r any oth er reaso n as aga in st th e Relea sed Perso ns. in any arbitrati on
-":-'
,.,            25           proceeding or oth er civil , cri111in al, or admini stra ti ve ac ti on or proceedin g in any coL111,
               26           ad mini strati ve age ncy, or oth er tribun al; and

               27           d)      shall not be offe red, rece ived. or used in any ,,vays aga in st Pl aintiffs as ev id ence of,
               28           or be deemed to be ev idence of, a presumpti on. co ncess ion. or admi ss ion th at any o


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                                                   [P ROPO SED] F IN AL ORDER AN D J UDGMEN T
          '   '   ..

                                    Pl aintiffs' claim s are without merit or th at Pl ainti ffs wo uld not have bee n able to preva il on

                       2           hi s claim s at tri al.

                       3            12.     Thi s .Jud gment, the Sti pul at ion, th e Settl ement, and any act perform ed or docum ent

                       4   executed pursuant to or in furth erance th ereof. shall not be admi ss ibl e in any proceeding fo r an

                       5   purpose, except to enfo rce th e term s o f th e Settl ement . Hovvever, th e Released Persons may refe1

                       6   to th e Settl ement, and fil e th e Stipul ati on and /or thi s Ju dgment, in any act ion th at may be bro ugh

                       7   aga in st th em to effectuate th e li abil ity pro tecti ons granted th em th ereunder, includin g, with ou

                       8   Iimitati on, to support a defense or claim based on pri ncipies of res j ud icata, co !l atera l estoppel, fu II

                       9   fa ith and credit, release, standing, good fai th settlement, j udg ment bar or red ucti on, or any oth er

                   10      theory of claim prec lu sion or iss ue prec lu sion or simil ar defe nse or claim under U.S. fe deral 01

                   11      state law or fo reign law.

                   12               13.     With out affec tin g th e fin ality of thi s .Ju dgment in any way, th e Co urt hereby retain

                   13      co ntinuin g juri sdi cti on over: (a) im plementati on of th e Settl ement ; and (b) all Parti es for th

                   14      purpose of construin g, enfo rcin g, and admini sterin g th e Stipul ati on and thi s Jud gment, includin g,

                   15      if necessary, settin g as id e and vacatin g thi s .Ju dgment. on mo ti on of a Party, to the ex tent consisten

                   16      with and in acco rda nce with th e Sti pul ati on if th e Effecti ve Date fa il s to occur in acco rd ance with

                   17      the Stipul at ion.

                   18               14.     In th e event th at th e Settl ement does not beco me effecti ve in acco rd ance with th

                   19      terms of th e Stipulati on, th en thi s .Jud gment shall be rendered null and vo id to the extent prov ided

                   20      by and in acco rd ance with the Stipul ati on and shall be vacated. and in such eve nt, all ord ers entered

                   21      and releases deli vered in conn ecti on herewith shall be null and void to th e ex tent prov id ed by and

                   22      in acco rd ance with th e Sti pul ation. and th e prov isions 01·,16.2 of th e Stipul ati on shall appl y.
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                   23               15.     Thi s .Jud gment is a fin al j ud gment and shoul d be entered fo rth with by the Clerk
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                   24      di smi ss in g th e Deri va ti ve Acti ons with prej udice.
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                                                             [PROPO SED] F! N/\ L ORDER /\ N D JUDGMENT
EXHIBIT 10
EXHIBIT 11
                                                                      Michael K Jeanes, Clerk of Court
Grant with New Order                                                   *** Electronically Filed ***
 ***See eSignature page***                                                   L. Nelson, Deputy
                                                                           9/8/2016 8:00:00 AM
                                                                             Filing ID 7704435

  1    SCHNEIDER WALLACE COTTRELL                SACKS, RICKETTS & CASE LLP
       KONECKY WOTKYNS LLP                       Cynthia A. Ricketts, SBN 012668
  2    Michael C. McKay, SBN 023354              cricketts@srclaw.com
       mmckay@schneiderwallace.com               2800 North Central Avenue, Suite 1230
  3    8501 North Scottsdale Road, Suite 270     Phoenix, AZ 85004
       Scottsdale, Arizona 85253                 Telephone: (602) 385-3370
  4    Telephone: (480) 428-0145                 Facsimile: (602) 385-3371
       Facsimile: (866) 505-8036
  5                                              WILSON SONSINI GOODRICH & ROSATI
       WEISSLAW LLP                              Professional Corporation
  6    Joseph H. Weiss (Admitted Pro Hac Vice)   Boris Feldman (Admitted Pro Hac Vice)
       jweiss@weisslawllp.com                    boris.feldman@wsgr.com
  7    David C. Katz                             Elizabeth C. Peterson (Admitted Pro Hac Vice)
       dkatz@weisslawllp.com                     epeterson@wsgr.com
  8    Joshua M. Rubin (Admitted Pro Hac Vice)   650 Page Mill Road
       jrubin@weisslawllp.com                    Palo Alto, CA 94304-1050
  9    1500 Broadway, 16th Floor                 Telephone: (650) 493-9300
       New York, New York 10036                  Facsimile: (650) 493-6811
 10    Telephone: (212) 682-3025
       Facsimile: (212) 682-3010                 Attorneys for Defendants Todd Davis, Gary
 11                                              Briggs, Clarissa Cerda, David Cowan,
       Attorneys for Lead Plaintiff Sridhar      Roy A. Guthrie, Srinivasan Krishnan, Albert
 12    Manthangodu                               A. Pimentel, Chris Power, Thomas Ridge,
                                                 Hilary Schneider, Jaynie Miller Studenmund,
 13                                              and Nominal Defendant LifeLock, Inc.

 14                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

 15                            IN AND FOR THE COUNTY OF MARICOPA

 16    IN RE: LIFELOCK, INC. DERIVATIVE          Case No. CV2015-054087
       LITIGATION
 17                                              (Consolidated with CV2016-000595,
                                                 CV2016-000820, CV2016-050225 &
 18                                              CV2016-003907)

 19                                              ORDER APPROVING SHAREHOLDER
                                                 DERIVATIVE SETTLEMENT
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       ORDER APPROVING SHAREHOLDER DERIVATIVE
       SETTLEMENT
       CASE NO. CV2015-054087
 1           This matter came before the Court for hearing pursuant to the Order of this Court dated

 2   July 8, 2016 (“Order”), on the application of the parties for approval of the proposed settlement

 3   (“Settlement”) set forth in the Stipulation of Settlement dated June 30, 2016, and the Exhibits

 4   thereto (the “Stipulation”).1 Due and adequate notice has been given of the Settlement as required

 5   in the Order. The Court has reviewed and considered all documents, evidence, and arguments

 6   presented in support of or against the Settlement and the Court has been fully advised of the

 7   premises for the Settlement. Good cause appearing,

 8           IT IS HEREBY ORDERED as follows:

 9           1.       Granting Lead Plaintiff’s Motion in Support of Final Approval of Settlement filed

10   on August23, 2016.

11           2.       This Order Approving Shareholder Derivative Settlement (the “Court Approval

12   Order”) incorporates by reference the definitions in the Stipulation, and all capitalized terms used

13   herein shall have the same meanings as set forth in the Stipulation.

14           3.       The Court has jurisdiction over the subject matter of the Action, including all

15   matters necessary to effectuate the Settlement, and over all parties to the Action, including but not

16   limited to Lead Plaintiff, LifeLock, Inc. (“LifeLock” or the “Company”), the current LifeLock

17   stockholders, and the Settling Defendants.

18           4.       The Court finds that the Settlement Notice provided to LifeLock stockholders was

19   the best notice practicable under the circumstances of these proceedings and of the matters set

20   forth therein, including the Settlement and Fee and Expense Amount set forth in the Stipulation, to

21   all Persons entitled to such notice. The Settlement Notice fully satisfies the requirements of

22   Arizona Rule of Civil Procedure 23.1 and the requirements of due process.

23           5.       The Court finds that, during the course of the litigation of the Action, the Settling

24   Parties and their respective counsel at all times complied with the requirements of Arizona Rule of

25   Civil Procedure 11 and all other similar rules and laws.

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     The Stipulation is attached as Exhibit 1 to the Unopposed Motion for Preliminary Approval of Shareholder
     Derivative Settlement and Incorporated Memorandum of Points and Authorities filed on July 1, 2016.
28
     ORDER APPROVING SHAREHOLDER DERIVATIVE                  -1-                                                .
     SETTLEMENT
     CASE NO. CV2015-054087
 1          6.      The Court finds that the terms of the Stipulation and Settlement are fair, reasonable,

 2   and adequate as to each of the Settling Parties, and hereby finally approves the Stipulation and

 3   Settlement in all respects, and orders the Settling Parties to perform its terms to the extent the

 4   Settling Parties have not already done so.

 5          7.      Upon the Effective Date, as defined in the Stipulation, LifeLock, LifeLock

 6   stockholders, or any Person acting on behalf of LifeLock, and Lead Plaintiff (acting on his own

 7   behalf or derivatively on behalf of LifeLock) shall be deemed to have, and by operation of this

 8   Court Approval Order shall have, fully, finally, and forever released, relinquished, and discharged,

 9   and shall be forever barred and enjoined from commencing, instituting, or prosecuting, any of the

10   Released Claims against the Released Persons and any and all causes of action or claims

11   (including Unknown Claims) that have or could have been asserted in the Action by Lead

12   Plaintiff, LifeLock, or any LifeLock stockholder derivatively on behalf of LifeLock, or LifeLock

13   against the Settling Defendants or the Released Persons, based on the Settling Defendants’ or

14   Released Persons’ acts and/or omissions in connection with, arising out of, or relating to, the facts,

15   transactions, events, matters, occurrences, acts, disclosures, statements, omissions, or failures to

16   act related to LifeLock’s alleged FTC violations, the FTC Contempt Motion, and the 2016

17   Amended FTC Order, through and including the date of execution of the Stipulation.

18          8.      Upon the Effective Date, as defined in the Stipulation, LifeLock, LifeLock

19   stockholders, or any Person acting on behalf of LifeLock, and Lead Plaintiff (acting on his own

20   behalf or derivatively on behalf of LifeLock) shall be deemed to have, and by operation of this

21   Court Approval Order shall have, fully, finally, and forever released, relinquished, and discharged,

22   and shall be forever barred and enjoined from commencing, instituting, or prosecuting, any and all

23   claims (including Unknown Claims) arising out of, relating to, or in connection with the defense,

24   settlement, or resolution of the Action against the Released Persons, as defined in the Stipulation.

25          9.      Upon the Effective Date, as defined in the Stipulation, each of the Released Persons

26   and the Related Parties shall be deemed to have, and by operation of this Court Approval Order

27   shall have, fully, finally, and forever released, relinquished, and discharged Lead Plaintiff, Lead

28   Counsel, Liaison Counsel, and all current LifeLock stockholders (solely in their capacity as

     ORDER APPROVING SHAREHOLDER DERIVATIVE            -2-
     SETTLEMENT
     CASE NO. CV2015-054087
 1   LifeLock stockholders) from all claims (including Unknown Claims) arising out of, relating to, or

 2   in connection with the institution, prosecution, assertion, settlement, or resolution of the Action or

 3   the Released Claims.

 4          10.     Nothing herein shall in any way impair or restrict the rights of any Settling Party to

 5   enforce the terms of the Stipulation.

 6          11.     The Court hereby approves the Fee and Expense Amount in accordance with the

 7   Stipulation and finds that such fee is fair and reasonable.

 8          12.     Neither the Stipulation nor the Settlement, nor any act performed or document

 9   executed pursuant to or in furtherance of the Stipulation or the Settlement: (a) is or may be

10   deemed to be or may be offered, attempted to be offered, or used in any way by the Settling

11   Parties as a presumption, a concession, or an admission of, or evidence of, any fault, wrongdoing

12   or liability of the Settling Parties; or of the validity of any Released Claims; or (b) is intended by

13   the Settling Parties to be offered or received as evidence or used by any other person in any other

14   actions or proceedings, whether civil, criminal, or administrative. The Released Persons may file

15   the Stipulation, this Court Approval Order, and/or the Judgment in any action that has been

16   brought or may be brought against them in order to support a defense or counterclaim based on

17   principles of res judicata, collateral estoppel, full faith and credit, release, good faith settlement,

18   standing, judgment bar, or reduction or any other theory of claim preclusion or issue preclusion or

19   similar defense or counterclaim; and any of the Settling Parties may file the Stipulation and

20   documents executed pursuant and in furtherance thereto in any action to enforce the Settlement.

21          13.     All agreements made and orders entered during the course of the Action relating to

22   the confidentiality of information shall survive this Court Approval Order.          All confidential

23   material provided to Lead Plaintiff and/or Lead or Liaison Counsel in the mediation and during

24   settlement negotiations shall be destroyed by Lead Counsel.

25          14.     Without affecting the finality of this Court Approval Order and/or the Judgment in

26   any way, this Court hereby retains continuing jurisdiction with respect to implementation and

27   enforcement of the terms of the Stipulation. This Court further retains continuing jurisdiction over

28

     ORDER APPROVING SHAREHOLDER DERIVATIVE            -3-
     SETTLEMENT
     CASE NO. CV2015-054087
 1   the dispute between Lead Counsel and counsel for Plaintiff Liang Jiawei as to the amount of fees

 2   and expenses counsel for Plaintiff Jiawei should be awarded from the Fee and Expense Amount.

 3          15.     In the event that the Settlement does not become effective in accordance with the

 4   terms of the Stipulation, this Court Approval Order and the Judgment shall be vacated, and all

 5   Orders entered and releases delivered in connection with the Stipulation and this Court Approval

 6   Order shall be null and void, except as otherwise provided for in the Stipulation.

 7          16.     Pursuant to the Settlement, all pending motions in the Action and/or any of the

 8   consolidated actions are hereby withdrawn ab initio.

 9          17.     A separate judgment will issue.

10
     DATED: _______________                       ___________________________________
11                                                THE HONORABLE DAWN M. BERGIN
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     ORDER APPROVING SHAREHOLDER DERIVATIVE           -4-
     SETTLEMENT
     CASE NO. CV2015-054087
eSignature Page 1 of 1
                     Filing ID: 7704435 Case Number: CV2015-054087
                                 Original Filing ID: 7668705
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Grant with New Order




                                                  /S/ Dawn Bergin Date: 9/7/2016
                                                  _____________________________
                                                  Judicial Officer of Superior Court
                                  ENDORSEMENT PAGE
CASE NUMBER: CV2015-054087               SIGNATURE DATE: 9/7/2016
E-FILING ID #: 7704435                    FILED DATE: 9/8/2016 8:00:00 AM


   CYNTHIA A RICKETTS




   ELIZABETH CATHERINE PETERSON




   HART L ROBINOVITCH




   JAKE D CURTIS




   JOSEPH H. WEISS




   JOSHUA M. RUBIN




   MICHAEL C MCKAY




   RACHEL E. FREEMAN




   ROBERT B CAREY




   STANLEY G FELDMAN
EXHIBIT 12
   ROBBINS ARROYO LLP
 1 BRIAN J. ROBBINS (190264)
                                                                           59
   KEVIN A. SEELY (199982)
 2 ASHLEY R. PALMER (246602)
   600 B Street, Suite 1900                                             COURT
 3 San Diego, CA 92101                                                 TY, CA
   Telephone: 619/525-3990
 4 619/525-3991 (fax)
                                                                     ier 9, itmLa norD
                                                                    wk      wt4Of    Pau*
 5 ROBBINS GELLER RUDMAN & DOWD LLP
   TRAVIS E. DOWNS III (148274)                                       APR 7 5 20 14
 6 ELLEN GUSIKOFF STEWART (144892)
   BENNY C. GOODMAN III (211302)                                        Jede Omits
 7 BRIAN 0. O'MARA (229737)
   655 West Broadway, Suite 1900
 8 San Diego, CA 92101-3301
   Telephone: 619/231-1058
 9 619/231-7423 (fax)

10 Lead Counsel for Plaintiffs

11                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                                 COUNTY OF SAN DIEGO
13 In re ALPHATEC HOLDINGS, INC.               Case No. 37-2010-00058586-CU-BT-NC
   DERIVATIVE SHAREHOLDER
14 LITIGATION                                  (Consolidated with Case No. 37-2010-
                                               00062262-CU-BT-NC)
15
     This Document Relates To:                 STIPULATION OF SETTLEMENT
16
                ALL ACTIONS.                   Judge: Jacqueline M. Stern
17
                                               Dept: N-27
18                                             Date Action Filed: August 25, 2010

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                                  STIPULATION OF SETTLEMENT
     920759_1
 1              This Stipulation of Settlement dated March 25, 2014 (the “Stipulation”), is made and entered

 2 into by and among the following Settling Parties,1 each by and through their respective counsel: (i)

 3 Plaintiffs Patrick Fero and Ralph Tuckfield (on behalf of themselves and derivatively on behalf of

 4 Alphatec Holdings, Inc. (“Alphatec” or the “Company”)); (ii) Individual Defendants; (iii) defendant

 5 HealthpointCapital LLC (“HealthpointCapital”); and (iv) nominal defendant Alphatec. Together,

 6 the Individual Defendants, nominal defendant Alphatec, and HealthpointCapital are referred to as

 7 “Defendants.” The Stipulation is intended by the Settling Parties to fully, finally, and forever

 8 resolve, discharge, and settle the Released Claims, upon and subject to the terms and conditions

 9 hereof.

10 I.           INTRODUCTION AND PROCEDURAL OVERVIEW
11              A.     Initiation of the Action
12              On August 25, 2010 and November 30, 2010 respectively, Plaintiffs Patrick Fero and Ralph

13 Tuckfield filed shareholder derivative complaints in the California Superior Court for the County of

14 San Diego (the “Court”): Fero v. Kuyper, Case No. 37-2010-00058586-CU-BT-NC (the “Fero

15 Action”) and Tuckfield v. Kuyper, Case No. 37-2010-00062262-CU-BT-NC (the “Tuckfield

16 Action”).         Thereafter, on December 22, 2010, the Court consolidated the Fero and Tuckfield

17 Actions, and designated In re Alphatec Holdings, Inc. Derivative Shareholder Litigation, Lead Case

18 No. 37-2010-00058586-CU-BT-NC, as the lead case (the “Action”).

19              The operative Complaint in the Action asserts claims on behalf of Alphatec against

20 Defendants for, among other things, breaching their fiduciary duties of candor, loyalty and good

21 faith owed to Alphatec by acquiring Scient’x, S.A. (“Scient’x”) from Alphatec’s alleged controlling

22 shareholder, HealthpointCapital.         More specifically, the Complaint alleges that, in late 2009,

23 Alphatec announced the acquisition of Scient’x for $120.4 million in stock, despite Scient’x’s lack

24 of foreseeable profitability and its offering no significant benefit to Alphatec and/or its ongoing

25 business operations. The Complaint asserts that at the time of the transaction, five of the nine

26 members of the Alphatec Board of Directors (“Board”) were affiliated with HealthpointCapital,

27   1
         All capitalized terms not otherwise defined are defined in Section IV.1, infra.
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                                                        -1-
                                           STIPULATION OF SETTLEMENT
     920759_1
 1 then the owner of Scient’x. The Complaint further alleges that the Alphatec Board’s approval of the

 2 Scient’x acquisition was never in doubt, despite its likely adverse material effects on Alphatec.

 3              The Complaint asserts that in order to obtain approval of the Scient’x acquisition from

 4 Alphatec shareholders in connection with Alphatec’s announcement of the Scient’x acquisition,

 5 Defendants made allegedly false and misleading revenue and income projections for the combined

 6 company.

 7              According to the Complaint, after closing the Scient’x acquisition, Alphatec encountered

 8 severe problems integrating the international operations, personnel and products of Scient’x.

 9 Additionally, Alphatec was under significant pricing pressure. As a result, on August 5, 2010,

10 when Alphatec announced poor quarterly results and severely reduced revenue and income

11 guidance for the post-Scient’x acquisition combined companies, the trading price of Alphatec stock

12 collapsed.

13              B.     Discovery and Pretrial Proceedings
14              Discovery in the Action commenced in September 2010. On September 10, 2010, Plaintiff

15 Fero served a First Request for Production of Documents on Alphatec and HealthpointCapital,

16 seeking documents and information relevant to the derivative claims asserted in the Action. On

17 November 10, 2010, Alphatec and HealthpointCapital served objections to the document requests.

18 Thereafter, the meet and confer process regarding Plaintiffs’ discovery ensued.

19              Ultimately, however, the meet and confer process failed and law and motion practice

20 commenced. On April 29, 2011, Plaintiffs filed motions to compel the production of documents in

21 response to their First Requests. In their motions, Plaintiffs argued, among other things, that

22 Alphatec’s and HealthpointCapital’s objections to discovery lacked merit and only served to delay

23 the prosecution of the Action. While the motions were pending, on August 4, 2011, Defendants

24 filed a Motion to Stay the Action in favor of a pending federal securities class action filed in the

25 U.S. District Court for the Southern District of California (the “District Court”), entitled Mallen v.

26 Alphatec Holdings, Inc., Case No. 10-cv-1673-BEN(KSC) (the “Securities Action”). On August

27 15, 2011, Plaintiffs filed an Opposition to the Motion to Stay, arguing, among other things, that a

28
                                                      -2-
                                         STIPULATION OF SETTLEMENT
     920759_1
 1 stay would prejudice the derivative claims asserted in the Action. On August 26, 2011, the Court

 2 stayed the Action in favor of the Securities Action. On March 28, 2013, after the Securities Action

 3 was dismissed by the District Court, litigation in the Action resumed.

 4              C.     The Settlement Negotiations
 5              In May 2013, the Settling Parties began to renew efforts to explore resolution of the Action.

 6 The Settling Parties’ previous settlement negotiations failed to produce a resolution. Towards that

 7 end, on May 3, 2013, the Settling Parties jointly requested a stay of proceedings to explore

 8 settlement, which the Court granted. The Settling Parties also agreed to schedule an all-day

 9 mediation on August 7, 2013, with the Honorable Layn R. Phillips, United States District Judge

10 (Ret.). Judge Phillips is an experienced mediator with extensive experience in handling complex

11 representative actions, including shareholder derivative actions.

12              Before the mediation with Judge Phillips, the Settling Parties engaged in extensive

13 negotiations regarding a potential settlement. These negotiations included, among other things,

14 lengthy discussions concerning the Defendants’ alleged breaches of fiduciary duty and defenses

15 thereto. In addition, before the mediation, the Settling Parties also engaged in extensive briefing

16 regarding the merits of their respective claims and defenses for Judge Phillips.

17              Although the August 7, 2013 mediation did not produce a resolution, settlement

18 negotiations, under the supervision of Judge Phillips, continued until January 2014. The settlement

19 negotiations were hard-fought, and, at times, contentious. Ultimately, the Settling Parties, with the

20 substantial assistance of Judge Phillips, reached an agreement-in-principle to resolve the Action.

21              As a result of the Action and the settlement, reflected in this Stipulation (the “Settlement”),

22 Alphatec will institute significant Corporate Governance Reforms designed to enhance and improve

23 its internal controls and systems, as well as the effectiveness and responsiveness of the Alphatec

24 Board. The Settling Parties believe that a settlement at this juncture on the terms and on the

25 conditions set forth in the Stipulation is fair, reasonable, and adequate.

26              The Alphatec Board has, in its business judgment, approved the Settlement, and each of its

27 terms, as fair, just and adequate, and in the best interest of Alphatec and its shareholders.

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 1 II.          CLAIMS OF THE PLAINTIFFS AND BENEFITS OF SETTLEMENT

 2              Plaintiffs and their counsel believe that the claims asserted in the Action have merit.

 3 However, Plaintiffs and their counsel recognize and acknowledge the expense and length of

 4 continued proceedings necessary to prosecute the Action against the Defendants through trial and

 5 through appeals. Plaintiffs and their counsel have also taken into account the uncertain outcome

 6 and the risk of any litigation, especially in complex actions such as the Action, as well as the

 7 difficulties and delays inherent in such litigation. Plaintiffs and their counsel are also mindful of the

 8 inherent problems of proof and possible defenses to the claims asserted in the Action. Plaintiffs and

 9 their counsel believe that the Settlement set forth in the Stipulation confers substantial benefits upon

10 Alphatec and its shareholders. Based on their evaluation, Plaintiffs, their counsel and Alphatec

11 have determined that the Settlement set forth in this Stipulation is in the best interests of Alphatec

12 and its shareholders.

13 III.         DEFENDANTS’ DENIALS OF WRONGDOING AND LIABILITY
14              Defendants have denied and continue to deny each and every one of the claims, contentions,

15 and allegations made against them or that could have been made against them in the Action, and

16 expressly deny all charges of wrongdoing or liability against them. Defendants assert that they have

17 satisfied their fiduciary duties at all relevant times, have acted in good faith and in the best interests

18 of Alphatec and its shareholders, have meritorious defenses to Plaintiffs’ claims, and that judgment

19 should be entered dismissing all claims against them with prejudice. Defendants also have denied

20 and continue to deny, among other things, the allegations that Plaintiffs, Alphatec or its

21 shareholders have suffered damage, or that Plaintiffs, Alphatec or its shareholders were harmed by

22 the conduct alleged in the Action. Defendants have thus entered into the Stipulation solely to avoid

23 the continuing additional expense, inconvenience, and distraction of this litigation and to avoid the

24 risks inherent in the lawsuit, and without admitting any wrongdoing or liability whatsoever.

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 1 IV.          TERMS OF STIPULATION AND SETTLEMENT AGREEMENT

 2              NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among

 3 Plaintiffs (for themselves and derivatively on behalf of Alphatec), Defendants and Alphatec, by and

 4 through their respective counsel, as follows:

 5              1.     Definitions
 6              As used in the Stipulation, the following terms have the meanings specified below:

 7              1.1    “Action” means collectively the consolidated action pending in the Superior Court of

 8 California for the County of San Diego entitled In re Alphatec Holdings, Inc. Derivative

 9 Shareholder Litigation, Lead Case No. 37-2010-00058586-CU-BT-NC (Consolidated with Case

10 No. 37-2010-00062262-CU-BT-NC, pending in the Superior Court of California for the County of

11 San Diego).

12              1.2    “Alphatec” or the “Company” means nominal defendant Alphatec Holdings, Inc.,

13 and its predecessors, successors, subsidiaries, affiliates, divisions, and assigns.

14              1.3    “Complaints” means the shareholder derivative complaints filed in the Action.

15              1.4    “Court” means the Superior Court of California for the County of San Diego.

16              1.5    “Defendants” means the Individual Defendants, HealthpointCapital, and nominal

17 defendant Alphatec.

18              1.6    “Effective Date” means the first date by which all of the events and conditions

19 specified in ¶6.1 of this Stipulation have been met and have occurred.

20              1.7    “Final” means when the last of the following with respect to the Judgment (as

21 defined below in ¶1.10) shall have occurred: (i) either no appeal has been filed and the time has

22 passed for any notice of appeal to be timely filed in the Action; or (ii) an appeal has been filed and

23 the court of appeal has either affirmed the Judgment/dismissal or dismissed that appeal and the time

24 for any reconsideration or further appellate review has passed; or (iii) a higher court has granted

25 further appellate review and that court has either affirmed the underlying Judgment/dismissal or

26 affirmed the court of appeals’ decision affirming the Judgment/dismissal or dismissing the appeal.

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 1              1.8    “HealthpointCapital” means defendant HealthpointCapital LLC and its predecessors,

 2 successors, subsidiaries, affiliates, divisions, and assigns.

 3              1.9    “Individual Defendants” means defendants Dirk Kuyper, Peter C. Wulff, Mortimer

 4 Berkowitz, III, John H. Foster, R. Ian Molson, Stephen E. O’Neil, Stephen H. Hochschuler, James

 5 R. Glynn, Rohit M. Desai, and Siri S. Marshall.

 6              1.10   “Judgment” means the Order and Final Judgment to be rendered by the Court,

 7 substantially in the form attached hereto as Exhibit B.

 8              1.11   “Lead Counsel” means Robbins Arroyo LLP and Robbins Geller Rudman & Dowd

 9 LLP and their respective successor(s).

10              1.12   “Person” means an individual, corporation, limited liability corporation, professional

11 corporation, partnership, limited partnership, limited liability partnership, association, joint stock

12 company, estate, legal representative, trust, unincorporated association, government, or any political

13 subdivision or agency thereof, and any business or legal entity and their spouses, heirs,

14 predecessors, successors, representatives, or assignees.

15              1.13   “Plaintiffs” means Patrick Fero and Ralph Tuckfield, and their respective agents,

16 employees, representatives, spouses, marital communities, heirs, successors, subrogees, transferees,

17 and assignees.

18              1.14   “Plaintiffs’ Counsel” means any counsel that has appeared of record or rendered

19 legal services to any Plaintiffs in connection with the Action.

20              1.15   “Related Persons” means (as applicable): (i) Defendants’ respective spouses,

21 domestic partners, marital communities, heirs, successors, executors, estates, or administrators; any

22 entity in which a Defendant and/or member(s) of his or her family has or had a controlling interest;

23 any members of Defendants’ immediate family; or any trust of which any Defendant is or was the

24 settlor or which is or was for the benefit of any Defendant and/or member(s) of his or her family;

25 (ii) Defendants’ present and former attorneys, legal representatives, insurers, and assigns in

26 connection with the Action; (iii) HealthpointCapital Partners, L.P., HealthpointCapital Partners II,

27 L.P., and HCPII Co-Invest Vehicle II, LP, and all of their past or present members, partners, limited

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 1 partners, general partners, and investment funds; and (iv) all past and present directors, officers,

 2 partners, controlling shareholders, joint venturers, related or affiliated entities, advisors, employees,

 3 affiliates, predecessors, successors, parents, subsidiaries, divisions, assigns, insurers, and attorneys

 4 for Alphatec or HealthpointCapital, their respective counsel, or any entity in which either Alphatec

 5 or HealthpointCapital has a controlling interest.

 6              1.16   “Released Claims” shall collectively mean all claims (including “Unknown

 7 Claims”), debts, demands, rights, liabilities and causes of action of every nature and description

 8 whatsoever, known or unknown, whether or not concealed or hidden, asserted or that could have

 9 been asserted by Plaintiffs, by any shareholder on behalf of Alphatec, or by Alphatec, against each

10 and every Released Person (including, without limitation, claims for damages, interest, attorneys’

11 fees, expert or consulting fees and any other costs, expenses or liability, negligence, negligent

12 supervision, gross negligence, intentional conduct, indemnification, breach of duty of loyalty or

13 good faith, fraud, misrepresentation, unjust enrichment, constructive trust, breach of fiduciary duty,

14 negligent misrepresentation, unfair competition, insider trading, professional negligence,

15 mismanagement, corporate waste, breach of contract, or violations of any state or federal statutes,

16 rules or regulations) that were alleged in the Action, or that arise from or relate to the matters or

17 occurrences that were alleged in the Action, or that could have been asserted with respect to the

18 matters or occurrences that were alleged in the Action, for conduct through and including the date

19 on which this Stipulation is executed by all signatories, including, but not limited to, any claims by

20 Plaintiffs, Alphatec shareholders or Alphatec related to public disclosures relating to Alphatec’s

21 acquisition of Scient’x.

22              1.17   “Released Persons” means each of the Defendants and their Related Persons and

23 Alphatec.

24              1.18   “Settling Parties” means, collectively, each of the Defendants, Plaintiffs (on behalf

25 of themselves and derivatively on behalf of Alphatec), and Alphatec and its shareholders.

26              1.19   “Unknown Claims” means any of the Released Claims which Plaintiffs, Alphatec, or

27 Alphatec shareholders do not know or suspect to exist in his, her or its favor at the time of the

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 1 release of the Released Persons, including claims which, if known by him, her or it, might have

 2 affected his, her or its settlement with and release of the Released Persons, or might have affected

 3 his, her or its decision not to object to this Settlement. With respect to any and all Released Claims,

 4 the Settling Parties stipulate and agree that, upon the Effective Date, the Plaintiffs, Defendants, and

 5 Alphatec shall expressly waive and each of the Alphatec shareholders shall be deemed to have, and

 6 by operation of the Judgment shall have, expressly waived, the provisions, rights, and benefits of

 7 California Civil Code Section 1542, which provides:

 8                   A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
                CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
 9              FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
                BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
10              SETTLEMENT WITH THE DEBTOR.
11 Upon the Effective Date, Plaintiffs, Defendants, and Alphatec shall expressly waive, and each of the

12 Alphatec shareholders shall be deemed to have, and by operation of the Judgment shall have,

13 expressly waived any and all provisions, rights, and benefits conferred by any law of any

14 jurisdiction or any state or territory of the United States or any foreign jurisdiction, or principle of

15 common law, which is similar, comparable or equivalent to California Civil Code Section 1542.

16 Plaintiffs, Defendants, Alphatec, and Alphatec shareholders may hereafter discover facts in addition

17 to or different from those which he, she or it now knows or believes to be true with respect to the

18 subject matter of the Released Claims, but, upon the Effective Date, each Plaintiff, Defendant, and

19 Alphatec shall expressly settle and release, and each Alphatec shareholder shall be deemed to have,

20 and by operation of the Judgment shall have, fully, finally, and forever settled and released, any and

21 all Released Claims, known or unknown, suspected or unsuspected, contingent or non-contingent,

22 whether or not concealed or hidden, which now exist, or heretofore have existed upon any theory of

23 law or equity now existing or coming into existence in the future, including, but not limited to,

24 conduct which is negligent, intentional, with or without malice, or a breach of any duty, law or rule,

25 without regard to the subsequent discovery or existence of such different or additional facts. The

26 Settling Parties acknowledge, and the Alphatec shareholders shall be deemed by operation of the

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 1 Judgment to have acknowledged, that the foregoing waiver was separately bargained for and is a

 2 key element of the Settlement of which this release is a part.

 3              2.    Corporate Governance Reforms
 4              2.1   In connection with the settlement of the Action, Alphatec has agreed to adopt the

 5 Corporate Governance Reforms set forth below, which Alphatec shall implement and maintain for a

 6 period of not less than five (5) years. Alphatec and Defendants acknowledge and agree that the

 7 Action filed by Plaintiffs precipitated and was a material factor in the Corporate Governance

 8 Reforms described below. Alphatec and Defendants acknowledge and agree that the Corporate

 9 Governance Reforms confer a substantial benefit to Alphatec as part of the settlement of the Action.

10              2.2   Within thirty (30) days of the issuance of an Order approving the settlement of the

11 Action, the Alphatec Board shall adopt resolutions and amend committee charters to ensure

12 adherence to the following Corporate Governance Reforms. Additionally, the Board shall post the

13 Corporate Governance Reforms on Alphatec’s website within thirty (30) days of adoption and

14 maintain a current version of such policies on its website.

15                    CHANGES TO ALPHATEC HOLDINGS, INC. MANAGEMENT
16              2.3   The following individuals who served as directors of Alphatec during the time

17 periods relevant to the allegations of the Complaint, resigned: Mortimer Berkowitz resigned from

18 his position as Chairman of the Board but remains a Director; Dirk Kuyper resigned from his

19 position as Director; and Stephen H. Hochschuler resigned from his position as Director.

20              2.4   The following individuals, who served as senior executives of Alphatec during the

21 time periods relevant to the allegations of the Complaint, resigned: Dirk Kuyper (CEO) and Peter

22 Wulff (Senior VP of Strategic Initiatives).

23                                  SEPARATE CHAIRMAN AND CEO
24              2.5   The Board shall adopt a resolution by no later than June 30, 2014, that requires the

25 positions of CEO and Chairman to be held by separate persons beginning no later than June 30,

26 2015, or if the same person holds those positions, that a Lead Independent Director be appointed.

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 1                                   RELATED PARTY TRANSACTIONS

 2              2.6    Directors shall be prohibited from participating in any negotiations of transactions

 3 between the Company and any entity with which the director has a relationship that gives rise to an

 4 actual or apparent conflict of interest.

 5              2.7    All related-party transactions shall be subject to review and oversight by an

 6 independent committee of the Alphatec Board.

 7              2.8    The Board or a Committee of the Board shall engage an independent third party to

 8 conduct financial due diligence and valuations of all proposed Alphatec mergers, acquisitions, and

 9 investment transactions over $10 million.

10              2.9    All related party transactions of more than $250,000 are to be reviewed by at least

11 two independent directors or the Audit Committee no less than five days before consummation of

12 the proposed related party transaction, or upon agreement if less than five days between agreement

13 and consummation, and the independent directors’ approval or disapproval of the proposed related

14 party transaction are to be fully disclosed in the Company’s next annual or quarterly report

15 immediately following the approval or disapproval of the proposed related party transaction.

16              2.10   The adoption of amendments to the Code of Ethics for Senior Financial Officers in

17 2012, which amendments require that Senior Financial Officers report to the Chairman of the Audit

18 Committee any transaction that reasonably could be expected to give rise to a conflict of interest,

19 and produce, or cause to be produced, full, fair, accurate, timely, and understandable disclosure in

20 reports and documents that the Company files with or submits to the Securities and Exchange

21 Commission and in other public filings.

22                                                 DIRECTORS
23              2.11   A majority of the directors on the Board shall be independent as defined by

24 NASDAQ Rule 5605(a)(2), which, in relevant part, is set forth below.

25              “Independent Director” means a person other than an Executive Officer or employee
                of the Company or any other individual having a relationship which, in the opinion
26              of the Company’s board of directors, would interfere with the exercise of
                independent judgment in carrying out the responsibilities of a director. For purposes
27              of this rule, “Family Member” means a person’s spouse, parents, children and
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                siblings, whether by blood, marriage or adoption, or anyone residing in such person’s
 1              home. The following persons shall not be considered independent:
 2                     (A) a director who is, or at any time during the past three years was,
                       employed by the Company;
 3
                       (B) a director who accepted or who has a Family Member who accepted any
 4                     compensation from the Company in excess of $120,000 during any period of
                       twelve consecutive months within the three years preceding the determination
 5                     of independence, other than the following:
 6                            (i) compensation for board or board committee service;
 7                            (ii) compensation paid to a Family Member who is an employee
                              (other than an Executive Officer) of the Company; or
 8
                              (iii) benefits under a tax-qualified retirement plan, or non-
 9                            discretionary compensation.
10              Provided, however, that in addition to the requirements contained in this paragraph
                (B), audit committee members are also subject to additional, more stringent
11              requirements under Rule 5605(c)(2).
12                     (C) a director who is a Family Member of an individual who is, or at any time
                       during the past three years was, employed by the Company as an Executive
13                     Officer;
14                     (D) a director who is, or has a Family Member who is, a partner in, or a
                       controlling Shareholder or an Executive Officer of, any organization to which
15                     the Company made, or from which the Company received, payments for
                       property or services in the current or any of the past three fiscal years that
16                     exceed 5% of the recipient’s consolidated gross revenues for that year, or
                       $200,000, whichever is more, other than the following:
17
                              (i) payments arising solely from investments in the Company’s
18                            securities; or
19                            (ii) payments under non-discretionary charitable contribution
                              matching programs.
20
                       (E) a director of the Company who is, or has a Family Member who is,
21                     employed as an Executive Officer of another entity where at any time during
                       the past three years any of the Executive Officers of the Company serve on
22                     the compensation committee of such other entity; or
23                     (F) a director who is, or has a Family Member who is, a current partner of the
                       Company’s outside auditor, or was a partner or employee of the Company’s
24                     outside auditor who worked on the Company’s audit at any time during any
                       of the past three years.
25

26              2.12   The Audit, Compensation, and Nominating Committees of the Board shall be

27 comprised entirely of independent directors as defined by NASDAQ Rule 5605(a)(2).

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 1              2.13   The independent directors shall certify their independence in writing annually and

 2 will notify the Chairman of any change in status.

 3              2.14   The independent directors shall meet separately at least twice a year in conjunction

 4 with regularly scheduled meetings of the Board.

 5              2.15   The Board and all Board committees shall conduct an annual self-evaluation.

 6              2.16   The performance of the Chairman shall be evaluated annually by the Board.

 7              2.17   All directors shall attend at least three-fourths of Board meetings in any calendar

 8 year. Directors who fail to attend three-fourths of Board meetings in any calendar year must

 9 disclose in the annual proxy statement the reasons for their inability to attend.

10                                         DIRECTOR EDUCATION
11              2.18   During 2014, the Board shall have an educational session on corporate

12 governance/directors duties which will be led by an outside consultant hired for this purpose. This

13 can be done in conjunction with a regularly scheduled board meeting or in a separate session

14 specially set.

15                                           AUDIT COMMITTEE
16              2.19   The Chairman of the Audit Committee shall meet quarterly with the Company’s

17 Director of Internal Audit.

18              2.20   The Audit Committee shall review and discuss earnings press releases, and the

19 Chairman of the Audit Committee shall be required to give final approval of any earnings press

20 releases before they are made public.

21              2.21   The Audit Committee shall review financial information and earnings guidance

22 provided to analysts and credit rating agencies and make a recommendation to management and to

23 the Board.

24              2.22   The Audit Committee shall be directly responsible for the oversight of the registered

25 public accounting firm engaged to prepare or issue an audit report or perform other audit services.

26              2.23   The Audit Committee Report shall state that the Audit Committee has:

27                     (a)    reviewed and discussed the audit financial statements with management;

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 1                    (b)    discussed the matters that are required to be communicated by Statement on

 2 Auditing Standards No. 61, “Communications with Audit Committees” with the external auditor;

 3                    (c)    received the written disclosures and the letter from the external auditor on

 4 independence matters as required by ISB Standard No. 1, “Independence Discussions and Audit

 5 Committees”;

 6                    (d)    discussed independence issues with the external auditor; and

 7                    (e)    recommended to the Board that the audited financial statements be filed with

 8 the SEC.

 9              3.    Procedure for Implementing the Settlement
10              3.1   Promptly after execution of this Stipulation, Plaintiffs shall submit the Stipulation

11 and its Exhibits to the Court and shall apply for an order substantially in the form of Exhibit A

12 hereto, requesting the preliminary approval of the Settlement set forth in this Stipulation (the

13 “Preliminary Approval Order”), and approval for the dissemination of the Notice of Proposed

14 Settlement (“Notice”) substantially in the form of Exhibit A-1 hereto, which shall include the

15 general terms of the Settlement set forth in this Stipulation, including the general terms of the fees

16 and expenses to be paid to Plaintiffs’ Counsel and the date of the Settlement Hearing (as defined

17 below). Within five (5) business days of the issuance of the Preliminary Approval Order, Alphatec

18 shall cause the Stipulation and Notice to be filed with the SEC via a Form 8-K, shall publish the

19 Summary Notice of Proposed Settlement substantially in the form of Exhibit A-2 hereto, for one

20 day in Investor’s Business Daily, and shall post the Stipulation and Notice on Alphatec’s website

21 such that visitors to the “Investors” section of the website will readily find a hyperlink to the Notice.

22 All costs in providing notice will be paid by Alphatec.

23              3.2   Plaintiffs will request that after the notice is given, the Court hold a hearing (the

24 “Settlement Hearing”) and approve the settlement of the Action as set forth herein, including

25 payment of Plaintiffs’ Counsel’s attorneys’ fees and expenses in the amount negotiated by Lead

26 Counsel and Alphatec, with the assistance of the Honorable Layn R. Phillips (Ret.), following

27 negotiation of the Corporate Governance Reforms, and enter the Judgment.

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 1              4.    Releases

 2              4.1   Upon the Effective Date, Alphatec, Plaintiffs (acting on their own behalf and

 3 derivatively on behalf of Alphatec), and each of Alphatec’s shareholders (solely in their capacity as

 4 Alphatec shareholders) shall be deemed to have, and by operation of the Judgment shall have, fully,

 5 finally, and forever released, relinquished, and discharged the Released Claims against the Released

 6 Persons and any and all claims (including Unknown Claims) arising out of, relating to, or in

 7 connection with the defense, settlement or resolution of the Action against the Released Persons,

 8 provided that nothing herein shall in any way impair or restrict the rights of any Settling Party to

 9 enforce the terms of this Stipulation or the Judgment.

10              4.2   Upon the Effective Date, Alphatec, Plaintiffs (acting on their own behalf and

11 derivatively on behalf of Alphatec), and each of Alphatec’s shareholders (solely in their capacity as

12 Alphatec shareholders) will be forever barred and enjoined from commencing, instituting or

13 prosecuting any of the Released Claims or any action or other proceeding against any of the

14 Released Persons based on the Released Claims or any action or proceeding arising out of, related

15 to, or in connection with the settlement or resolution of the Action, provided that nothing herein

16 shall in any way impair or restrict the rights of any Settling Party to enforce the terms of this

17 Stipulation or the Judgment.

18              4.3   Upon the Effective Date, each of the Released Persons shall be deemed to have, and

19 by operation of the Judgment shall have, fully, finally, and forever released, relinquished, and

20 discharged each and all of the Plaintiffs, Plaintiffs’ Counsel, Alphatec, and all of the Alphatec

21 shareholders (solely in their capacity as Alphatec shareholders) from all claims (including Unknown

22 Claims) arising out of, relating to, or in connection with the institution, prosecution, assertion,

23 settlement or resolution of the Action or the Released Claims. Nothing herein shall in any way

24 impair or restrict the rights of any Settling Party to enforce the terms of this Stipulation or the

25 Judgment.

26              4.4   Nothing in this Stipulation constitutes or reflects a waiver or release of any rights or

27 claims of Defendants and/or Alphatec against their insurers, or their insurers’ subsidiaries,

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 1 predecessors, successors, assigns, affiliates, or representatives, including, but not limited to, any

 2 rights or claims by the Defendants and/or Alphatec under any directors’ and officers’ liability

 3 insurance or other applicable insurance coverage maintained by the Company. Nothing in this

 4 Stipulation constitutes or reflects a waiver or release of any rights or claims of the Defendants

 5 relating in any way to indemnification or advancement of attorneys’ fees relating to the Action or

 6 the Released Claims, whether under any written indemnification or advancement agreement, or

 7 under the Company’s charter, by-laws or operating agreement, or under applicable law.

 8              5.    Plaintiffs’ Counsel’s Attorneys’ Fees and Expenses
 9              5.1   After negotiating the Corporate Governance Reforms, Lead Counsel and Alphatec,

10 with the assistance of Judge Phillips, separately negotiated the attorneys’ fees and expenses that the

11 Company would pay to Plaintiffs’ Counsel. As a result of these negotiations, and in light of the

12 substantial benefits conferred upon Alphatec by Plaintiffs’ Counsel’s efforts, the Company has

13 agreed to pay $5,250,000 for Plaintiffs’ Counsel’s attorneys’ fees and expenses, subject to court

14 approval (the “Fees and Expenses”).

15              5.2   Within ten (10) calendar days of issuance of an Order by the Court finally approving

16 the Settlement, notwithstanding the existence of any timely filed objections to the Settlement, or

17 potential for appeal therefrom, Alphatec shall pay the Fees and Expenses to Robbins Arroyo LLP as

18 receiving agent for Plaintiffs’ Counsel, subject to Plaintiffs’ Counsel’s several obligation to make

19 appropriate refunds or repayment of the principal amount received and any accrued interest thereon

20 less taxes within five (5) business days if and when, as a result of any further Order of the Court,

21 appeal, further proceedings or remand, or successful collateral attack, the Settlement is not

22 approved or is overturned on appeal. The Fees and Expenses shall constitute full, complete, and

23 exclusive compensation for Plaintiffs’ Counsel’s efforts, fees, services, and expenses.

24              5.3   Defendants and their respective Related Persons shall have no responsibility for, and

25 no liability whatsoever with respect to, the fee allocation among Plaintiffs’ Counsel, and any other

26 Person who may assert a claim hereto, of any portion of the Fees and Expenses.

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                6.    Conditions of Settlement, Effect of Disapproval, Cancellation or
 1                    Termination
 2              6.1   The Effective Date is conditioned on the occurrence of all of the following events,

 3 and is the first date by which all of the following events and conditions have been met and have

 4 occurred:

 5                    (a)    Approval of the Settlement, and each of its terms, by the Alphatec Board;

 6                    (b)    Entry by the Court of the Judgment and an order approving the Settlement;

 7                    (c)    Payment of the Fees and Expenses; and

 8                    (d)    the Judgment has become Final.

 9              6.2   If any of the conditions specified in paragraph 6.1 are not met, then the Stipulation
10 shall be canceled and terminated subject to paragraph 6.3, unless the Settling Parties mutually agree

11 in writing to proceed with the Stipulation.

12              6.3   If for any reason the Effective Date of the Stipulation does not occur, the Fees and
13 Expenses paid to Plaintiffs’ Counsel and any and all interest accrued thereon since payment, shall

14 be returned to Alphatec within five (5) business days of said event. The return obligation set forth

15 in this paragraph is the several obligation of all Plaintiffs’ Counsel who have received a payment in

16 the Action.

17              7.    Additional Provisions
18              7.1   The Settling Parties (i) acknowledge that it is their intent to consummate this

19 Stipulation and Settlement; and (ii) agree to cooperate to the extent reasonably necessary to

20 effectuate and implement all terms and conditions of the Stipulation and the Settlement and to

21 exercise their best efforts to accomplish the foregoing terms and conditions of the Stipulation and

22 the Settlement.

23              7.2   The Settling Parties intend this Settlement to be a final and complete resolution of all

24 disputes between Plaintiffs, Defendants and Alphatec with respect to the Action. The Settlement

25 compromises claims that are contested and shall not be deemed an admission by any Settling Party

26 as to the merits of any claim, allegation or defense. The Settling Parties further agree that the

27 claims are being settled voluntarily after consultation with competent legal counsel. The Settling

28
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                                          STIPULATION OF SETTLEMENT
     920759_1
 1 Parties will request that the Judgment contain a finding that during the course of the litigation, the

 2 parties and their respective counsel at all times complied with the requirements of California Code

 3 of Civil Procedure Section 128.7, and all other similar laws.

 4              7.3   Neither the Stipulation (including any Exhibits attached hereto) nor the Settlement,

 5 nor any act performed or document executed pursuant to or in furtherance of the Stipulation or the

 6 Settlement: (a) is or may be deemed to be, or may be offered, attempted to be offered or used in any

 7 way by the Settling Parties as a presumption, a concession or an admission of, or evidence of, any

 8 fault, wrongdoing or liability of the Settling Parties or of the validity of any Released Claims; or (b)

 9 is intended by the Settling Parties to be offered or received as evidence or used by any other person

10 in any other actions or proceedings, whether civil, criminal or administrative. The Released Persons

11 may file the Stipulation and/or the Judgment in any action that may be brought against them in

12 order to support a defense or counterclaim based on principles of res judicata, collateral estoppel,

13 full faith and credit, release, standing, good faith settlement, judgment bar or reduction or any other

14 theory of claim preclusion or issue preclusion or similar defense or counterclaim, and any of the

15 Settling Parties may file the Stipulation and documents executed pursuant and in furtherance thereto

16 in any action to enforce the Settlement.

17              7.4   The Exhibits to this Stipulation are material and integral parts hereof and are fully

18 incorporated herein by this reference.

19              7.5   The Stipulation may be amended or modified only by a written instrument signed by

20 or on behalf of all Settling Parties or their respective successors-in-interest.

21              7.6   This Stipulation and the Exhibits attached hereto constitute the entire agreement

22 among the Settling Parties and no representations, warranties or inducements have been made to

23 any Settling Party concerning the Stipulation or any of its Exhibits other than the representations,

24 warranties, and covenants contained and memorialized in such documents. Except as otherwise

25 provided herein, each Settling Party shall bear its own costs.

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                                                      - 17 -
                                         STIPULATION OF SETTLEMENT
     920759_1
 1              7.7    Each counsel or other Person executing the Stipulation and/or the Exhibits attached

 2 hereto on behalf of any Settling Party hereby warrants that such Person has the full authority to do

 3 so.

 4              7.8    The Stipulation may be executed in one or more counterparts. A faxed signature or

 5 electronically scanned (in .pdf format) signature shall be deemed an original signature for the

 6 purposes of this Stipulation. All executed counterparts and each of them shall be deemed to be one

 7 and the same instrument. A complete set of counterparts, either originally executed or copies

 8 thereof, shall be filed with the Court.

 9              7.9    The Stipulation and the Settlement shall be binding upon, and inure to the benefit of,

10 the successors and assigns of the Settling Parties and the Released Persons.

11              7.10   The Court shall retain jurisdiction with respect to implementation and enforcement

12 of the terms of the Stipulation and the Settlement, and the Settling Parties submit to the jurisdiction

13 of the Court for purposes of implementing and enforcing the Stipulation and the Settlement.

14              7.11   This Stipulation and the Exhibits attached hereto shall be considered to have been

15 negotiated, executed, and delivered, and to be wholly performed, in the State of California, and the

16 rights and obligations of the parties to the Stipulation shall be construed and enforced in accordance

17 with, and governed by, the internal, substantive laws of the State of California without giving effect

18 to that state’s choice-of-law principles.

19              7.12   The Settling Parties hereby represent and warrant that they have not assigned any

20 rights, claims or causes of action that were asserted or could have been asserted in connection with,

21 under or arising out of the Released Claims.

22              7.13   All agreements made and orders entered during the course of the Action relating to

23 the confidentiality of information shall survive this Stipulation.

24              7.14   Without further order of the Court, the Settling Parties may agree to reasonable

25 extensions of time to carry out any of the provisions of this Stipulation.

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                                                       - 18 -
                                           STIPULATION OF SETTLEMENT
     920759_1
     1             IN WITNESS WHEREOF, the parties have caused the Stipulation to be executed, by their
 2 duly authorized attorneys, dated March 25, 2014.
 3                                                         ROBBINS ARROYO LLP
                                                           BRIAN J. ROBBINS
 4                                                         KEVIN A. SEELY
                                                           ASHLEY R. PALMER
 5
 6
                                                                        KE IN A. S ELY
 7
                                                          600 B Street, Suite 1900
 8                                                        San Diego, CA 92101
                                                          Telephone: (619) 525-3990
 9                                                        Facsimile: (619) 525-3991
10
11
12
13
14
15
16                                                        655 West Broadway, Suite 1900
                                                          San Diego, CA 92101
17                                                        Telephone: (619) 231-1058
                                                          Facsimile: (619) 231-7423
18
                                                          Lead Counsel for Plaintiffs
19
20                                                        LATHAM & WATKINS LLP
                                                          COLLEEN C. SMITH
21
22
23
                                                                      COLLEEN C. SMITH                    I
24                                                        12670 High Bluff Drive
                                                          San Diego, CA 92103
25                                                        Telephone: (858) 523-5400
                                                          Facsimile: (858) 523-5450
26
27
28
                                                       -19-
                                           STIPULATION OF SETTLEMENT
         9207591
EXHIBIT 13
                                                           F                                u
                                                              Clerk of the Sup&rior Court


                                                               AUG 1 8 2014
                                                         By          • RLAD, Deputy




                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                  COUNTY OF SAN DIEGO

In re ALPHATEC HOLDINGS, INC.              ) Case No. 37-2010-00058586-CU-BT-NC
DERIVATIVE SHAREHOLDER                     )
LITIGATION                                 ) (Consolidated with Case No. 37-2010-
                                           ) 00062262-CU-BT-NC)
                                           )
This Document Relates To:                  ) [PRget1=1:21 ORDER AND FINAL
                                           ) JUDGMENT
      ALL ACTIONS.                         )
                                           ) Judge: Jacqueline M. Stern
                                           ) Dept: N-27
                                           ) Date Action Filed: August 25, 2010
                                           )
                                           ) Hearing Date: August 15, 2014
                                           ) Hearing Time: 1:30 p.m.




                            [PROPOSED] ORDER AND FINAL JUDGMENT
        This matter came before the Court for hearing pursuant to the Order of this Court, dated April

25, 2014 ("Order"), on the motion of the parties for approval of the proposed settlement ("Settlement-)

set forth in the Stipulation of Settlement dated March 25, 2014, and the Exhibits thereto (the

"Stipulation").

        The Court has reviewed and considered all documents, evidence, objections (if any), and

arguments presented in support of or against the Settlement; the Court being fully advised of the

premises and good cause appearing therefore, the Court enters this Judgment.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

        1.        This Judgment incorporates by reference the definitions in the Stipulation, and all

capitalized terms used herein shall have the same meanings as set forth in the Stipulation.

        2.        This Court has jurisdiction over the subject matter of the Action, including all matters

necessary to effectuate the Settlement, and over all Settling Parties.

        3.        The Court finds that the Notice and Summary Notice provided to Alphatec Holdings.

Inc. ("Alphatec" or the "Company") shareholders constituted the best notice practicable under the

circumstances. The Notice and Summary Notice fully satisfied the requirements of California law and

due process.

        4.        The Court finds that, during the course of the litigation of the Action, the Settling Parties

and their respective counsel at all times complied with the requirements of California Code of Civil

Procedure Section 128.7, and all other similar laws.

        S.        The Court finds that the terms of the Stipulation and Settlement are fair, reasonable, and

adequate as to each of the Settling Parties, and hereby finally approves the Stipulation and Settlement in

all respects, and orders the Settling Parties to perfoi [II its terms to the extent the Settling Parties have

not already done so.

        6.        Pursuant to entry of this Judgment, the Action and all claims contained therein against

Defendants, as well as all of the Released Claims against each of the Defendants and their Related

Persons, are hereby dismissed with prejudice. As among the Plaintiffs, Defendants and Alphatec, the

parties are to bear their own costs, except as otherwise provided in the Stipulation.



                                                      -1-
                                [PROPOSED] ORDER AND FINAL JUDGMENT
        7.      Upon the Effective Date, as defined in the Stipulation, Alphatec, Plaintiffs (acting on

their own behalf and derivatively on behalf of Alphatec), and each of Alphatec's shareholders (solely in

their capacity as Alphatec shareholders) shall be deemed to have, and by operation of this Judgment

shall have, fully, finally, and forever released, relinquished, and discharged the Released Claims against

the Released Persons and any and all claims (including Unknown Claims) arising out of, relating to, or

in connection with, the defense, settlement or resolution of the Action against the Released Persons,

provided that nothing herein shall in any way impair or restrict the rights of any Settling Party to

enforce the terms of the Stipulation or this Judgment.

        8.      Upon the Effective Date, as defined in the Stipulation, Alphatec, Plaintiffs (acting on

their own behalf and derivatively on behalf of Alphatec), and each of Alphatec's shareholders (solely in

their capacity as Alphatec shareholders) shall be forever barred and enjoined from commencing,

instituting or prosecuting any of the Released Claims or any action or other proceeding against any of

the Released Persons based on the Released Claims or any action or proceeding arising out of, related

to, or in connection with the settlement or resolution of the Action, provided that nothing herein shall in

any way impair or restrict the rights of any Settling Party to enforce the terms of the Stipulation or this

Judgment.

        9.      Upon the Effective Date, as defined in the Stipulation, each of the Released Persons shall

be deemed to have, and by operation of this Judgment shall have, fully, finally, and forever released.

relinquished, and discharged each and all of the Plaintiffs, Plaintiffs' Counsel, Alphatec, and all of the

Alphatec shareholders (solely in their capacity as Alphatec shareholders) from all claims (including

Unknown Claims) arising out of, relating to, or in connection with, the institution, prosecution,

assertion, settlement or resolution of the Action or the Released Claims. Nothing herein shall in any

way impair or restrict the rights of any Settling Party to enforce the terms of the Stipulation or this

Judgment.

        10.     Nothing herein constitutes or reflects a waiver or release of any rights or claims of

Defendants and/or Alphatec against their insurers, or their insurers' subsidiaries, predecessors,

successors, assigns, affiliates, or representatives, including, but not limited to, any rights or claims by

the Defendants and/or Alphatec under any directors' and officers' liability insurance or other applicable

                                                   -2-
                              [PROPOSED] ORDER AND FINAL JUDGMENT
insurance coverage maintained by the Company. Nothing herein constitutes or reflects a waiver or

release of any rights or claims of the Defendants relating in any way to indemnification or advancement

of attorneys' fees relating to the Action or the Released Claims, whether under any written

indemnification or advancement agreement, or under the Company's charter, by-laws or operating

agreement, or under applicable law.

        11.     The Court hereby approves the Fees and Expenses in accordance with the Stipulation

and finds that such fee is fair and reasonable.

        12.     Neither the Stipulation nor the Settlement, nor any act performed or document executed

pursuant to or in furtherance of the Stipulation or the Settlement: (a) is or may be deemed to be, or may

be offered, attempted to be offered or used in any way by the Settling Parties or any other Person as a

presumption, a concession or an admission of, or evidence of, any fault, wrongdoing or liability of the

Settling Parties; or of the validity of any Released Claims; or (b) is intended by the Settling Parties to be

offered or received as evidence or used by any other person in any other actions or proceedings,

whether civil, criminal or administrative. The Released Persons may file the Stipulation and/or this

Judgment in any action that may be brought against them in order to support a defense or counterclaim

based on principles of res judicata, collateral estoppel, full faith and credit, release, standing, good faith

settlement, judgment bar or reduction or any other theory of claim preclusion or issue preclusion or

similar defense or counterclaim, and any of the Settling Parties may file the Stipulation and documents

executed pursuant and in furtherance thereto in any action to enforce the Settlement.

        13.     Without affecting the finality of this Judgment in any way, this Court hereby retains

continuing jurisdiction with respect to implementation and enforcement of the terms of the Stipulation.

        14.     In the event that the Settlement does not become effective in accordance with the terms

of the Stipulation, this Judgment shall be vacated, and all Orders entered and releases delivered in

connection with the Stipulation and this Judgment shall be null and void, except as otherwise provided

for in the Stipulation.




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                               [PROPOSED] ORDER AND FINAL JUDGMENT
         15.    This Judgment is a final, appealable judgment and should be entered forthwith by the

Clerk.

         IT IS SO ORDERED.


                AUG 1 8 2014                     JACQUELINE M. SM6.t 4
DATED:
                                             THE HONORABLE JACQUELINE M. STERN
                                             JUDGE OF THE SUPERIOR COURT


Submitted by:

ROBBINS ARROYO LLP
BRIAN J. ROBBINS
KEVIN A. SEELY
ASHLEY R. PALMER




600 B Street, Suite 1900
San Diego, CA 92101
Telephone: (619) 525-3990
Facsimile: (619) 525-3991

ROBBINS GELLER RUDMAN & DOWD LLP
TRAVIS E. DOWNS III
ELLEN GUSIKOFF STEWART
BENNY C. GOODMAN III
BRIAN 0. O'MARA
655 West Broadway, Suite 1900
San Diego, CA 92101
Telephone: (619) 231-1058
Facsimile: (619) 231-7423

Lead Counsel for Plaintiffs




972401




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                              [PROPOSED] ORDER AND FINAL JUDGMENT
EXHIBIT 14
   Case 1:20-cv-10964-MKV Document 43-18 Filed 06/10/22 Page 2 of 19




           McKinsey & Company




Investor Opinion Survey
                                                                       June 2000
                                                  Case 1:20-cv-10964-MKV Document 43-18 Filed 06/10/22 Page 3 of 19




M c Ki n s e y & C o m p a n y I n v e s t o r                                                                                                                     O pi ni o n                                 S ur v e y
o n C or p or at e G o v er n a n c e
I n cr e a s e d s h ar e h ol d er a cti vi s m i n t h e U. S. a n d el s e w h er e st e m s fr o m t h e c o n vi cti o n t h at b ett er c or p or at e g o v er n a n c e will d eli v er hi g h er s h ar e h ol d er r et ur n s.
Y et r e p e at e d att e m pt s b y a c a d e mi c s t o s h o w a n irr ef ut a bl e li n k b et w e e n t h e t w o h a v e f ail e d, s u c h i s t h e c o m pl e xit y of t h e r el ati o n s hi p.

Wit h t hi s i n mi n d, M c Ki n s e y & C o m p a n y c o n d u ct e d a s eri e s of s ur v e y s t o di s c o v er h o w s h ar e h ol d er s p er c ei v e a n d, i m p ort a ntl y,         v al u e c or p or at e g o v er n a n c e i n
b ot h d e v el o p e d a n d e m er gi n g m ar k et s.      U n d ert a k e n i n c o- o p er ati o n wit h t h e W orl d B a n k a n d t h e I n stit uti o n al I n v e st or' s r e gi o n al i n stit ut e s, t h e s ur v e y s
g at h er e d r e s p o n s e s a b o ut i n v e st m e nt i nt e nti o n s fr o m o v er 2 0 0 i n stit uti o n al i n v e st or s, w h o t o g et h er m a n a g e a p pr o xi m at el y U S $ 3. 2 5 trilli o n i n a s s et s. F ort y
p er c e nt of t h e r e s p o n d e nt s w er e b a s e d i n t h e U. S.




A m o n g t h e k e y fi n di n g s f r o m t h e s u r v e y s d e t ail e d i n t hi s p a m p hl e t a r e t h e f oll o wi n g :
•        T hr e e- q u art er s of i n v e st or s s a y b o ar d pr a cti c e s ar e at l e a st a s i m p ort a nt t o t h e m a s fi n a n ci al p erf or m a n c e w h e n t h e y ar e e v al u ati n g c o m p a ni e s f or
         i n v e st m e nt. I n L ati n A m eri c a, al m o st h alf t h e r e s p o n d e nt s c o n si d er b o ar d pr a cti c e s t o b e m or e i m p ort a nt t h a n fi n a n ci al p erf or m a n c e.

•        O v er 8 0 p er c e nt of i n v e st or s s a y t h e y w o ul d p a y m or e f or t h e s h ar e s of a w ell- g o v er n e d c o m p a n y t h a n f or t h o s e of a p o orl y g o v er n e d c o m p a n y wit h
         c o m p ar a bl e fi n a n ci al p erf or m a n c e. ( F or t h e p ur p o s e of t h e s ur v e y s, a w ell- g o v er n e d c o m p a n y i s d efi n e d a s h a vi n g a m aj orit y of o ut si d e dir e ct or s o n t h e
         b o ar d wit h n o m a n a g e m e nt ti e s; h ol di n g f or m al e v al u ati o n s of dir e ct or s; a n d b ei n g r e s p o n si v e t o i n v e st or r e q u e st s f or i nf or m ati o n o n g o v er n a n c e i s s u e s.
         I n a d diti o n, dir e ct or s h ol d si g nifi c a nt st o c k h ol di n g s i n t h e c o m p a n y, a n d a l ar g e pr o p orti o n of dir e ct or s' p a y i s i n t h e f or m of st o c k o pti o n s.)

•        T h e a ct u al pr e mi u m i n v e st or s s a y t h e y w o ul d b e willi n g t o p a y f or a w ell- g o v er n e d c o m p a n y diff er s b y c o u ntr y. F or e x a m pl e, i n v e st or s s a y t h e y w o ul d
         p a y 1 8 p er c e nt m or e f or t h e s h ar e s of a w ell- g o v er n e d U K c o m p a n y t h a n f or t h e s h ar e s of a c o m p a n y wit h si mil ar fi n a n ci al p erf or m a n c e b ut p o or er
         g o v er n a n c e pr a cti c e s. T h e y w o ul d b e willi n g t o p a y a 2 2 p er c e nt pr e mi u m f or a w ell- g o v er n e d It ali a n c o m p a n y, a n d a 2 7 p er c e nt pr e mi u m f or o n e i n
         V e n e z u el a or I n d o n e si a.




                                                                                                                                                                                                          M c Ki n s e y I n v e st or O pi ni o n S ur v e y

                                                                                                                                                                                                                                                                1
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    Interpreting the results
    The fact that so many investors say board governance is as important as financial performance points to the poor quality of financial reporting in many
    countries. The priority of investors the world over is that their investments grow. Yet in Asia and Latin America, where financial reporting is both limited
    and often of poor quality, investors prefer not to put their trust in figures alone. They believe their investments will be better protected by well-governed
    companies that respect shareholder rights. In Europe and the U.S., where accounting standards are higher, the relative importance of corporate
    governance is lower.

    The size of the premium that institutional investors say they are willing to pay for good governance seems to reflect the extent to which they believe there is
    room for improvement.

    For example, the lower premiums for UK and US companies suggest that investors feel these companies have already addressed many fundamental
    governance issues. They can improve by fine-tuning current practices, and identifying innovative ways to raise governance standards still further.

    The premiums in continental Europe suggest that, in addition to improved corporate governance at board level, there is a need for more effective disclosure of
    information to shareholders concerning governance practices and financial issues.

    In Asia and Latin America, still higher premiums reflect the need for more fundamental disclosure of information, and stronger shareholder rights. In Latin
    America, for instance, local investors say better disclosure is the main concern, while foreign investors see shareholder rights as the priority. For them, the
    value of more information is undermined if they cannot influence board or management decisions.




    McKinsey Investor Opinion Survey

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Meeting the Corporate Governance Challenge
Although it remains difficult to measure the impact on market prices of the premiums investors say they are willing to pay for well-governed companies, the
amounts they are prepared to pay leave little doubt that good governance does feed through. Precise measurement apart, the fact that a majority of investors
say they already take corporate governance into account when making investment decisions is a powerful argument in favour of corporate governance reform.

Companies and policy makers should take heed. If companies could capture but a small proportion of the governance premium that is apparently available,
they would create significant shareholder value. Moreover, those companies that fail to reform will find themselves at a competitive disadvantage when it
comes to attracting capital to finance growth. High governance standards will prove essential to attracting and retaining investors in globalized capital markets,
while failure to reform is likely to hinder those companies with global ambitions.

Companies should therefore improve their board practices and board and management incentives. The surveys make clear where investors' priorities lie in
these areas. In addition, companies should promote better relationships with all their shareholders.

Policy makers wishing to attract more foreign investors should also play their part, as companies alone cannot produce the magnitude of change that is
necessary, particularly in emerging markets. At the regulatory level, the corporate governance framework should encourage governance reforms or, at the very
least, not hinder them.

Improved disclosure of information and stronger shareholder rights appear to be the most appropriate target areas for policy makers, who must also take into
account what may well be different priorities of both domestic and foreign investors.

However, it would be wrong to conclude from the survey that good corporate governance is a simple issue. An effective board of directors is a combination of
the right people, the right structure, and the right procedures. Determining what is appropriate for each individual company is the real challenge. Likewise,
policy changes are likely to impact countries differently depending on existing cultural and economic practices. Each company and country needs to consider its
own circumstances before deciding the best way to improve corporate governance.




Paul Coombes
Director, London Office


                                                                                                                                       McKinsey Investor Opinion Survey

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    I n v e s t o r O pi ni o n S u r v e y
    •          L ati n A m eri c a

               – U n d ert a k e n M ar c h/ A pril 2 0 0 0 i n c o o p er ati o n wit h T h e W orl d B a n k Gr o u p

               – 9 0 r e s p o n d e nt s wit h a n e sti m at e d U S $ 1, 6 5 0 b + a s s et s u n d er m a n a g e m e nt

               – 7 0 % of r e s p o n d e nt s h a d i n v e st e d i n L ati n A m eri c a

    •          E ur o p e/ U S

               – U n d ert a k e n O ct o b er/ N o v e m b er 1 9 9 9 i n c o o p er ati o n wit h t h e I n stit uti o n al I n v e st or' s U. S. I n stit ut e a n d E ur o p e a n I n stit ut e

               – 4 2 r e s p o n d e nt s wit h a n e sti m at e d U S $ 5 5 0 b + a s s et s u n d er m a n a g e m e nt

               – 9 5 % of r e s p o n d e nt s h a d i n v e st e d i n E ur o p e a n d t h e U. S.

    •          A si a

               – U n d ert a k e n S e pt e m b er/ O ct o b er 1 9 9 9 i n c o o p er ati o n wit h t h e I n stit uti o n al I n v e st or' s A si a P a cifi c I n stit ut e

               – 8 4 r e s p o n d e nt s wit h a n e sti m at e d U S $ 1, 0 5 0 b + a s s et s u n d er m a n a g e m e nt

               – 8 2 % of r e s p o n d e nt s h a d i n v e st e d i n A si a




    *    All p o st al s ur v e y s. L ati n A m eri c a s ur v e y al s o w e b- b a s e d. S o m e q u e sti o n s di d n ot a p p e ar o n all s ur v e y s. P er c e nt a g e s gi v e n e x cl u d e n o n-r e s p o n s e s

    M c Ki n s e y I n v e st or O pi ni o n S ur v e y

4
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Respondents’ profiles




*   For Europe/US and Asia surveys, highest category was US$25b+

                                                                                                           McKinsey Investor Opinion Survey

                                                                                                                                              5
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    Board practices are important in selecting companies
    in which to invest . . .




    McKinsey Investor Opinion Survey

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. . . but as seen in Latin America, views differ by
origin of investor




                                                                               McKinsey Investor Opinion Survey

                                                                                                                  7
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    Are investors willing to pay more for a company with
    good board governance practices?




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A clear majority say yes
%




                                                                                McKinsey Investor Opinion Survey

                                                                                                                   9
                                        Case 1:20-cv-10964-MKV Document 43-18 Filed 06/10/22 Page 12 of 19




     The average premium investors would be willing to
     pay differs by country . . .
     Average %




     McKinsey Investor Opinion Survey

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. . . and differs between local and foreign investors
Average %




*   Defined as those based in the local region

                                                                                                             McKinsey Investor Opinion Survey

                                                                                                                                                11
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     Investors agree on the important board tasks* . . .
     Average response




     *   The list of board tasks was predefined. Investors were asked to rank their importance

     McKinsey Investor Opinion Survey

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. . . and on how to improve board performance*
Average response




*   The list of practices was predefined. Investors were asked to rate their impact on board performance

                                                                                                             McKinsey Investor Opinion Survey

                                                                                                                                                13
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     Shareholder rights rank as the most important
     corporate governance issue in Latin America
     Question: for Latin America, please rank the following corporate governance issues
     %




     McKinsey Investor Opinion Survey

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But priorities for local and foreign investors differ
%




*   Defined as those based in the local region

                                                                                                             McKinsey Investor Opinion Survey

                                                                                                                                                15
                                        Case 1:20-cv-10964-MKV Document 43-18 Filed 06/10/22 Page 18 of 19
     A p p e n d i x
     Investors’ willingness to pay a premium for a well-
     governed company by country
     %




     McKinsey Investor Opinion Survey

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                          Case 1:20-cv-10964-MKV Document 43-18 Filed 06/10/22 Page 19 of 19




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              B ar c el o n a                   Geneva                   M o ntr e al                Sili c o n V all e y
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EXHIBIT 15
 Case 4:11-cv-04248-PJH Document 164 Filed 03/01/15 Page 1 of 13



                                                PAGES 1 - 13

                    UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

 IN RE GOOGLE INC.               )    NO. C-11-4248 PJH
 SHAREHOLDER DERIVITIVE          )
 LITIGATION,                     )
 ____________________________)
 CITY OF ORLANDO POLICE          )
 FUND,                           )
                                 )
             PLAINTIFF,          )     NO. C-13-2038 PJH
                             )
   VS.                       )         WEDNESDAY, JANUARY 21, 2015
                             )
 LAWRENCE E. PAGE, ET AL.,   )         OAKLAND, CALIFORNIA
                             )
            DEFENDANTS.      )         FAIRNESS HEARING
 ____________________________)

         BEFORE THE HONORABLE PHYLLIS J. HAMILTON, JUDGE

                REPORTER'S TRANSCRIPT OF PROCEEDINGS

 APPEARANCES:

 FOR PLAINTIFF:             ROBBINS ARROYO, LLP
 (BOTH CASES)               600 B STREET, SUITE 1900
                            SAN DIEGO, CALIFORNIA 942101
                      BY:   FELIPE J. ARROYO, ESQUIRE

                            PMERANTZ, LLP
                            600 THIRD AVENUE
                            NEW YORK, NEW YORK 10016
                      BY:   MARC I. GROSS, ESQUIRE


                      (APPEARANCES CONTINUED)


 REPORTED BY:               DIANE E. SKILLMAN, CSR 4909, RPR, FCRR
                            OFFICIAL COURT REPORTER


      TRANSCRIPT PRODUCED BY COMPUTER-AIDED TRANSCRIPTION




DIANE E. SKILLMAN, OFFICIAL COURT REPORTER, USDC (510) 451-2930
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 1    FOR PLAINTIFF:             ROBBINS GELLER RUDMAN & DOWD, LLP
      (C-11-4248 ONLY)           655 WEST BROADWAY, STE. 1900
 2                               SAN DIEGO, CALIFORNIA 92101
                           BY:   TRAVIS E. DOWNS III, ESQUIRE
 3                               BENNY C. GOODMAN, III, ESQUIRE

 4

 5    FOR PLAINTIFF:             ABRAHAM, FRUCHTER & TWERSKY, LLP
      (C-13-2038 ONLY)           12526 HIGH BLUFF DRIVE, STE. 300
 6                               SAN DIEGO, CALIFORNIA 92130
                           BY:   IAN D. BERG, ESQUIRE
 7

 8

 9    FOR DEFENDANTS:            WILSON, SONSINI, GOODRICH & ROSATI
      (BOTH CASES)               650 PAGE MILL ROAD
10                               PALO ALTO, CALIFORNIA 94304
                           BY:   BORIS FELDMAN, ESQUIRE
11                               ELIZABETH C. PETERSON, ESQUIRE

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      Case 4:11-cv-04248-PJH Document 164 Filed 03/01/15 Page 3 of 13   3



 1    WEDNESDAY, JANUARY 21, 2015                               9:02 A.M.

 2                            P R O C E E D I N G S

 3               THE CLERK:    CALLING RELATED CIVIL CASE NUMBERS

 4    11-4248 IN RE GOOGLE SHAREHOLDER DERIVATIVE LITIGATION AND

 5    13-2038 CITY OF ORLANDO POLICE PENSION FUND VERSUS PAGE, ET

 6    AL.

 7          COUNSEL, PLEASE STEP FOR THE RECORD AND STATE YOUR

 8    APPEARANCES.

 9              MR. GOODMAN:     GOOD MORNING, YOUR HONOR.      I'M BENNY

10    GOODMAN WITH ROBBINS GELLER RUDMAN & DOWD ON BEHALF OF

11    PLAINTIFFS IN THE 11-4248 CASE.

12              THE COURT:     GOOD MORNING.

13              MR. BERG:     GOOD MORNING, YOUR HONOR.      IAN BERG OF

14    ABRAHAM, FRUCHTER & TWERSKY ON BEHALF OF PLAINTIFF CITY OF

15    ORLANDO POLICE PENSION FUND.

16              THE COURT:     GOOD MORNING.

17              MR. ARROYO:     GOOD MORNING, YOUR HONOR.      FELIPE

18    ARROYO.   AS -- WITH ROBBINS ARROYO.       AS WITH MR. GOODMAN, I'M

19    HERE ON THE 4:11-CV-04248 MATTER AS WELL.

20              THE COURT:     THANK YOU.

21              MR. GROSS:     GOOD MORNING, YOUR HONOR.      MARC GROSS,

22    POMERANTZ LAW FIRM IN NEW YORK CITY, ON BEHALF OF THE

23    PLAINTIFFS IN THE DERIVATIVE ACTION.

24              THE COURT:     ALL RIGHT.

25              MR. DOWNS:     GOOD MORNING, YOUR HONOR.      TRAVIS DOWNS,


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      Case 4:11-cv-04248-PJH Document 164 Filed 03/01/15 Page 4 of 13   4



 1    ROBBINS GELLER, ON BEHALF OF PLAINTIFFS.

 2                THE COURT:     GOOD MORNING.

 3                MS. PETERSON:     GOOD MORNING, ELIZABETH PETERSON ON

 4    BEHALF OF ALL OF THE DEFENDANTS IN BOTH CASES.

 5          I WOULD NOTE THAT MY PARTNER, BORIS FELDMAN, JUST TEXTED

 6    ME.   HE IS ON HIS WAY.       HE'S JUST PARKING, BUT WILL BE HERE

 7    SHORTLY.

 8                THE COURT:     ALL RIGHT.   GOOD MORNING.

 9          ALL RIGHT.   THIS MATTER IS ON FOR HEARING ON THE FINAL

10    APPROVAL REQUEST IN THIS MATTER.           I'VE REVIEWED THE PAPERS.

11          IS THERE ANYTHING YOU WISH TO ADD, COUNSEL, FOR

12    PLAINTIFFS?

13                MR. GOODMAN:     THANK YOU, YOUR HONOR.

14          AS YOU KNOW, WE WERE HERE IN NOVEMBER LAST YEAR AND YOUR

15    HONOR GRANTED PRELIMINARY APPROVAL.          UPON GRANTING PRELIMINARY

16    APPROVAL, YOUR HONOR, WE ISSUED NOTICE PURSUANT TO YOUR ORDER,

17    AN 8-K FILED WITH THE SEC, NOTICE ON GOOGLE'S WEBSITE, AND

18    PUBLICATION IN THE INVESTORS BUSINESS DAILY OVER A 30-DAY

19    PERIOD, YOUR HONOR.        AND THAT WAS SUBMITTED -- MS. PETERSON

20    HAS A DECLARATION WITH THE COURT THAT HAS ALL THAT INFORMATION

21    IN THERE.     DOCKET NUMBER 110, YOUR HONOR.

22          THE NOTICES SET FORTH THE TERMS OF THE SETTLEMENT, THE

23    USER SAFETY INITIATIVE, THE FUNDING COMMITMENT, AND ALL OF THE

24    CORPORATE CHANGES AT THE COMPANY, YOUR HONOR, INCLUDING THINGS

25    SUCH AS TERMINATION WITHOUT SEVERANCE FOR PEOPLE CONVICTED OF


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 1    A FELONY, CLOSER OVERSIGHT BY THE AUDIT COMMITTEE OF THE

 2    ADVERTISING POLICIES AT GOOGLE.

 3        NOW, THE FINANCIAL PRESS, YOUR HONOR, FROM THE VERY

 4    BEGINNING TO THE VERY END OF THIS SETTLEMENT PROCESS WE'VE

 5    BEEN IN HAS ALSO BEEN REPORTING ON THE ISSUE FROM PRELIMINARY

 6    APPROVAL NOTICING THAT -- YOU KNOW, REPORTING THAT THE

 7    SETTLEMENT HAD BEEN SUBMITTED TO THE COURT, YOUR HONOR'S

 8    PRELIMINARY APPROVAL ORDER.      THEY DIDN'T SPEAK AS SPECIFICALLY

 9    AS THE NOTICES DID, BUT THEY SPOKE GENERALLY OF THE TERMS OF

10    THE SETTLEMENT AND ESPECIALLY THE ESI, YOUR HONOR.

11        NOW, ONE OF THE THINGS THAT'S IMPORTANT TO NOTE HERE IS WE

12    HAVE NOT RECEIVED ANY NEGATIVE SHAREHOLDER COMMENTS.              JUDGE

13    FOGEL IN THE RAMBUS CASE, YOUR HONOR, EXPLAINED THAT THAT

14    MIGHT BE ONE OF THE IMPORTANT MEASURES HERE WHETHER A

15    SETTLEMENT SHOULD BE APPROVED.

16        AND IT'S ALSO IMPORTANT TO NOTE THAT THERE'S A LOT OF BIG

17    INSTITUTIONAL HOLDERS, YOUR HONOR, HOLDING BILLIONS OF DOLLARS

18    OF GOOGLE STOCK, AND YET WE STILL HAVE NO NEGATIVE COMMENTS

19    FROM SHAREHOLDERS.     SO IT APPEARS THAT SHAREHOLDERS AGREE THAT

20    THE SETTLEMENT IS IN THE BEST INTEREST OF THE COMPANY.

21        AND UNLESS YOUR HONOR HAS FURTHER QUESTIONS, I WOULD

22    RESPECTFULLY REQUEST YOU FULLY APPROVE THE SETTLEMENT.

23              THE COURT:     ALL RIGHT.   ANYTHING FROM THE DEFENSE?

24              MR. FELDMAN:     YOUR HONOR, I JUST WANTED TO ENTER A

25    BELATED 880 APPEARANCE.      I'M SORRY.    BORIS FELDMAN FOR THE


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 1    DEFENDANT.

 2              THE COURT:     GOOD MORNING.    DID YOU WANT TO ADD

 3    ANYTHING TO THE PRESENTATION MADE BY PLAINTIFF'S COUNSEL?

 4              MR. FELDMAN:     NO, YOUR HONOR.    THANK YOU.

 5              THE COURT:     ALL RIGHT.   AND IS THERE -- WELL, I DO

 6    FIND IT REMARKABLE THAT THERE WERE NO OBJECTIONS, COMMENTS,

 7    ANYTHING WITH RESPECT TO THE NATURE OF THE SETTLEMENT, AND,

 8    INDEED, I AGREE WITH JUDGE FOGEL THAT THAT CERTAINLY SPEAKS

 9    LOUDLY IN FAVOR OF A FINDING THAT THE SETTLEMENT IS A

10    REASONABLE ONE.

11        WITH REGARD TO THE REQUEST FOR FEES, DID YOU WISH TO BE

12    HEARD ON THAT AT ALL?      I DO NOTE THAT IT CERTAINLY EXCEEDS

13    WHAT YOU ALL BELIEVE IS THE LODESTAR, CORRECT?

14              MR. GOODMAN:     YES, YOUR HONOR.    THE FEES, YOUR HONOR,

15    ARE -- YOUR HONOR HAS AN OBLIGATION UNDER 23.1 TO ADDRESS THE

16    FEE ISSUE, OF COURSE.      AND, YOUR HONOR, I THINK THAT THE FEES

17    HERE ARE THE PROPER FEES.      WE NEGOTIATED THE FEES AFTER WE HAD

18    SUBSTANTIVELY REACHED THE TERMS OF THE SETTLEMENT, AND WITH

19    THE HELP OF JUDGE PHILLIPS, WHO WAS OUR MEDIATOR, WE

20    NEGOTIATED THE SETTLEMENT -- THE ATTORNEY'S FEES AFTER, AS

21    PART OF THE SETTLEMENT.

22        NOW, THE FEES IN THIS ACTION, YOUR HONOR, THEY WERE

23    NEGOTIATED BECAUSE OF THE SUBSTANTIAL BENEFIT THIS SETTLEMENT

24    BRINGS TO GOOGLE.      THIS SETTLEMENT, YOUR HONOR, IS A GAME

25    CHANGER, I THINK.      THE USER-SAFETY INITIATIVE IS GOING TO


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 1    REALLY MAKE A HUGE IMPACT AND IT'S A SCALABLE IMPACT.             IN

 2    OTHER WORDS, ALL OF THE PROBLEMS THAT WE HAVE BEEN HERE

 3    COMPLAINING ABOUT, THE ADVERTISING PROBLEMS WITH THE ROGUE

 4    PHARMACIES, THESE ARE ADDRESSED BY THIS USER-SAFETY INITIATIVE

 5    IN A MULTIFACETED WAY.     AND IT DOESN'T -- THESE KIND OF

 6    ISSUES, THESE KIND OF POLICIES AND PROCEDURES, THESE CHANGES

 7    THAT ARE GOING TO BE ADDRESSING THE ROGUE PHARMACY ISSUES

 8    COULD GO TO ANY DANGEROUS PRODUCT THAT'S ADVERTISING WITH

 9    GOOGLE.

10        AND WE BELIEVE THAT THE FEES WERE APPROPRIATE BASED ON THE

11    SUBSTANTIAL BENEFIT, YOUR HONOR.       THERE'S A LOT OF ISSUES WE

12    LOOK AT WHEN WE ARE TALKING ABOUT THE SETTLEMENT AND

13    ESPECIALLY THE ATTORNEY'S FEES, YOUR HONOR, AND I WOULD LIKE

14    TO POINT OUT A FEW THAT I THINK ARE IMPORTANT.

15        ONE IS THE FACT THAT THIS IS NOT A CLASS ACTION WHERE

16    THERE'S UNREPRESENTED CLASS MEMBERS.        THIS IS A SHAREHOLDER

17    DERIVATIVE ACTION WHERE THERE'S EXPERIENCED COUNSEL ON BOTH

18    SIDES.    WILSON, SONSINI, YOUR HONOR, AND THEIR LAWYERS ARE

19    FORMIDABLE SHAREHOLDER DERIVATIVE PRACTICE AND THEY HAVE BEEN

20    DOING IT FOR MANY YEARS.      AND ON OUR SIDE, WE'VE GOT DECADES

21    OF EXPERIENCE IN THESE SHAREHOLDER DERIVATIVE ACTIONS.            WE

22    WERE DEALING WITH GOOGLE, YOUR HONOR, A SOPHISTICATED ENTITY

23    THAT UNDERSTANDS WHAT IT WAS DEALING WITH, HAS COUNSEL

24    EXPLAINING TO IT WHAT THIS IMPACT OF THE SETTLEMENT WAS, HOW

25    THE SETTLEMENT BENEFITS THE COMPANY, AND THERE IS AN


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 1    INDEPENDENT SPECIAL COMMITTEE ON THE BOARD OF DIRECTORS, YOUR

 2    HONOR, THAT APPROVED THE SETTLEMENT AND USED THEIR BUSINESS

 3    JUDGMENT TO DETERMINE THAT THIS SETTLEMENT IS IN THE BEST

 4    INTEREST OF THE COMPANY AND PROVIDES A SUBSTANTIAL BENEFIT.

 5    AND IN LIGHT OF THAT BENEFIT, THE FEES WERE APPROPRIATE.

 6        IT'S NOT LIKE, YOUR HONOR, AS WE WERE NEGOTIATING, WE MADE

 7    A DETERMINATION OR WE MADE A NEGOTIATION WITH DEFENDANTS AND

 8    SAID, LOOK, WE SPENT "X" AMOUNT OF HOURS AND WE EXPECT "X"

 9    AMOUNT OF FEES.    WE TALKED ABOUT THE BENEFIT THAT ALL OF THE

10    SETTLEMENT AS A PACKAGE BROUGHT TOGETHER, AND WE NEGOTIATED

11    FROM THAT PERSPECTIVE, YOUR HONOR.

12        NOW, THE BUSINESS JUDGMENT RULE, I THINK, IS IMPORTANT

13    HERE, JUDGE, BECAUSE THE INDEPENDENT DIRECTORS THERE'S --

14    MS. PETERSON SUBMITTED A DECLARATION WITH TWO RESOLUTIONS.

15        NOW ONE OF THE RESOLUTIONS WAS AUTHORIZING THE FORMATION

16    OF THE INDEPENDENT COMMITTEE AND GIVING THEM THE POWER TO

17    DETERMINE WHETHER THE SETTLEMENT SHOULD BE APPROVED OR NOT.

18    THE OTHER ONE WAS THE RESOLUTION AFTER WE HAD NEGOTIATED THE

19    SETTLEMENT, IT WAS PRESENTED TO THE SPECIAL COMMITTEE, AND

20    THEY WERE ASKED TO APPROVE OR DISPROVE THE SETTLEMENT.

21        AND THE RESOLUTION SAYS -- THERE'S A BUNCH OF WHEREAS

22    CLAUSES TALKING ABOUT THE USER-SAFETY INITIATIVE AND HOW IT'S

23    GOING TO HELP.    BUT AT THE END, IT SAYS:

24              "WHEREAS, THE INDEPENDENT DIRECTORS, THEREFORE,

25              BELIEVE THE USER-SAFETY INITIATIVE WILL SUBSTANTIALLY


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 1              BENEFIT GOOGLE AND ITS SHAREHOLDERS, PARTICULARLY

 2              WITH REGARD TO GOOGLE'S ENDEAVOR TO FRUSTRATE THE

 3              EFFORTS OF CERTAIN PARTIES WHO ENGAGE IN ILLEGAL AND

 4              DANGEROUS ONLINE ACTIVITIES", THE CORE OF THE CASE.

 5        THEN THERE'S A PARAGRAPH THAT SAYS "RESOLVE".          THERE'S TWO

 6    RESOLUTIONS.    THE FIRST ONE SAYS -- THE SECOND ONE AUTHORIZE,

 7    IT'S NOT RELEVANT HERE, IT AUTHORIZES THE COMPANY TO PROCEED

 8    WITH IMPLEMENTING ALL OF THIS SHOULD YOUR HONOR FINALLY

 9    APPROVE THE SETTLEMENT.     BUT THE FIRST ONE SAYS:

10              "RESOLVED THAT IN EXERCISING THEIR BUSINESS JUDGMENT,

11              THE INDEPENDENT DIRECTORS APPROVE THE SETTLEMENT AND

12              EACH OF ITS TERMS, INCLUDING THE ATTORNEYS' FEES AND

13              EXPENSES AS MEMORIALIZED IN THE STIPULATION AS BEING

14              IN THE BEST INTEREST OF GOOGLE AND ITS SHAREHOLDERS,

15              AND AUTHORIZE AND DIRECT EACH OF THE OFFICERS OF

16              GOOGLE TO TAKE SUCH ACTIONS AS TO CAUSE THE

17              SETTLEMENT TO RECEIVE FINAL APPROVAL IN THE FEDERAL

18              COURT."

19        NOW, IN OTHER CIRCUMSTANCES, YOUR HONOR, THE BUSINESS

20    JUDGMENT RULE IS GIVEN SOME DEFERENCE IN A SHAREHOLDER

21    DERIVATIVE ACTION.     GIVEN THE FACT THAT THIS SETTLEMENT

22    PROVIDES A SUBSTANTIAL BENEFIT AND WE'VE GOT A LACK OF ANY

23    NEGATIVE SHAREHOLDER COMMENTS, SHAREHOLDERS APPEAR TO AGREE

24    IT'S IN THE BEST INTEREST OF THE COMPANY, AND THAT THE

25    INDEPENDENT COMMITTEE OF THE BOARD OF DIRECTORS HAS RECEIVED


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 1    ALL OF THE INFORMATION RELATED TO THIS SETTLEMENT ADVISED BY

 2    VERY COMPETENT COUNSEL AND AGREED THAT IT IS A SUBSTANTIAL

 3    BENEFIT.   THERE IS A BEST INTEREST OF THE COMPANY BEING

 4    REPRESENTED HERE, AND THE ATTORNEY'S FEES ARE APPROPRIATE IN

 5    LIGHT OF THAT.

 6               THE COURT:     THE NOTICE INCLUDED NOTICE OF THE

 7    NEGOTIATED ATTORNEY'S FEES AS WELL?

 8               MR. GOODMAN:     YES, JUDGE, IT DID.

 9               THE COURT:     OKAY.

10               MR. GOODMAN:     SO IN LIGHT OF ALL THAT, YOUR HONOR, WE

11    WOULD REQUEST THAT YOUR HONOR FULLY APPROVE THE SETTLEMENT AND

12    EACH OF ITS TERMS -- FINALLY APPROVE THE SETTLEMENT AND EACH

13    OF ITS TERMS.

14               THE COURT:     ALL RIGHT.   DO YOU WISH TO BE HEARD AT

15    ALL ON THE ATTORNEY'S FEES PORTION?

16               MR. FELDMAN:     NO.   THANK YOU, YOUR HONOR.

17               THE COURT:     ALL RIGHT.   MR. BERG?

18               MR. BERG:    MAY I BE HEARD ON THE FEE ISSUE?

19               THE COURT:     SURE.

20               MR. BERG:    YOUR HONOR, I WOULD LIKE TO ADDRESS THE

21    COURT BECAUSE WE ARE TWO CASES SETTLING AS ONE.          I WANT TO

22    JUST AFFIRM MY BELIEF THAT I THINK THE FEE WE ARE REQUESTING

23    IS IN LINE WITH THE BENEFIT CONFERRED AND THERE'S NO WAY THAT

24    ONE CAN LOOK AT THIS FEE AND VIEW IT AS A PAY-OFF TO ATTORNEYS

25    TO GO AWAY TO PREVENT THE COMPANY FROM HAVING TO DO


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      Case 4:11-cv-04248-PJH Document 164 Filed 03/01/15 Page 11 of 13 11



 1    SUBSTANTIVE REFORMS AND MAKE SUBSTANTIAL CHANGES.

 2        WE WERE ABLE TO PROGRESS THE -- OUR CASE, AT LEAST, TO

 3    A -- TO A FAR POINT OF SUMMARY JUDGMENT AND THEN REALLY PUT

 4    THE PARTIES TO A PLACE WHERE THEY HAD TO MAKE HARD DECISIONS

 5    LEGALLY, AND I DON'T THINK THERE SHOULD BE A PUNISHMENT FOR

 6    BEING AN EFFICIENT AND EFFECTIVE ADVOCATE.

 7        THANK YOU.

 8              THE COURT:     ALL RIGHT.   ALL RIGHT.    IS THERE ANYONE

 9    HERE IN THE AUDIENCE WHO WISHES TO BE HEARD WITH RESPECT TO

10    THE FAIRNESS OF THIS SETTLEMENT?

11                               (NO RESPONSE.)

12        ALL RIGHT.    NO ONE IS RAISING THEIR HAND.

13        ANYTHING ELSE?

14              MR. GOODMAN:     IF YOU HAVE NO OTHER QUESTIONS, YOUR

15    HONOR, I HAVE NOTHING ELSE FOR YOU.

16              THE COURT:     YOU ALL ADDRESSED THE ISSUES THAT I

17    RAISED THE LAST TIME WITH RESPECT TO THE NOTICE AND YOU CURED

18    THOSE PROBLEMS.    THE NOTICE WAS SATISFACTORY, AND THERE BEING

19    NO OBJECTIONS OR RESPONSES FILED BY THE SHAREHOLDERS, I FIND

20    THE SETTLEMENT IS REASONABLE.

21        WITH REGARD TO THE REQUEST FOR FEES, THE COURT'S

22    RESPONSIBILITY IS A LITTLE DIFFERENT THAN IN YOUR TYPICAL

23    CLASS ACTION GIVEN THE DETERMINATION BY THE CORPORATE ENTITY

24    THAT THE AMOUNT IS SATISFACTORY EVEN THOUGH THAT IT EXCEEDS

25    THE LODESTAR BY I THINK THREE TIMES, IT IS ONLY A FRACTION


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 1    LESS THAN 20 PERCENT OF THE AMOUNT THAT GOOGLE WAS GOING TO BE

 2    PAYING TO FUND THE USER-SAFETY INITIATIVE.         SO WHEN YOU LOOK

 3    AT IT FROM THAT PERSPECTIVE, IT SEEMS TO ME TO BE REASONABLE

 4    AS WELL.

 5        THEREFORE, I WILL APPROVE BOTH THE SETTLEMENT AND THE

 6    PAYMENT OF FEES THAT HAVE BEEN AGREED TO.

 7        ALL RIGHT.    YOU ALL HAVE SUBMITTED A PROPOSED ORDER.            AND

 8    I DON'T THINK I HAD ANY DIFFICULTIES WITH THAT, ALTHOUGH I

 9    DON'T APPEAR TO HAVE IT IN FRONT OF ME.

10        DO YOU HAVE THE PROPOSED ORDER SO I CAN LOOK AT IT REAL

11    QUICKLY?

12               MR. GOODMAN:     I HAVE A COPY OF IT RIGHT HERE.

13                       (DOCUMENT HANDED TO COURT.)

14               THE COURT:     OKAY.   I THINK IT IS FINE.    I WILL READ

15    IT MORE CAREFULLY BEFORE I SIGN IT, BUT IT LOOKS LIKE IT IS

16    FINE.

17               MR. GOODMAN:     THANK YOU, YOUR HONOR.

18               THE COURT:     ANYTHING ELSE?

19               MR. FELDMAN:     YOUR HONOR, IT HAS BEEN AN HONOR TO

20    LITIGATE THIS CASE BEFORE THE COURT.        THANK YOU.

21               THE COURT:     THANK YOU.   I AM GLAD IT WAS ABLE TO BE

22    RESOLVED SATISFACTORILY TO BOTH SIDES.        IT WAS CERTAINLY AN

23    INTERESTING CASE AND THERE WERE A NUMBER OF INTERESTING ISSUES

24    THAT I WAS ACTUALLY LOOKING FORWARD TO DELVING INTO, BUT YOU

25    ALL HAVE, I THINK, ARRIVED AT A FAIR WAY TO RESOLVE THE CASE.


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 1              MR. FELDMAN:    THANK YOU.

 2              MR. GOODMAN:    THANK YOU, YOUR HONOR.

 3                 (PROCEEDINGS CONCLUDED AT 9:15 A.M.)

 4

 5                          CERTIFICATE OF REPORTER

 6              I, DIANE E. SKILLMAN, OFFICIAL REPORTER FOR THE

 7    UNITED STATES COURT, NORTHERN DISTRICT OF CALIFORNIA, HEREBY

 8    CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT FROM THE

 9    RECORD OF PROCEEDINGS IN THE ABOVE-ENTITLED MATTER.

10

11                      _____________________________

12                 DIANE E. SKILLMAN, CSR 4909, RPR, FCRR

13                           SUNDAY, MARCH 1, 2015

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     DIANE E. SKILLMAN, OFFICIAL COURT REPORTER, USDC (510) 451-2930
EXHIBIT 16
     I67YCOMC                                                         1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    FRESNO COUNTY EMPLOYEES
     RETIREMENT ASSOCIATION, et al.,
4
                     Plaintiffs,
5
                v.                               16 Civ. 1820 (JGK)
6                                                16 Civ. 9855 (JGK)
     COMSCORE, INC., et al.,                     17 Civ. 1245 (JGK)
7
                     Defendants.
8
     ------------------------------x
9    AND RELATED CASES                           New York, N.Y.
                                                 June 7, 2018
10                                               1:30 p.m.

11   Before:

12                          HON. JOHN G. KOELTL

13                                               District Judge

14                                 APPEARANCES

15   BERNSTEIN LITOWITZ BERGER & GROSSMANN
          Attorneys for Lead Plaintiffs
16   BY: JOHN BROWNE
          JESSE JENSEN
17        KATE AUFSES

18   KESSLER TOPAZ MELTZER & CHECK
          Attorneys for Plaintiff William Huff
19   BY: SHARAN NIRMUL

20   JONES DAY
          Attorneys for Defendants comScore, Fradin, Fulgoni,
21   Henderson, Katz, Korn and Lewis
     BY: ROBERT MICHELETTO
22        NIDHI YADAVA
          MICHAEL McCONNELL
23
     SPEARS & IMES
24        Attorneys for Defendant Kenneth Tarpey
     BY: JONATHAN FAYER
25

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2                        APPEARANCES (Continued)

3    WILLIAMS & CONNOLLY
          Attorneys for Defendant Magid Abraham
4    BY: JOHN WILLIAMS

5    STEPTOE & JOHNSON
          Attorneys for Defendant Serge Matta
6    BY: CHRISTOPHER CONTE

7    HOGAN LOVELLS
          Attorneys for Defendant Melvin Wesley III
8    BY: MICHAEL KELLY

9    WEIL, GOTSHAL & MANGES LLP
          Attorneys for Defendant Gottesman
10   BY: IRWIN HOWARD WARREN

11   ALSTON & BIRD
          Attorneys for Defendant Fulgoni, Henderson, Korn, Fradin,
12   Katz, Engel, Rosenthal, Livek, Chemerow and Ganek
     BY: CARA MARIE PETERMAN
13
     CALFEE, HALTER & GRISWOLD
14        Attorneys for Defendant Lewis
     BY: DAVID THOMAS BULES
15
     ROBBINS GELLER RUDMAN & DOWD LLP (San Diego)
16        Attorneys for Plaintiff Wayne County Employees Retirement
     System
17   BY: BENNY C. GOODMAN, III
          DAVID AVI ROSENFELD
18        ERIK W. LUEDEKE

19   THE WEISER LAW
          Attorneys for Plaintiff Donatello
20   BY: BRETT D. STECKER

21

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1               (Case called)

2               THE DEPUTY CLERK:   All parties please state who you

3    are, first with counsel in the original action and then counsel

4    in the derivative action.

5               MR. BROWNE:   Good afternoon, your Honor.   It's John

6    Browne from Bernstein Litowitz Berger & Grossman on behalf of

7    the lead plaintiffs in the securities class action.

8               THE COURT:    Commonly comScore.

9               MR. BROWNE:   That's right.

10              MR. JENSEN:   Good afternoon, your Honor.   Jesse

11   Jensen, also from Bernstein Litowitz on behalf of the lead

12   plaintiffs in Sommer v. comScore.

13              MS. AUFSES:   Good afternoon, your Honor.   Kate Aufses,

14   also from Bernstein Litowitz Berger & Grossman on behalf of

15   lead plaintiffs.

16              MR. NIRMUL:   Good afternoon, your Honor.   Sharan

17   Nirmul of Kessler Topaz Meltzer & Check for the named

18   plaintiff, William Huff.

19              MR. MICHELETTO:   Good afternoon, your Honor.   Robert

20   Micheletto from Jones Day on behalf of Defendants comScore

21   Fulgoni, Fradin, Henderson, Katz, Korn, and Lewis.

22              Your Honor, I would also like to introduce Carol

23   DiBattiste who is the general counsel of comScore who is in the

24   courtroom in afternoon with us.       Thank you.

25              THE COURT:    Thank you.

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1               MS. YADAVA:   Good afternoon, your Honor.    Nidhi Yadava

2    from Jones Day on behalf of the same defendants that

3    Mr. Micheletto represents.

4               MR. McCONNELL:   Your Honor, Michael McConnell, also

5    with Jones Day.    I made an appearance in the derivative action.

6               MR. KELLY:    Good afternoon, your Honor.   Michael Kelly

7    from Hogan Lovells for Defendant Melvin Wesley.

8               MR. FAYER:    Good afternoon, your Honor.   Jonathan

9    Fayer from Spears & Imes for Ken Tarpey in the class action and

10   the derivative action.

11              MR. CONTE:    Good afternoon, your Honor.   Chris Conte

12   from Steptoe & Johnson on behalf of Defendant Matta in both of

13   the actions.

14              MR. WARREN:   Good afternoon, your Honor.    Irwin Warren

15   from Weil, Gotshal for Patricia Gottesman in the derivative

16   action.

17              MS. PETERMAN:    Good afternoon, your Honor.   In the

18   derivative action as well, Cara Peterman from Alston & Bird for

19   the individual Defendants Fulgoni, Henderson, Korn, Fradin,

20   Katz, Engel, Rosenthal, Livek, Chemerow and Ganek.

21              MR. BULES:    Good afternoon, your Honor.   David Bules

22   from Calfee, Halter & Griswold on behalf of Joan Lewis, a

23   defendant in the derivative action.

24              MR. WILLIAMS:    Good afternoon, your Honor.   John

25   Williams from Williams & Connolly for Defendant Magid Abraham

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1    in both the securities and the derivative actions.

2               MR. GOODMAN:   Good afternoon, your Honor.   I'm Benny

3    Goodman from Robbins Geller on behalf of the lead plaintiff in

4    the derivative action, the Wayne County Employees Retirement

5    System.    And also Wayne County Defendant Rob Habb (phonetic),

6    a representative in this hearing also, your Honor.

7               MR. ROSENFELD:   Good afternoon, your Honor.   David

8    Rosenfeld, Robbins Geller as well, also on behalf of Wayne

9    County.

10              MR. LUEDEKE:   Good afternoon, your Honor.   Erik

11   Luedeke, Robbins Geller as well, also on behalf of Wayne

12   County.

13              MR. STECKER:   Good afternoon, your Honor.   Brett

14   Stecker from The Weiser Law Firm on behalf of

15   Plaintiff Donatello.

16              THE COURT:   Okay.   I smile because of the number of

17   lawyers where one of the issues is attorney's fees.       There are

18   a lot of lawyers, but the attorneys' fees quests were already

19   in.

20              All right.   Let's take first Sommer v. comScore.

21   There is the request for final approval of the settlement, as

22   well as the plan of allocation and the request for attorneys'

23   fees.

24              I've read the papers.    I'm familiar with the papers.

25   I've already granted preliminary approval.      I'm aware that

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1    there are no objections from any of the members of the class

2    and no requests for exclusion.

3               I'm prepared to listen briefly to anything anyone

4    would like to tell me about approval of the settlement or the

5    plan of allocation before I turn to the issue of the attorneys'

6    fees.

7               MR. BROWNE:   Your Honor, John Browne from Bernstein

8    Litowitz Berger & Grossman.

9               I don't really think so, your Honor.        I think the

10   approval of settlement is set out pretty completely in our

11   papers.    The only point I might highlight just very briefly, in

12   addition to the ones your Honor mentioned, is the percentage

13   recovery damages here is fairly high in these cases at

14   24 percent.    We've laid everything else out.

15              Unless your Honor has questions, I won't say anything

16   else.

17              THE COURT:    No.   I don't.   Thank you.

18              I thought the papers fairly laid out, again, the

19   reasons why it is a good and fair settlement, about $27,000,000

20   in cash, about $83,000,000 in stock, which would be somewhere

21   between 24 percent and 60 percent of the possible recovery.

22              It was procedurally fair.      It was substantively fair.

23   It was determined after hard-fought negotiations, mediation by

24   Former Judge Phillips, sophisticated plaintiffs.          The response

25   of the class, with no objections and no requests for exclusion,

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1    supports the fairness of the settlement.

2               Plainly, there would have been risks continuing the

3    litigation, risks whether there would eventually have been a

4    recovery.    The motions to dismiss were hard fought.   There were

5    plainly issues to be litigated.

6               The fact that there was a substantial recovery at this

7    stage of the litigation supports the reasonableness of the

8    settlement.    So it was procedurally fair, it was substantively

9    fair.   I have no problem approving the fairness and

10   reasonableness of the settlement, the adequacy of the notice

11   and the adequacy of the plan of allocation.

12              I'll sign the judgment approving the class action

13   settlement, and I'll sign the order approving the plan of

14   allocation.

15              That takes us to the issue of attorneys' fees.   I

16   might as well set out for you what my problem is which you

17   anticipated from my questions last time.

18              On the one hand, there is no question that this was a

19   difficult case with good results which was litigated well by

20   plaintiffs' counsel.

21              We can go through the percentage of the settlement and

22   the Lodestar, but the Lodestar in this case appears to me to be

23   inflated and not to be a true crosscheck on the percentage of

24   the recovery because of the amount of the Lodestar that was

25   devoted to due diligence.

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1               You argue appropriately in the papers that here are

2    cases which say that due diligence is appropriate.     Of course

3    due diligence is appropriate, but the question is what is the

4    amount of the due diligence.

5               Here it is an extraordinary percentage of the

6    Lodestar, extraordinary.   And there is no case cited where due

7    diligence has approached the percentage in this case.

8               So there was a settlement.   It was arrived at in

9    principle, and then there was a settlement agreement, and that

10   was one that the settlement was thought to be a good and

11   reasonable settlement blessed by the impartial mediator.

12              And then there is due diligence.   Due diligence is to

13   check the reasonableness of the settlement.     But what could

14   possibly be expected would be the result of the due diligence?

15   That the settlement was not fair and reasonable because more

16   should be gotten or less should be gotten or the stock

17   shouldn't be gotten?

18              Whatever it was, to think that the due diligence would

19   so dwarf all of the work that was so well done in arriving at a

20   fair and reasonable settlement strains credibility.    I put a

21   caution out there when last we met because I saw it coming.      So

22   the papers say we didn't spend as much in due diligence as we

23   could.   We cut it off a month early.

24              So here is a case that was well litigated, and all of

25   the work that had gone into preparing for the case and

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1    responding to the motions to dismiss, and then all of this work

2    went into due diligence, confirming that the settlement that

3    you had already worked out was in fact fair and reasonable.

4               What does that do.   Well, it increases the Lodestar.

5    It makes it appear that the multiplier is less than it would

6    have otherwise been had the due diligence been less.    I

7    understand all of that.

8               What I'm left with really is an unease that the

9    Lodestar is a true check.     So I'm driven back towards a

10   substantial percentage of the recovery as to which the

11   plaintiffs have not objected, sophisticated plaintiffs.      And no

12   class member has objected, even though they were warned that

13   the attorneys' fees might be more.     But I still have to arrive

14   at my own conclusion as to what the fair and reasonable amount

15   of the attorneys' fees in the case are.

16              So my bottom line would be to end up giving somewhat

17   less of a percentage of the recovery that was otherwise being

18   sought but a percentage of the recovery which would be

19   commensurate with similar cases, given the results in the case,

20   the skill pursuing it.

21              In fact, I have little question about the specific

22   items that you listed in the proposed order.     It was not an

23   encomium.    It was simply a factual recitation which I'm

24   prepared to sign.   So those are my observations.

25              MR. BROWNE:   Well, thank you for those, your Honor.

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1    That's very helpful.

2               If you don't mind, let me just respond with a couple

3    points on that.

4               Do you want me to take the podium?     Can you hear me

5    okay here?

6               THE COURT:    I hear you fine.

7               MR. BROWNE:   Great.

8               I would just, first of all, echo what your Honor said.

9    At the end, the Lodestar is a crosscheck, and contingency fee

10   lawyers should generally -- and it's an important crosscheck,

11   but generally contingency fee lawyers are paid a percentage of

12   the settlement to align their interest with the class, and the

13   best judge of what that percentage should be really is the

14   quality of the result.

15              We think the quality of the result is very good here.

16   I'm not going to say the things that are in our papers about

17   the percentage of the recovery.       We think the class agrees with

18   us that the quality of the result is very good here.

19              We believe up to 80 percent of this class is comprised

20   of institutional investors.       They have general counsel.   They

21   often have legal offices.     They're always advised by outside

22   counsel.    They know how to object to settlements and fee

23   requests when they're out of line.       And they didn't here.   As

24   your Honor noted, we suggested in the notice that we might seek

25   more.   So under the percentage recovery method, we think

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1    23 percent, given the result here, is particularly fair.

2               I just want to make a comment on that in connection

3    with something your Honor asked us to do in preliminary

4    approval.    We did it on page 9 of our fee brief.     We gave you a

5    list of what I believe are either all of the securities class

6    actions or all going back for ten years.

7               If you take out the two in the fee brief, one settled

8    for $250,000 and one settled for $400,000.     So really, really

9    small cases with really negative Lodestar multipliers.      But if

10   you take out both the Lodestar multiplier and the percentage --

11   and you get a higher percentage there -- the average recovery

12   that your Honor has given in those cases is a 1.5 Lodestar

13   multiplier, and it is a 23.6 percent fee.

14              So we are below the average of what your Honor has

15   given.   Those cases are all different, and I take that point.

16   Some had due diligence; some were big; some were small.      But it

17   was a data point that your Honor asked us to look at.

18              There is one other point about it which overlaps with

19   the due diligence point which I do want to talk about in a

20   little bit more detail after this.

21              Can I hand up an exhibit?   Is that okay?

22              THE COURT:    Sure.

23              MR. BROWNE:   So, your Honor, what I just handed up is

24   a chart that reflects the same information that was on page 9

25   of our fee brief but takes out the two outlier small settlement

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1    cases and adds in our case in the top, in the top line.

2               I understand that there was a lot of due diligence,

3    80 percent.    As said in the papers, 80 percent of the Lodestar

4    is due diligence discovery, and we'll talk about why I believe

5    that was necessary and important here in a second.

6               It also wasn't particularly expensive to the class.

7    When you look at the Lodestar blended hourly rate that we are

8    requesting here in our case -- this is taking all the

9    attorneys, the top-billing attorneys and the bottom-billing

10   attorneys -- the blended hourly rate -- we requested $406 per

11   hour.    It's literally the lowest blended hourly rate that has

12   ever been submitted to your Honor in any securities class

13   action, other than the two.

14              The rates in those other cases have ranged from $416

15   an hour up to $562 an hour.    That means that the Lodestar

16   committed in those cases was calculated off of a much higher

17   blended hourly rate than the Lodestar that we're submitting

18   here.

19              So when you see our 1.4 multiplier, which would be the

20   multiplier in our full fee request, it's not only below the

21   average of what you've given in other cases, it's actually a

22   lower multiplier because the hourly rates that we used to

23   calculate that multiplier is so much smaller than in many other

24   cases.

25              THE COURT:   We could debate that.   The reason that the

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1    hourly rate goes down is because so much of it was document

2    review at the end.      To what end.   To what end other than to

3    increase the total number of hours and the total fees so that

4    the multiplier on the Lodestar looks lower than it would have

5    been had all that work not been done.       Right?

6               80 percent on due diligence, as you correctly point

7    out, sort of turns the usual litigation paradigm on its head

8    where all of the witnesses that you interviewed in preparation

9    for the litigation and then all the work that was done on the

10   motions to dismiss and all the work that went into the

11   mediation are all given short shrifts, and you have the tail

12   wagging the dog, 80 percent.

13              MR. BROWNE:    Let me just give you a little perspective

14   on how we approached the due diligence discovery here, why we

15   thought it was necessary, and why we did what we did and why we

16   stand by that it was important.

17              So first --

18              THE COURT:    I don't doubt that due diligence is

19   important.    It's of course common to have due diligence.     It is

20   uncommon to have that kind of percentage.       It would have been

21   more straightforward to have less on due diligence and sought

22   the percentage and made whatever explanations there were for

23   why the Lodestar was lower.

24              Go ahead.    I understand the arguments about why -- I

25   think I've ticked them off already about why you said the due

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1    diligence was so important in this case.

2               MR. BROWNE:   So let me say something that might be a

3    little bit outside of the papers.     The way we approached the

4    due diligence in this case is we approached it like it was the

5    litigation, as if on September 15 of last year, rather than

6    having access to documents through the due diligence process,

7    we were actually in discovery with an end goal of taking ten

8    important depositions at the end of February or early March of

9    last year.

10              If that was a litigation schedule that I had in place

11   in a case, I would have done exactly what I did here.     We would

12   have pushed very hard to get the documents.     And as I said in

13   our papers, it was an adversarial process to get the number of

14   documents that we needed.

15              We threatened to terminate the settlement to get

16   documents.    We got them.   We got 178,000 documents in a case

17   that involves complex accounting issues, judgment calls.      And

18   they weren't all straightforward documents.

19              Again, I treated it like a litigation.    If I was in

20   litigation and I was preparing for ten depositions, I would

21   have assembled a team of document-review attorneys who would

22   have reviewed those documents.     That's what we did.   We would

23   have understood them, and we would have prepared for those

24   depositions.    That's exactly what we did.

25              Once we reviewed the documents and understood them and

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1    were prepared for the interviews, the document review attorneys

2    went away because -- I mean they were released on other cases

3    because their job was no longer necessary in this case, and we

4    took the interviews of the witnesses.

5               A couple reasons why that is particularly important in

6    this case, or at least I thought so.    Maybe I was wrong, but

7    when we reached the settlement of this case, we hoped to

8    receive eventually $83 million worth of comScore stock.

9               We were faced with a company that was delisted from

10   NASDAQ.    It wasn't filing financial statements.    There wasn't a

11   lot of visibility into what was going on.    We knew its cash

12   position was low, and it was worrying.

13              In the time from when we reached that settlement in

14   principle to the time we completed our due diligence discovery,

15   there were ten material disclosures about the company.

16              The CFO who we had dealt with at the mediation

17   resigned.    They fired 10 percent of their employees.   They did

18   constant updates on the audit committee investigation, and we

19   felt it was absolutely critical to understand if any of this

20   new information that was coming out from a company that

21   otherwise was kind of a black box was making a settlement that

22   we thought was good on September 10 to September 15, not good,

23   not fair, not reasonable, either by we failed to really

24   understand the scope of the fraud, perhaps there were bigger

25   damages than we understood, there were other misstatements that

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1    could be brought into the case, or there were other defendants

2    to target.

3               We had the diligence around that, but then we also had

4    the diligence around the company's financial position.    The

5    stock was trading over the counter at the time -- we're happy

6    to report -- your Honor may not know, but the stock was

7    relisted on NASDAQ on June 1.

8               So since your Honor has signed the class order, the

9    class will receive freely tradeable stock which should have

10   some value.    It's gone up about 20 percent in the last month.

11   So we're happy to report that.

12              We didn't know that was going to be the case at all.

13   We would be standing here in front of your Honor today, and I

14   would be reporting back to my clients, and I would be answering

15   class member calls.   And they would say, how do you know the

16   settlement is good?   A lot has happened since September 15.      I

17   would have said $110,000,000 is good, I guess.   And that's

18   about it.

19              Now I can actually say, we're very comfortable.   We

20   understood the liability, we understood the scope of the fraud,

21   we understood the way the company is operating, and we think

22   the settlement is going to be even better than we hoped it

23   might be in September.

24              But I'm just saying to your Honor that this is the way

25   I would do a litigation.   But there are other cases where I've

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1    actually litigated in this district where my time was

2    70 percent staff attorneys.

3               THE COURT:    I'm sorry.   Where your time?

4               MR. BROWNE:    My time was approximately 70 percent

5    staff attorneys.    Here the staff attorney time is about

6    75 percent.    They were the document reviewers.    80 percent was

7    due diligence.    Some of that was me and Jesse and Kate.    A lot

8    of that was the document review team as your Honor pointed out.

9               That's actually the way I've litigated cases in

10   hard-fought, uncertain, risky situations.      I was looking at the

11   case that settled in front of Judge Kaplan, the Bank of New

12   York Securities.    And my staff-attorney time there -- we had

13   something like 45 staff attorneys reviewing documents, and it

14   was like 70 percent.      So that's how I treat a due diligence.

15              THE COURT:    Usually, usually that work goes in prior

16   to the settlement, not in due diligence.      All of the staff

17   attorneys' work, reviewing documents, preparing is done before

18   the parties enter into a settlement which they think is fair

19   and reasonable.    Usually the confirmatory discovery is not as

20   extensive in this case.

21              You're not suggesting that in your other cases the

22   amount of due diligence was 80 percent.

23              MR. BROWNE:    No, I'm not suggesting that.   I was only

24   trying to reinforce the point that we decided to treat the due

25   diligence discovery here like litigation.      We had 178,000

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1    documents.    We could either review them or not.    We could

2    review them halfway or not.

3               We decided to do it the full way, and I would have

4    decided to do that in a litigation on that schedule, given the

5    fact that there was so much of a lack of transparency with the

6    company here.    Given the fact that we were getting stocks.

7    These were unusual factors, given the fact that the company

8    wasn't filing financial statements.

9               I wasn't sure what we were going to find in there.    So

10   we did it seriously.     We did it the way we would normally do a

11   litigation.    We kind of felt like that was our duty to the

12   class, and we discharged it that way.     We'll do it that way in

13   the future no matter what you do here.     That's kind of the way

14   we looked at it.

15              When we were finished and when we were confident in

16   it, we stopped.    So those are kind of my points on it,

17   your Honor, to the extent they're of interest to you.

18              THE COURT:    Of course they're of interest.

19              MR. BROWNE:   I could repeat the stuff that we said in

20   our papers, but your Honor has obviously read them.       So I

21   won't, but I'm happy to answer any questions about it that you

22   might have.

23              THE COURT:    I appreciate your explanation.

24              Does anyone else want to be heard on any aspect of the

25   attorneys' fee application?     I realize that there are

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1    reasonable and quite modest fees for the individual plaintiffs,

2    and there are the costs which are also reasonable in terms of

3    the case.

4               No one else wants to be heard.

5               Well, with respect to the issue of the percentage of

6    the settlement fund, I believe that the appropriate percentage,

7    the fair and reasonable percentage, should be 20 percent rather

8    than 23 percent.    That is a percentage which is well within the

9    range of other cases, particularly large cases.

10              Taking the Lodestar at face value, which I've

11   explained why I questioned, it would still be a Lodestar

12   multiplier of about 1.22.     Costs, litigation expenses,

13   $296,362.39.

14              The Plaintiff Employees Retirement System of the City

15   of Baton Rouge and the Parish of East Baton Rouge is here by

16   awarded $950.36.    Lead Plaintiff Fresno County Employees

17   Retirement System is hereby awarded $5,019.12.     I will sign the

18   order.

19              I always try to sign the orders with language on the

20   page.    So I signed the penultimate page rather than the page

21   you had left for a signature page.

22              Thank you, all.

23              MR. BROWNE:   Thank you, your Honor, for your attention

24   to the case throughout and to your courtroom staff as well.

25   Thank you.

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1               THE COURT:   The derivative settlement.

2               All right.   I've reviewed the papers.    I have a

3    proposed order approving the derivative settlement and order of

4    dismissal with prejudice and a proposed judgment.

5               I'm perfectly prepared to listen to any of the parties

6    with respect to the approval of the derivative settlement.

7    I've already made observations when I preliminarily approved

8    the settlement.    Since that time, no objections have been

9    raised to the settlement.

10              Given the institutional holders of the stock, that is

11   an important endorsement of the settlement.     On its face, the

12   company gets a payment of $10,000,000 in cash plus whatever the

13   value of the corporate reforms are, which is a substantial

14   settlement.

15              The settlement includes the counsel fees.     I'm not

16   being asked specifically to separate out the counsel fees.

17   It's part of the settlement agreement, and the counsel fees in

18   this case were separately recommended by Former Judge Phillips.

19   They were approved by the board, by the disinterested members

20   of the board.

21              I'm not being asked to separate out that portion of

22   the settlement.    If I were asked to do that, the Lodestar

23   multiplier is high.     The consideration is in stock, but the

24   stock appears to be doing well.

25              But in any event, the legal fees were approved by the

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1    noninterested members of the board.     They come from the

2    company.    They're being paid in stock.   And unlike,

3    for example, in a class action settlement where usually the

4    reduction in the attorneys' fees go directly to the class

5    because the amount of the class recovery goes up, that is not,

6    of course, the case in this case, in the case of the derivative

7    settlement.

8               So those are some observations.   It is a good

9    settlement.    It was diligently pursued, procedurally and

10   substantively fair.     The reaction by the institutional

11   investors and shareholders underlines the fairness of the

12   settlement.

13              So those are my general observations, and I'm prepared

14   to listen to any of you who would like to say anything.

15              MR. GOODMAN:   Your Honor, Benny Goodman for

16   plaintiffs.

17              Your Honor, I think you've summed up what we think

18   about the settlement too.     Unless you have any questions, I

19   don't think I have more to add, other than to second much of

20   what you've said, your Honor.

21              THE COURT:   Anyone else?

22              Okay.    I've signed the order approving the derivative

23   settlement and the order of dismissal with prejudice.       I've

24   signed the judgment.

25              You all only gave me one proposed judgment and one

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1    proposed order approving derivative settlement.        Right?

2               MR. GOODMAN:    Yes, your Honor.   That's the case.

3               THE COURT:    I made one change on your order approving

4    derivative settlement, which was on page 3, paragraph 8, you

5    said:   "Pursuant to Section 3(a)(10)," but you didn't say "of

6    the Securities Act."      So I added "of the Securities Act" in the

7    second sentence and the last sentence of paragraph 8.

8               MR. GOODMAN:    I see that, your Honor.    Thank you.

9               THE COURT:    Well, I will see that these get entered.

10   Thank you, all.

11              MR. GOODMAN:    Thank you, your Honor.    I appreciate

12   your time.

13              (Adjourned)

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